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           THE UNIVERSITY                    OF TEXAS AT AUSTIN                                                      Date
                                                                                                                               9413




                       RECOMMENDATION                              FOR CHANGE                IN ACADEMIC              RANKSTATUS



           Name          Andreas Gerstlauer                                                   Present   Ran      Assistant       Professor


           Years of Academic              Service   I ackede AY 201314 in each count
                                             61108                                   6                                                       6
           At UT Austin since                             In present    rank                 In Probationary Status      IT only
                                             mdy                                of   years                                                  of years


                                Electrical   and Computer Engineering
           Department


           Other

                                       Cockrell   School     of   Engineering
           CollegeSchool



           Recommended                action

                                                                                     Promote to Associate            Professor
                       By Budget CouncilExecutive                  Committee

                                                        26                           0                    0                            8
                       Vote2    for promotion                       Against                  Abstain                  Absent

                                                        Promote to Associate              Professor
                       By Department           Chair


                       By SBS Executive Committee

                       Vote2    for promotion                       Against                                               sent



                       By Director

                                                                                Promote
                       By CollegeSchool           Advisory        Committee

                                                    7
                       Vote2    for promotion                       Against                  Abstain                  Absent


                                        Promote
                       By Dean




           Administrative         Action                   Promote             to    Associate            Professor


           Date Action Effective                                12014
           To be submitted to the                                            the annual   budget




                                                                                                        Date          12162013
                                                        President




               Scc   Chart of Recommended               Actions      for eligible    recommended     actions   applicable to     specific   conditions

           and administrative            levels




           2A11      votes   are to   he recorded      as For     Against   or Abstain    Note     unexplained   abstentions   will   be interpreted   as

           weak      negative   votes   by the Presidents     Committee        Also record   number of absent       eligible   voting    members




           EVPN4A3




                                                                                                                                                            P's 173
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                                                                                         Deans        Assessment

                                                                                         Andreas       Gerstlauer


                                                              Department of Electrical                 and Computer Engineering




      Andreas         Gerstlauer                received           his    Vordiplom        BS and DiplIng MS                           in   Electrical         Engineering          from the

      University           of Stuttgart                 Germany            in   1991     and     1997       respectively      and an             MS      and    PhD         in   Information

      and     Computer               Science            from the              University    of California Irvine                  in    1998        and    2004         respectively            He
      continued            at    UC Irvine              as        an    assistant      researcher      until    he was      appointed              an    assistant       professor        at   UT
      Austin     in   2008


      Ten    external           letters     were submitted                     as part of the     promotion          dossier five were suggested by the candidate

      and    five     were selected                     by    the       budget council           Eight       reviewers      are    faculty          at    US    universities         one       is    a

      faculty    member               at    a    European               university       and    one    is   a senior technical              staff        member       in    industry           One

      reviewer        is    a member               of   NAE

      Teaching
      Dr Gerstlauer                  has taught one undergraduate course and two graduate courses                                                        EE 319K           Introduction             to

      Embedded Systems four times EE 382V Embedded System Design and Modeling four times and EE
      382V System on a Chip three times                                             His average        overall      instructorcourse               ratings      for these         courses are

      405378 420355                                and       433387             respectively          Dr       Gerstlauers ratings                 compare           favorably      with        the

      weighted         averagemedian                          instructor        ratings    for assistant           professors     in    the      Department             of Electrical          and

      Computer             Engineering              over the             last   five    years    406408             for   undergraduate             courses and             422436              for


      graduate        courses


      In collaboration                with Professors Yerraballi and Valvano                                       Dr Gerstlauer            is   developing           a massively          open
      online     course          MOOC based on EE 319K                                      This course will              be delivered             through        the    edX consortium
      during     the       2014 spring                  semester and              will    include      a    physical      hardware          laboratory          component                This       is



      believed        to    be the         first    time that a               MOOC will include a laboratory component                                    using      physical      hardware

      as    opposed to simulations of hardware


      Research

      Dr Gerstlauers                   research              is    in   the    area    of system level          design      of embedded                  computer        systems with                a


      focus    on design automation                               methodologies technologies                       and tools His primary focus has                           been on       tools

      for   modeling             systems on             a chip that are embedded                      in    a variety     of products            from consumer               electronics            to

      civilian      spacecraft and military                             systems Dr Gerstlauers methods and                             tools       provide        assistance for teams

      of designers              in   making key decisions and automating                                    the design      of the entire computing                     system based            on
      the design           decisions



      At    UT      Dr Gerstlauer                   has           published      nine archival         journal       papers eight             in   print       and    one    accepted           32

      peer reviewed                  conference               papers       these conferences                have    acceptance         rates       in    the
                                                                                                                                                               range of 17          to    34
      His    career         totals         are     12        archival         journal     papers       54    peer reviewed             conference              papers       and    three       co
      authored books



      Dr Gerstlauers extramural research                                         funding    in    rank      includes      nine grants            and     four gifts         totaling nearly

      $22      million           his       share         is       $14     million         The    research          grants   have       been        funded        by     federal     agencies

      National             Science               Foundation                   DARPA
                                                                                Army Research   and  Office    and   industrial
                                                                                                                                                                                         groups
      Semiconductor Research                              Corporation Samsung He is the principal investigator on ten of these                                                       research

      grantsgifts




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      The     letters   from external               reviewers       are consistently                  strong         Dr Gerstlauers specific                        contributions          to the

      field   and the impact of his work                     arc well      documented


      Dr Arvind Massachusetts                         Institute     of Technology                    NAE writes There                        is   a   good balance           between loots

      versus design            papers          For me Andreasn                       work         would       lack    credibility           without          the    design        papers        The

      topics    covered by these                   papers are of central               concern in          ESL embedded                     computer           systems I also found
      the architecture          modeling paper and the                      OS paper                 together offering             some creative               insights          in   a difficult

      modeling       question


      Dr Nikil          Dutt    University of California Irvine                                     writes After joining                     UT        Austin        Dr Gerstlauer              has

      continued         to build         on    this    momentum            by creating                abstractions           for   RTOS               modeling        for    heterogeneous
      multi core        platforms hardware dependent                             software design methodologies and transaction level modeling

      for efficient                                 of communication                                            His                   work         on speeding
                          exploration                                                 architectures                    recent                                             up system level
      simulation         and embedded                 software       modeling                already      show        early signs of impact                        both     in   the    research

      arena     as well    as for industrial practitioners



      Dr Milos          Ercegovac             University of California Los Angeles                                         writes          These            works     are    typical      of his

      research       there      is   a     clear      original      idea    a good                technical     depth and              strong          experimental results                    Prof

      Gerstlauer        and     his collaborators                made      notable               contributions        in    identifying               key    principles          of electronic

      system design covering                       both hardware and software aspects



      Dr Peter       Hofstee         IBM Austin Research                   Laboratory                    writes            what most impresses                      me about Dr
      Gerstlauers work                is   on the one hand a rigorous drive                              for the abstraction               and elegance             one expects of
      academic research               with lasting value and                    at   the         same time a high degree of completeness and realism that
      allows    his research to be                 readily applicable                 It    is   unusual to see this span of interest and capability within

      a single    researcher



      Dr Martin Wong University of Illinois                                at   Urbana Champaign                          writes                 Andreas has established                  a

      diverse    and high quality research program                              that        is    certainly    on par with            if   not better than any of his

      peers               Andreas             is   highly visible well               known and respected                    in   the       broader automation                community


      Advisingand Student Mentoring
      At   UT    Austin         Dr Gerstlauer              has     graduated               three    co supervised            PhD students                   three   MS      thesis students

      one      was   co supervised                   and    five    MS     report            students          He     is    currently             supervising         or    co supervising

      seven     PhD students               and      two    MS    students             He has          also served           as   the       faculty      advisor       to several          upper
      division    undergraduate                students     in   Computer              Engineering            and Embedded Systems tracks



      University        Service

      Dr      Gerstlauer        has      served       on    several      committees                  within     the        Department              of Electrical            and       Computer
      Engineering              He has been            actively      engaged            with        the    undergraduate            curricula           and     with graduate student

      recruiting and admissions                       He also served on                    the faculty     search         committee           one year


      Professional        Service

      Dr      Gerstlauer        is    an      associate      editor      for         Transactions              on    Embedded               Computing               Systems           within    the

      Association         for        Computing             Machinery            ACM and                    he       serves       on        the     editorial         board        for    Design
      Automation         for Embedded                     Systems SpringerLink                             He       has     also      served           on    the     technical          program
      committee         for several technical               conferences




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      Other Evidence of Merit or Recognition

      In    2013 Dr Gerstlauers work                with   graduate   student   Ardavan      Pedram was        recognized    with   the    Best

      Poster    Award       by    the   IEEE                               Technical    Committee      on   Parallel                           an
                                                  Computer Society                                                      Processing        at


      international    PhD forum on parallel           and   distributed   processing


      Overall   Assessment

      Dr Gerstlauer         has   developed    a strong research      program    with a high level     of publication     productivity         he

      has   secured   a sustainable       level    of research   funding from federal        and corporate      sources     and   the   quality

      and impact      of his research are highly regarded by the external                  reviewers     His   teaching   contributions        at


      the   undergraduate and graduate level are strong



      Accordingly       I   recommend promotion of Andreas             Gerstlauer      to associate   professor   with tenure




      Sharon    L Wood Interim Dean
      2    November 2013




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                     COCKRELL SCHOOL OF ENGINEERING

                     THE UNIVERSITY OF TEXAS AT AUSTIN


                     Department         of Electrical and Computer     Engineering           Engineering      Science   Building


                     1   University     Station   C0803     Austin   Texas     787120240 512 4716179                         Fax 1512     4713652




       September         30 2013



       Chairs letter in support of the promotion of Prof Andreas Gerstlauer to the rank of
       associate professor with tenure



       Prof Gerstlauer joined the Department of Electrical                                        and Computer Engineering                          in    September
       2008 He made seminal contributions                            to   embedded              systems and          electronic         system level design
       automation before coming to UT and while at                                   UT The Budget Council recognized his strong
       accomplishments                 and determined         that he        meets     all      expectations for promotion                     at the        premier

       departments of Electrical                  and Computer Engineering                           in the   nation by a vote of 26                     YES 0 NO
       and 0 ABSTAIN                   Our associate professors voted 7 YES 0 NO and 0 ABSTAIN                                                       in    support of

       promotion


       Teaching

       Prof Gerstlauer is a strong teacher with average                                   instructor          scores in a required undergraduate

       class that    he has regularly taught ranging from 37 to 43 and average                                                 instructor           scores in

       graduate      courses ranging from 38 to                      46        His   37 instructor score in EE319K                             is   an aberration

       due to the use of electronic evaluations that semester All other course                                                  instructor
                                                                                                                                                     surveys used

       paper forms Both his peers and students                             rate      him as an excellent                instructor        who has mastered the
       use of the blackboard                and technology           to   explain         difficult         concepts


       Beyond the classroom teaching                        Andreas          is   truly   a leader and innovator in education                                within our

       department         Andreas completely revamped our Systemon Chip SoC Design                                                                   class        More
       significantly           he has developed            a graduate          class   on Embedded System Design and Modeling
       The   class   was very well received                  by our students                 as   evidenced        by an enrollment                  of close       to   20

       students    in    its   first    and subsequent         offerings The               class       is   unique      in that five      final      projects       by
       student    teams        in the     class   have led to publications                   in international            conference            proceedings           The

       teaching material that he developed                       for this class            is   in   use at several          universities           worldwide

       including     Northeastern University                    Iowa State University Istanbul Technical University Turkey
       the Federal University of Pernambuco                            Brazil the University                    of Teheran Iran and the
       Universities        of Oldenburg and                Stuttgart      in   Germany


       Andreas is also part of a team that is turning EE319K                                         into    a massively        open online course
       MOOC          class      to     be offered by edX          in   Spring 2014 To my knowledge                                 this   is   the       first    MOOC
       class that will         have a physical hardware laboratory as opposed                                     to    a virtual laboratory


       Research

       Andreas work              is    characterized by        its   rigor        and emphasis on building prototypes that demonstrate
       the impact of his discoveries                      He has made seminal contributions                             to   formalizing system level




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       specifications          and the development of tools for the co design of hardware and software                                                  that meet

       these specifications while meeting performance                                        power consumption and                reliability     goals Most

       importantly         his work       provides             designers with an ability to trade power consumption

       performance and reliability                  adaptively depending on the current application                                   running on the
       embedded      system Prof Dutt                  UC         Irvine notes that Andreas                    is the key intellectual            contributor

       behind the SpecC modeling                     language        and methodology which besides the high                                citation      counts
       led to development of semantics for the SystemC language which                                                  is   now the default industry
       standard    specification          language             for mixed hardwaresoftware                      design implementations                   His work

       at   UT on creating            abstractions         for modeling         heterogeneous                multi core platforms system level

       simulation and embedded                     software modeling transaction level modeling                                   for efficient     exploration
       of communication                architectures           and hardware dependent software design has received
       considerable attention in the literature                          and is starting            to   have an impact on         industrial design           Dr
       Hofstee     IBM states that Andreas work to date                                      is   the   type of work that those           of us who have to

       bridge between               academia    and        commercial          practice           look    for At a very recent meeting with
       Greg Delagi senior vice president and general manager of Embedded Processing at Texas
       Instruments that Andreas and                        I   attended       Greg declared              that Andreas        research     and inventions          is


       what is needed           to    enable progress in the next generation of embedded                                     systems and controllers

       As an example of the high quality of Andreas work                                            I   note that he demonstrated in the past

       couple    of years           that modeling      preemptive             behavior in discrete timing simulations                           can lead to

       potentially    unbounded            timing errors             He developed                 an integrated modeling approach                  to

       automatically           and optimally adjust timing granularities and remove the sources of timing errors
       The work also provides designers with an ability                                      to   navigate    fundamental          speed and accuracy
       tradeoffs His 2012              IEEE Embedded System Letters paper on this topic was among the top five
       accessed articles in April August and                             November 2012

       More recently Andreas has been                            collaborating           with other researchers              at   UT to make key
       contributions           to   new areas He           has been working                  with Prof Michael              Orshanslcy    on approximate

       logic    synthesis and on errortolerant circuits for signal processing                                          As I noted in the letter           I   wrote

       for Michael         this      work has attracted            a lot of attention in academic                    and     industrial circles         despite

       the fact that      it   is   very recent       Prof Ercegovac                 UCLA states that This work has also attracted
       attention   from IBM and                AMD as well as Stanford and University of Wisconsin                                          and These
       works are typical of his research                         there   is   a clear original idea a good technical                       depth and

       strong experimental results His recent                             work with Prof Robert van de Geijn                           UT CS on the co
       design of algorithms and architectures for a novel linear algebra processor achieved                                                       orders of

       magnitude      better efficiency             as measured in energy per operation than any currently known
       linear   algebra processor architecture

       Prof Gerstlauer is very well funded by highly competitive                                            peer reviewed grants from               NSF SRC
       and DOD       He is also well funded by industry yet another recognition of the impact that his work
       has had on commercial practice                           Indeed he has been awarded                      more than enough research

       funding     to create         and sustain a world class research group

       Our department has adopted the practice of comparing each colleague                                                   with his or her most

       prominent peers at the              first    tier       departments in Electrical                  and Computer Engineering such as

       MIT Stanford the University of California Berkeley the University                                                    of Illinois   Urbana

       Champaign          UIUC Georgia Tech                        Caltech and Princeton                     In consultation with Andreas and

       senior professors in the area in our department                                   I   selected      Profs Valeria Bertacco               who was
       promoted      to   associate       professor            at Michigan          in   2009           Luca Carloni who was promoted to

       associate professor at Columbia in 2009                                and    Sanjit        Seshia    who was promoted to associate
       professor at       UC Berkeley in 2011                      The comparison shows                      that   Andreas is as productive as his




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       peers at the time of promotion in terms of journal publications                     and publications         in    top tier

       conferences          His current   H index   is   comparable to Bertacco        and Seshia but lower than              that   of
       Carloni who          is   more senior Prof llenkel Karlsruhe Institute of Technology                       supports     my
       conclusion and provides an excellent               summary of the letters of reference when he states that Dr
       Gerstlauer      is   a top young researcher        He has shown excellent research capabilities in the past and
       I   believe that he has a great academic            research   career   in front   of him I believe         that
                                                                                                                           any EE CS
       ECE departments with world rank would be delighted to hire him Confirming this opinion
       Prof    Wong UIUC writes Andreas                   has an outstanding        research teaching           and service record

       and we would be glad to have him on our faculty here                    at   UIUC
       Service


       Andreas has provided excellent service to both                 UT and the profession Details can be found in
       his resume      and the budget       council statement




       Summary
       Andreas    is   a strong and innovative      teacher   and in my opinion a rising international star in embedded
       systems and electronic          systemlevel design automation       who brings to the field a unique mix of academic
       rigor and practical         impact He has served UT and his profession             well   I   strongly   endorse his promotion

       to associate professor with tenure




       Prof Ahmed           H Tewfik
       Cockrell Family Regents Chair in Engineering

       Chairman Department             of Electrical and Computer Engineering




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       Electrical   and Computer        Engineering                                                         Revised September             27 2013



                                                 THE UNIVERSITY OF TEXAS AT AUSTIN
                                                      Cockrell School        of   Engineering
                                                               Standard      Resume




       FULL    NAME                      Andreas Gerstlauer                       TITLE                                  Assistant   Professor



       DEPARTMENT                Electrical     and Computer    Engineering



       EDUCATION


        University    of California     Irvine           Information          Computer Science                     PhD               4    2004

        University    of California     Irvine           Information          Computer Science                     MS                9    1998

        University    of Stuttgart     Germany           Electrical     Engineering                         DiplIng       MS         5    1997

        University    of Stuttgart     Germany           Electrical     Engineering                        Vordiplom       BS        10    1991


       PROFESSIONAL           REGISTRATION            None


       CURRENT AND PREVIOUS ACADEMIC POSITIONS


        University    of Texas    at   Austin            Assistant      Professor                          Fall   2008 present

        University    of California     Irvine           Assistant      Researcher                         Summer 2004 Summer 2008
        University    of California     Irvine           Research           Teaching Assistant             Fall   1997 Spring 2004

        University    of Stuttgart     Germany           Research Assistant                                Fall   1993 Spring    1997




       OTHER PROFESSIONAL                 EXPERIENCE

        Ehrler Paiftechnik       Germany                  Senior      Eng     Proj Manager                 Aug 1989 Mar 1997
        Hewlett     Packard   GmbH Germany                Intern                                           Jun 1994Aug1994


       CONSULTING

        None



       HONORS AND AWARDS

        IEEE Computer Society Technical                   Best Poster Award          for   student    Ardavan Pedram            2013
        Committee      on Parallel Processing             at   the   International   Parallel        Distributed

                                                          Processing Symposium              IPDPS PhD             forum

        IEEE                                              Senior     Member                                                     2011

       Advanced       Micro   Devices     Inc            AMD Chair in Computer               Engineering                        2010 present

        Design      Automation    and Test       in       OS Modeling Paper Selected                 as   One   of the   Most   2008

        Europe Conference                                 Influential    Contributions      in   10 Years

        Design Automation         Conference             Young Student Mentor                                                   2002

        Motorola     Inc                                  Motorola      Research Fellow                                         20002001

        Design Automation         Conference              Professional       Development Award                                  1998

        University    of Stuttgart     Germany            Graduated         summa cum laude                                     1997

                                                             mit Auszeichnung




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       Electrical   and Computer         Engineering                                                            Revised September     27 2013



       MEMBERSHIPS            IN   PROFESSIONAL              AND HONORARY SOCIETIES

        IEEE Circuits and Systems Society                                                                                      1997 present
        IEEE Computer Society                                                                                                  1997 present
       ACM Special Interest Group on Design Automation SIGDA                                                                   1997 present




       UNIVERSITY COMMITTEE                  ASSIGNMENTS


        Departmental

           Member Faculty Search Committee Electrical and Computer                               Engineering                   2010

           Member Steering Committee Wireless Networking and Communications                                      Group         2010 present

           VVNCG
           Coordinator Graduate Student Site Visit Integrated                       Circuits    and Systems      ICS           2009 present

           Track     Electrical     and Computer       Engineering

           Member Steering Committee Computer                         Engineering    Research Center           CERC            20082013

           Member Graduate Admissions                  Committee Integrated           Circuits    and Systems       ICS        2008 present

           Track     Electrical     and Computer       Engineering

           Member Graduate Admissions Committee Computer                              Engineering       CEComputer             2008 present

           Architecture       and Embedded         Processors         CAEPTrack        Electrical     and Computer

           Engineering

           Member Curriculum Committee Integrated                        Circuits   and Systems        ICS Track               2008 present
           Electrical    and Computer Engineering

           Member Curriculum Committee Computer Engineering CEComputer Architecture                                            2008 present
           and Embedded Processors CAEP Track Electrical and Computer Engineering

           Member Graduate              Studies   Committee Electrical and Computer                   Engineering              2008 present


       PROFESSIONAL            OUTSIDE COMMITTEES


        Governmental

           Panel    Reviewer        National    Science      Foundation                                                        2013

        Journals


           Associate     Editor     ACM Transactions           on Embedded Computing                 Systems    TECS           2013 present

           Editorial    Board Design Automation               for   Embedded Systems           DAEM                            2012 present

        Conferences

           Chair Technical          Area Architecture          and     Implementation          Asilomar Conference        on   2013

           Systems Signals and Computers                    ACSSC
           Co Chair with J           Xue       Track   T8    Embedded          SystemsHVVSW            CodesignLogic           2013

           High     Level    Synthesis       IFIPIEEE         International     Conference       on    Very Large Scale
           Integration      VLSISoC
           Co Chair with           M Kreutz Technical           Program        Committee Electronic System             Level   2013

           Synthesis     Conference        ESLsyn
           Chair        Subcommittee              EDA1              System Level         Design        and       Codesign      20122013
           ACMEDACIEEE               Design Automation          Conference       DAC
           Member           Technical     Program         Committee         Electronic     System       Level    Synthesis     2012

           Conference        ESLsyn
           Co Chair with           P Brisk     Track   T11     Logic     and   highlevel    synthesis        SW synthesis      2012
           HWSW         co design         IFIPIEEE          International      Conference       on    Very     Large   Scale

           Integration      VLSISoC




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           Co Organizer          with      C Haubelt          Special      session       on    Embedded            Multi Processor         2011
           Software Synthesis               ACMEDACIEEE               Design Automation              Conference          DAC
           Registration         Chair      IEEE     International      Symposium              on    Performance          Analysis     of   2011

           Systems and Software                 ISPASS
           Member         Technical          Program         Committee           IEEE     International           Conference         on    20102013
           Computer Design             ICCD
           Coorganizer           with      C Haubelt         Workshop       on    Compiler Assisted               System On Chip           2010

           Assembly      CASA
           Co Organizer with               R D6mer Designer                Forum session             on    Embedded         Software       2010

           Development           for    Multi   Processor       System on Chip                IEEEACM             Asia    and     South
           Pacific    Design Automation             Conference       ASPDAC
           Member         Technical      Program              Committee          IEEE         Real Time           and     Embedded         2010

           Technology          and Applications Symposium               RTAS Work in Progress WiP Track
           Chair      Technical         Program       Committee        TPC         Austin          Conference       on     Integrated      2010

           Systems and Circuits             ACISC
           Chair       Topic           HardwareSoftware               Codesign            IEEEACMIFIP                    International     20092010
           Conference             on       HardwareSoftware                Codesign                and      System         Synthesis

           CODES+ISSS
           Tutorial    Chair Austin Conference                on Integrated Systems and Circuits                    ACISC                  2009

           Member       Technical          Program     Committee        Austin     Conference             on Integrated         Systems    2009
           and Circuits        ACISC
           Co Organizer           with       R Meier           W Mueller            Special          session       on      Hardware        2009

           Dependent           Software      for    Multi   Core     Embedded        Systems               IEEEACM          Asia    and
           South     Pacific    Design Automation             Conference        ASPDAC
           Member        Technical         Program      Committee IEEEACMIFIP                        International       Conference        20092013
           on HardwareSoftware                  Co Design and System             Synthesis         CODES+ISSS
           Member        Technical         Program          Committee      International           Conference       on    Compilers        2009 2011
           Architectures        and Synthesis         for   Embedded Systems             CASES
           Member        Technical         Program          Committee      International           Conference       on    Embedded         2008

           Systems and          Critical   Applications       ICESCA
           Member        Technical         Program      Committee          International       Conference          on    Design and        20082010
           Technology          of Integrated       Systems     in   Nanoscale      Era   DTIS
           Local     Arrangements          Chair International        Embedded Systems Symposium IESS                                      2007

           Member         Technical             Program       Committee           International            Embedded             Systems    20072013
           Symposium IESS

           Member        Technical         Program      Committee Design                Automation          and    Test    in    Europe    20062013
           DATE Conference

       COMMUNITY ACTIVITIES

        Reviewer

           IEEE Micro                                                                                                                      2013

           Elsevier    Embedded Hardware Design Microprocessors                                and       Microsystems                      2012

           IEEE Computer Architecture                 Letters       CAL                                                                    2012

           IEEE Transactions            on Multimedia         TMM                                                                          2012

           ACM Journal of Emerging Technologies                       in   Computing          JETC                                         2011

           IEEE Embedded System Letters                      ESL                                                                           20092010

           IEEE Transactions            on Industrial Informatics TII                                                                      20092010

           ACM Transactions             on Embedded Computing                   Systems       TECS                                         20092013




                                                                            3




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       Electrical   and Computer             Engineering                                                             Revised September              27 2013



            ACM Transactions            on Design Automation              of Electronic    Systems         TODAES                           20082013

            EURASIP Journal             of   Embedded Systems             JES                                                               2007

            Design Automation            for       Embedded Systems         DAEM Journal                                                    2006 2012
            Journal   of Systems         Architecture        JSA                                                                            2005 2010
            ACMIEEE Design Automation                       Conference     DAC                                                              19982011

            IEEE Transactions            on        Computer     Aided Design       of    Integrated     Circuits    and        Systems      20032004
            TCAD                                                                                                                            20092010

            IEEEACMIFIP              International          Conference      on    HardwareSoftware               Co design         and      20032004
            System Synthesis            CODES+ISSS
            IEEEACM         Asia     and South Pacific          Design Automation          Conference        ASPDAC                         20022003

            Journal   for   Circuits     Systems and Computers                  JCSC                                                        2002

            Design       Automation          and Test in Europe       DATE Conference                                                       1999 2002
            IEEE Transaction          on VLSI Systems            TVLSI                                                                      2000 2005
            IEEE Design            Test of Computers            DT        Magazine                                                          1999 2010
            International      Symposium on System                Synthesis      ISSS                                                       1998

        Conferences

            Session Chair ACMEDACIEEE                          Design Automation         Conference         DAC                             2011

            Session Chair International                Embedded Systems Symposium IESS                                                      2009

            Session Co Chair IEEEACMIFIP                          International    Conference          on   HardwareSoftware                2009

            Codesign and System Synthesis                     CODES+ISSS
            Session       Chair       Automating             Model    Generation         and     Implementation                Design       2009
            Automation        and Test        in   Europe    DATE Conference
            Session Chair International                Embedded Systems Symposium IESS                                                      2007

            Organizer       Center       for       Embedded      Computer        Systems       CECS          booth        ACMIEEE           2007

            Design Automation            Conference          DAC
            Session Co Chair Design                   Automation     and Test     in    Europe   DATE Conference                            2006




       PUBLICATIONS            titles    are embedded            hyperlinks


       A    Refereed Archival Journal Publications


           J12    D Pfeifer J Valvano A Gerstlauer SimConnect                                  and     SimTalk     for    Distributed     CyberPhysical
                  System       Simulation             Simulation     Transactions         of   the     Society     for     Modeling      and   Simulation

                  International       accepted        for   publication    November 2012

           J11    K He A Gerstlauer M Orshansky                       Circuit Level        Timing Error Acceptance  for Design of Energy

                  Efficient    DCTIDCTbased                Systems IEEE Transactions on                 Circuits and Systems    for Video

                  Technology     TCSVT                vol 23 no 6 pp 961974 June 2013

           J10    J Lin       A Gerstlauer             B L Evans           Communication Aware                   Heterogeneous             Multiprocessor

                  Mapping      for   Real Time         Streaming     Systems Journal             of Signal    Processing          Systems vol 69 no
                  3 pp 279291 December 2012
           J9     A Pedram R A van                    de Geijn    A Gerstlauer Codesign Tradeoffs                        for   High Performance         Low
                  Power     Linear    Algebra Architectures IEEE Transactions on Computers                                      TC       special    issue   on

                  Energy      Efficient  Computing vol 61 no 12 pp 17241736 December 2012                                             18 acceptance
                  rate

           J8     P Razaghi          A Gerstlauer            Predictive     OS    Modeling       for   Host Compiled            Simulation     of   Periodic

                  Real Time Task             Sets IEEE Embedded System                   Letters     vol    4 no 1 pp 58 March               2012

           J7     J  Gladigau            A Gerstlauer            C Haubelt         M Streublihr            J Teich         Automatic        System Level
                  Synthesis From              Formal    Application       Models    to   Generic       Bus Based         MPSoCs Transactions                on




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                 High Performance Embedded                  Architectures    and Compilers Transactions                on   HiPEAC vol 5 no
                 4 22 pages 2011
           J6    G Schirner A Gerstlauer R D6mer Fast and Accurate Processor Models                                           for   Efficient    MPSoC
                 Design ACM Transactions on Design Automation                           of Electronic    Systems       TODAES             vol 15    no
                 2 article no 10 pp 126 February 2010
         J5      A Gerstlauer C Haubelt                    A D Pimentel T P Stefanov                  D D Gajski J Teich                   Electronic

                 System Level          Synthesis      Methodologies         IEEE       Transactions       on    Computer Aided             Design        of

                 Integrated    Circuits    TCAD vol 28 no 10 pp 15171530 October 2009
                                            and Systems

         J4      R DOmer A Gerstlauer J Peng D Shin L Cai H Yu S Abdi D D Gajski System on Chip
                 Environment         A SpecCbased           Framework     for   Heterogeneous MPSoC Design EURAS1P                               Journal

                 on EmbeddedSystems JES                       vol 2008   Article  ID 647953  13 pages 2008

         J3      D Shin A Gerstlauer R D6mer D D Gajski An Interactive Design Environment                                                for    C Based
                 Highlevel     Synthesis       of    RTL    Processors      IEEE       Transactions      on    Very Large Scale            Integration

                 Systems   TVLS1 vol 16 no 4 pp 466475 April 2008
         J2      A Gerstlauer D Shin J Peng R DOrner D D Gajski Automatic Layer based Generation of
                 System On Chip Bus Communication Models IEEE Transactions on Computer Aided Design of
                 Integrated Circuits and Systems TCAD vol 26 no 9 pp 16761687 September 2007

         J1      S B Saoud A Gerstlauer D D Gajski                           Codesign        Methodology          of   Real Time          Embedded
                 Controllers    for    Electromechanical        Systems American            Journal of Applied         Sciences         vol     2 no 9
                 pp 13311336           October 2005



       B    Refereed Conference            Proceedings


           C54 J Miao          A Gerstlauer M               Orshansky       Approximate         Logic    Synthesis       under        General         Error

                 Magnitude      and Frequency          Constraints       Proceedings       of the    IEEEACM International               Conference
                 on Computer Aided Design               ICCAD San Jose CA November 2013 26 acceptance                                          rate

           C53   S Lee A Gerstlauer Fine Grain Word Length Optimization                                 for    Dynamic      Precision         Scaling    in

                 DSP Systems             Proceedings        of the    IFIP1EEE     International        Conference       on    Very     Large         Scale

                 Integration    VLS1SoC             Istanbul    Turkey    November 2013          20 acceptance              rate     28 incl short
                 papers

           C52   S Chakravarty             Z Zhao A Gerstlauer Automated                     Retargetable         Back Annotation               for   Host

                 Compiled      Performance          and Power Modeling             Proceedings       of the IEEEACMIFIP                  International

                 Conference       on HardwareSoftware             Codesign       and System       Synthesis      CODES+ISSS Montreal
                 Canada October 2013                28 acceptance         rate

           C51   A Mariano D Lee A Gerstlauer D Chiou Hardware and Software                                       Implementations              of   Prims

                 Algorithm     for    Efficient     Minimum      Spanning       Tree    Computation            Embedded
                                                                                                               Systems Design
                 Analysis    and      Verification    Proceedings      of the    IFIP InternationalEmbedded Systems Symposium
                 IESS Paderborn Germany edited by Gunar Schirner Marcelo GOtz Achim Rettberg Mauro C
                       Franz J Rammig vol 403 of IFIP Advances
                 Zanella                                            in  Information and Communication

                 Technology        Springer ISBN           9783642388521            pp 151158           June 2013

           C50   H Park A Gerstlauer Toward a Fast Stochastic Simulation Processor                                 for   Biochemical            Reaction

                 Networks       Proceedings          of the    IEEE   International     Conference       on Application Specific               Systems
                 Architectures       and Processors         ASAP Washington DC pp 5058 June 2013 22 acceptance
                 rate   36 incl short papers
           C49   A Pedram J McCalpin                  A     Gerstlauer      Transforming         A   Linear      Algebra        Core     to     An     FFT
                 Accelerator         Proceedings of the IEEE International Conference on Application Specific Systems
                 Architectures        and Processors            ASAP
                                                                  Washington                    DC
                                                                                     pp 175184 June 2013                                              22
                 acceptance       rate     36 incl short papers
           C48   P      Razaghi        A     Gerstlauer        Multi Core       Cache      Hierarchy          Modeling        for    Host Compiled
                 Performance          Simulation Proceedings             of the    Electronic    System        Level   Synthesis         Conference

                 ESLSyn        Austin       TX 6 pages June 2013 38 acceptance                       rate




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         C47    D Pfeifer A Gerstlauer J Valvano                          Dynamic         Resolution       in   Distributed     CyberPhysical System
                Simulation Proceedings                of the         ACM S1GSIM            Conference        on Principles          of Advanced              Discrete

                     PADS Montreal Canada pp 277284 May 2013 39 acceptance rate
                Simulation

         C46 A Pedram A Gerstlauer R van de Geijn Floating Point Architecture Extensions Optimized                                               for

                Matrix    Factorization            Proceedings            of the     21s     IEEE    International           Symposium           on     Computer
                Arithmetic    AR1TH21             AustinTX pp 4958 April 2013 28 acceptance rate
         C45    K He A Gerstlauer                 M Orshansky Low Energy Digital Filter Design Based                                             on    Controlled

                Timing     Error    Acceptance              Proceedings             of    the     IEEE     International       Symposium               on     Quality

                Electronic    Design       1SQED San Jose CA pp 151157                               March       2013

         C44 J Miao K He A Gerstlauer M Orshansky Modeling and Synthesis of Quality Energy Optimal
             Approximate Adders Proceedings of the IEEEACM International Conference on Computer

             Aided Design 1CCAD San Jose CA pp 728735 November 2012           acceptance rate                            24
         C43 J      W Massey J            Starr     S Lee D Lee A Gerstlauer R W                                Heath     Implementation of a                     Real
                Time     Wireless    Interference          Alignment          Network           Proceedings        of the      Asilomar Conference                   on

                Signals     Systems        and Computers               ACSSC Pacific               Grove        CA pp 104108                November              2012
                invited   paper
         C42    D Lee H Park A Gerstlauer Synthesis of Optimized                                           Hardware       Transactors            from        Abstract

                Communication            Specifications             Proceedings          of the 1EEEACMIFIP International                      Conference            on
                HardwareSoftware                 Codesign           and      System       Synthesis        CODES+1SSS                  Tampere               Finland

                pp 403412          October 2012           28 acceptance                  rate

         C41    A Pedram A Gerstlauer R A                              van    de Geijn          On    the       Efficiency     of    Register         File    versus
                Broadcast     Interconnect          for   Collective         Communications          in    Data Parallel       Hardware          Accelerators

                Proceedings        of the        IEEEIFIP           International        Symposium         on Computer           Architecture           and High
                Performance         Computing             SBACPAD                  New      York      NY         pp 1926            October         2012          28
                acceptance     rate

         C40    A Pedram S Z Gilani N S Kim R van de Geijn M Schulte A Gerstlauer A Linear Algebra
                Core Design          Level 3 BLAS Proceedings
                                   for    Efficient           of the IEEE International Conference on

                Application   Specific      Systems Architectures and Processors                                  ASAP         Delft       The      Netherlands

                pp 149152          July   2012 poster presentation

         C39    K He A Gerstlauer M Orshansky Low Energy Signal Processing using Circuit Level Timing
                Error    Acceptance              Proceedings          of the       IEEE    International         Conference          on    Integrated         Circuit

                Design and Technology               ICICDT Austin TX 4 pages May 2012 invited paper
         C38    A Gerstlauer S Chakravarty                     M Kathuria P Razaghi Abstract System Level Models                                            for   Early

                Performance        and         Power Exploration              Proceedings          of the       IEEEACM         Asia      and South           Pacific

                Design     Automation            Conference           ASPDAC              Sydney         Australia      pp 213218             January             2012
                invited   paper
         C37    P Razaghi A Gerstlauer Automatic Timing Granularity Adjustment                                           for   Host Compiled Software

                Simulation         Proceedings            of    the       IEEEACM           Asia     and        South    Pacific       Design         Automation
                Conference     ASPDAC Sydney Australia pp 567572 January 2012 34 acceptance                                                                   rate

         C36    D Pfeifer A Gerstlauer Expression Level Parallelism                                  for    Distributed      Spice        Circuit     Simulation

                Proceedings         of     the     IEEEACM             International        Symposium             on    Distributed         and       Real        Time

                Applications       DSRT Manchester                     United      Kingdom pp 1217 September 2011
         C35    M S Lopez A Gerstlauer A Avila S 0 MartinezChapa A Programmable and Configurable
                Multi port     System on Chip               for       Stimulating          ElectrokineticallyDriven                 Microfluidic         Devices
                Proceedings        of the       International        Conference          of theIEEE Engineering                in    Medicine and Biology

                Society    EMBC Boston MA pp 83618364                                    September 2011

         C34    A AbdelHadi    J Michel A Gerstlauer S Vishwanath                                           Real Time           Optimization            of        Video

                Transmission        in     a    Network        of    AAVs IEEE             Vehicular       Technology          Conference             VTC          San

                Francisco     CA 5 pages September 2011




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         C33    A Pedram A Gerstlauer R A van                             de Geijn            A High Performance                  Low Power                Linear   Algebra
                Core       Proceedings           of    the       IEEE    International             Conference          on    Application Specific              Systems
                Architectures       and Processors                ASAP Santa                      Monica       CA pp 3542                September           2011        26
                acceptance      rate

         C32 J Lin A Srivatsa             A Gerstlauer B L Evans                             Heterogeneous             Multiprocessor     Mapping for Real
                Time      Streaming      Systems Proceedings                       of        the    IEEE     International        Conference on Acoustics

                Speech     and Signal Processing                  ICASSP           Prague Czech Republic                      pp 16051608                   May 2011
         C31 P Razaghi          A Gerstlauer Host Compiled Multicore RTOS                                           Simulator       for    Embedded Real Time
                Software     Development                   Proceedings        of the         Design        Automation         and        Test    in    Europe        DATE
                Conference         Grenoble France                6   pages       March           2011   27 acceptance               rate

         C30 K He         A Gerstlauer M Orshansky                        Controlled               Timing Error Acceptance                 for   Low        Energy       IDCT
                Design       Proceedings              of   the    Design       Automation                and    Test    in    Europe        DATE             Conference

                Grenoble      France     6   pages           March      2011      27 acceptance                 rate

         C29    R Domer W Chen X Han A Gerstlauer                                            Multi Core         Parallel       Simulation             of    System Level
                Description        Languages                Proceedings           of        the     IEEEACM           Asia     and        South        Pacific       Design
                Automation         Conference              ASPDAC             Yokohama               Japan          pp 311316            January           2011      invited

                paper

         C28 J Gladigau            A Gerstlauer C Haubelt                          M Streublihr                J Teich        A      System Level                 Synthesis

                Approach      from Formal Application                    Models        to    Generic       Bus Based          MPSoCs Proceedings                         of the

                IEEE     International       Conference            on    Embedded             Computer      Systems Architectures                          Modeling        and
                Simulation     SAMOS Samos Greece                             pp 118125               July 2010

         C27    A Gerstlauer Host Compiled Simulation of                                Multi      Core Platforms Proceedings                         of the      IEEEIFIP
                International      Symposium               on Rapid      System Prototyping                    RSP Washington                    DC 6 pages               June
                2010 invited paper

         C26    A Gerstlauer G Schirner                     Platform Modeling                for    Exploration      and Synthesis               Proceedings             of the

                IEEEACM Asia and South Pacific Design Automation                                           Conference          ASPDAC Taipei Taiwan
                pp 725731 January 2010 invited paper
         C25    G Schirner         A Gerstlauer R D6mer                           System Level               Development            of    Embedded                Software
                Proceedings            IEEEACM Asia and South Pacific Design Automation
                                   of the                                                                                                        Conference              ASP
                DAC       Taipei Taiwan pp 903909 January 2010 invited paper

         C24    A Pedram D Craven                      A Gerstlauer               Modeling            Cache         Effects    at    the        Transaction           Level
                Analysis      Architectures                and    Modeling         of        Embedded           Systems           Proceedings                of    the     IFIP

                International      Embedded            Systems          Symposium             IESS         Langenargen           Germany              edited       by Achim
                Rettberg      Mauro Zanella                Michael      Amann          Michael        Keckeisen         Franz       Rammig vol 310 of IFIP
                Advances      in   Information             and    Communication               Technology            Springer           9783642042836
                                                                                                                                    ISBN

                pp 89101        September 2009 best paper runnerup

         C23    A Banerjee A Gerstlauer Transaction                               Level           Modeling     of   Best Effort      Channels              for    Networked
                Embedded Devices                 Analysis Architectures                     and Modeling of Embedded                      Systems Proceedings
                of the    IFIP International          Embedded Systems Symposium                               IESS          Langenargen              Germany edited
                by Achim Rettberg            Mauro Zanella               Michael        Amann Michael                Keckeisen           Franz
                                                                                                                                          Rammig vol 310
                of IFIP Advances            in   Information            and   Communication                Technology            Springer ISBN 9783642
                042836 pp 7788 September 2009
         C22    R D6mer A Gerstlauer W Mueller                                Introduction            to   Hardware Dependent                    Software           Design
                Proceedings        of the  IEEEACM Asia and South Pacific Design Automation                                                      Conference              ASP
                DAC Yokohama             Japan pp 290292 January 2009 invited paper
         C21    A Gerstlauer J Peng D Shin D Gajski A Nakamura D Araki Y Nishihara                                                                Specify Explore
                Refine SER From Specification   Implementation Proceedings of the ACMIEEE Design
                                                                         to

                Automation Conference DAC Anaheim CA pp 586591 June 2008 invited paper

         C20    G Schirner A Gerstlauer R D6mer Automatic Generation of Hardware Dependent                                                                          Software
                for   MPSoCs from Abstract                  System Specifications                    Proceedings        of the  IEEEACM Asia and South
                Pacific    Design Automation                 Conference           ASPDAC Seoul South                          Korea pp 271276 January
                2008      29 acceptance               rate




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         C19    G Schirner G Sachdeva A Gerstlauer R D6mer Embedded Software                                                                    Development              in    a

                System Level           Design         Flow      Embedded              System          Design         Topics         Techniques               and     Trends

                Proceedings          of the       IFIP International        Embedded Systems Symposium                              IESS             Irvine    CA edited
                by    A Rettberg M Zanella                   R D6mer A Gerstlauer F Rammig vol 231                                             of IFIP       Advances          in

                Information          and    Communication            Technology            Springer          ISBN     9780387722573                          pp 289298
                June 2007

         C18    D Shin A Gerstlauer R D6mer D D Gajski An Interactive Design Environment                                                                      for   C based
                High Level       Synthesis           Embedded          System Design Topics                        Techniques and Trends                     Proceedings
                of    the     IFIP    International          Embedded              Systems        Symposium               IESS           Irvine        CA       edited        by
                A Rettberg           M Zanella R D6mer A Gerstlauer F Rammig vol 231 of IFIP Advances                                                                          in

                Information          and    Communication            Technology            Springer          ISBN     9780387722573                          pp 135144
                June 2007

         C17    G Schirner A Gerstlauer R D6mer Abstract                                        Multifaceted        Modeling        of   Embedded              Processors
                for    System        Level        Design      Proceedings            of    the       IEEEACM          Asia       and      South        Pacific        Design
                Automation           Conference           ASPDAC               Yokohama               Japan         pp 384389             January            2007       32
                acceptance       rate

         C16    R D6mer A Gerstlauer D Shin Cycle accurate                                        RTL Modeling with Multi Cycled and                                Pipelined

                Components             Proceedings           of the    IEEE        International     SoC Design Conference                            SOCC Seoul
                Korea 4 pages              October 2006

         C15    D Shin A Gerstlauer J Peng R D6mer D D Gajski                                                  Automatic          Generation            of    Transaction

                Level        Models        for    Rapid     Design        Space       Exploration                 Proceedings            of    the     IEEEACMIFIP
                International              Conference         on       HardwareSoftware                       Codesign            and          System           Synthesis

                CODES+ISSS                  Seoul Korea pp 6469                     October 2006             25 acceptance                rate

         C14    D Shin A Gerstlauer R D6mer                                 D D Gajski                Automatic           Generation            of     Communication

                Architectures              From     Specification      to   Embedded             Systems           Application       Proceedings               of the    IFIP

                International                Symposium IESS Manaus Brazil edited by A Rettberg
                                      Embedded            Systems
                M C Zanella F Rammig vol 184 of IFIP On Line Library in Computer Science Springer ISBN
                0387275576 pp 179188 September 2005
         C13    D Shin A Gerstlauer R Domer D D Gajski Automatic Network                                                         Generation            for    System     On
                Chip Communication                  Design Proceedings                of the         IEEEACMIFIP                 International          Conference            on
                HardwareSoftware                  Codesign     and System Synthesis                        CODES+ISSS               Jersey        City       NJ pp 255
                260 September 2005                   25 acceptance                 rate

         C12    A Gerstlauer D Shin R D6mer D D Gajski                                            System Level              Communication                 Modeling            for

                Network       On Chip            Synthesis     Proceedings            of    the       IEEEACM             Asia    and     South         Pacific       Design
                Automation            Conference           ASPDAC                  Shanghai               China      pp 4548             January             2005       27
                acceptance       rate

         C11 L Cai A Gerstlauer D Gajski Multi Metric                                     and    Multi Entity       Characterization              of Applications             for


                Early       System Design Exploration                  Proceedings          of theIEEEACM Asia and South Pacific Design
                Automation           Conference        ASPDAC Shanghai                      China pp 944947 January 2005 Poster 40

                acceptance       rate

         C10 L Cai A Gerstlauer                     D Gajski         Retargetable           Profiling         for   Rapid        Early        System Level            Design
                Space        Exploration           Proceedings        of the       ACMIEEE            Design Automation              Conference               DAC San
                Diego        CA pp 281286              June 2004          20 acceptance                    rate

         C9     H Yu A Gerstlauer D Gajski RTOS Scheduling                                           in   Transaction       Level    Models Proceedings                        of

                the     IEEEACMIFIP                 International         Conference             on       HardwareSoftware                Codesign                   System
                Synthesis       CODES+ISSS                 Newport Beach              CA pp 3136 October 2003 21 acceptance                                             rate

         C8     A Gerstlauer H Yu D D Gajski RTOS Modeling  System Level Design Proceedings of the   for


                Design Automation and Test   Europe DATE Conference
                                                                in  Munich Germany pp 130135
                March        2003     17 acceptance                rate     Reprinted           as    P3      in    The    Most Influential              Papers         of 10
                    Years   DATE
         C7     W Mueller R D6mer A Gerstlauer The Formal                                         Execution         Semantics        of       SpecC          Proceedings
                of the International             Symposium on System                 Synthesis            1555      Kyoto Japan pp 150155                            October
                2002        33 acceptance             rate




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           C6    A Gerstlauer        D D Gajski System Level                    Abstraction              Semantics         Proceedings          of   the

                 International     Symposium on System Synthesis                ISSS          Kyoto       Japan pp 231236            October 2002

                 33 acceptance            rate

           C5    S B Saoud D D Gajski A Gerstlauer Seamless Approach for the                                          Design of Control Systems
                 for   Power Electronics         and   Electric   Drives Proceedings            of the     IEEE International        Conference       on

                 Systems Man and Cybernetics                SMC Hammamet Tunisia 6 pages October 2002
           C4    S B Saoud          D D Gajski A Gerstlauer Co Design                              of    Embedded         Controllers     for    Power
                 Electronics      and     Electric     Systems       Proceedings         of    the       IEEE   International       Symposium         on

                 Intelligent    Control   ISIC       Vancouver      Canada     pp 379383                October 2002

           C3    S B Saoud D D Gajski A Gerstlauer Co Design of Emulators                                       for   Power Electric       Processes

                 Using      SpecC Methodology             Proceedings      of the    28th     Annual       Conference      of the    IEEE Industrial
                 Electronics      IECON Sevilla Spain pp 21432148 November 2002
                                 Society

           C2    A Gerstlauer S Zhao D Gajski A Horak SpecC System Level Design Methodology                                                     Applied

                 to   the   Design of a GSM Vocoder               Proceedings       of the    Ninth      Workshop on Synthesis and System
                 Integration     of Mixed   Technologies          SASIMI     Kyoto Japan 8 pages                  April   2000

           Cl    M BOhler A Gerstlauer B St6hr U G Baitinger Eine                                       geeignete     Schaltkreistechnologie         fur

                 einen      3DS01Prozess          mit T Gate      Transistoren in German                  8 ITG     Fachtagung       Mikroelektronik

                 far   die lnformationstechnik          Hannover     Germany March             1998


       C    Other Major Publications


           D2    R D6mer A Gerstlauer D Gajski SpecC Language                              Reference Manual                 Version       20 SpecC
                 Technology       Open Consortium          STOC 151 pages              December 2002

           Dl    R D6mer A Gerstlauer D Gajski SpecC Language                                  Reference        Manual      Version       10 SpecC
                 Technology       Open Consortium          STOC       84 pages        March     2001


       D    Books      Editor of Books



           B7    D D Gajski            S Abdi      A Gerstlauer           G Schirner          Embedded           System       Design       Modeling

                 Synthesis       Verification     Springer ISBN      9781441905031                      349 pages      September 2009

           B6    A Rettberg        M Zanella           R D6mer A Gerstlauer F Rammig                            editors      Embedded    System
                 Design Topics          Techniques       and Trends        Springer         ISBN     9780387722573               444 pages June

                 2007

           B5    A Gerstlauer R D6mer J Peng D D Gajski System Design A Practical Guide with SpecC
                 Chinese       Edition Translated        by Jinian Bian and Hongxi              Xue       Tsinghua      University    Press China
                 ISBN       9787302132899              260 pages January 2008

           B4    A Gerstlauer R D6mer J Peng D D Gajski System Design A Practical Guide with SpecC
                 Japanese Edition Translated              by Tsuneo Kinoshita          SpecC Technology Open Consortium Japan
                 252 pages June 2001

           B3    A Gerstlauer R D6mer J Peng D D Gajski System Design A Practical                                             Guide with        SpecC
                 Kluwer Academic          Publishers ISBN         0792373871            255 pages          June 2001

           B2    D D Gajski        J Zhu         R D6mer A Gerstlauer S Zhao                         SpecC Specification             Language        and
                 Methodology        Japanese Edition Translated              by Tsuneo Kinoshita          CQ Publishing             Japan ISBN        4
                 789833534          309 pages December 2000

           B1    D D Gajski        J Zhu         R Domer A Gerstlauer S Zhao                SpecC Specification Language                             and

                 Methodology        Kluwer Academic          Publishers ISBN         0792378229 313 pages March 2000


       E    Chapters of Books


           P5    G Schirner        R Domer A Gerstlauer                   High Level          Development             Modeling      and    Automatic

                 Generation       of    Hardware Dependent            Software         in     W Ecker W Mueller R Donner                         eds



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                 Hardware Dependent             Software    Principles         and     Practice          Springer            ISBN      9781402094354
                 pp 203231          January 2009

           P4    H Zabel W Mueller A Gerstlauer Accurate RTOS Modeling and                                               Analysis        with   SystemC in
                 W Ecker W Mueller R D6mer eds Hardware Dependent Software                                                         Principles   and Practice

                 Springer ISBN        9781402094354              pp 233260            January 2009

           P3    A Gerstlauer H Yu D D Gajski RTOS Modeling                                 forSystem Level Design in                         R Lauwereins
                 J Madsen      eds Design           Automation           and Test      in    Europe The Most Influential                        Papers      of   10

                    Years DATE      Springer ISBN      9781402064876                   pp 4758            March        2008

           P2    A Gerstlauer H Yu D D Gajski RTOS Modeling   System Level Design    A A Jerraya
                                                                                             for                                           in

                 S Yoo N When D Verkest eds Embedded Software      SoC Kluwer Academic Publishers       for

                 ISBN 1402075286 pp 5568 June 2003
           P1    A Rettberg F J Rammig A Gerstlauer                                D D Gajski                  W Hardt              B Kleinjohann     The
                 Specification      Language      SpecC    within       the    PARADISE            Design       Environment             in  B Kleinjohann
                 ed      Architecture    and Design of Distributed              Embedded               Systems Kluwer Academic                      Publishers
                 ISBN    0792373456 pp 111120                   April   2001


       F    Workshop Proceedings


           W4    J Miao       A Gerstlauer        M Orshansky             Modeling          and        Synthesis         of        Quality Energy         Optimal
                 Approximate        Adders      Work in Progress          WIP         session           ACMEDACIEEE                    Design       Automation
                 Conference      DAC San Francisco              CA June 2012
           W3    A Pedram A Gerstlauer R van de Geijn Overcoming                                       Register       File   Inefficiencies     by Using 2D
                 Broadcast     Bus      Interconnects      in    Linear        Algebra        Accelerators                   3rd    Workshop         on    SoCs
                 Heterogenenous        Architectures    and Workloads              SHAW      3 New             Orleans         LA February 2012
           W2    R Domer A Gerstlauer               D Gajski            SpecC         Methodology               for     High Level            Modeling           9th

                 IEEEDATC        Electronic    Design Processes           Workshop          Monterey            CA April 2002
           Wl    R D6mer A Gerstlauer P Kritzinger M Olivarez The SpecC System Level                                                     Design Language
                 and    Methodology      Part    2 Embedded Systems Conference ESC San Francisco                                               CA March
                 2002



       G    Technical    Reports


           R40   W C Su P Razaghi               A Sinha A Gerstlauer Design of Flexible Audio Processing                                             Platforms

                 using the    System on Chip Environment                  CERC UT Austin Technical                             Report     UTCERC1206
                 August 2012

           R39   M Kathuria         A Gerstlauer       A Framework              for    Automation              of     System Level            Design       Space
                 Exploration        CERC UT Austin Technical                  Report UTCERC1205                        June 2012

           R38   A Pedram A Gerstlauer R van                    de   Geijn  Co Design Tradeoffs for High Performance Low
                 Power    Linear     Algebra     Architectures          CERC UT Austin Technical Report UTCERC1202
                 October 2011

           R37   A Goswami A Gerstlauer                ExtractCFG              A   Framework              to    Enable             Accurate     Timing      Back

                 Annotation    of   C Language Source Code                    CERC UT Austin Technical                         Report     UTCERC1102
                 August 2011

           R36   H Park X Shen H Vikalo A Gerstlauer AlgorithmArchitecture                                               Co Design         of   a    Stochastic

                 Simulation    System on Chip           CERC         UT       Austin    Technical              Report        UTCERC1101                   January
                 2011

           R35   A Pedram A Gerstlauer R van                    de   Geijn      Towards            a    High Performance                Low Power          Linear

                 Algebra Processor CERC UT Austin Technical Report    UTCERC1003                                                    September 2010

           R34   P S Bomfim A Gerstlauer Integration of Virtual Platform Models into a System Level Design
                 Framework CERC UT Austin Technical Report UTCERC1002 August 2010




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         R33    A Gerstlauer D Shin S Abdi P Chandraiah                                D Gajski Design of a MP3                      Decoder using the

                System On Chip Environment                 SCE          Technical         Report    CECSTR0705                    Center      for   Embedded
                Computer Systems               UC Irvine    October 2007

         R32    A Gerstlauer G Schirner D Shin J Peng R D6mer D Gajski System On Chip Component
                Models Technical Report CECSTR0610                             Center for Embedded                   Computer Systems               UC Irvine
                May 2006

         R31    EJ Johnson A Gerstlauer                    R Doemer Efficient                 Debugging             and    Tracing       of   System      Level

                Designs         Technical       Report     CECSTR0608                  Center      for       Embedded       Computer          Systems UC
                Irvine   May 2006
         R30    G Schirner G Sachdeva A Gerstlauer R D6mer Modeling                                              Simulation        and    Synthesis       in   an
                Embedded         Software       Design     Flow   forARM Processor Technical
                                                                         an                                                 Report       CECSTR0606
                Center for Embedded Computer                 Systems UC Irvine May 2006
         R29    A Gerstlauer G Schirner D Shin    J Peng Necessary and Sufficient Functionality and
                Parameters    SoC Communication Technical Report CECSTR0601 Center for Embedded
                                 for


                Computer Systems UC Irvine May 2006

         R28    D Gajski A Gerstlauer R D6mer S Abdi                                J Peng          D        Shin    TL     Environment    Technical

                Report    CECSTR0510                Center for Embedded Computer Systems                              UC Irvine   July 2005

         R27    D Shin A Gerstlauer R D6mer D Gajski                                System on Chip Communication Modeling Style
                Guide       Technical      Report   CECSTR0425                Center    for Embedded Computer Systems UC Irvine

                July   2004

         R26    D Shin L Cai A Gerstlauer R Domer D Gajski System on Chip Transaction Level Modeling
                Style    Guide        Technical   Report     CECSTR0424                   Center       for   Embedded           Computer       Systems UC
                Irvine   July   2004

         R25    D Shin J Peng A Gerstlauer R D6mer D Gajski System on Chip Network Modeling Style
                Guide       Technical      Report   CECSTR0423                Center       for   Embedded Computer Systems UC                            Irvine

                July   2004

         R24    J Peng        A Gerstlauer R D6mer                  D Gajski           System on Chip Architecture Modeling                               Style

                Guide       Technical      Report   CECSTR0422                Center     for Embedded Computer Systems UC                                Irvine

                July   2004

         R23    R D6mer A Gerstlauer D Shin Cycle accurate                                 RTL Modeling with Multi Cycled and Pipelined
                Components Technical                Report   CECSTR0419                   Center for Embedded   Computer Systems UC
                Irvine July 2004

         R22    D Shin A Gerstlauer D Gajski                      Communication             Link       Synthesis      for   SoC Technical                Report
                CECSTR0416                Center for Embedded Computer                    Systems UC            Irvine     June 2004


         R21    D Shin A Gerstlauer D Gajski Network                           Synthesis         for    SoC Technical             Report      CECSTR04
                15 Center       for   Embedded Computer Systems UC                        Irvine    June 2004

         R20    L Cai A Gerstlauer               D Gajski     Retargetable             Profiling       for    Rapid  Early System Level Design
                Space       Exploration          Technical    Report          CECSTR0404                      Center  for  Embedded Computer
                Systems UC            Irvine   October 2003

         R19    D Shin A Gerstlauer R D6mer D Gajski                                C Based Interactive                   RTL    Design       Methodology
                Technical       Report         CECSTR0342               Center      for    Embedded            Computer          Systems            UC   Irvine

                December 2003

         R18    A Gerstlauer Communication Abstractions                          for   System Level            Design and         Synthesis         Technical

                Report    CECSTR0330                Center for Embedded Computer                       Systems UC Irvine October 2003
         R17    A Gerstlauer           L Cai      D Shin R D6mer D Gajski                  System On Chip Component Models
                Technical     Report      CECSTR0326              Center      for   Embedded Computer Systems UC Irvine August
                2003

         R16    S Abdi        J Peng           H Yu      D Shin         A Gerstlauer               R D6mer            D Gajski           System On Chip
                Environment       SCE Version 220
                                            Beta Tutorial Technical                                          Report       CECSTR0341                Center     for

                Embedded Computer Systems UC Irvine July 2003




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           R15     A Gerstlauer K Ramineni R D6mer D Gajski                                       System On Chip Specification Style Guide
                   Technical     Report       CECSTR0321                   Center        for    Embedded Computer Systems UC Irvine June
                   2003

           R14     H Yu A Gerstlauer D Gajski RTOS                                      Scheduling       in   Transaction        Level     Models Technical
                   Report CECSTR0312                     Center     for    Embedded Computer Systems UC                           Irvine   March 2003

           R13     D Gajski         J Peng          A Gerstlauer H Yu D Shin                       System Design Methodology and Tools
                   Technical    Report        CECSTR0302                  Center        for   Embedded Computer Systems UC Irvine January
                   2003

           R12     S Abdi J Peng R D6mer D Shin A Gerstlauer A Gluhak LCai Q Xie H Yu P Zhang D
                   Gajski System On Chip Environment SCE Tutorial Technical Report CECSTR0228
                   Center for Embedded Computer                     Systems UC Irvine September 2002
           R11     A Gerstlauer D Gajski System Level Abstraction                                      Semantics Technical            Report       CECSTR02
                   17 Center for Embedded Computer Systems UC                                     Irvine  July 2002

           R10     A Gerstlauer          SpecC           Modeling         Guidelines            Technical       Report     CECSTR0216                  Center     for

                   Embedded Computer Systems UC Irvine                              April      2002

           R9      J Peng      L Cai         A Gerstlauer D Gajski                      Interactive      System       Design      Flow       Technical       Report
                   CECSTR0215                 Center     for   Embedded Computer Systems UC                           Irvine     April 2002


           R8      W Mueller R D6mer D Gajski The Formal                                       Execution      Semantics of       SpecC Technical             Report
                   CECSTR0204                 Center     for   Embedded Computer Systems UC                           Irvine     January 2002

           R7      W Mueller R D6mer A Gerstlauer The Formal                                           Execution   Semantics of SpecC                   Technical

                   Report   ICSTR0159                Information          and Computer Science                 UC Irvine November 2001
           R6      A Gerstlauer             SpecC        Modeling          Guidelines            Technical       Report        ICSTR0048              Center      for

                   Embedded Computer Systems UC Irvine August 2000

           R5      A Gerstlauer          Communication              Software            Code     Generation           Technical      Report       ICSTR0046
                   Information      and Computer Science                   UC Irvine           August 2000

           R4      D Gajski J Zhu R D6mer A Gerstlauer S Zhao                                          The SpecC Methodology                    Technical    Report
                   ICSTR9956              Information       and Computer Science                      UC Irvine December 1999
           R3      L    Cai J Peng           C Chang A Gerstlauer H Li A Selka C Siska L Sun S Zhao D Gajski
                   Design      of    a      JPEG Encoding System Technical   Report ICSTR9954  Information and

                   Computer Science             UC Irvine November 1999
           R2      A Gerstlauer S Zhao                    D Gajski A M Horak                          Design     of   a   GSM      Vocoder         using     SpecC
                   Methodology           Technical         Report     ICSTR9911                  Information      and     Computer         Science     UC     Irvine

                   March 1999

           R1      A Gerstlauer S Zhao                   D Gajski          VHDL+SpecC                  Comparisons       A Case Study                   Technical

                   Report   ICSTR9823                Information          and Computer Science                 UC Irvine May 1998


       ORAL PRESENTATIONS

       A       Tutorials



           8       Designing         Multi   Processor          and        Multi   Core         Systems on Chip embedded   tutorial                           Austin

                   Conference        on Integrated         Systems and Circuits                 ACISC Austin Texas October 2009
           7       Modeling         Synthesis        and    Verification           in    System Level          Modeling        Analysis      and    Synthesis     of

                   Embedded         Multi   core     Designs       full
                                                                          day tutorial         with    S Abdi C Haubelt             W Ecker M Meredith
                   M Speitel J Teich D Gajski                       organizer                 Design     Automation        and     Test    in    Europe      DATE
                   Conference        Nice      France      April   2009

           6       Principles       of   Embedded Systems Modeling                             Synthesis      and Verification        in   High Level       Design
                   twoday      tutorial      with    M    organizer
                                                          Fujita                          D Gajski S Abdi VLSI Design Education                              Center

                   VDEC Tokyo               Japan January 2008




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                 Embedded            System Modeling                       in   Concepts            and    Tools     for   Practical           Embedded            System Design
                 half   day tutorial        with    S Abdi D Gajski N Duff organizer                                           IEEEACM                 Asia   and    South     Pacific

                 Design Automation                Conference               ASPDAC Yokohama                           Japan January 2007
                 System Level Modeling and Design                                     Experimentation              with    SpecC          in    System Level          Specification

                 beyond        RTL      half day     tutorial         with       J Zhu         A Jerraya D Gajski organizer                               Design        Automation
                 and Test      in   Europe        DATE Conference                            Paris France           March      2002

                 Modeling and              Design with           SpecC                and    Design        of a     GSM Vocoder in SpecC Language and
                 Design        Methodology               half day           tutorial         with    T     Ishii    J Zhu D Gajski organizer Design
                 Automation          and Test       in   Europe        DATE Conference                        Munich Germany March 2001

                    Modeling        and    Design        with    SpecC                and     Design        of a    GSM Vocoder                   in    SpecC Language and
                 Design        Methodology               twoday             tutorial         with    R      DOmer          D    Gajski            Motorola         Semiconductor

                 Products Section               Austin     April      2001

                 Modeling           and     Design        with       SpecC              in    SpecC        Language            and    Design            Methodology           full   day
                 tutorial   with    T      M Olivarez C Siska D Araki D Gajski organizer IEEEACM Asia
                                          Ishii    J Zhu
                 and South Pacific Design Automation Conference ASPDAC Yokohama Japan January 2001



       B    Workshop        Presentations



                 Dataparallel           Accelerator         Design beyond                     GPUs IEEE Central Texas Section           CASSSCCEDA
                 Workshop on Data                 Parallelism         for       Multi   Core Chips and              GPU Austin TX October 2012
                 Teaching       Experience               Developing a Class on Embedded                                   Systems in Young                    Faculty   Workshop
                 ACMEDACIEEE                    Design Automation                     Conference           DAC San Francisco June 2012
                 OS and Processor Modeling                             in    workshop           on Hardware Dependent                          Software       HdS ACMIEEE
                 Design Automation                Conference               DAC San Diego June 2007

       C    Keynotes and Distinguished                    Lectures



                 Software           Synthesis        for       Embedded                 Multicore         Systems           Keynote              Brazilian         Symposium          on

                 Computing System Engineering                              SBESC              Florianopolis Brazil              November 2011


       D    Invited    Talks



           48    System Level              Design         of     Embedded                   Systems           Department             of        Electrical       Engineering          and
                 Information        Technology             Karlsruhe             Institute      of Technology             KIT Karlsruhe Germany June 2013
           47    Models and           Architectures         for Heterogeneous System Design Department                                                  of Computer          Science

                 University     of California            Los Angeles Los Angeles CA May 2013

           46    Host Compiled               System         Models              for     Early       Power     and         Performance             Exploration           Qualcomm
                 Technologies           QCT Inc San Diego CA May 2013
           45    Models and Architectures                      for    Heterogeneous                 System Design Department                             of Computer          Science
                 and Engineering             University          of California               San Diego         San Diego         CA May 2013
           44    Models and           Architectures            for    Heterogeneous                  System         Design       Center           for   Embedded Computer
                 Systems       CECS University                   of California Irvine                     Irvine    CA May 2013
           43    Models and           Architectures            for   Heterogeneous                  System Design Center for Experimental                                    Research
                 in   Computer        Systems        CERCS Georgia                           Institute     of Technology             Atlanta        GA April 2013
           42    Models         and       Architectures              for        Heterogeneous               System          Design              Design        of    Robotics         and

                 Embedded           Systems Analysis                   and       Modeling           Seminar     DREAMS Center    Electronic System      for

                 DesignCenter             for     Hybrid       and     Embedded                Software       Systems CHESS University of California

                 Berkeley       Berkeley          CA April 2013
           41    Models        and        Architectures              for    Heterogeneous                  System          Design              Center     for      Silicon    System
                 Implementation            CSSI Carnegie Mellon University                                   Pittsburgh         PA April 2013
           40    Heterogeneous              System Design                    Intel      Research           Hillsboro Oregon                March        2012




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         39     A Low Power High Performance Linear Algebra Core NSF                                                  Center    for   Embedded         Systems
                Faculty of Computer        Science           and Engineering               Arizona     State    University      February 2012

         38     A Low Power High Performance Linear Algebra Core Tech Topics Seminar Series Advanced
                Micro   Devices     AMD Austin TX November 2011
         37     Circuit Level     Timing Error Acceptance                      for    Low Energy         Signal      Processing       Cirrus    Logic    Austin

                TX November 2011
         36     Using     Cutting   Edge    Tools           for   Communication                 System     Design        National     Instruments       NIVVeek

                conference     Austin     TX August 2011
         35     System Level           Design        of     Heterogeneous                 Embedded         Multi   Core    Platforms           Department      of


                Informatics    University       of Tubingen             Germany June 2011
         34     Low Power         High    Performance             Linear       Algebra          Processing         IBM   Austin    Research      Lab Austin
                Texas May 2011
         33     System Level Design             of    Heterogeneous                 Embedded       Multi   Core Platforms Huawei                Technologies
                USA     Dallas Texas March                 2011

         32     Embedded       System       Design Challenges                   and       Trends Texas Instruments Dallas Texas March
                2011

         31     Embedded       Systems Research                   3M Austin Texas January 2011
         30     System Level Design of MultiProcessorMultiCore                                     Systems on Chip Intel Research                      Hillsboro

                Oregon November 2010
         29     System Level Design        Heterogeneous Low Power
                                                for                                                    and   High Performance Compute                   Fabrics
                National   Instruments Austin Texas October 2010

         28     Heterogeneous          Computing            and the      System Level             Design Challenge              Advanced       Micro    Devices

                AMD Austin Texas August 2010
         27     System Level           Design        of     Embedded           MultiProcessorMultiCore                    Systems on Chip               National

                Instruments Berkeley Research Lab June 2010

         26     System Level Design of MultiProcessorMultiCore                                         System on Chip              Qualcomm           Bay   Area
                Research and Development group June 2010

         25     Designing      Multi   Processor            and    Multi   Core Systems on Chip IEEE                           Central   Texas        SSCCAS
                Chapter Austin Texas February 2010

         24     Electronic     System       Level           Modeling          for    Automated         MPSoC          Design      and    Exploration         IBM
                Research       Development                Boblingen        Germany August 2009
         23     High Level        Programming               Prototyping             and    Synthesis       of   MPSoC Software                 Department      of

                Computer Science          University          of Erlangen Nuremberg                    Germany July 2009
         22     Electronic    System       Level          Modeling      for    Automated          MPSoC         Design    and     Exploration         Freescale
                Austin    TX January 2009
         21     High Level Programming Prototyping and Synthesis of MPSoC Software                                                             Department      of

                EmbeddedRealTime Systems University of Ulm Germany December 2008

         20     Electronic    System       Level          Modeling      for    Automated           C Based         MPSoC        Design   and     Exploration
                IBM Austin Research Labs December 2008

         19     Electronic    System       Level          Modeling       Design           and    Synthesis      of   Embedded         Computer        Systems
                National   Instruments Austin                TX November 2008
         18     System Level Modeling                for    Embedded System Design Automation                             Department       of Electrical     and

                Computer      Engineering        Florida International   University April 2008


         17     System Level        Modeling          for    Embedded               System       Design Automation              Department       of    Electrical


                Engineering       University     of Hawaii         at   Manoa         April     2008

         16     System Level Modeling                for    Embedded System Design Automation                             Department       of Electrical     and

                Computer      Engineering        University     of Texas at Austin March 2008

         15     System Level        Modeling          for    Embedded              System       Design Automation              Department        of   Computer
                Science    and Engineering                University    of Texas          at   Arlington     March    2008




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            14    Automated              C Based         Design       of    Multi      Processor        Systems On Chip                Department         of    Computer
                  Science      University           of Erlangen Nuremberg                     Germany March 2008
            13    System Level                 Modeling    for       Embedded               System     Design Automation                Department         of   Electrical


                  Engineering            and Computer           Science          University         of Kansas       Lawrence       February 2008

            12    Programming                  Modeling and Synthesis of Multi Processor System Software Electronics Design
                  Seminar       Department            of Electrical and Computer Engineering   University of California Santa

                  Barbara February 2008

            11    Embedded               Processor        and    RTOS            Modeling       for    Rapid        Early   MPSoC        Design     and    Validation
                  Fujita   lab University of Tokyo                   Japan August 2007
            10    Embedded           Processor           and    RTOS         Modeling          for   Multi Processor        Design and Validation                Institute

                  of   Computer           Architecture         and     Computer              Engineering           University     of   Stuttgart    Germany June
                  2007

            9     Embedded               Processor         and        RTOS            Modeling         for    Multi Processor          Design      and     Validation
                  Department             for    Base    Technologies                   Services        Infineon      Technologies        AG     Munich          Germany
                  June 2007

            8     Embedded               Processor        and    RTOS            Modeling       for    Rapid        Early   MPSoC        Design     and    Validation
                  Institute   for    Integrated Systems Munich                          University      of Technology           Munich Germany June 2007
            7     Modeling          of    Embedded         Processors                 and    Real Time        Operating     Systems       for   Rapid      Early    Multi

                  Processor         Systems            Design    and       Validation            C LAB         University    of    Paderborn        Germany June
                  2007

            6     A System Design Environment                          for   Automatic          Model        Generation     and    Prototyping        Research        and
                  Advance      Development               Robert Bosch                 GmbH Schwieberdingen                  Germany March 2006
            5     Layer Based              Communication              Design           for   Automatic        SoC    Platform      Generation        Department         of

                  Computer      Engineering              University         of Tubingen              October 2005

            4     Methodology                 and   Environment            for    System Level           Design         Xilinx    Research        Laboratories        San

                  Jose CA August 2003

            3     System Level                  Design     Language                   Methodology            and     Environment            IBM     Research          and

                  Development              BOblingen Germany March                           2003

            2     System Level                 Design     Language               Methodology           and     Environment             BMW      Munich          Germany
                  January 2003

            1     Modeling and Design with                     SpecC C LAB University                         of Paderborn        Germany March 2001


       PATENTS

       None



       IN   RANK GRANTS AND CONTRACTS

       Co Investigators                                    Title                                       Agency                     Grant Total         Grant Period

                                         Core Technology                                      Samsung         Electronics        $149020              612013
                                         Development           for   System                   Co Ltd DMC RD                                           12312013
                                         Simulation       including                           Center Korea
                                         Network

                                         Automated        Design Space                        National       Instruments         $60000               812012
                                         Exploration      and Optimization                    Inc                                                     7312013
                                         of    DSP Systems
       Heath Robert        PI            Interference      Alignment             in          Army Research                       $99980               912012
                                         Distributed      Environments                        Office   ARO                       $49990               8312013




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       John Lizy              Multi dimensional        Modeling        Semiconductor            $345000
                              Design and Exploration of                Research                 812012$173000
                                                                                                         7312015
                              Heterogeneous         Multicore          Corporation    SRC
                              SoCs

       Heath Robert     PI    Interference    Alignment      in        Defense Advanced         $99344        912011
                              Distributed    Environments              Research Projects        $49672        8312012
                                                                       Agency     DARPA
                              Towards Enabling         Full Cell       UT Austin Summer         $20000        712011
                              Biochemical         Network              Research                               8312011
                              Simulations                              Assignment

       van de Geijn           SHF Small                                National   Science       $499919       612012
       Robert                 AlgorithmArchitecture          Co        Foundation     NSF       $249959       5312015
                              Design of Low Power and
                              High   Performance       Linear

                              Algebra Compute          Fabrics


       Orshansky              SHF Small Formal                         National   Science       $449614       912010
       Michael                Synthesis     of Low Energy              Foundation     NSF       $224807
                                                                                                              8312013
                              Signal   Processing      Systems
                              Relying   on Controlled

                              Timing Error Acceptance

                              Automatic Platform Model                 Semiconductor            $254337       812010
                              Calibration    and Tuning                Research                               7312013
                                                                       Corporation    SRC
       IN   RANK GIFTS

       Co Investigators                       Title                            Company           Gift Total   Gift   Period

       Pingali    Keshav      Adaptive HardwareSoftware                Qualcomm Inc Bay         $80000        112012
                              Platforms     for   Mobile    Web        Area Research            $40000        12312012
                              Browsing                                 Division   BARD
                              Automated      Design Space              National   Instruments   $40000        812011
                              Exploration    and Optimization          Inc                                    7312012
                              of   DSP Systems
                              Compiler Assisted        MPSoC           Intel   Labs             $46000        112011
                              Assembly and Mapping                                                            12312012

                              Equipment Grant                          Intel                    $28678        7142009


       IN   RANK FUNDING my share                                                               $2171892
                                                                                                $1385463



       PREVIOUS GRANTS AND             CONTRACTS

       Co Investigators                       Title                             Agency          Grant Total   Grant Period

       Daniel    D Gajski     SER    Upgrades and                      InterDesign              $1390000      612006
       PI                     Extensions                               Technologies      Inc    $695000       5312008
                                                                       Japanese Aerospace
                                                                       Exploration    Agency
                                                                       JAXA

       TOTAL FUNDING         my share                                                           $3561892
                                                                                                $2080463




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       IN   KIND DONATIONS

       Co Investigators                    Equipment                                        Company                  Value                Date

                                Prototyping       boards and                 Xilinx         Inc                 $9781              92010
                                software      licenses    for   SoC                                                                32013
                                teaching      lab

                                Various test equipment                        Dell Inc                          $300659            52011
                                logic    analyzers       function

                                generators oscilloscopes
                                for Digital    Integrated       Circuits

                                and Systems lab




       PHD SUPERVISIONS COMPLETED


       Pedram             AlgorithmArchitecture           Codesign of Low                         Electrical   and      Univ     of Texas    2013
       Ardavan            Power and High            Performance Linear Algebra                    Computer              at Austin

                          Compute        Fabrics    co supervisor w Prof van                      Engineering
                          de Geijn Computer            Science

       He Ku              Adaptive Low Energy Techniques                     in   Memory          Electrical   and      Univ     of Texas    2012
                          and   Digital   Signal     Processing       Design          co          Computer              at Austin

                          supervisor      w Prof Orshansky                                        Engineering

       Abdel Hadi         Multicast      Networks      Capacity Algorithms                        Electrical   and      Univ     of Texas    2011
       Ahmed              and Implementation           co supervisor     Prof w                   Computer              at Austin

                          Vishwanath                                                              Engineering

       Salome Lopez       Definition      Design and Implementation                    of a       Information           Monterey     Inst    2011
       De La Fuente       Processor Based Stimulation                 System          for         Technologies          of Technology

       Martha             ElectrokineticallyDriven              Fluidic    Devices          co    Communications        Mexico

                          supervised      w Prof 0 Martinez Chapa
       Schirner           Improving Accuracy of Transaction                   Level               Electrical            University   of      2008

       Gunar              Models    in   System on Chip Design               co                   Engineering    and    California

                          supervisor      w Prof D6mer                                            Computer              Irvine

                                                                                                  Science


       MS SUPERVISIONS COMPLETED

       Miao Jin           Modeling and Synthesis of Quality Energy                                Electrical   and      Univ     of Texas    2012

                          Optimal Approximate            Adders       co supervisor               Computer              at Austin

                          w Prof Orshansky                                                        Engineering

       Sinha Ashmita      Multi Objective        Trade Off Exploration For                        Electrical   and      Univ     of Texas    2012

                          CycloStatic And Synchronous                     Dataflow                Computer              at Austin

                          Graphs                                                                  Engineering

       Kathuria           Framework        for   Automation       of System level                 Electrical   and      Univ     of Texas    2012
       Manan              Design Space           Exploration                                      Computer              at Austin

                                                                                                  Engineering

       Goswami            ExtractCFG A Framework                  to Enable                       Electrical   and      Univ     of Texas    2011
       Arindam            Accurate Timing Back            Annotation         of   C               Computer              at Austin

                          Language Source Code                                                    Engineering

       Tourish John       dspIP A TCPIP Implementation                      for   a   Digital     Electrical   and      Univ     of Texas    2011
       Patrick            Signal   Processor                                                      Computer              at Austin

                                                                                                  Engineering




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       Bomfim Pablo                 Integration            of Virtual           Platform     Models into          a        Electrical   and          Univ       of Texas      2010
       Salinas                      System Level                 Design Framework                                         Computer                   at   Austin

                                                                                                                           Engineering

       Williams Joel                Prototyping  MP3 Decoding and Playback
                                                            of                                                             Electrical   and          Univ       of Texas      2010

                                    on an ARM based FPGA Development                                                      Computer                   at   Austin

                                    Board                                                                                  Engineering

       Overholt        Peter        Desktop           Simulation            of a    Digital      Signal                    Electrical   and          Univ       of Texas      2009
       James                        Processing             Design Flow using Synchronous                                  Computer                   at   Austin

                                    Dataflow Modeling                                                                      Engineering



       PHD IN PROGRESS

       A       Students admitted               to   candidacy


               Miao    Jin   co supervised w Prof Orshansky
               Pfeifer   Dylan       parttime co supervised                             w Prof Valvano
               Razaghi       Parisa



       B       Post    MS students preparing                          to   take    PhD qualifying exam

               Chakravarty          Suhas parttime

               Lee Dongwook
               Lee Seogoo
               Park    Hyungman


       MS IN PROGRESS

               Yu Wenxiao
               Zhao     Zhuoran




       VITA


       Andreas Gerstlauer                 is   an Assistant                Professor       in    Electrical       and Computer          Engineering       at    The   University    of

       Texas      at    Austin       He         received             his    DiplIng          degree          in   Electrical     Engineering       from        the    University    of

       Stuttgart       Germany           in    1997        and       MS and PhD                      degrees      in    Information     and    Computer        Science     from the

       University       of California           Irvine       UCI           in    1998 and 2004 respectively Prior to joining UT Austin in 2008 he

       was an         Assistant          Researcher              in   the        Center for Embedded Computer Systems                at  UC Irvine
                                                                                                                                          CECS
       leading     a   research          group        to   develop              electronic      system level            ESL design tools Commercial                     derivatives

       of such     tools are        in   use     at   the       Japanese Aerospace                      Exploration        Agency       JAXA     and      NEC Toshiba Space
       Systems among others


       Dr      Gerstlauer      is   coauthor               on    3    books        and    more than 60                 conference      and journal     publications        and     his


       paper      on    OS     modeling             was         reprinted          as    one     of    the    most       influential    contributions      at    DATE      He has
       presented        in   numerous conference                           and    industrial         tutorials    and serves on the program committee                      of major

       conferences           such    as        DAC DATE               and        CODES+ISSS               Dr Gerstlauers             research    interests       include  system
       level     design       automation               system              modeling             design       languages         and      methodologies           and     embedded
       hardware and software synthesis




                                                                                                18




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                                                                   ANDREAS GERSTLAUER
                                                                        Co Authored            Works


       In   the   following     coauthors           and   relative      contributions          for   collaborative       journal    and   conference   papers
       published      while    in   rank are    identified       The    list
                                                                                only includes        papers authored with collaborators           other than

       my own students Paper indices                   refer     back   to     the   full   publication   record    in   my CV

       COLLABORATORS                  in    rank

       A     Current or Former          Students at UT Austin


             A AbdelHadi co supervised w S Vishwanath now a Postdoc                                            at    Virginia      Tech
             S Chakravarty now parttime  Freescale India   at

             K He co supervised w M Orshansky                              now at Cirrus Logic Austin TX
             M Kathuria        now     at   Intel   Mobile      Communications               NJ
             D Lee
             S Lee
             M S Lopez co advisor w S 0 MartinezChapa Monterrey Tech Mexico
                   now   at   the   Universidad       de Monterrey              Mexico
             J Miao co supervised w M Orshansky
             H Park
             A Pedram co supervised w Prof van de Geijn
             D Pfeifer parttime co supervised w Prof Valvano
             P Razaghi
             Z Zhao

       B     Faculty     Colleagues         at UT Austin


             D Chiou       Electrical       and Computer           Engineering              ECE
             B L Evans         Electrical      and Computer Engineering                      ECE
             R van de Geijn Computer Science CS
             R W Heath           and Computer Engineering ECE
                                Electrical

             M Orshansky            Electrical      and Computer Engineering                  ECE
             J Valvano        Electrical     and Computer           Engineering             ECE
             S Vishwanath            Electrical     and Computer           Engineering          ECE

       C     Advisors



             D D Gajski Professor UC                   Irvine




       D     Other Students


             A Banerjee MS Student                    UT Austin now              India

             W Chen PhD Student UC                        Irvine


             D Craven MS Student UT Austin
             S Z Gilani PhD Student University of Wisconsin Madison
             J Gladigau PhD             Student       University        of Erlangen Nuremberg                Germany
             X Han PhD Student                  UC Irvine
             J Lin PhD         Student        UT Austin supervised by B L Evans
             A Mariano         Universidade         do Minho        Portgual visiting             MS student        at   UT Austin
                   now   at   TU Darmstadt           Germany
             J Michel PhD Student                   UT Austin supervised by C Julien
             J    W
                  Massey PhD Student UT Austin                                 supervised by         R W Heath
             A Srivatsa        MS Student            UT Austin now              at   Rice    University

             J Starr MS Student UT Austin supervised by R                                     W Heath now           at   Kuma Signals Austin TX
             M Streubuhr PhD Student                      University      of Erlangen Nuremberg               Germany




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       Co Authored Works                                                                                             Revised August             08 2013




       E    Other Collaborators


            A Avila Professor Monterrey Tech Mexico
            J McCalpin Texas Advanced Computing Center TACC UT Austin
            R DOmer Associate Professor UC          former colleague
                                                                   Irvine

            N S Kim Assistant Professor University of Wisconsin Madison
            G Schirner Assistant Professor Northeastern University former student
            C Haubelt Professor University of Rostock Germany
            S 0 MartinezChapa                  Professor Monterrey Tech               Mexico
            W Mueller Researcher C LAB Paderborn                               University   Germany
            A D Pimentel Associate Professor University of Amsterdam Netherlands
            M Schulte Advanced Micro Devices AMD Research Austin TX
            T Stefanov        Leiden University Netherlands
            J Teich    Professor University of Erlangen Nuremberg                            Germany



       COAUTHORED              PUBLICATIONS               in   rank

       A    Refereed Archival Journal Publications


           J12    D Pfeifer J Valvano A Gerstlauer 601201201                                     SimConnect and            SimTalk      for   Distributed

                  CyberPhysical              System    Simulation Simulation                Transactions     of the Society       for   Modeling       and
                  Simulation        International      accepted        for   publication   November 2012

           J11    K He A Gerstlauer M Orshansky 403030                                          Circuit Level      Timing Error Acceptance             for


                  Design      of             DCTIDCTbased Systems IEEE Transactions
                                    Energy Efficient                                                                               on     Circuits     and

                  Systems for Video Technology TCSVT vol 23 no 6 pp 961974 June 2013

           J10    J Lin       A Gerstlauer            B L Evans              603010               Communication Aware                 Heterogeneous
                  Multiprocessor             Mapping     for   Real Time          Streaming     Systems       Journal      of    Signal       Processing
                  Systems vol 69 no 3 pp 279291                              December 2012

           J9     A Pedram R A van                  de    Geijn      A Gerstlauer 403030                       Codesign         Tradeoffs      for   High
                  Performance             LowPower       Linear     Algebra Architectures IEEE Transactions on Computers                             TC
                  special issue       on Energy        Efficient    Computing vol 61 no 12 pp 17241736 December 2012
           J8     P Razaghi A Gerstlauer 7030 Predictive OS Modeling                                         for   Host Compiled         Simulation     of

                  Periodic     Real Time Task            Sets IEEE Embedded                  System Letters        vol   4 no 1 pp 58                March
                  2012

           J7     J  Gladigau              A
                                  Gerstlauer    Haubelt            C
                                                           Streubiihr   J Teich      M                                   302020300
                  Automatic System Level Synthesis From Formal Application Models to Generic                                                  Bus Based

                  MPSoCs Transactions on High Performance Embedded Architectures and                                                          Compilers
                  Transactions            on HiPEAC vol            5 no 4 22 pages 2011
           J6     G Schirner A Gerstlauer R Rimer 403030                                         Fast and Accurate Processor Models                    for

                       MPSoC Design ACM Transactions on Design Automation
                  Efficient                                                                                                of   Electronic      Systems
                  TODAES vol 15 no 2 article no 10 pp 126 February 2010
        J5        A Gerstlauer                 C Haubelt            A D Pimentel              T P Stefanov               D D Gajski             J Teich
                  3030301000                                    Electronic          System Level       Synthesis          Methodologies              IEEE
                  Transactions        on Computer Aided Design of Integrated                     Circuits   and Systems         TCADvol           28 no
                  10 pp 15171530                October 2009

        J4        R DOmer             A Gerstlauer             J Peng            D Shin       L Cai         H Yu         S Abdi         D D       Gajski

                  12020101010101010                                                 System on Chip           Environment          A     SpecCbased
                  Framework         for   Heterogeneous MPSoC Design EURASIP Journal on Embedded                                      Systems        JES
                  vol 2008         Article  ID 647953  13 pages 2008




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       Co Authored Works                                                                                                          Revised          August         08 2013



       B    Refereed Conference             Proceedings


           C54 J Miao        A Gerstlauer              M Orshansky                50120130N                       Approximate            Logic      Synthesis        under
                 General         Error Magnitude   and Frequency   Constraints Proceedings of the IEEEACM
                 International      Conference on Computer Aided Design 1CCAD San Jose CA November 2013

           C53 S Lee       A Gerstlauer 7030                          Fine Grain Word Length                        Optimization          for    Dynamic Precision
                 Scaling    in   DSP Systems Proceedings                        of the      IFIPIEEE International                   Conference          on     Very Large
                 Scale    Integration      VLSISoC Istanbul Turkey November 2013
           C52 S     Chakravarty           Z Zhao A Gerstlauer 403030           Automated                                                       Retargetable         Back
                 Annotation        for     Host     Compiled          Performance                   and    Power      Modeling   Proceedings of  the

                 IEEEACMIFIP              International      Conference on HardwareSoftware                            Codesign and System Synthesis
                 CODES+ISSS                Montreal     Canada          October 2013

           C51   A Mariano          D Lee A Gerstlauer D Chiou                                 40302010                              Hardware             and    Software

                 Implementations            of     Prims     Algorithm          for       Efficient       Minimum         Spanning              Tree      Computation
                 Proceedings        of the       International     Embedded               Systems         Symposium            IESS        Paderborn            Germany
                 June 2013

           C50   H Park A Gerstlauer                   7030                 Toward              a     Fast      Stochastic        Simulation             Processor      for

                 Biochemical         Reaction        Networks              Proceedings               of   the      IEEE     International              Conference        on

                 Application specific            Systems       Architectures              and        Processors       ASAP             Washington               DC    June
                 2013

           C49   A Pedram J McCalpin A Gerstlauer 504010                                                      Transforming A Linear Algebra Core                         to

                 An FFT Accelerator                Proceedings          of the    IEEE          International       Conference            on Application specific

                 Systems Architectures              and Processors              ASAP Washington DC June 2013
           C48 P    Razaghi        A Gerstlauer 7030 Multi Core Cache Hierarchy Modeling                                                           for   Host Compiled

                 Performance         Simulation         Proceedings             of    the      Electronic         System       Level      Synthesis           Conference

                 ESLSyn          Austin     TX June 2013
           C47   D Pfeifer A Gerstlauer J Valvano                          602020                         Dynamic Resolution in Distributed Cyber
                 Physical        System     Simulation            Proceedings             of   the    ACM    SIGSIM Conference on Principles of
                 Advanced        Discrete Simulation           PADS Montreal                        Canada      May 2013
           C46   A Pedram A Gerstlauer R                          van      de     Geijn             702010                     Floating          Point        Architecture

                 Extensions        for    Optimized         Matrix      Factorization                Proceedings          of    the      21st    IEEE         International

                 Symposium on Computer Arithmetic AR1TH21                                      Austin        TX April 2013
           C45 K He A Gerstlauer M                    Orshansky          403030 Low Energy                                     Digital    Filter    Design Based on
                 Controlled       Timing     Error     Acceptance               Proceedings               of the    IEEE       International             Symposium       on

                 Quality Electronic         Design     ISQED            San Jose           CA March           2013

           C44 J Miao K He A Gerstlauer M Orshansky                                         40102030                             Modeling           and    Synthesis     of

                 Quality Energy           Optimal      Approximate           Adders                 Proceedings       ofIEEEACM International
                                                                                                                               the

                 Conference on Computer Aided Design                            1CCAD San                 Jose CA pp 728735 November 2012
           C43 J  W Massey J                       Starr             S Lee                 D Lee                  A Gerstlauer                     R W               Heath
                 301030101010                                     Implementation of a Real Time Wireless                                  Interference          Alignment
                 Network          Proceedings          of   the    Asilomar           Conference             on    Signals           Systems         and        Computers

                 ACSSC Pacific Grove CA pp 104108 November 2012
           C42   D Lee H Park A Gerstlauer 403030 Synthesis of Optimized                                                                  Hardware Transactors
                 from Abstract           Communication            Specifications               Proceedings         of the       IEEEACMIFIP                   International

                 Conference        on     HardwareSoftware              Codesign           and System Synthesis                   CODES+1SSS                     Tampere
                 Finland pp        403412          October 2012

           C41   A Pedram A Gerstlauer R A van de Geijn 702010 On the Efficiency of Register                                                                           File


                 versus     Broadcast            Interconnect        for    Collective              Communications              in    Data Parallel              Hardware

                 Accelerators           Proceedings         of the   IEEEIFIP International                     Symposium on Computer                         Architecture

                 and High Performance               Computing        SBACPAD                    New York NY pp 1926 October 2012




                                                                                      3




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       Co Authored Works                                                                                                 Revised       August         08 2013



        C40    A Pedram           S Z Gilani          N S Kim                R       van         de       Geijn        M Schulte              A Gerstlauer
               351010101025                                   A Linear Algebra                   Core    Design       for    Efficient          3 BLAS
                                                                                                                                            Level

               Proceedings       of the      IEEE International     Conference             on Application specific Systems Architectures
               and Processors          ASAP Delft The Netherlands                      pp 149152              July   2012

        C39 K He         A Gerstlauer           M Orshansky             403030                         Low Energy           Signal     Processing           using

               Circuit Level     Timing Error Acceptance                     Proceedings          of    the   IEEE     International         Conference        on

               Integrated   Circuit     Design and Technology                ICCDT Austin TX 4 pages May 2012
        C38    A Gerstlauer S Chakravarty                 M Kathuria              P Razaghi            25252525                        Abstract           System
               Level    Models   for    Early   Performance      and         Power Exploration                Proceedings      IEEEACM Asia
                                                                                                                                   of the

               and South Pacific          Design Automation             Conference          ASPDAC               Sydney Australia pp 213218
               January 2012

        C37 P Razaghi            A Gerstlauer         7030                   Automatic           Timing       Granularity         Adjustment         for    Host
               Compiled     Software         Simulation       Proceedings        IEEEACM Asia and South Pacific
                                                                                     of the                                                                Design
               Automation      Conference         ASPDAC          Sydney Australia pp 567572 January 2012
        C36    D Pfeifer A Gerstlauer 8020                         Expression Level                    Parallelism     for   Distributed          Spice    Circuit


               Simulation        Proceedings        of the     IEEEACM              International        Symposium           on     Distributed      and Real
               Time Applications          DSRT        Manchester         United       Kingdom pp 1217 September 2011
        C35    M S Lopez              A Gerstlauer            A Avila             S 0 MartinezChapa                      60201010                              A
               Programmable            and    Configurable      Multi   port        System on Chip             for    Stimulating        Electrokinetically

               Driven     Microfluidic        Devices         Proceedings            of    the     International        Conference            of     the    IEEE
               Engineering       in   Medicine     and Biology      Society          EMBC Boston MA pp 83618364                                     September
               2011

        C34    A AbdelHadi             J Michel       A Gerstlauer                 S Vishwanath               40302010                              Real Time
               Optimization       of    Video     Transmission          in    a     Network        of    AAVs         IEEE        Vehicular         Technology
               Conference      VTC San Francisco CA 5 pages September 2011
        C33    A Pedram A Gerstlauer R A van de Geijn 403030                                                   A High Performance Low Power
               Linear   Algebra       Core Proceedings           of the       IEEE     International          Conference          on Application specific

               Systems Architectures             and Processors         ASAP Santa Monica CA pp 3542 September 2011
        C32 J Lin         A Srivatsa             A Gerstlauer            B L Evans                    40203010                              Heterogeneous

               Multiprocessor          Mapping      for    Real Time              Streaming           Systems          Proceedings            of     the    IEEE
               International     Conference on Acoustics                Speech        and Signal Processing                 ICASSP Prague                  Czech

               Republic     pp 16051608 May 2011
        C31 P Razaghi          A Gerstlauer 6040 Host Compiled Multicore RTOS                                                Simulator        for   Embedded
               Real Time     Software         Development        Proceedings              of the      Design     Automation          and Test in Europe

               DATE Conference Grenoble France 6 pages March 2011
        C30 K He     A Gerstlauer M Orshansky 403030 Controlled Timing Error Acceptance                                                                        for


               Low Energy IDCT Design Proceedings of the Design Automation and Test Europe DATE                                        in


               Conference        Grenoble France          6   pages      March       2011

        C29    R D6mer W Chen X Han A Gerstlauer 30303010                                                            Multi Core Parallel             Simulation

               of System Level          Description    Languages              Proceedings          of the  IEEEACM Asia and South Pacific
               Design Automation             Conference    ASPDAC Yokohama                            Japan pp 311316 January 2011
        C28 J Gladigau           A Gerstlauer C Haubelt                      M Streublihr              J Teich        302020300                                A
               System Level           Synthesis     Approach      from         Formal       Application          Models       to     Generic        Bus Based

               MPSoCs       Proceedings          of the   IEEE International              Conference          on Embedded            Computer         Systems
               Architectures      Modeling and Simulation               SAMOS Samos Greece pp 118125 July 2010
        C26    A Gerstlauer G Schirner                 9010                  Platform         Modeling         for    Exploration           and     Synthesis
               Proceedings           IEEEACM Asia and South Pacific
                                 of the                                                                 Design       Automation        Conference          ASP
               DAC      Taipei Taiwan pp 725731 January 2010

        C25    G Schirner A Gerstlauer R D6mer 602020                                             System Level Development                     of Embedded

               Software     Proceedings          of the   IEEEACM Asia and South Pacific Design Automation                                          Conference

               ASPDAC Taipei Taiwan                   pp 903909 January 2010




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       Co Authored Works                                                                             Revised      August    08 2013



        C24    A Pedram        D Craven A Gerstlauer 40130130N              Modeling Cache   Effects at the

               Transaction     Level Analysis Architectures and Modeling of Embedded Systems Proceedings of
               the   IFIP International Embedded Systems Symposium IESS Langenargen       Germany edited by
               Achim Rettberg        Mauro Zanella       Michael   Amann   Michael    Keckeisen      Franz       Rammig vol 310 of
               IFIP Advances    in    Information    and Communication     Technology      Springer ISBN           978364204283
               6 pp 89101      September 2009

        C23    A Banerjee A Gerstlauer 7030 Transaction                       Level     Modeling     of   Best Effort   Channels   for

               Networked     Embedded        Devices      Analysis Architectures      and Modeling         of   Embedded    Systems
               Proceedings    of     the   IFIP   InternationalEmbedded Systems           Symposium            IESS     Langenargen
               Germany edited by Achim Rettberg               Mauro Zanella Michael       Amann Michael            Keckeisen   Franz

               Rammig vol 310 of IFIP Advances in Information and                     Communication            Technology   Springer
               pp 7788 ISBN 9783642042836 September 2009
        C22    R D6mer A Gerstlauer               W Mueller 451045                    Introduction        to    Hardware Dependent
               Software   Design Proceedings             of the IEEEACM Asia          and South      Pacific     Design Automation
               Conference    ASPDAC Yokohama                 Japan pp 290292         January 2009




                                                                    5




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                                                                     ANDREAS GERSTLAUER
                                                                          Works    Forthcoming



                                  papers that have been                                                                      Paper indices refer back
       In   the following                                             accepted     but not yet published      are listed

       to   the   full
                          publication     list   in   my CV Copies of acceptance           letters for   conference        papers are attached


       A     Refereed Archival Journal Publications


            J12          D Pfeifer J Valvano A Gerstlauer SimConnect and SimTalk                                     for   Distributed   CyberPhysical
                     System       Simulation              Simulation       Transactions    of   the   Society        for   Modeling      and    Simulation

                     International        accepted         for   publication     November 2012

                     Preprint published                online    March    5 2013 httndxdoiorci1011770037549712472755


        B    Refereed Conference                      Proceedings


            054      J     Miao       A   Gerstlauer             M   Orshansky      Approximate       Logic     Synthesis        under    General      Error

                     Magnitude        and Frequency               Constraints     Proceedings    of the   IEEEACM International                Conference

                     on Computer Aided                 Design     1CCAD San Jose CA November                   2013

            C53      S     Lee    A   Gerstlauer Fine Grain Word Length                     Optimization       for   Dynamic      Precision     Scaling   in


                     DSP      Systems Proceedings                    of   the   1FIP4EEE International        Conference        on   Vet   Large       Scale

                         VLSISoC Istanbul Turkey November 2013
                     integration

            052 S Chakravarty Z Zhao A Gerstlauer Automated Retargetable                                                   Back Annotation       for   Host

                     Compiled Performance and Power Modeling  Proceedings of the IEEEACMIFIP International
                     Conference on HardwareSoftware Codesign and System Synthesis CODES+1SSS Montreal
                     Canada       October 2013




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Re ACTION REQUIRED          Simulation Transactions of the Society for       M                                                              J


          Subject     Re ACTION REQUIRED Simulation Transactions                                 of the   Society   for   Modeling    and
          Simulation International Contributor                  Form
          From Dylan         Pfeifer      <dcpfeifergmailcom>
          Date 11142012             956 AM
          To Jonathan          W Valvano <JonathanValvanoengrutexasedu>                                   Andreas M Gerstlauer

          <gerstleceutexasedu>



          Thought    you might           like   to see this



          On Nov 14 2012 944 AM <vmpateascsow>                                 wrote

            14 Nov 2012
            Dear    Mr Dylan         Pfeifer



            Your manuscript SimConnect                       and SimTalk     for   Distributed CyberPhysical         System Simulation
            has been accepted               for   publication   in   Simulation Transactions          of the Society      for    Modeling   and
            Simulation International



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                 you have any questions please contact                   the     Editorial   Office



            With    best wishes

            Vicki   Pate

            vmpateascsorg
            Simulation Transactions                 of the   Society   for   Modeling      and Simulation International           Editorial Office




1   oft                                                                                                                                     7102013 141 PM




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ICCAD 2013      Notification   of Acceptance     for   paper   365

                                                                                                                                                       eG

           Subject ICCAD 2013                    Notification         of Acceptance            for   paper 365
           From ICCAD 2013 <iccad2013easychairorg>
           Date 6212013 211 AM
           To Andreas Gerstlauer <gerstleceutexasedu>

           Dear      Andreas

           Congratulations                      On    behalf         of       the   ICCAD TPC        we    are pleased         to inform
           you      that    your paper           entitled


           Approximate            Logic        Synthesis        under           General       Error Magnitude           and    Frequency      Constraints


           has      been    selected           for    publication               in the    ICCAD13          technical      program

           This year we received 354 final submissions from all over the world
           a    5increase from last year  After a rigorous doubleblind review
           process that culminated in a full day facetoface   meeting of the
           entire technical program committee at Austin Texas only 92 regular
           papers       were      selected           for    inclusion               making     the   acceptance         rate    of

           only      26
           Please see reviewers  comments below   We hope that you will find
           them helpful in preparing your final paper for publication    Guidelines
           for preparing your final paper and presenting at the conference  will
           be sent in a separate                      email they                will    also be available at the
           ICCAD web site                rirtvwi71                                     by June 24 next Monday

           Thank  you so much for your excellent work  We are looking  forward
           to  seeing you at ICCAD13 in San Jose November 1821     2013   We also
           hope to receive  your submissions to ICCAD14 next April



           Best      regards



           YaoWen          Chang     ICCAD13               Program Chair                vhancaicc17tuedi

           Diana      Marculescu          ICCAD13 Vice Program Chair                                 clianamcnued


                                                           REVIEW         i

           PAPER        365
           TITLE   Approximate Logic Synthesis under General Error Magnitude                                                         and   Frequency
           Constraints
           AUTHORS   Jin Miao Andreas Gerstlauer and Michael  Orshansky

           OVERALL         EVALUATION            0     borderline               paper

                                  REVIEW
           The      authors       propose an ALS approach considering both the magnitude and frequency                                                   of
           errors          For    this purpose  they follow a two step approach  First the magnitude
           constraints are solved by relating the problem to Boolean                                                    relation       minimization The
           obtained solution is then further optimized such that the                                                    frequency       constraints are met


           The approach is interesting and its efficiency is demonstrated by the experiments that
           have been performed although not many benchmarks have been considered However     the
           main concern with the paper lies in the formalization which is often not consistent and

           vague        such      that    it     is    hard to            really reconsider               all   steps   or     validate      whether   the
           theorems         are    correctly proven                       Examples


               The    definition          of     FFm to constrain                       the   magnitude         error is       not   clear


               It    seems       that    the    use of M             and      m and R     and    r   is    sometimes     mixed up           in particular




1   of 3                                                                                                                                                      722013 502 PM




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ICCAD 2013 Notification         of Acceptance       for   paper      365




          when used            together         with           F ie             F   m vs    F   M     and    Fr vs FR
                                                              Fm is first
                                                                                         1
              When       the    difference                F                              defined        it   is not      clear whether output pattern             or
         bits       are      counted         This             gets    clear         in            But    I   cannot      relate Example 21 to F            Fm
              The    proof          for Theorem               31      is    trivial             but   there    is   no proof for        Theorem       32

              In Example             31     and         in     Definition            36     variables         are primed        What    does       that   mean

              In    Eq       8 and 11 I do not                              understand            the    sum notation          What    is    the    index variable
         What       is    the precise range



         Minors

              page       4     Equation         5       > Equation 5
              Last       Theorem       in    Sect             3    has     no number



                                                              REVIEW        2

         PAPER           365
         TITLE  Approximate Logic Synthesis under General Error Magnitude                                                              and    Frequency
         Constraints
         AUTHORS Jin Miao Andreas Gerstlauer and Michael Orshansky

         OVERALL          EVALUATION                0     borderline                paper

                                    REVIEW
         In this paper the authors propose an approximate logic synthesis algorithm considering
         error magnitude and frequency constraints       The proposed method contains two phases   The
         first  phase generates a  minimum   cover under  error magnitude constraint   while the
         second  phase tries to fit  the  frequency constraint    with least literal increment The
         authors transform the first    phase to the Boolean relations minimization problem Then
         they adopt iterative refinement     for the second phase


         I    have       the
                      following commentsquestions
          1       Although the title  says this work considers magnitude and frequency constraints
         together    this paper still solves these two constraints in two phases   Is it possible
         to simultaneously consider   these two constraints
         2        No comparison  with stateoftheart    works is provided Although previous work
         does not consider magnitude and frequency constraints together    it  would be nice if the
         authors
         3
         satisfied
                          can
                          In
                    Besides
                                4 FMcompare         the first

                                                    because
                                                               phase with existing works
                                                    should be F Otherwise the magnitude constraint
                                                              FM is given for the second phase                                    LFM
                                                                                                                                             might not be
                                                                                                                                              can be removed
         from the objective function
         4       Sorting the cost with                                     respect         to   DIFF     primes     is   a   clever    idea


                                                              REVIEW        3

         PAPER           365
         TITLE  Approximate                     Logic             Synthesis         under       General       Error Magnitude          and   Frequency
         Constraints
         AUTHORS             Jin     Miao     Andreas                Gerstlauer and              Michael      Orshansky

         OVERALL          EVALUATION                1     weak accept

                      REVIEW
         This paper  addresses  the problem of approximate logic synthesis        ALS is to                                           ALS
         synthesize  a minimum cost approximate Boolean  network whose behavior deviates in a
         welldefined manner from a specified exact Boolean function Here the deviation is                                                                         to
         be constrained by both the magnitude   and frequency of the error
         The    authors             make two            contributions     in solving this general ALS problem

          1 they establish that                               the approximate synthesis problem unconstrained by the
         freauency             of    errors is               isomorphic with the Boolean relations BR minimization problem




2 of3                                                                                                                                                            722013 502 PM




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1CCAD 2013 Notification         of Acceptance     for paper 365




          That equivalence allows to exploit recently developed   fast algorithms for BR problems
          to solve the error magnitude only constrained ALS problem
          2   They propose an efficient   heuristic algorithm for iterative refining the magnitude
          constrained  solution to achieve  the error frequency constraint


          The    authors             propose a two level                logic minimization algorithm that synthesizes a
          minimumcost                 cover of a Boolean                function that is allowed to deviate from an exact
          Boolean function in a constrained manner The first    phase solves the problem that                                                     is
          constrained  only by magnitude of error In the second phase this frequency
          unconstrained  problem is iteratively refined to arrive at a solution  that also
          satisfies the                original            error frequency      constraint


          The  proposed algorithm is capable of synthesizing approximate circuits   for arbitrarily
          specified error deviations    and is most immediately applicable to arithmetic blocks
          for which experiments demonstrate the effectiveness   in achieving significantly reduced
          literal   counts across a wide range of flexible error frequency and magnitude
          constraints


          This       is    an    interesting    paper addressing an important problem A more interesting would
          be    finding          multi level    realizations which optimize energy efficiency As it is it  is a
          step       in    the       right direction but not a complete solution to a practical problem

          The paper             is    clearly         written



                                                           REVIEW   4

          PAPER           365
          TITLE  Approximate                    Logic        Synthesis    under   General      Error Magnitude        and   Frequency
          Constraints
          AUTHORS           Jin       Miao    Andreas           Gerstlauer and Michael          Orshansky

          OVERALL          EVALUATION             2    accept

                                     REVIEW
          The    paper          is        synthesis of approximate logic functions
                                      about                                                                    they different in
          magnitude                by only a fixed amount versus the original exact                            function and moreover
          there       is    a    limit on the    of min terms that are in error


          First the  authors show that the error magnitude minimization can be handled as a
          Boolean relations problem    They solve that and refine the solution greedily to find                                                          a

          function that   while minimizing the   literals increased meets the constraint on the
          of minterms                that   are       in   error

          I    like       the paper and it                 is   quite   clear     The   work    is   pretty   novel    and this    is   a    good
          area       for    research


          A    few    comments


          The error frequency constraint   shouldnt this be based on typical input vectors to the
          function               ie
                          what if one wants to specify that  under typical input vectors   the
          function should produce an erroneous solution in at most    of the cases                       X
          A significant issue is that the experiments dont consider any REAL examples                                                       its
          just simple adders and multipliers   Why cant a signal processing application                                                     be
          considered   say at least an FIR filter

          Significant issue with this paper is the scalability even for the                                             simple adders            and
          multipliers some of the runtimes for the approach are in minutes                                              or HOURS   It            makes
          me wonder whether this can be applied to REAL cases

          Theauthors                 seem not to have synthesized                 their circuits         so   the   areaspeedpower
          benefits of                the approximate circuits are                 not presented          Rather       the benefits      shown          are

          indirect




3   of3                                                                                                                                            722013 502 PM




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acceptance    letter   for your   submission   to   VLSISOC 2013

                                                                                                                                              63

             Subject acceptance                     letter   for your   submission   to   VLSISOC        2013

             From VLSISoC                2013 <vlsisoc2013easychairorg>

             Date 6132013 122 PM
             To Andreas Gerstlauer <gerstleceutexasedu>

             Dear      authorsSeogoo                 Lee     and Andreas      Gerstlauer

             on behalf of the VLSISOC 2013 Program Committee we are delighted to                                                inform you that
             the following submission has been accepted as a regular paper for the                                              conference

             170         Fine Grain        Word         Length    Optimization       for    Dynamic      Precision   Scaling      in   DSP    Systems



             This year we had a very competitive  process with more than 235 confirmed submissions
             with an acceptance rate of less than  20 for regular papers and less than 28 when
             short papers are included  Your paper went through a very careful and detailed review
             and we are glad it made to the final selected list

             While preparing your final version for submission please carefully consider the
             Program Committee comments on how to improve your article As a regular paper you are
             allowed 6 pages in the conference proceedings and a 25 minutes slot 20 minutes for
             presentation plus 5 for questions  to present your work



             To    upload         your final manuscript please visit                        the   easychair      site     The   deadline       for
             final       paper      submission is July 1st 2013


             Additional            instructions              concerning      copyright     and    registration     will   follow       soon

             f     you    have      any additional              questions      please      feel   free    to   contact    us

             Thank       you for       your contribution                to   VLSISOC      2013


             Alex      Orailoglu        and Luigi Carro
             VLSISOC         2013      Program cochairs




I   of   1                                                                                                                                       722013 503 PM




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                                                                                                                                                                          C
            Subject         Fwd Your CODES+ISSS 2013 Submission Number 125
            From Zhuoran Zhao <zhuoranutexasedu>
            Date 722013 118 PM
            To Andreas Gerstlauer <gerstleceutexasedu>                                                    Suhas Chakravarty
            <suhaschakravartygmailcorn>


            Just received             the    reviews     for   the   CODESISSS paper


            Forwarded                             message
            From <pandaaoseiitdacin>
            Date Tue         Jul       2 2013 at 102 PM
            Subject        Your CODES+ISSS 2013 Submission                                    Number 125
            To    zhuoranCalutexasec10




            Dear Mr Zhuoran                  Zhao


             Congratulations                 We are pleased           to   inform you that your paper submission titled



            Automated            Retargetable            Back Annotation             for   Host

                         Compiled Performance                   and Power Modeling


            was accepted              for presentation          at   CODES+ISSS 2013 The papers were                                   evaluated        by the Technical
            Program Committee                      and 31 papers were               finally      selected        from     111     submissions resulting          in   a

            279 acceptance                    ratio The        conference          Program Committee recognizes                         that your paper          makes        a

            significant      contribution to the field The Program Committee has worked                                                 hard to ensure that           useful

            feedback        is   given       to   the   authors      The    reviews        for
                                                                                                 your paper are attached


            Please        understand that               at least     one    author needs              to    register for the        conference     and attend         the

            conference           to   present the paper              Each        paper will       be allotted        30 minutes comprising a formal

            presentation          of 25 minutes followed                   by a 5 minute interaction                  with        the audience     In   order to

            interact      with    a wider audience              the   presenter         is    also expected           to    put up a poster on the           research

            immediately following the technical                        session         Information             about the schedule of the technical
            sessions will         be up on the            CODES+ISSS web site soon

            The final       version         of your manuscript              is   due on 26 July 2013                 Detailed        information about       preparing

            the   final   version           posters      registration        and visa         invitation        letters    will   be sent   to   you separately


            We thank         your for your valuable                  contribution          to   CODES+ISSS 2013                      and look forward       to   meeting

            you     at   Montreal       in   SeptemberOctober


            Best Regards
            Radu Marculescu                  and    Preeti Ranjan          Panda
            CODES+ISSS 2013 TPC Chairs



            CODES+ISSS 2013 Reviews                            for Submission          125



            Title    Automated              Retargetable         Back Annotation                for       Host Compiled Performance and                   Power




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         Modeling


         Authors        Suhas Chakravarty Zhuoran                      Zhao and Andreas Gerstlauer


                                          REVIEWER      1



         Reviewers        Scores




                                            Overall     4

                               Reviewer confidence               2

                                            Novelty     4
                                          Usefulness        4

                        Writing      and figure quality 5




         Comments




         This    paper describes an approach                    for   improving       the     accuracy      of timing and

         energy estimations given               by host compiled             code          The     authors claim that this

         approach        is   relatively    easy to adapt        to different
                                                                                    target hardware
         architectures                       The approach             works through back annotation                 of    pairs of
         basic

         blocks    of   the    source      code with values           from an instruction set simulator and an

         energy analysis tool               Several     variations      of the     proposed          simulation approach

         are    compared        to   a traditional     combination          of an     instruction      set simulator and

         an energy analysis tool                The    results       show   that the        proposed       approach       speeds up
         simulation      in   some cases        while providing          good timing and energy accuracy


         In   general     this      paper was well written             and clearly explained the proposed

         technique        the experiments             and the results            The       only major drawback            of this


         paper is that the proposed                  approach        was only compared               to   a traditional

         instruction set simulator              The     authors discuss a              number of other existing
         approaches           to the      problems being addressed               in    this   paper yet the proposed
         approach       isnt    compared        to   any of them            Thus      it   could    be argued     that    some
         of the   claims       in   the   related    work section       about the drawbacks                 of existing

         approaches           are subjective        and unsupported by experimental evidence




                                       REVIEWER         2



         Reviewers Scores




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                                              Overall    4
                                 Reviewer       confidence              2

                                              Novelty 3
                                             Usefulness        4

                       Writing      and figure quality 4




         Comments




         Paper builds on a previous                   effort    of back annotation                     for    retarget able         power
         and performance estimation                     In   this       work an automated                     methodology           is   outlined
         in   which   the    compiler generated                IR    is     annotated           with    timing and           energy
         information        In   addition       the   CDFG         is   constructed                 from the    IR which           may lead     to

         inconsistencies           as compared          to     the      binary due             to   compiler optimization

         Methodology
         additionally incorporates a heuristic subgraph                                       mapping        algorithm that utilizes

         debug     information to alleviate              this      problem               In   addition       the    block

         characterization          through pairwise execution                            seems to be one             of the      main factors
         in   terms of obtaining              a better estimation                  An ISS and McPAT                 are utilized to

         determine the annotation                 values


         Overall      the   paper is well written              and easy                 to   follow    The     results     show
         promising

         energy and timing estimations


         Paper mentions that the higher estimation errors were isolated
         combinations due               to   multi level block              dependencies                Is   there any analysis on

         the level of these         dependencies               and the tradeoffs to performing multilevel
         characterization          to   determine the annotation                             values


         Paper also mentions that future work                               will   evaluate          energy consumption based on
         actual   data      flowing through blocks                   What data                set    was     utilized   in   the   current

         framework
         evaluation       and what           impact do you anticipate                         by changing          these     sets


         While the estimate error was                   relatively           low paper mentions the use of
         heuristics

         to   build the     CDFG         Is   there   any analysis                 in   the    resulting      CDFG         in   particular

         does
         this   structure     contribute to the           error or           is    there some other underlying                      factor

         such as McPAT that leads to the bulk of inaccuracies




                                        REVIEWER         3




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              Reviewers Scores




                                                            Overall       2
                                           Reviewer           confidence           2

                                                            Novelty 2
                                                       Usefulness              4

                               Writing           and figure quality 5




              Comments



              The paper is well written                            and clearly points out methodology ideas advantages
              and issues Moreover                            several      possible future works                     are reported                State   of the

              art   is   well analyzed                     Some reference              could        be reported               in   the   introduction         to

              confirm the             reported             considerations



              Experiments are good and                               results are well analyzed



              My main concern is related to the novelty of the approach wrt                                                               26
              The authors claim that the proposed work is based on a previous                                                                   work    26 whose
              reference             details      are omitted           for     blind review           Anyway             it   was not difficult          to


              go back          to    paper 26 with google
              26     is   Abstract            System Level Models for Early Performance and Power
              Exploration                 presented at ASPDAC 2012
              The    authors say that                      wrt 26 the main                   contributions           of the          current paper

              are
              1 automation of the flow
              2 fully support of compiler optimizations
              3 details about the pairwise block characterization
              4 extension of original concept with a binarytoIR mapping algorithm and
              accurate         block        characterization



              My opinion             is

              1 contribution                1    is    not so scientifically relevant                       since   it
                                                                                                                          appears          to   be only

              an implementation aspect
              2 this part            is   effectively          new
              3 details are appreciated                             but   it   seems no new                 contribution             are provided

              4 this      is   an improvement wrt                         26       however           since     experimental results                     in   the

              current paper and                       in   26 are different             it    is    not possible to                 compare and
              evaluate         the effect             of the       improvement


              Nothing          bad but the impression is that                                the current work                  is   only an extended
              version      of       26

              >From the methodology                            point      of view      some observations                       are
               It   is   not    clear       if   the       block   matching        algorithm always                      produces          the    correct

              match        or whether there are cases where                                    it   fails    since       it    seems based on                a

              heuristic




4   or 8                                                                                                                                                                           722013 500 MI




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                Probably         the main limit                  of this approach                    is    the                 phase which is
                                                                                                                   analysis

              quite time        consuming              Actually back annotation                                  is   a   onetime effort but only
              as long as the design                    is    not    changed                   it    is    likely   that    the    design is changed
              during        refinement       phases               Indeed one of the objectives                                  of power and             timing
              estimation        is   to   have        feedbacks              to   better optimize the design




                                             REVIEWER                    4



              Reviewers         Scores




                                                      Overall        3
                                     Reviewer           confidence                 2

                                                      Novelty            2

                                                 Usefulness                  3

                              Writing      and figure quality 4




              The paper is well             written most concepts                                  are comprehensibly                   explained
              and the figures are well done



              1 Main Weakness The novelty of this paper   questionable                                     is


              Cf Section 11 last paragraph An overview of our basic flow
              for    retargetable power                and performance back annotation                                           was        first


              introduced        in   26       However               in   earlier       work               the flow        was    not

              automated          compiler optimizations were                                    not fully          supported and no
              details about          the    pairwise block                   characterization                      were presented                   In


              this
                       paper    we extend             the        original         concept            with       a binarytoIR            mapping

              algorithm and accurate                        block    characterization                       to     provide       a fully

              automated         flow that supports complex optimized                                               code

              The                                                the automated                     mapping between                     IR    and binary
                       only actual                          is
                                           novelty
              CFGs Compiler optimizations are taken                                                into    account         implicitly        by
                                                                    information from the
              extracting       timing and             power                                                        binary

              representation              And the concept                    of pairwise block                        characterization

              itself   is    no novel contribution                   only the            presentation of the                      details



              Several        mentions of unfinished work                               left        for the       future     highlight           the

              lack     of   novelty



              21 Building the CFG for the binary follows a
              similar process              but   it   requires identifying                          all    assembly instructions
              that     can    cause       flow   changes                 1        This can be mitigated                            however




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                                                                                                                                                                          722013 500 PM




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                                                                                                                      I




         by automatically extracting                    the     knowledge                of control        flow    change
         instruction          ADL description of the processor
                            from the                                                                          which        we plan
         to address in future work




         222 Dynamic branch                       predictors are not accurately                             characterized

         using     our approach             To generally capture                    dynamic effects                   our

         back annotated               model can         be augmented with dynamic cache                                       and branch

         predictor simulation               models from            literature            Such       extensions with

         existing         work are however             outside the            scope of the                paper

         223 Switching                 activity       and hence         power consumption of code block
         will    generally be data              input dependent                  We currently annotate                          a

         single energy consumption figure                          based on default McPat                                 activity

         factors per pair of basic blocks                         leading to small residual errors                              in


         our current flow             In   future     work we plan              to       develop         an

         input dependent              characterization             of the per block                  energy consumption
         based      on the actual           data flowing          through the block during simulated
         execution


         2 Shortcomings of the actual novel contribution
         While     the     pairwise execution              is   presented             in   a very detailed                to some
         degree almost unnecessarily detailed manner the explanation                                                            of the

         mapping algorithm the actual                           novelty       falls      a   bit   short


         In     the description of Algorithm                    2 the purpose of the Powersets                                 of

         succeeding          nodes         is   not immediately obvious                          This     also holds for the

         metric of the        cost function             The correspondence                         between         the      local    cost

           replacing        succeeding           nodes elements of the Powersets                                     with      their


         succeeding          nodes and the mismatches                          in     the two        CFGs should be made
         clarified




         The      quadratic complexity of the                    over   all    mapping              is   doubtful There

         are three nested             loops      in   the cost function                  two ranging over

         powersets          2AINI and one over each                      possible bijection                      N1 The
         complexity of the             algorithm therefore should be elaborated                                       in    detail



         3 Small issues with the Algorithm
         The function         MAPPING Alg 2 simply returns a cost for comparing two
         nodes       It   thus   is   only a cost function               which             can     be a part of a

         Mapping          algorithm         Line      17   if    ISS1I == ISS1I                  then      the     right     hand

         side probably should                   be ISS2I


         4 Evaluation
         The proposed solution only makes sense     the inputsets of the            if



         benchmarks are sufficiently large As the time spent for BA is
                  in all
         significant     other cases the sizes of the CFGs in the

         benchmarks would be interesting Same goes Section 1 Automated
         onetime back annotation                      of   code    is   fast    on the order of 12
         minutes which                raises the question               for what             size of application



         5 remarks


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         11    Related      work      We have found debug information of optimized code
         to   be unreliable          We therefore implement an approach               that combines a

         flow graph matching               algorithm with       debug    information as fall   back
         Why fall    back      to    an unreliable solution




                                      REVIEWER            5



         Reviewers Scores




                                           Overall    3

                               Reviewer      confidence         3

                                           Novelty 2
                                          Usefulness      3

                     Writing and figure quality                 4




         The    main     contribution            of this paper is to propose a fast and accurate

         host compiled simulation approach                      for automated    and retargetable modeling of
         both   performance and power consumption leveraging                         existing    open source
         architecture description language                    ADL A heuristic subgraph matching
         algorithm     is     used   to   map     basic   blocks    to in the intermediate representation to

         binary code



         The major concern about the paper is the lack of details to highlight its
         novelty compared  to              26
                                  Majority of 10 pages describes well understood

         concepts in compiler and ADL domain Figure 1 is almost identical to Figure
                                                                                    2

         of26 Ideally the paper should have focused on presenting technical details
         compared   26 For example there no comparison compared to 26
                       to                                           is                                           In


         fact there      is   no comparison compared                 to any of the existing stateoftheart

         approaches           There is no discussion about the following paper unless                  it   is   26
         Arguably      26 outlined some of the contributions claimed in this paper

         Andreas Gerstlauer                Suhas Chakravarty Manan Kathuria               and Parisa Razaghi

         Abstract System Level                Models      for   Early Performance and     Power Exploration
         ASPDAC 2012




         Zhuoran    Zhao
                                                                                         of Texas at Austin
         Department of Electrical and Computer Engineering University
         Institute of VLSI Design Zhejiang University China

         Advanced      Honor Class of Engineering Education                Zhejiang University   China




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         Skype zhuoranzhao




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       No leaves without pay taken




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                                                                         ANDREAS GERSTLAUER
                                                                   StatisticalSummary for In Rank



        Peer reviewed              Journal      Publications                                                 9

        Peer reviewed              Conference              Publications                                      32

        Corresponding Author on Peer Reviewed                                  Publications         4   3 invited
        Total     Citations of all         Publications           career                                 2135

        h index     career                                                                                   21


        Total     Research Funding                                                                      $217M
        Candidate Share Research                           Funding                                      $139M
        Total     Number       of GrantsContracts                  Received                                  13

        Number          of GrantsContracts                  Received      as   PI                            10


        PhD Students Completed                         t                                                  15

        MS Students Completed                      t
                                                                                                          75
        PhD Students              in    Pipeline       as   of   092013                                      6

        MS students           in   Pipeline      as of 092013              t                                 2


        Courses Taught                                                                                       11



        Weighted         Average UG Course GPA                                                           304

            of Students       Taught                                                                      409

        Average         Instructor        Evaluation         UG                                          410

        Average         Instructor        Evaluation         Grad                                        423

        Average Course Evaluation                          UG                                            374

        Average Course Evaluation Grad                                                                   379

        Teaching Awards                                                                                      0


        Student Organizations                  Advised                                                       2


                                                                                                             11
        Undergraduates                  Supervised

        Department Committees                      and Service                                               9


        Cockrell        School Committees                                                                    0


        University       Committees and Service                                                              0


        Journal     Editorial           Boards                                                               2


        Journal     ReviewsNumber                      of Journals                                      34        13

        Symposia Organized                                                                                   4


        Invited    Talks                                                                                     33

            Source

            El    Publish or Perish

            LII   ISI   Web       of    Knowledge

        t
            Counted as        1    if   sole   advisor        05   if   co advised




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                                               SUMMARY OF ACTIVITIES FOR
                                                      ANDREAS GERSTLAUER
                                               September   1 2010     August       31 2011

  A Research
  1 Awards and Honors


  NA

  2 Invited Addresses and Colloquia


         Using      Cutting Edge      Tools     for   Communication      System         Design   National      Instruments    NIWeek
         conference    Austin     TX August 2011
         SystemLevel Design of Heterogeneous   Embedded Multi Core Platforms Department of Informatics
         University of Tiibingen Germany June 2011


         Low Power High Performance Linear Algebra Processing IBM Austin Research Lab Austin Texas
         May 2011

         SystemLevel         Design      of Heterogeneous       Embedded       Multi Core     Platforms        Huawei    Technologies

         USA Dallas Texas March 2011
         Embedded System Design Challenges and Trends Texas Instruments Dallas Texas March 2011

         Embedded Systems Research               3M Austin Texas January 2011
         System Level Design of MultiProcessorMultiCore Systemson Chip                                 Intel    Research     Hillsboro

         Oregon November 2010

         SystemLevel         Design      for   Heterogeneous     Low Power          and   High Performance        Compute    Fabrics
         National   Instruments Austin         Texas October 2010



  3 Publications

  a Journals and books
  Indicate published   accepted    for   publication revised or submitted and under review



         K He A Gerstlauer M Orshansky                   Circuit Level   Timing Error Acceptance            for   Low Energy       Image

         Processing IEEE Transactions on                Very Large   Scale    Integration    Systems   TVLSI         submitted August

         2011

         P Razaghi     A Gerstlauer Predictive            OS Modeling        for   Host Compiled   Simulation        of Periodic   Real
         Time Task Sets IEEE Embedded System Letters submitted July 2011

         J Gladigau      A
                       Gerstlauer C Haubelt                 M
                                                  Streubtihr J Teich Automatic System Level Synthesis

         From Formal Application Models to Generic Bus Based MPSoCs Transactions on High Performance
         Embedded      Architectures      and Compilers Transactions               on   HiPEAC accepted        for   publication    May
         2011


  b Refereed Conference Proceedings
  Indicate published   or accepted    for publication




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         D Pfeifer A Gerstlauer Expression Level                     Parallelism for       Distributed    Spice    Circuit     Simulation

           Proceedings      of the   IEEEACM International Symposium on Distributed and Real Time Applications
          DSRT accepted      publication July 2011
                                     for


         M S Lopez A Gerstlauer A Avila S 0 MartinezChapa A Programmable and Configurable Multi
           port System on Chip for Stimulating                ElectrokineticallyDriven       Microfluidic  Devices Proceedings of
           the   International     Conference        of the   IEEE   Engineering     in   Medicine    and Biology Society           EMBC
           accepted   for   publication July 2011


         A AbdelHadi          J Michel          A Gerstlauer         S Vishwanath           Real Time       Optimization           of   Video
           Transmission      in   a Network     of   AAVs IEEE Vehicular Technology Conference V7C accepted                                for


           publication July 2011


         A Pedram A Gerstlauer R van de Geijn A High Performance Low Power Linear Algebra Core
           Proceedings      of the IEEE International Conference on Application specific Systems Architectures                             and
           Processors    ASAP accepted for publication July 2011
         J Lin    A Srivatsa A Gerstlauer B Evans                    Heterogeneous         Multiprocessor       Mapping      for   Realtime

           Streaming Systems International Conference on Acoustics                         Speech and Signal Processing            ICASSP
           Prague Czech Republic             May 2011
         P Razaghi       A Gerstlauer Host Compiled                  Multicore      RTOS     Simulator    for     Embedded         Real Time

           Software   Development             Design Automation          and Test   in   Europe   DATE       Grenoble France            March
           2011

         K He A Gerstlauer M Orshansky                        Enabling    Improved       Quality Energy     Tradeoff    for   Low       Energy
           IDCT Architecture           Design Automation          and Test in Europe       DATE Grenoble France March 2011
         R Milner      W Chen X Han A                   Gerstlauer       Multi Core        Parallel    Simulation      of     System Level
           Description      Languages         Proceedings       of the Asia and South       Pacific   Design Automation         Conference

           ASPDAC Yokohama                  Japan January 2011 invited paper



  c Conference      Presentations          Without Proceedings       of Full Papers



  NA

  3   Student Advising



  a Completed PhD Theses
  Names of students and program eg ECE CS Physics etc



           Martha Salome Lopez De La Fuente                    Definition Design and Implementation                of a ProcessorBased

           Stimulation      System for EletrokineticallyDriven               Fluidic      Devices     Information      Technologies        and

           Communications Monterey              Institute     of Technology    Monterey Mexico            May     11 2011     external     co
           advisor with Prof Sergio          0 Martinez Chapa

  b Current Graduate          Advisees



  PhD
         Parisa Razaghi

         Hyungman     Park

         Dongwook Lee
         Ardavan Pedram with Robert van de Geijn CS
         Ku He with Michael          Orshansky




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          Jin Miao     with Michael     Orshansky
          Ahmed Abdel Hadi with Sriram Vishwanath
          Wei Chen Su


  M
          Suhas Chakravarty

          Manan Kathuria


                 Number of graduate       Number of graduate        Number of PhD               Number of PhD
                 students   supported     students   supported      advisees   supported        advisees   supported

                 by grants 201011         by grants 201112          as   TA Fellow              as   TA Fellow
                                          anticipated               etc 201011                  etc 201112
                                                                                                anticipated




  4 Current Research Projects and Grants

  Title agency       PI role amount duration
  Also list active    research projects that are not funded    eg carried out by PhD level students

          A Gerstlauer PI Compiler Assisted MPSoC Assembly and Mapping Unrestricted                                 no overhead

          gift Intel   Labs Santa Clara $46000 9201082011
          A Gerstlauer PI M Orshansky Formal Synthesis of Low Energy Signal Processing Systems
          Relying on Controlled Timing Error Acceptance National Science Foundation NSF Grant CCF

          1018075       $449676 9201082013
          A Gerstlauer PI Automatic Platform Model Calibration and Tuning Semiconductor Research
          Corporation SRC Contract 2010HJ2085   $255000 8201072013
          Towards       Enabling   FullCell Biochemical       Network    Simulations Summer Research            Assignment

          SRA 6201172011 $20000
          A Gerstlauer Host Compiled Multi Core Software Simulation
          A Gerstlauer S Vishwanath Horus A Testbed for Wireless UAV Networks

  5   Proposal    Submissions



  Title agency       PI role amount duration


          A Gerstlauer PI Lizy John PERPTET Design Exploration Tools for Heterogeneous Multicores
          Semiconductor Research Corporation SRC $399000 1201212014

          A Gerstlauer PI H Vikalo ABI Innovation         InSilicoStochastic System   Genetic
                                                                                       Simulation             for


          Regulatory Network       Modeling   and Inference   National   Science   Foundation    $489592      12012122014

          A Gerstlauer PI High Performance and Low Power Compute Fabrics                          for   Linear Algebra

          Processing        Department of Energy     DOE      Early Career Research      Program      ECRP $751949 62011
          52016
          A Gerstlauer PI R van de Geijn J Abraham E Swartzlander SHFLargeHardwareSoftware
          Foundations for Low Power and High Performance Linear                Algebra   Computing National           Science

          Foundation        $1545847    8201172014


  B Teaching




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  6   Special   Projects     Lab and Course Developments             etc


  C Service     Activities




  7 University Service
  Departmental and university       wide committees        etc



          Graduate Admissions Committee Computer                  EngineeringComputer Architecture         and Embedded

          Processors     ECE Department
          Graduate Admissions Committee Integrated Circuits and Systems                   ECE Department
          Curriculum Committee Computer EngineeringComputer Architecture                      and Embedded Processors         ECE
          Department
          Curriculum Committee Integrated Circuits and Systems                   ECE Department
          Faculty Committee Computer EngineeringComputer Architecture                     and Embedded Processors        ECE
          Department
          Faculty Committee Integrated Circuits and Systems                ECE Department
          Graduate Studies Committee ECE Department



  8   Technical    Society    Service

  Editorships committee memberships chairing sessions etc



          Session Chair Design Automation            Conference      DAC
          Organizer    with     C Haubelt        Special   Session    on Embedded        Multi Processor    Software   Synthesis
          Design Automation         Conference   DAC
          Registration     Chair    International    Symposium        on   Performance    Analysis    of   Systems and   Software

          ISPASS
          Chair Technical Program Committee Austin Conference on Integrated                    Circuits and   Systems ACISC
          Coorganizer with       C    Haubelt Workshop on CompilerAssisted System on Chip Assembly                     CASA
          Member Technical Program Committee International                     Conference on HardwareSoftware       Codesign and
          System Synthesis CODES+ISSS
          Member Technical Program Committee Design Automation and Test in Europe DATE
          Member Technical Program Committee International Conference on Computer Design ICCD
          Member Technical Program Committee International                  Conference on Compilers Architectures        and

          Synthesis for Embedded Systems            CASES

  D Other Items of Interest
  E Plans for the Comine Year

          Resubmit NSF proposal on Linear Algebra Compute Fabrics with                    R van de Geijn
          Resubmit SRC proposal on Heterogeneous                 Multicore Exploration   with L John
          Submit NSF CAREER proposal

          Prepare and submit journal paper on Multi Processor              Software Compilation with       R Doemer and G
          Schirner

          Prepare and submit journal versions of papers about Multicore Processor Modeling                    Heterogeneous

          Multiprocessor      SDF Mapping with B Evans Linear               Algebra Processor Design with       R van de Geijn
          and Video Transmission over Wireless Networks                with S Vishwanath

          Prepare and submit conference          publications    on research    in Linear Algeba   Processor Design    RTOS
          Modeling     Stochastic    Simulation System on Chip Design and SystemLevel                 Power Modeling




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                                               SUMMARY OF ACTIVITIES FOR
                                                         Andreas Gerstlauer

                                               September      1 2011         August   31 2012

  Research


  1 Awards and Honors


  NA

  2 Invited Addresses and Colloquia


         Teaching Experience         Developing     a Class on       Embedded Systems in Young                 Faculty    Workshop    Design

         Automation     Conference       DAC San     Francisco        June   2012

         Heterogeneous      System Design        Intel   Research Hillsboro Oregon March 2012

         A Low Power High Performance              Linear     Algebra        Core NSF Center for Embedded Systems                  Faculty of

         Computer Science     and Engineering Arizona State University February 2012

         Software      Synthesis   for   Embedded    Multicore        Systems Keynote Brazilian Symposium                    on Computing
         System Engineering        SBESC Florianopolis              Brazil November 2011


         A Low Power High Performance                Linear    Algebra       Core Tech      Topics   Seminar Series Advanced Micro
         Devices     AMD Austin TX November 2011
         CircuitLevel      Timing Error Acceptance            for   Low   Energy Signal      Processing        Cirrus Logic       Austin   TX
         November 2011


  3 Publications

  a Journals and books
  Indicate published accepted      for   publication revised or submitted and under review



         K He A Gerstlauer M Orshansky                   Circuit Level         Timing Error Acceptance           for     Design   of Energy

         Efficient   DCTIDCTbased           Systems IEEE            Transactions      on Circuits and Systems for Video           Technology

         7CSVT submitted July 2012
         D Pfeifer A Gerstlauer J Valvano SimConnect and SimTalk                             for   Distributed    CyberPhysical System
         Simulation Simulation            Transactions   of the Society for Modeling            and Simulation     International     revised

         September 2012

         J Lin B Evans A Gerstlauer Communication Aware Heterogeneous                                Multiprocessor       Mapping for Real
         Time Streaming Systems Journal of Signal Processing Systems vol                           69 no 3 December 2012
         A Pedram R van de Geijn A Gerstlauer Co Design Tradeoffs                                  for   High Performance         Low Power
         Linear Algebra    Architectures        IEEE Transactions on Computers               7C      special    issue   on Energy    Efficient


         Computing accepted        for publication  May 2012
         P Razaghi      A Gerstlauer Predictive OS Modeling                  for   Host Compiled Simulation        of Periodic Real Time
         Task Sets IEEE Embedded System Letters vol 4 no                        1 March 2012


  b Refereed Conference Proceedings
  Indicate published   or accepted   for publication




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        A Pedram A Gerstlauer R van de Geijn On the Efficiency                                           of Register        File   versus    Broadcast

            Interconnect for Collective          Communications         in Data Parallel       Hardware Accelerators               Proceedings      of the
         IEEEIFIP          International        Symposium        on   Computer       Architecture        and High Performance               Computing
            SBACPAD accepted for publication August 2012
        J Massey J Starr S Lee                   D Lee A Gerstlauer R Heath                        Implementation      of a Real Time Wireless
            Interference     Alignment Network              Asilomar Conference on Signals Systems and Computers accepted

            for publication     July 2012


        D     Lee      H     Park      A Gerstlauer Synthesis                 of   Optimized          Hardware      Transactors       from      Abstract

            Communication           Specifications           Proceedings       of     the     1EEEACM            International       Conference        on

         HardwareSoftware Codesign and System Synthesis CODES+ISSS                                       accepted    for publication        June 2012


        J Miao A Gerstlauer              M      Orshanslcy      Modeling and        Synthesis of Quality Energy             Optimal Approximate
            Adders Proceedings            of the   IEEEACM International Conference on Computer Aided Design ICCAD
            accepted    for publication June         2012

        A Pedram S Z Gilani N S Kim R van de Geijn M Schulte A Gerstlauer A Linear Algebra Core
            Design     for Efficient    Level   3 BLAS Proceedings of the IEEE International Conference on Application
         specific      Systems        Architectures       and   Processors     ASAP           Delft    The     Netherlands     July    2012 poster
            presentation


        K He A Gerstlauer M Orshansky                           Low Energy         Signal    Processing using        Circuit Level      Timing Error
            Acceptance         Proceedings         of the    IEEE     International     Conference        on    Integrated    Circuit    Design       and

            Technology       ICICDT Austin TX May 2012 invited paper
        A Gerstlauer S Chalcravarty M Kathuria                            P    Razaghi        Abstract         System Level        Models    for    Early

            Performance       and Power Exploration               Proceedings       of the    IEEEACM Asia and South                  Pacific      Design
            Automation       Conference     ASPDAC Sydney Australia January 2012 invited paper
        P    Razaghi       A Gerstlauer Automatic                 Timing      Granularity          Adjustment     for Host Compiled           Software

            Simulation        Proceedings        of the     IEEEACM Asia and                South    Pacific    Design Automation           Conference

            ASPDAC Sydney Australia January 2012
        D Pfeifer A Gerstlauer Expression Level                           Parallelism        for    Distributed     Spice    Circuit    Simulation

         Proceedings         of the   IEEEACM International Symposium on Distributed and Real Time Applications                                      DS
         RT Manchester United Kingdom September 2011
        M S Lopez A Gerstlauer A Avila S 0 MartinezChapa A Programmable and Configurable                                                           Multi

            port   System on Chip         for   Stimulating ElectrokineticallyDriven                  Microfluidic    Devices        Proceedings       of
            the International Conference of the             IEEE Engineering          in Medicine      and Biology Society          EMBC Boston
            MA September 2011
        A AbdelHadi J Michel A Gerstlauer S Vishwanath Real Time Optimization of Video Transmission
            in a   Network    of   AAVs IEEE Vehicular Technology                     Conference       VTC San Francisco CA September
            2011

        A Pedram A Gerstlauer R van de Geijn A High Performance Low Power Linear Algebra Core
         Proceedings         of the IEEE International Conference on Application specific                            Systems Architectures           and
         Processors        ASAP        Santa    Monica CA September 2011


  c Conference       Presentations        Without     Proceedings       of Full Papers




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          A Pedram A Gerstlauer R van de Geijn Overcoming                                 Register    File   Inefficiencies    by    Using   2D
              Broadcast Bus Interconnects            in   Linear Algebra      Accelerators     3rd Workshop      on SoCs Heterogeneous
              Architectures        and Workloads    SHAW      3 New      Orleans LA February 2012




  3   Student Advising



  a Completed PhD Theses
  Names of students and program            eg ECE CS Physics etc

              Ku He Adaptive Low Energy Techniques                  in   Memory and Digital Signal Processing Design Electrical
              and Computer          Engineering University       of Texas   at Austin April 18 2012    co supervisor with Prof
              Orshanslcy


              Ahmed Abdel           Hadi   Multicast Networks        Capacity Algorithms and Implementation                    Electrical    and

              Computer       Engineering      University     of Texas    at   Austin October       17 2011 co supervisor            with    Prof

              Vishwanath




  b Current Graduate Advisees
  PhD
          Parisa Razaghi

          Hyungman          Park

          Dongwook Lee
          Suhas Chakravarty

          Seogoo Lee
          Ardavan Pedram with Robert van de Geijn CS

          Ku He with Michael            Orshansky
          Jin Miao       with Michael      Orshanslcy
          Wei Chen Su part time



  MS
          Ashmita Sinha
          Manan Kathuria




  4 Current Research Projects and Grants

  Title agency         PI role amount duration
  Also list   active    research   projects that   are not funded   eg     carried   out by PhD   level   students



          R W Heath PI A Gerstlauer Interference Alignment in Distributed Environments                                  Army Research
          Office       $99980 8201272013
          A Gerstlauer P1 Lizy John Multi dimensional Modeling Design and Exploration of Heterogeneous
          Multicore       SoCs Contract 2012HJ2317               $345000 82012            72015
          A    Gerstlauer     PI R      van de Geijn SHFSmallAlgorithmArchitecture Co Design of Low Power and

          High Performance Linear Algebra Compute Fabrics Grant CCF1218483                                 $499919 62012            52015
          K Pingali A Gerstlauer co PI Adaptive HardwareSoftware                             Platforms for Mobile Web         Browsing
          Unrestricted       no overhead     gift   Qualcomm BARD             Santa Clara    $80000 12012122012




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          A Gerstlauer PI Automated Design Space Exploration and Optimization of DSP Systems
          Unrestricted    no overhead   gift National    Instruments Austin      $40000 8201152012
          A Gerstlauer PI M Orshansky Formal Synthesis of Low Energy Signal Processing Systems Relying
          on Controlled Timing Error Acceptance National Science Foundation NSF Grant CCF1018075

          $449676 9201082013
          A Gerstlauer PI Automatic Platform Model Calibration and Tuning Semiconductor Research
          Corporation SRC Contract 2010HJ2085    $255000 8201072013
          A Gerstlauer Host Compiled Multi Core Software Simulation

  5 Proposal Submissions

  Title agency    PI role amount duration


          A Gerstlauer PI CAREER Network Level Modeling and Design of CyberPhysical Networks of
          Systems $400000 092013             82018
          L John PI A Gerstlauer V J Reddi R van de Geijn V Eijkhout L Demkowicz 0 Ghattas G Biros
          T Wenisch Univ of Michigan Ann Arbor K Fidkowslci Univ of Michigan Ann Arbor Co Design
          of a Heterogeneous    HardwareSoftware         Fabric for High Performance      Computational   Fluid Dynamics Air

          Force Office    of Scientific Research $5919077        012013122018
          A Gerstlauer PI H Vikalo ABI Innovation                Stochastic    InSilico Simulation   System for Genetic

          Regulatory     Network Modeling    and Inference      National   Science   Foundation   $489592   12012122014




  Teaching


  6   Special Projects    Lab and Course Developments etc


  Mentor Senior Design Project MRI          Simulation      8201152012


  C Service Activities
  7   University Service

  Departmental and universitywide committees etc



          Prospective Graduate Student      Site Visit   Coordinator Integrated Circuits and Systems      ICS track ECE
          Department      UT Austin
          Graduate Admissions     Committee Computer EngineeringComputer Architecture                 and Embedded

          Processors     ECE Department
          Graduate Admissions     Committee Integrated       Circuits and     Systems   ECE Department
          Curriculum Committee Computer          EngineeringComputer Architecture          and Embedded Processors    ECE
          Department
          Curriculum Committee Integrated Circuits and Systems                ECE Department
          Faculty Committee Computer EngineeringComputer Architecture                   and Embedded Processors    ECE
          Department
          Faculty Committee Integrated Circuits and Systems           ECE Department
          Graduate Studies Committee        ECE Department



      Technical   Society   Service




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  Editorships committee memberships chairing sessions etc



         Topic   CoChair with P Brisk Logic and highlevel           synthesis  SW synthesis    11W   SW co design
         International   Conference on Very Large Scale Integration       VLSISoC
         Subcommittee     Chair   EDA1    System Level      Design and Codesign 2012 Design Automation          Conference

         DAC
         Associate Editor Design Automation      for   Embedded Systems DAES
         Member Technical Program Committee Design Automation Conference DAC
         Member Technical Program Committee International Conference on Very Large Scale Integration VLSI
         SoC
         Member Technical Program Committee International              Conference on HardwareSoftware      Codesign and
         System Synthesis CODES+ISSS
         Member Technical Program Committee Design Automation                and Test   in Europe   DATE
         Member Technical Program Committee International Conference on Computer Design ICCD
         Member Technical Program Committee Electronic System Level Synthesis Conference ESLsyn



  D Other Items of Interest

  E   Plans for the Coining Year



         Resubmit NSF proposal on Stochastic     Simulation    System on Chip with      H Vikalo
         Submit NSF proposal on High Level Synthesis for Reliability and Fault Tolerance

         Prepare and submit journal paper on Multi Processor      Software Compilation with         R Doemer UC Irvine
         and   G Schirner Northeastern Univ
         Prepare and submit journal version of RTOS          Processor Modeling    research

         Prepare and submit journal version of Hardware Transactor Synthesis research

         Prepare and submit conference    publications   on research    in Approximate Computing      Linear Algeba

         Processor Design     RTOS Modeling    Stochastic    Simulation   System on Chip Design and System Level
         Power Modeling




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                                              SUMMARY OF ACTIVITIES FOR
                                                    ANDREAS GERSTLAUER
                                             September       1 2012 August 31 2013

  A Research
  1 Awards and Honors

         IEEE Computer       Society Technical       Committee on       Parallel   Processing     TCPP Best Poster Award for
         student   Ardavan Pedram at the          PhD Forum of the 2013 International              Parallel     Distributed   Processing

         Symposium     IPDPS
         AMD Chair in Computer Engineering

  2 Invited Addresses and Colloquia

         System Level Design of Embedded Systems Department of Electrical                               Engineering    and Information

         Technology     Karlsruhe   Institute     of Technology       KIT Karlsruhe Germany June 2013
         Models and        Architectures    for Heterogeneous           System Design             Department     of Computer     Science

         University   of California Los Angeles Los Angeles                CA May 2013
         Host Compiled        System       Models      for    Early    Power       and   Performance          Exploration      Qualcomm
         Technologies    QCT Inc San Diego CA May 2013
         Models and     Architectures      for    Heterogeneous       System Design         Department of Computer            Science    and

         Engineering University      of California San Diego San Diego                   CA May 2013
         Models and Architectures          for Heterogeneous       System Design Center for Embedded Computer Systems

         CECS University        of California Irvine Irvine            CA May 2013
         Models and      Architectures      for    Heterogeneous      System Design          Center for Experimental          Research    in


         Computer Systems      CERCS Georgia             Institute    of Technology       Atlanta    GA April 2013
         Models and      Architectures      for Heterogeneous          System Design         Design      of Robotics    and Embedded

         Systems Analysis and Modeling              Seminar    DREAMS Center for Electronic System DesignCenter                          for


         Hybrid and Embedded Software Systems CI1ESS University                            of California Berkeley Berkeley              CA
         April 2013


         Models and Architectures        for Heterogeneous         System Design Center for Silicon System Implementation

         CSSI Carnegie Mellon University Pittsburgh PA April 2013
         Dataparallel    Accelerator       Design     beyond    GPUs       IEEE      CTS CASSSCCEDA                 Workshop     on Data
         Parallelism for Multi Core Chips and           GPU Austin TX October 2012

  3 Publications

  a Journals and books
  Indicate published accepted    for publication       revised or submitted and under review



         D Pfeifer J Valvano A Gerstlauer SimConnect and SimTalk                            for   Distributed   CyberPhysical System

         Simulation Simulation         Transactions ofthe Society for Modeling              and Simulation       International   accepted

         for publication    November 2012




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         K He A Gerstlauer M Orshansky                    Circuit Level         Timing Error Acceptance             for Design        of Energy
               DCTIDCTbased Systems IEEE Transactions on Circuits and Systems for Video Technology
         Efficient


         7CS V7 vol 3 no 6 pp 961974 June 2013
         J Lin A Gerstlauer B L Evans Communication Aware Heterogeneous                                       Multiprocessor        Mapping    for

         Real Time Streaming Systems Journal of Signal Processing Systems                                    vol   69 no 3 pp 279291
         December 2012

         A Pedram R A van de Geijn A Gerstlauer Codesign Tradeoffs for High Performance Low Power
         Linear Algebra Architectures           IEEE Transactions on Computers                7C      special issue       on Energy     Efficient


         Computing vol 61 no 12 pp 17241736 December 2012                                18       acceptance     rate




  b Refereed Conference Proceedings
  Indicate published or accepted      for publication



         J Miao A Gerstlauer          M Orshansky Approximate                  Logic   Synthesis under General Error Magnitude                and

         Frequency Constraints Proceedings                of the    IEEEACM International Conference on Computer Aided
         Design ICCAD San Jose               CA November 2013 26 acceptance rate
         S Lee A Gerstlauer Fine Grain Word                     Length Optimization for Dynamic                  Precision    Scaling    in   DSP
         Systems Proceedings              of the IFIPIEEE International Conference                   on     Very Large      Scale    Integration

         VLSISoC Istanbul Turkey November 2013                        20
                                                      acceptance rate 28 incl short papers

         S Chalcravarty Z Zhao A Gerstlauer Automated Retargetable Back Annotation for Host Compiled
         Performance and Power Modeling                 Proceedings       of the   IEEEACMIFIP               International        Conference on

         HardwareSoftware          Codesign and System          Synthesis      CODES+ISSS            Montreal Canada October 2013

         28      acceptance    rate

         A Mariano D Lee A Gerstlauer D Chiou Hardware and Software Implementations                                                    of Prims

         Algorithm     for    Efficient    Minimum   Computation Proceedings
                                                        Spanning       Tree                                              of the    International

         Embedded Systems Symposium IESS Paderborn Germany June 2013

         H Park A Gerstlauer Toward                    a Fast     Stochastic    Simulation Processor for                Biochemical    Reaction

         Networks        Proceedings        of the    IEEE      International      Conference        on     Application    specific     Systems
         Architectures    and Processors ASAP Washington                  DC June 2013 22 acceptance rate 36 incl short
         papers

         A Pedram J McCalpin A Gerstlauer Transforming A Linear Algebra Core                                       to   An FFT Accelerator
         Proceedings     of the IEEE International Conference on Application                       specific    Systems Architectures          and
         Processors    ASAP Washington DC                June     2013   22 acceptance rate 36 incl short papers
         P Razaghi       A Gerstlauer Multi Core Cache Hierarchy Modeling                             for    Host Compiled Performance

         Simulation Proceedings             of the Electronic      System Level        Synthesis Conference         ESLSyn          Austin    TX
         June   2013   38      acceptance     rate

         D Pfeifer A Gerstlauer J Valvano Dynamic Resolution                                 in    Distributed     CyberPhysical         System
         Simulation Proceedings ofthe ACM SIGSIM Conference on Principles of Advanced Discrete Simulation

         PADS Montreal Canada May 2013 39 acceptance rate
         A Pedram A Gerstlauer R A van de Geijn Floating Point Architecture                                      Extensions       for Optimized

         Matrix Factorization         Proceedings      of the   21 IEEE International Symposium on Computer Arithmetic
         ARITH21         Austin TX April 2013           28      acceptance      rate

         K He A Gerstlauer M Orshansky Low Energy                              Digital   Filter   Design Based          on Controlled Timing
         Error   Acceptance       Proceedings        of the   IEEE International Symposium on                  Quality Electronic        Design
         ISQED San Jose CA                March 2013

         J Miao K He           A Gerstlauer M Orshansky                  Modeling and         Synthesis of Quality Energy               Optimal

         Approximate Adders Proceedings                  of the    IEEEACM International                 Conference       on Computer Aided

         Design   ICCAD San Jose CA November 2012 24 acceptance                                   rate




CONFIDENTIAL                                                                                                               UT Austin0026944
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          J    W Massey J           Starr   S Lee D Lee A Gerstlauer R                 W Heath Implementation of           a Real Time

          Wireless Interference Alignment Network                   Proceedings of the Asilomar Conference on Signals Systems

          and Computers            ACSSC Pacific Grove CA November 2012 invited paper
          D      Lee      H   Park    A Gerstlauer        Synthesis      of Optimized      Hardware    Transactors       from    Abstract

          Communication             Specifications     Proceedings      of the   IEEEACMIFIP          International      Conference    on

          HardwareSoftware Codesign and System Synthesis CODES+ISSS                             Tampere Finland October 2012
          28       acceptance       rate

          A Pedram A Gerstlauer R A van de Geijn On the Efficiency                             of Register      File   versus   Broadcast

          Interconnect for Collective         Communications        in Data Parallel   Hardware Accelerators       Proceedings of the
          IEEE International Symposium on Computer                    Architecture     and High Performance       Computing       SBAC
          PAD New York NY October 2012 28 acceptance rate

  c Conference           Presentations      Without Proceedings        of Full Papers


        None


  3   Student Advising



  a Completed PhD Theses
  Names of students and program             eg ECE CS Physics etc
          Ardavan         Pedram     AlgorithmArchitecture           Codesign    of Low    Power and     High    Performance       Linear

          Algebra Compute Fabrics Electrical              and Computer Engineering The University of Texas                at Austin   July

          29 2013 co supervisor with Prof van de Geijn Computer Science


  b Current Graduate Advisees
  PhD
          Suhas Chalcravarty part time

          Dongwook Lee
          Seogoo Lee
          Jin Miao       with Michael       Orshansky
          Hyungman          Park

          Dylan        Pfeifer parttime     with Jonathan    Valvano
          Parisa Razaghi

          Wei Chen Su part time


  MS
          Wenxiao Yu

          Zhuoran Zhao


  4 Current Research Projects and Grants
  Title agency         PI role amount duration
  Also list   active    research   projects that   are not funded   eg carried out by PhD level students

          A Gerstlauer PI Core Technology Development for System Simulation including Network
          Sponsored        Research    Agreement     UTA12001141         Samsung Electronics     DMC RD Center Korea
          $149020 62013122013
          A Gerstlauer        PI
                        Automated Design Space Exploration and Optimization of DSP Systems
          Sponsored        Research    Agreement     UTA12000636         National    Instruments Austin $60000           8201272013




CONFIDENTIAL                                                                                                      UT Austin0026945
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          R W Heath PI A Gerstlauer Interference Alignment in Distributed Environments                               Army Research
          Office    $99980 8201272013
          A Gerstlauer PI L K John Multi dimensional Modeling Design and Exploration of Heterogeneous
          Multicore   SoCs Semiconductor Research Corporation               SRC Contract 2012HJ2317                  $345000
          82012      72015
          A Gerstlauer PI R van de Geijn SHFSmallAlgorithmArchitecture Co Design of Low Power and
          High Performance Linear Algebra Compute Fabrics National                    Science    Foundation   NSF Grant CCF
          1218483     $499919 62012         52015
          A Gerstlauer PI M Orshanslcy Formal Synthesis of Low Energy Signal Processing Systems
          Relying   on Controlled    Timing Error Acceptance           National   Science Foundation     NSF Grant CCF
          1018075     $449676 9201082013 no cost              extension until     82014
          A Gerstlauer PI Automatic Platform Model Calibration and Tuning Semiconductor Research
          Corporation SRC Contract 2010HJ2085   $255000 8201072013 no cost extension          82014                   until




  5 Proposal Submissions
  Title agency     PI role amount duration


          A Gerstlauer PI CAREER Formal Models and Abstractions for Network Level Design of
          Embedded Networks ofSystems National                Science Foundation        $400209 92014          82019
          G Biros PI A Gerstlauer L K John R van de Geijn XPS DSD A2MA Architectures and
          Algorithms for Multiresolution Scientific         Applications National Science Foundation                $749801 92013
           82016
          V Eijkhout PI J McCalpin A Gerstlauer XPS CLCCA                          Explicit     Hardware and Software
          Semantics for Data   Movement       in Parallel   Computing      National    Science    Foundation   $749935 92013
          82016
          L K John PI A Gerstlauer Adaptive Low Power Computing with Multiple Cores and
          Accelerators    Samsung Global Research           Outreach    GRO $299973 92013               122016
          A Gerstlauer PI J Valvano CPSBreakthrough                     Distributed Parallel and Adaptive           Coordination

          Back planes for Large Scale CyberPhysical System Simulation National Science Foundation

          $496241 9201381016
          A Gerstlauer PI H Vikalo X Cai Univ of Miami SHFSmallCollaborative Research
          Algorithms and Architectures      for   InSilico Stochastic     Simulation    and Inference   of Complex Genetic

          Networks     National   Science   Foundation      $424766 92013          82016




  B Teaching

  6   Special Projects   Lab and Course Developments              etc


          J Valvano R     Yerraballi    A Gerstlauer W Bard M Erez N Telang Introduction                       to   Embedded
          Systems    EE319K         develop a pilot offering of a massively online        open course   MOOC as          part   of

          UTx UT Systems partnership with edX nonprofit                 provider of online courses      founded by Harvard and

          MIT course to launch in Spring 2014 course material will be test driven in the regular program in Fall
          2013




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  C Service   Activities




  7   University Service

  Departmental and universitywide committees etc

          Prospective Graduate       Student    Site Visit   Coordinator Integrated Circuits and Systems            ICS track ECE
          Department      UT Austin
          Graduate    Admissions Committee Computer EngineeringComputer Architecture                             and Embedded

          Processors     ECE Department
          Graduate    Admissions Committee Integrated               Circuits and    Systems      ECE Department
          Curriculum Committee Computer                EngineeringComputer           Architecture    and Embedded Processors      ECE
          Department
          Curriculum Committee Integrated Circuits and Systems ECE Department

          Faculty Committee Computer             EngineeringComputer             Architecture    and Embedded Processors       ECE
          Department
          Faculty Committee Integrated Circuits and Systems ECE Department

          Graduate    Studies   Committee ECE Department


  8   Technical    Society   Service

  Editorships committee memberships chairing sessions etc


          Technical     Area Chair Architecture            and Implementation            2013     Asilomar Conference     on   Systems

          Signals and Computers
          Technical     Program Co Chair 2013 Electronic              System Level Synthesis Conference           ESLsyn
          Track Co Chair        T8 Embedded SystemsHWSW CodesignLogic                               High Level    Synthesis    2013
          IFIPIEEE      International   Conference on Very Large Scale Integration                VLSISoC
          Subcommittee       Chair   EDA1            System Level    Design and Codesign 2013          ACMEDACIEEE               Design
          Automation     Conference     DAC
          Associate Editor      ACM Transactions on Embedded Computer Systems TECS
          Associate Editor Springer Design Automation                     for Embedded Systems      DAES
          Member      Technical    Program Committee ACMEDACIEEE Design Automation                               Conference   DAC
          Member Technical Program Committee IFIPIEEE                         International     Conference on Very Large Scale

          Integration   VLSISoC
          Member Technical Program Committee IEEEACMIFIP International                               Conference on

          HardwareSoftware         Codesign and System Synthesis CODES+ISSS
          Member Technical Program Committee Design Automation and Test in Europe DATE
          Member Technical Program Committee IEEE International Conference on Computer Design ICCD
          Member Technical Program Committee Electronic System Level Synthesis Conference ESLsyn
          Member Technical Program Committee IFIP International Embedded Systems Symposium IESS
          Panel Reviewer        National    Science    Foundation




  I   Other Items of Interest




  E   Plans for the Coining Year



          Develop and teach       MOOC offering of EE319K
          Revamp      EE382V     graduate    class   laboratory    component       on System on Chip      SoC Design
          Graduate    PhD students Parisa Razaghi and              J in   Miao

          Prepare and submit journal and conference               publications




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              Budget Council Assessment of Teaching                                             Performance               for Faculty                Promotion Candidate
                                                                                   Andreas Gerstlauer


         This      report       was prepared by Budget Council Members Professors Jonathan Valvano                                                            and Yale Patt and is

         their     personal       evaluation of Professor Andreas Gerstlauers teaching record




         Principal             Areas of Teaching


         Dr       Gerstlauers principal                  area of research            and teaching         is    in   system       level         design   of embedded            systems
         This       involves          the    holistic     design    of both          hardware      and software             to     solve         a    domain       specific    computer
         problem            and requires applying engineering                          tradeoffs    in accomplishing                 this       goal     To that end he teaches
         both graduate and undergraduate courses He has focused his undergraduate teaching on EE319K a core
         freshman course on hardwaresoftware interfacing which includes both software development and system

         integration of hardware                     and      software   components               At the graduate               level      he has focused             his attention   on
         two       courses        a   new       graduate        course   in    Embedded System Design and Modeling                                                ESDM which he
         developed             and introduced            at   UT and an existing lab based course System on a Chip SoC which                                                             he

         took       over       and     overhauled              EE319K         is    required       of   all    freshman           majors          in   electrical       and computer

         engineering    It is the first course wherein the student is faced with writing programs   that interface  the

         hardware  and the software of an embedded             The two  graduate courses are fundamental  for  students
                                                      system
         wishing to either pursue a PhD in embedded systems architecture or assume leadership positions on design

         teams       in   industry



         Teaching Evaluation Procedures and Measures


         The       ECE department        employs two teaching evaluation procedures Course Instructor Surveys and peer
         evaluation             The course instructor surveys are conducted in the last three weeks of the semester in every

         course           A peer evaluation              is   made by a professor after a visit                      to   the   classroom              The time and date of the

         visit     are agreed         to    beforehand         so that the     visit      does not catch the instructor                    by surprise


         Summary of Course Instructor Surveys


         The primary indicator on the Course Instructor Surveys used to evaluate teaching performance                                                                    is   the Overall

         Instructor Rating                   Dr Gerstlauers evaluations                    are shown       in   the table       below



                       ss                         Level                       Semester                   Enrollment                       Instr      Rating          Course     Rating


                                                                              Spring       09                    38                               41                          42
                                                                              Spring       11                    84                              37T                          33t
                                           Undergraduate
              EE319K
                                      freshmen required                       Spring       12                    73                               43                          37

                                                                              Spring 13                          71                               41                          39
                                                                                   Fall   08                     19                               44                          38

              E E382V                          Graduate                            Fall   09                     26                               38                          35
                  ESDM                      introductory                           Fall   10                     15                               41                          39
                                                                                   Fall   11                     14                               45                          39

                                                                              Spring       10                    18                               46                          43
              EE382V                           Graduate
                                                                              Spring 11                          10                               42                          36
                  SoC                       introductory
                                                                                   Fall   12                     41                               42                          37

             Averagemedianstandard  deviation of instructor ratings for ECE tenuredtenuretrack                                  faculty    is   406    408    I   042 for underwad
             courses 422 436    037 for graduate courses and 412 404         029 for EE319K
         1


             An   electronic    course      evaluation   was performed    but only 26 responses were collected




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         The table lumps his teaching performance                                          into   three sections          one section for each of the three courses he
         has taught



         It   is   clear    that      the students             consider         Dr Gerstlauer an outstanding                      teacher       Of the eleven               classes       he has

         taught          nine    of them are ranked                  at   41        or higher       Two classes were ranked below 40 the freshman                                         course

         EE319K            in    Spring 2011              37 and               the graduate         Embedded         Systems Design            and Modeling course                        in   Fall

         2009       38 Given                  the   overwhelming positive evaluations                          in all     three courses we see the                    two courses below
         40 as outliers               and hence            we do not have reason for concern


         In fact          one of the outliers the 37 evaluation                               for    EE319K         in   Spring 2011 can be explained                           easily          The

         course           was evaluated              electronically                 with    only 30 of the students                    in     the    class       participating            in    the

         evaluation              Normally we use paper evaluations and normally a much higher percentage of the students                                                                             in


         each       class      participate



         Summary of Peer Evaluation


         Dr Gerstlauers classes were evaluated                                        by both of us Professor Jonathan                        Valvano          performing            the
                                                                                                                                                                                               peer
         evaluation             in   March 2012 and Professor Yale Pan performing                                          the peer evaluation              in   March 2013                    Both
         of us rank             D     Gerstlauer           as   an   outstanding            teacher        citing   his   clear    explanations         comfortable               manner         in


         the       classroom and               his    effective       use       of both       the blackboard             and technology         in   getting          his points across

         These evaluations                    are   included         in   the promotion             packet



         Comparison                  with other instructors                     in the      ECE Department

         EE319K            is   a very        demanding but                critical        Louise     required      of all   ECE majors during then                         freshman
                                                                                                                                                                                               year
         As such the ECE department                              has assigned the course                   to instructors        who are known          for being            conscientious

         and excellent               teachers         Not surprising even though the course requires                                  a lot    of effort         from students             it   is   a

         popular freshman course and routinely receives positive evaluations



         Listed          below are the CIS evaluations                          for the     six instnictors         who have been teaching                  the course since 2009



         This            the                                                                      metric
                                most appropriate                                                               compare Professor Gerstlauer with his peers for
                    is                                          course         to   use as    a             to


         two reasons                 I   it    is   the undergraduate                  course       that   he has focused on and                 2
                                                                                                                                      the sample size is large

         enough 1744 students 29 classes to provide                                           meaningful data



         His CIS instructor average numbers are right at the overall average of 41 His CIS course numbers arc

         slightly below the overall average of 39 His class GPA is slightly Iowa than the overall average GPA of

         307         suggesting          there       is   no bias         in   evaluation         scores     caused      by perceived         grade expectations                   This data

         places          him right at the average among the excellent                                     instructors teaching         this course




                          Gerstlauer                                                  Professor       I                                  Professor         2

                          CIS Instructor              41                              CIS Instructor           39                        CIS Instructor                37
                          CIS Course                      38                          CIS Course               39                        CIS Course                    38
                          GPA                             303                         GPA                      313                       GPA                           300
                          Class Size                  59                              Class Size               41                        Class      Size               53



                          Professor       3                                           Professor       4                                 Professor 5

                          CIS Instructor                  41                          CIS Instructor           42                        CIS    Instructor             45
                          CIS Course                      39                          CIS Course               40                        CIS Course                    40
                          GPA                             319                         GPA                      304                       GPA                           305
                          Class Size                      50                          Class Size               68                        Class      Size               67
         Table      CISIGPA      data 5111Ce    2009 of all     EE3I9K untructors          source    CIS wwwolyedu        coal    Professor   Gerstlauers      data   are   highlighted




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         Massively Open Online Course                            MOOC
         The University            of Texas       at   Austin            will    deliver nine online classes                in    the   MOOC format during the 2013
         2014 academic year EE319K                            will       be one of these               pilot   classes    with a scheduled             launch    in    Spring 2014

         Professor         Gerstlauer     is   one of three faculty along with Ramesh Yerraballi and Jonathan Valvauo                                                         involved

         in   the design       and delivery of this online class                              In    particular    his role to date has been overall course                     design
         selection         of topics     for    inclusion            and        review        of teaching        materials       Professor      Gerstlauers            role   has   been

         restricted        over   the   summer as he focuses on his promotion package                                          During     the   fall   semester leading             up to
         the Spring         2014 launch         he will take a more active role in design and creation                                     of educational             content



         Balance       Between          Graduate          and Undergraduate                           Teaching


         Dr Gerstlauers teaching load was two courses per year during his first two years on the ECE faculty 2008
         09 200910 three courses per year 201011 201112 and two courses per year starting in Fall 2012
         This   is   consistent         with   ECEs normal policy                        toward        teaching     loads wherein         new     assistant      professors         were

         assigned two courses per year during                                   their    first              and three courses per year for
                                                                                                    two years on the faculty
         research active          faculty      after   that      Starting in Fall 2012 all research active faculty have been assigned two

         courses per         year


         Dr Gerstlauer has achieved                    a commendable                    balance        between undergraduate              and graduate teaching He has

         taught      the   freshman       course four times and his two graduate                                  courses a total       of seven times



         Individual          Instruction



         Dr Gerstlauer            has an excellent            record            in   the area      of individual instruction and has gone out of his way                               to

         do more than his share when                     it   comes         to       taking      on responsibilities involving individual instruction


         Dr Gerstlauer has been the co advisor                                  of three students who have completed                      their PhDs       at   UT       He has also
         been the co advisor              of two       students             who        completed         their   PhDs      elsewhere         He    also served          on the PhD
         dissertation        committees          of eight students                    who completed             their   PhDs     at   The University of Texas and two
         students      who completed             their    PhDs           at universities in             Germany He is currently advising                       five    PhD    students

         at   UT as the sole advisor plus two additional PhD students                                             as co advisor




         Dr Gerstlauer has also supervised             MS theses and 5 MS reports
                                                                     3 completed

         He is a member of the PhD                        of ten PhD students at UT He is a member of the MS
                                                       dissertation              committees

         thesis committees  of three MS students at UT one MS student at UC Irvine and three MS students at
         universities in Germany He is a member of the MS Report committee of three MS students at UT




         The ECE department has a graduation                                requirement wherein every student                         must participate          in a   senior design

         project      Projects      are done by four or five person teams and take                                      two semesters to accomplish                    The members
         of each      team meet          weekly        throughout                the    two        semesters     with    their   faculty   mentor          Dr Gerstlauer             has

         mentored          two undergraduate             senior design projects




         Teaching Portfolio


         Dr Gcrstlaucr            has prepared         an 8page teaching philosophy statement which expresses                                             in   depth     his attitude

         toward teaching and his views on what                                  it   takes     to    do effective       teaching      He discusses how            his views         have
         evolved      over     the time        he has been teaching


         Dr Gerstlauer            has    also    prepared            a    comprehensive                portfolio    of the teaching          materials used             in his      three

         courses       They       are included         in this       promotion packet




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         Conclusion


         In summary        while   in    rank   as an Assistant Professor       at   UT Austin Dr Gerstlauer has delivered very high
         quality teaching     at   all   student   levels both    in   formal classes     and in supervision of individual   work   He is
         well deserving     of tenure and promotion          to   the rank   of Associate    Professor




         Respectfully




         Jonathan    W Valvano
         Professor   of Electrical and Computer Engineering and

         Engineering Foundation Centennial               Teaching      Fellow    in Electrical   Engineering   1



               N    Patt


         Prlifessor of Electrical         and Computer Engineering
         Eenest Cockrell      Jr Centennial         Chair in Engineering        and

         Distinguished University           Teaching    Professor




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                                                                                   ANDREAS GERSTLAUER
                                                                                       Statement on Teaching


       Teaching               is    the primary mission                 and the way               in       which we as academics and                                educators can                have a lasting

       impact on future generations                                and hence             society Grounded                       in      my     research             in    computer          engineering              my
       teaching               philosophy          as instructor          in      this    area          is     based on          bridging           theoretical             and     practical             aspects      as
       well     as       motivating             students         by always              providing                  the   bigger        context          of    material           taught         in       class     Tight

       integration                 of research         with teaching              is    thereby               reinforced        by the observation                         that    effective             teaching     in


       addition          to        critical    advising       are reciprocally                rewarding                  for both        the    teacher and                 the    student On the one

       hand the teacher                       successfully          communicates                      an often eyeopening                       new concept                   while on          the other         hand
       the student                 can extend the current body of knowledge through novel                                                          interpretations                Overall            I   believe that

       teaching           should not solely be focused                            on a narrow band                         of scientific           knowledge               but    should rather follow a

       comprehensive                     strategy that also considers                              and human aspects
                                                                                              practical

              Throughout                   my time as a graduate                       student post doctoral researcher and                                              professor    have regularly
                                                                                                                                                                                            I




       been         engaged             in    the teaching         process serving                         initially     as a teaching assistant                         TA   and later as instructor

       on     record thesis                   advisor        and     research            project             leader        In   addition           I    have        communicated                     my research
       results          in    the      form of numerous                  invited         lectures              or    as part of industry or conference                                 tutorials                over the

       years Since coming to UT Austin  have been a regular instructor for one of our core required freshmen
                                                                             I




       classes   have developed and regularly taught two introductory graduate classes and
                          I                                                                   have mentored                                                                             I




       and advised both                       undergraduate             and graduate students on senior design projects and research


       TEACHING EXPERIENCE

       My early teaching                       experience           as an        assistant                 and      lecturer    for      undergraduate                    and     graduate               courses     on

       computer networking                           and   digital      logic     computer and embedded                                       system design                laid   the early foundations

       for    my continued                    interest     and passion             in     imparting                 knowledge            onto future generations                       of       engineers           and
       scientists             During          my time as research professor at UC Irvine                                           I
                                                                                                                                        actively        pursued in addition to research a

       position          as lecturer            in   the   Department of                 Electrical                Engineering           and Computer                    Science       In       that      capacity       I




       enjoyed            being          the    instructor         on    record         for   a cross listed introductory                                course on                digital       system           design
       EECSCSE 31                              Introduction             to       Digital         Systems                   with         more           than         100        enrolled          lower division

       undergraduate                     students instructor rating of 306 out of                                        a 4 point scale
               In       my current            position       as Assistant              Professor               at    UT Austin            I
                                                                                                                                              regularly        teach          one undergraduate                     and
       two graduate                   classes At the graduate                      level          I    created           and    introduced              a new            introductory           class           EE382V
       Embedded System Design and Modeling with a research oriented focus on system level modeling and
            of embedded
       design            systems In addition    have  taken   over responsibilities for and significantly
                                                                                                       I




       revamped an existing                          lab based          class     EE382V System on aChip Design Finally at the undergraduate
       level   am regularly teaching our core freshmen class on programming and hardwaresoftware interfacing
                    I




       EE319K Introduction to Embedded Systems received excellent student evaluations for              classes I                                                                                          all



       taught including    praise from  senior students for being one of the  best   teachers  A summary of my
       teaching activities and evaluations on a 5point scale is provided in the following table


              Class                                  Level                             Semester                            Enrollment                        Instr Rating                       Course Rating


                                                                                       Spring          09                          38                                    41                                 42

                                                                                       Spring          11                          84                                    37t                               33t
                                              Undergraduate
            EE319K
                                       freshmen required                               Spring          12                          73                                    43                                 37

                                                                                       Spring          13                          71                                    41                                 39
                                                                                         Fall         08                           19                                    44                                 38

            EE382V                               Graduate                                Fall         09                           26                                    38                                 35
             ESDM                             introductory                               Fall         10                           15                                    41                                 39
                                                                                         Fall         11                           14                                    45                                 39

                                                                                       Spring          10                          18                                    46                                 43
            EE382V                               Graduate
                                                                                       Spring          11                          10                                    42                                 36
               SoC                            introductory
                                                                                         Fall         12                           41                                    42                                 37

       Averagemedianstandard                         deviation     of instructor       ratings        for ECE       tenuredtenuretrack             faculty     is   406        408    042       for undergraduate

           courses       422         436      037 for graduate courses and 412                              404        029 for EE319K
       t
           An electronic course               evaluation     was performed             but only       26 responses          were       collected




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       Statement on Teaching                                                                                                                                                                                           Revised August                                      26 2013



              In        addition             to classes            I   have           also     enjoyed                     the opportunity                              to serve           as a mentor and                                     co supervisor
       for    undergraduate                         masters and                       PhD students                           I    have                       had     undergraduate                       students                       involved                       in    my lab
       and        I    have     mentored two undergraduate                                              senior             design teams At the graduate                                                               level        I    have                served on                10
       PhD             defense               committees                of   non advised                       students                     2                at universities               in    Germany                            23         PhD candidacy
       exams 21                 at       UT       Austin          with      4 as supervisorMS reports or theses Under my   and             as reader for 10

       supervision                  I   have graduated 4 fulltime MS students 3 parttime MS students and 2 MS students 1
       co advised                   continuing              for        their      PhD              In    addition                      I    have                co advised                 5 students                         to        completion                          of     their

       PhD dissertations 3 at UT Austin My first solo advised student                                                                                                         is
                                                                                                                                                                                    expected to graduate                                       in Fall                     2013
              Due             to the          interest           my research                       has        attracted                         I
                                                                                                                                                        have         also           been       invited                 to     lecture                      on         numerous
       occasions                in       both        academia                    and         industry                  I    have                        given           tutorials          in       industrial                         research                        labs         and

       development                      groups        at    companies                   like       Xilinx           Motorola                                IBM BMW                 and    Bosch Furthermore                                                     I    have        been
       a speaker                in      several           tutorials          at       high profile                  international                              conferences                     In    all              cases                 tutorials                  were well
       received               with       audiences exceeding                             50 attendees
                                                                                                  For example System Level                                                                                            Specification    Beyond RTL
       was the best attended                               tutorial         at    the Design Automation and Test in Europe                                                                           DATE                      conference in 2002


       TEACHING METHODOLOGY                                                  AND PHILOSOPHY

       Overall through                            my teaching                and        advising                   one key insight that                                         I
                                                                                                                                                                                     came           to       realize                   is    that            the           practical

       relevance               of        presented               information                 is     paramount                              to           imparting             knowledge                       especially                       in           the            fields     of

       computer                science             and     engineering                      Specifically                    comparing                              my     time           as a student                         back            in           Germany                 with

       my experiences                             both     as      a     student             and          teacher                     at                UCI     and          UT      Austin              I            learned                that           following        up
       theoretical              classroom lectures with their practical application                                                                                in    homework               or labs                  is    beneficial                            and crucial
       for students                 to learn             and retain but most                             critically               to            extend the current knowledge                                                       in       the            long            term As
       such             all
                               my            classes             have        significant                 lab        and                homework                          components                           Furthermore                                    in            both      my
       undergraduate                         and graduate                   classes            I
                                                                                                   provide                 a practical                          perspective                through                     regular               guest lectures                          by
       speakers               from industry or by faculty                                    in    other            areas For graduate                                              classes          I       also            replace                       the        final       exam
       with           a class project that further exposes students to                                                                real world                      research or industry                                   problems
              I        believe          that       teaching             effectiveness                     depends                          toa large part on properly motivating students by

       teaching not only                          how things            are done but also                              why                 One has to strive to provide the big picture in context
       and            the application                of    a certain concept                            being              taught                       I    therefore          always              introduce                      a new topic                              in    class

       with           a discussion of                its    background                   and importance                                    including                 why and where                           it       fits    into           the overall                      theme
       of the          class Likewise                      before switching                        to a       new          topic                    I
                                                                                                                                                        always          first       summarize the current one by relating
       it   back        to the larger story                       This also provides                               me with an opportunity                                           to engage students                                       by querying them
       about           their     perspective                 on        a specific problem                            at          the                start       of      a new            topic       and               by formally or informally
       quizzing               them on             their     understanding                      of       key concepts                                    in    previously                 presented                     material               within                   the        larger

       context of the                    class      at the conclusion                        of a        topic
           My lecture style has evolved over the years from solely relying on slides to settling on a mix of
       whiteboard notes interactive examples and slides that summarize and frame the discussion   have found                                                                                                                                                 I




       this       style        to       be very           effective
                                                           keeping               in                           students                     interested                    motivated                  and               engaged                      I
                                                                                                                                                                                                                                                            use slides to
       introduce              and        summarize a problem area                                        at        the      start                   or conclusion                    of    each          topic                By contrast                              I

                                                                                                                                                                                                                                                                            develop
       the actual              problem formulations                              and solutions                      in detail                       on the board This setup allows                                                      me to combine the
       best of both                 worlds ie the                      interactivity               of the           whiteboard                                with the          comprehensiveness                                       of slides My slide

       sets           include           properly         formatted               copies            of    all       whiteboard                                notes and               I    aim       to       make              all          slides                   available        to

       students               as lecture notes well                          in       advance                 of   each               class This allows students to study the material and
                                                  is my philosophy to freely distribute
       prepare before coming to lecture Overall                                         all
                                                                                            my teaching materials
                                                                                                         it




       lecture notes and lab or homework exercises on the web As detailed below material that       developed for                                                                                                                                      I




       my graduate classes                               has been            adopted by several faculty at universities worldwide for their own courses
              Another               important              component                   of    my teaching                         is        continuous                    feedback               and           improvement Especially                                                    in


       fastmoving                   fields         such  as computer engineering                                                  it        is              crucial      to     adapt and                    update course                                   content               with

       new            developments                   out of research and industrial                                                practice every time a class                                                           is
                                                                                                                                                                                                                               taught                       Furthermore

       during           each semester                        I

                                                                  actively            solicit       feedback                     from students through 1 or 2                                                            anonymous                                     electronic

       midterm surveys that allow                                      me to tailor and                         fine tune                       content                 In    many cases                          I    have            also            used feedback

       from           midterm                or    final    surveys               to    make             significant                        changes                     in    future        offerings                        such             as adjusting                           my
       lecturing              style      or redistributing                       weight            and        content                 among                     homework and                        labs               in     my graduate                                  classes

       Finally           I    strive         to   be always available for students even                                                                     outside          of class          and           regular                   office               hours             I   often

       hold           extra    office         hours or review sessions                                    I    visit        undergraduate                                labs to see                how                students                are doing                          and     I




       generally              make myself available                               before           and after each                                   lecture to answer questions                                              or provide                          support




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       COURSE DEVELOPMENT

       Graduate       Classes                  When            I    first        joined           UT Austin in Fall 2008 took the opportunity                 I                                                     to        create         and
       introduce     a new           graduate                 class         EE382V                 Embedded System Design and Modeling to                                                                        fill    a gap          in   the

       curriculum        in    my own      research                         area This class                          isdeveloped around a recent textbook on                                                                  embedded
       system      design          coauthored                      by myself together                              with former colleagues at UC Irvine                                                     B7            It    is     geared
       towards research topics with a focus on abstract                                                              format             concepts                  techniques            and        methods                    for     system
       level    design         which            are           complemented                            by     lab     exercises                 and         homework                   using           the    System on Chip
       Environment            SCE          tool          set   developed                    in    my group As such the class is designed                                                         to tightly             integrate with

       my research Lecture                          lab       and     homework                        materials           are continuously                   updated to integrate recent research
       results     and     thus         expose                students                to     novel           concepts               emerging               both from my group and from other

       researchers        in    the       area At the same time                                        I
                                                                                                            have    been           very successful                       in letting      feedback                  and new ideas
       from     interactions         with students flow                               back        into       my research As their final class project students                                                                 can freely

       explore     a research topic of                             their         choosing                   where         I   work           closely       with          them on             suggesting                  and          picking

       rewarding topics and on advising them throughout their projects As a result around                                                                                                                         1020                 of    the

       projects have  led to publications C23 C24 C32 C34 and in some cases even advanced                                                                                                                                           research

       projects    for the students                       J10 Overall the class provides a strong example of the benefits gained from
       integrating       teaching          with           research                    This       is   further        exemplified                 by the fact that the class                                 is     often            taken     by
       students     from        areas other                    than         Computer                       Engineering                  Furthermore the textbook                                      and        class          materials

       developed         by myself such as lecture notes and exercises around the SCE tool set have been adopted
       at   several       other universities worldwide  including  Iowa State  University Northeastern University
       Concordia         University                 Leiden            University                  in        the    Netherlands                   Istanbul                Technical           University                  Turkey              the

       Federal      University             of            Pernambuco                        Brazil            the     University                of        Teheran                Iran     and           the        Universities                of

       Oldenburg and Stuttgart                           in    Germany
               Since coming to UT Austin                                I        have       also taken              over responsibilities                               for an       existing         course on                  System
       on Chip     SoC Design EE382V that was                                                              originally         developed                  by       my colleague               Mark           McDermott                       This

       class    focuses on            stateoftheart                          industrial                    practices          with      a significant                   lab    component               and          final       project        in


       which students have                     to realize              a SoC design of a softwaredefineddigital                                                                 radio receiver               on an             ARM and
       FPGA based prototyping platform Since taking over the class                                                                                   I
                                                                                                                                                         have       adjusted the                 course content of both

       my graduate            classes           to       complement                     each               other     ensuring                that        they can              be taken          in    a sequence                      of    any
       order     ie either following                           a top down                    or       a bottom up flow                         All       formal          system level                 design             content            from

       specifications          to    SoC            architecture                  exploration                 has been                  concentrated                     in    the    previously             described                 class

       By contrast            the    SoC            class          has been                 revamped                 to       emphasize                  theory           and        practice          of   component level
       hardware and software                             implementation                      starting              from a given architecture                                    This    is   complemented                             by new
       lab exercises            and        a    final          project            in    which               students           use industry standard                                 tools       such as Open                          Virtual

       Platform     OVP for SystemCbased modeling and                                                       Calypto formerly Mentor Catapult for highlevel
       hardware synthesis                      In    doing so                I    have       interfaced with tool vendors to acquire corresponding licenses as

       well     as generating              associated                       lecture              and         lab    content              I    have         taught              this    class          both          in    our         regular

       graduate      program              a total of 3 times as summarized                                                         on    page            1 as well as in a professional                                             masters

       program      for external                students              from             industry              also 3 times                      All       combined                both       of    my graduate                         classes

       continue to    be regularly taught and are continuously being updated to provide a stateoftheart graduate
       level     education  and   an  integrated  lecture sequence   on  both  frontend  and backend   embedded
       systemSoC design processes

       Undergraduate                 Classes At the undergraduate                                                  level       I    have        been              actively       involved             in    the         teaching             and

       development            of     the       core computer                          engineering                  curriculum                for the              Electrical          and    Computer                    Engineering
       Department          at      UT      Austin              Together                 with          a team of other                        computer                   engineering          faculty                I    am regularly
       teaching      an        introductory                    class             on        microcontroller                     programming                         and          hardwaresoftware                               interfacing

       EE319K         which          is    the first           class             in   the    undergraduate                         sequence on embedded systems                                              at         UT Austin As
       an active member of the computer                                           engineering                  curriculum               committee                   I

                                                                                                                                                                         participated            in    a curriculum                    reform

       that     resulted        in   the        decision               to         further             strengthen               the           bottom up                  philosophy               in    teaching                 computer
       engineering        and        embedded                      system concepts                            at    UT From our experience                                       this    has proven to be a very
       effective    approach                   and            our      graduates                      are         highly       valued            by        local              industry    as some of the best

       programmers             coming out of any department or school As a result of the reform we have been revamping
       EE319K and              moving    into the Freshman year In the process we have also switched to an ARM
                                                    it




       architecture       for        the       class significant                           lab        component                which            lets       students              apply       the       concepts                  taught       in

       class to the        programming                        of microcontrollers                            and     interfacing                with       real          hardware            After         an       introduction              to

       computers         in     their      first          semester                    the        revamped                 EE319K               now         exposes               students             to     their            first    actual




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       programming                          experience                                all   in    an embedded                       context               As part of the core EE319K                             teaching                 team          I   have

       participated                 in     process of developing and upgrading lecture
                                                the                                                                                                                      lab      and    homework                    content to                implement
       the         new             bottom up   strategy  in which   students are   now                                                                                    taught           basic               programming                         concepts
       simultaneously                            in       both              assembly and                       C This builds the foundation for                                      later         classes           to expand                 on    C and
       later       Java programming                                              as well as hardware digital logic design

               Looking forward                                     I    am interested                      in   further             broadening                   my participation                  in   undergraduate                         and general
       education                   My                plan              is        to     take           over     teaching                  of        our      senior level          embedded                    class           and            introduce         a
       hardwaresoftware                                       co design                      component                currently                     lacking      in   undergraduate                     curricula          Furthermore with
       the    UT System having                                          recently joined the                          edX consortium our EE319K                                          class           has been          selected                 as one of
       the    pilot          offerings                    for          a massively                      open online course                                MOOC under the UTx umbrella                                           I am part of the
       team         developing                            the           UTx                 EE319K             course               which             is    expected         to     become one                       of        the first MOOCs
       worldwide that integrates                                                  a significant                 lab   component                        into      a massive online learning experience                                               We are
       currently              developing                           associated                          online       video            lecture               and    lab   content          In        Fall      2013          I    will          be   teaching
       EE319K                in    the           regular                    program using a flipped classroom                                                    setting to testdrive                    the material                    in   preparation
       for   the        official                MOOC launch                                  in   Spring        2014            I
                                                                                                                                     am excited about the opportunity                                          to explore                 one possible
       future of education                                     and           I    look       forward to being part of the                                     MOOC team going forward

       INDIVIDUAL                           INSTRUCTION

       One         of    the        most                      rewarding                      aspects           as an         educator                      are    my personal              interactions                   with           graduate            and

       undergraduate                             students                        to    pass on           my experiences                              and guide advise and                          mentor them Combined with

       experiences                      from                  presenting                     my research                at          conferences                    invited     talks      or tutorials                regular                 interactions

       with students extending                                     from inside to outside of the classroom are not only the key to effective mentoring
       and         teaching                      but           are a necessary    and crucial means to obtain feedback and to provide mutually
       beneficial             inspiration                          for       the advancement                          of ones own                          abilities    and goals

              Already               during                     my time                      as senior           PhD student and research faculty                                               I       had     the   opportunity                   to       serve
       as a co advisor for several masters and                                                                        PhD students                            as well as the lead for a team of post doctoral

       project          scientists                        and           staff           members                in a large external research project At UT Austin     am currently                                                    I




       supervising                 or co supervising                                         9 graduate            students   have graduated 4 fulltime terminal
                                                                                                                                                I
                                                                                                                                                                      students all                                             MS
       of    whom             have                   gone on                      to        industry           positions at well respected companies    such as Intel or National

       Instruments                      I       have           also              supervised                3    MS projects and reports of parttime students from industry who
       subsequently                         graduated                            from         our professional                       masters                program       in which                 I    also    teach           my SoC Design
       class            In    addition                        due           to family              reasons one student                                     who completed             his      MS Suhas Chakravarty has
       taken        a position with Freescale back                                                         in   India while continuing                                to work      on    his       PhD parttime with me
              Two            students                     I
                                                               co advised                         Ahmed Abdel Hadi and Ku                                        He have           graduated          with their PhDs in 2011

       and      2012 and                         have              subsequently                          taken        on     a post doctoral                          position      at    Virginia             Tech            and        a position           in


       industry              at Cirrus Logic                                      respectively                  Another              co supervised                     student Ardavan                       Pedram                 will       defend         his

       PhD          dissertation                              in   July               2013 He              recently          won               the         IEEE Computer                Society              Technical               Committee                on
       Parallel              Processing                            TCPP                     Best        Poster        Award                    at    the      2013      IEEE       International                 Parallel                      Distributed

       Processing                  Symposium                                     IPDPS PhD forum for his work                                                      Finally        my first             solo advised                 student             Parisa

       Razaghi                passed her qualifying exam                                                   in       Spring          2012 and is expected to complete her                                             PhD                 in Fall    2013
              At the               undergraduate                                      level        I    often       have            students               who take my freshmen                              class        express              interest        in


       participating                    in       research                        in     my group As such                              I    had several of these students                                     join    my group eg over
       the    summer                        In       addition                     I     have           mentored         two senior design                              projects         with           5 students              each           on    projects

       performed                   in       close              collaboration                           with     industry  a project sponsored by Texas Instruments
                                                                                                                                          In                           this                                                                        TI
       involved              mapping of MRI algorithms                                                     onto one of TIs newly released highperformance  DSP platforms In
       the other              case                   in       a project sponsored                               by     ARM students successfully                                        implemented                   a digital wirelessly
       enabled PostIt                            display                    using            a combination                 of       hardware and software on an                                         ARM based FPGA platform
       In    all
                    cases                   I

                                                 immenselyenjoy interactions with undergraduates     which have often led to longterm
       interactions                that        hope to be able to maintain over the duration of their careers
                                                     I




              Overall               I       aim to maintain an open and collaborative environment in my research group While each
       student           is       different                    I

                                                                       generally                  strive       to   encourage                       independent           creative            and         critical        thinking                 providing

       guidance               if   and                   whenever                      it   is    necessary             but          not            micro managing                each     aspect               My goal                  is    thereby for
       students to learn the                                       power of effectively working                                            in       teams where they work                               with    each           other          as much as

       possible              and                in       the       long               run establish                 a hierarchy                      in    which      senior       students              can     help advise the junior

       ones         Crucially                        this      is       facilitated                by establishing                    research projects                      in   which            multiple students                          can work on

       separate aspects yet learn from each other towards achieving a larger common goal




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       SUMMARY OF TEACHING                             ACTIVITIES



       Teaching          Statistics


                                                                         20082013                                        Last    3 Years

        Metric                                         Total             Undergrad        Graduate          Total           Undergrad        Graduate

        Students Taught                                     409               266           143             294                 214                80

        Avg Weighted GPA                                 327                  304           366             323                 305               370

        Avg     Instructor          Rating              416                   410           423             415                 411               424

        Avg     Course Rating                            377                  374           379             371                 367               376


       Course Schedule                  by Semester in ECE since 2008 number of students indicated

        Course                           F08             S09           F09          S10    F10        S11      F11           S12        F12         S13

        EE319K                                              38                                                                  73                      71


        EE382VESDM                         19                            26                 15                    14

        EE382VSoC                                                                   18                10                                41



       Student Supervision


        Student Type                                              In   Rank   As Sole Advisor                       Total   As Sole Advisor
        PhD Graduated                                                          150                                              250
        PhD In Candidacy                                                        2   1
        PhD In Progress                                                         44
        MS Graduated                                                           757                                              757
        MS Progress
                In                                                              22
         Counted     as   1   if   sole advisor   05   if   co advised



       Current Graduate Students Supervised at UT Austin

       Student                                                         Co Supervisor              Degree                Start              Expected

       Dylan Pfeifer parttime                                      Jonathan Valvano                PhD                 092008              Fall   2013

       Parisa    Razaghi                                                                           PhD                 092009              Fall   2013

       Jin Miao                                                   Michael Orshansky                PhD                 092010              Fall   2014

       Hyungman Park                                                                                 PhD               092009           Spring     2015

       Suhas Chakravarty                 parttime                                                    PhD               092009              Fall   2015

       Dongwook Lee                                                                                  PhD               092009           Spring     2015

       Seogoo Lee                                                                                    PhD               092011              Fall   2016

       Wenxiao Yu                                                                                 MSPhD                092012         Fall   20142017

       Zhuoran Zhao                                                                               MSPhD                092012         Fall   20142017

        In   candidacy




       LIST     OF STUDENT SUPERVISIONS

       Postdoctoral                Fellows Supervised


       None




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       PhD Dissertations Supervised
        5      Ardavan  Pedram AlgorithmArchitecture Codesign of Low Power and High Performance Linear
               Algebra Compute Fabrics Electrical and Computer Engineering     The University of Texas at
               Austin July 29 2013 co supervisor with Prof van de Geijn Computer Science

        4      Ku     He    Adaptive        Low Energy          Techniques            in       Memory            and      Digital     Signal        Processing     Design
               Electrical        and    Computer        Engineering        The        University               of   Texas       at    Austin        April     18 2012 co
               supervisor        with   Prof Orshansky

        3      Ahmed        Abdel       Hadi    Multicast       Networks             Capacity             Algorithms           and        Implementation                 Electrical

               and Computer Engineering                   The      University        of    Texas          at    Austin October               17 2011 co supervisor
               with Prof Vishwanath

        2      Martha Salome             Lopez     De La Fuente                Definition            Design and                Implementation                of    a Processor
               Based Stimulation            System      for   ElectrokineticallyDriven                      Fluidic       Devices           Information           Technologies
               and     Communications              Monterey         Institute        of    Technology                   Monterey            Mexico           May 11            2011
               external co advisor with Prof Sergio                       0 Martinez Chapa
        1      Gunar Schirner Improving Accuracy of Transaction Level Models in System on Chip Design
               Electrical Engineering and Computer Science University of California Irvine March 3 2008                                                                          co
               advisor with        Prof DOrner


       MS Thesis Supervised
        8      Jin   Miao Modeling and              Synthesis of Quality Energy                       Optimal Approximate                         Adders          Electrical     and

               Computer          Engineering       The     University          of   Texas       at    Austin           December             2012 co supervisor                   with

               Prof Orshansky

        7      Ashmita      Sinha Multi Objective               Trade Off Exploration for CycloStatic and Synchronous                                                    Dataflow

               Graphs Electrical and               Computer        Engineering             The University of Texas                          at   Austin August 2012

        6      Arindam       Goswami ExtractCFG A Framework                                    to   Enable Accurate                  Timing        Back      Annotation          of   C
               Language           Source    Code         Electrical       and        Computer              Engineering               The         University        of    Texas        at


               Austin August 2011


       MS Reports Supervised
        5      Manan        Kathuria       A Framework              for   Automation                 of    System level               Design        Space          Exploration
               Electrical    and Computer Engineering                     The University              of Texas            at   Austin May 2012

        4      John Patrick Tourish dspIP                     A TCPIP Implementation                            for a     Digital     Signal       Processor             Master of
               Science      in   Engineering       The University          of Texas            at   Austin May 2011

        3      Pablo       Salinas      Bomfim         Integration        of    Virtual         Platform             Models          into    a    System Level                Design
               Framework            Electrical    and Computer            Engineering               The University              of Texas           at   Austin May 2010

        2      Joel    Williams          Prototyping          of    MP3         Decoding              and           Playback          on     an         ARM based             FPGA
               Development             Board      Master of Science             in   Engineering                    The   University         of    Texas      at   Austin        May
               2010

        1      Peter   James           Overholt Desktop             Simulation            of    a    Digital        Signal      Processing              Design      Flow using

               Synchronous             Dataflow    Modeling         Master of Science                      in   Engineering               The     University        ofTexas at

               Austin August 2009


       PhD Dissertation Committee Member
        10     Muhammad            Faisal      lqbal    Workload Aware Network Processors                                        Improving              Performance            While

               Minimizing Power Consumption                        Electrical        and       Computer              Engineering             The        University       of   Texas
               at Austin July 16 2013


        9      Muhammad            Tauseef       Rab     Techniques            To Minimize                 Circuitry       and       Improve        Efficiency          for Defect

               Tolerance           Electrical     and    Computer         Engineering                The        University           of   Texas         at   Austin      April    18
               2013

        8      Jongwook          Sohn Improved             Architectures             for   Fused           Floating Point Arithmetic                         Units       Electrical

               and Computer             Engineering       The University             of Texas         at   Austin March               22 2013
        7      Evgeni       Krimer        Improving           Energy      Efficiency            of        Reliable         Massively Parallel                 Architectures
               Electrical    and Computer Engineering                     The       University        of Texas            at   Austin       April       30 2012




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               Alexander        Viehl        Quantitative           Synchronisationsanalyse                   kommunizierender                     Prozesse           zum
               Echtzeitnachweis           verteilter    eingebetteter         Systeme Faculty                 of    Science         University          of   Tubingen

               Germany January            9 2012
               Rudrajit Dutta         Adaptable and           Enhanced           Error Correction            Codes         for    Efficient    Error         and    Defect

               Tolerance  Memories Electrical and Computer Engineering
                               in                                                                                  The University            of Texas         at Austin

               November 21 2011

               Wooyoung Jang             Architecture         and     Physical     Design for Advanced                     Networks on Chip                    Electrical

               and Computer Engineering                 The    University        of Texas       at   Austin       April   25 2011
               Sriram  Sambamurthy Power        Estimation  of Microprocessors                                                   Electrical        and        Computer
               Engineering The University of Texas at Austin May 19 2010

               Henning       Zabel Techniken            zur Simulation            von    eingebetteten              Systemen          mit    abstrakten             RTOS
               Modellen        Electrical     Engineering           Computer       Science and            Mathematics              University       of       Paderborn
               Germany March            19 2010

               Shayak Banerjee Enhancing                      the    Design Manufacturing                 Interface        in    Nanoscale         Technologies
               Electrical    and Computer Engineering                   The University          of Texas       at   Austin May 3 2010


       PhD Qualifying Examination Committee Member
        23     Minsoo       Rhu       Performance Efficient               Mechanisms             for      Managing              Irregularity       in    Throughput
               Processors           Electrical   and Computer           Engineering           The University              of Texas      at   Austin August 19
               2013 chair

        22     Gene       Wu        Automated        Abstract        Power       and     Confidence           Model         Generation              Electrical         and

               Computer Engineering              The University          of Texas       at   Austin May 2 2013

        21     Jin    Miao     Design and Synthesis of Approximate Digital Circuits Electrical                                                     and        Computer

               Engineering      The University of Texas at Austin May 1 2013 co supervisor

        20     Ameya        Chaudhari         Ensuring         Software          Security       and       Processor              Reliability       using       Runtime
               Processor       Execution      Monitoring            Electrical    and    Computer          Engineering             The      University         of   Texas

               at   Austin February          6 2013
        19     Mahesh Prabhu Application of Formal Methods to Post silicon Test and Debug                                                            Electrical        and

               Computer Engineering The University of Texas at Austin December 17 2012

        18     Nicholas        Paine     High    Performance    Series Elastic Actuation                                         Electrical        and        Computer
               Engineering          The University of Texas at Austin December 6 2012

        17     Muhammad             Faisal    lqbal     Efficient       System          Level    Power Management in Communications
               Processors           Electrical   and Computer           Engineering           The University of Texas at Austin October 15
               2012

        16     Parisa     Razaghi        A Host Compiled                Multi Core           Software       Simulation            Platform          Electrical         and

               Computer Engineering              The University          of Texas       at   Austin       April    4 2012 supervisor
        15     Jungwook        Sohn Improved             Architectures           for    Floating Point         Fused         Arithmetic        Units           Electrical

               and Computer          Engineering        The University           of Texas       at   Austin       April   4 2012
        14     Tauseef      Raab       Techniques        to   Minimize        Circuitryand Improve Efficiency for Defect Tolerance
               Electrical    and Computer Engineering                   The   University of Texas at Austin March 7 2012

        13     Hari       Angepat         Accelerating              Multicore          System          Design         Through            Functional                 Timing
               Decomposition            Electrical     and Computer           Engineering            The University of Texas                  at   Austin October
               72011
        12     Dylan Pfeifer         Heterogeneous             Multi   Domain           Mixed Signal HardwareSoftware                              Co simulation
               Electrical    and     Computer        Engineering          The     University         of   Texas      at     Austin       June      30 2011            co
               supervisor

        11     Ku    He    Adaptive       Low Energy          Techniques          in    Memory         and    Digital       Signal       Processing            Design
               Electrical    and      Computer       Engineering          The     University         of   Texas       at    Austin       April     29 2011            co
               supervisor

        10     Ardavan  Pedram Algorithm Architecture Co Design of a High Performance Low Power Linear
               Algebra Processor Electrical and Computer Engineering The University of Texas at Austin April
               27 2011 co supervisor




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               Evgeni     Krimer Improving              Energy Efficiency                of     Massively        Parallel        Architectures               Electrical   and

               Computer Engineering                The University           of Texas          at   Austin     April    15 2011
               Nikhil   Patel Enforcing Architectural Contracts                            inHigh Level Synthesis                        Electrical      and Computer

               Engineering    The University of Texas at Austin                            March 7 2011

               Ahmed Abdel Hadi                  Multicast     Networks            Capacity             Algorithms          and       Implementation              Electrical


               and Computer Engineering                  The University            of Texas         at   Austin August 23 2010 co supervisor

               Rudrajit      Dutta     Enhancing  Memory                       ECC       through         Post Silicon           Optimization             Electrical       and

               Computer Engineering          The University                 of Texas          at   Austin May 13 2010

               Wooyoung Jang               Architecture        and    Physical           Design for Advanced                     Networks on Chip                 Electrical

               and Computer Engineering                  The University            of Texas         at   Austin December                 2 2009
               Shayak        Banerjee Electrically Driven                   Optical       Proximity Correction                    and Applications                Electrical


               and Computer Engineering                  The    University         of Texas         at   Austin May 15 2009

               Mark     McDermott           Cognitive          Sensor           Platform            Electrical        and       Computer           Engineering            The
               University      of Texas     at   Austin May 1 2009

               Sriram  Sambamurthy Power        Estimation   of  Microprocessors                                                      Electrical        and      Computer

               Engineering The University of Texas at Austin  December 1 2008

               Pramod         Chandraiah           Source        Re Coder                for       SoC     Specification               Development                Electrical


               Engineering and Computer Science                           University       of California Irvine                 September    6 2005

       MS Thesis Committee Member
        10     Sreenivaas        Muthyala         Sudhakar        Improving               Encoding            Efficiency         in   Test    Compression             using

               Sequential       Linear      Decompressors                 with    Retained           Free       Variables              Electrical       and      Computer
               Engineering       The University          of Texas         at    Austin May 2013

        9      Donald     E Owen Jr The Feasibility of Memory Encryption                                           and          Authentication           Electrical       and

               Computer Engineering                The University           of Texas          at   Austin     April    2013

        8      Gaurav Nolkha           Scaling and Improving Mapping of Module Level Vectors to Software Based Self
               Tests      Electrical    and Computer Engineering The University of Texas at Austin May 2009

        7      Eric   James Johnson              Efficient     Debugging           and     Tracing        of System             Level    Designs             Electrical   and

               Computer Engineering                University    of California Irvine                    March    2006

        6      Alexander       Gluhak Development                    of    a Graphical             User    Interface         for      a System     On Chip Design
               Environment            in   German         Electrical            Engineering          and       Information            Technology             University     of

               Applied    Sciences         Offenburg      Germany April 2002
        5      David    Berner Development                of   a Visual          Refinement             and    Exploration            Tool for     SpecC Electrical
               Engineering   and Information              Technology               University           of Applied          Sciences         Offenburg           Germany
               March    2001

        4      Martin    von    Weymarn Development                        of   a Specification            Model of the               EFR Vocoder               Institute   of

               Computer        and     Communication            Network            Engineering                Technical          University        of   Braunschweig
               Germany July 2001

       MS Report Committee Member
        3   Matthew C Slowik A Flexible Display System                                     forEmbedded Applications                          Master of Science              in


               Engineering       The University          of Texas         at    Austin     April 2013


        2      Hans L Yaeger               Microprocessor             Power          Management                  and        a    Standalone              Benchmarking
               Application      for   Android      Based       Platforms Master                    of    Science       in   Engineering            The        University    of

               Texas    at   Austin December            2011

        1      Thomas        G Madaelil Clock Gating for Floating Point Units Master of Science                                                         in    Engineering
               The University         of Texas     at   Austin December 2009


       Senior Design      Projects Mentored

        2      Kevin    Johns Andy Kaplan                Martin      Lin     Ali Mohandesi and Justin Prukop Digital Post It Note
               Electrical     and Computer Engineering                     The University of Texas at Austin August 2012 May 2013

        1      Victor   Azurin Robert            Graham        Maykel Hanna                Mina Hanna             and       Shantu Jain            MRI        Simulation
               Electrical     and Computer Engineering                     The    University         of Texas      at   Austin August 2011                    May 2012

                                                                                     8




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         March    27 2012


         On March 26          I   reviewed         with       Andreas   about visiting his class and the general              processing     of the annual


         teaching    review


         From 2330 March                27    I    sat   in   on his EE319K         class in   CPE2206    Before   class he    engaged      in friendly     and

         informal discussions               with students         in the first      two rows This classroom         has a central    screen projector

         and a tiny blackboard               no whiteboard

         He started with announcements His voice                               is
                                                                                    strong and articulate     He gave a vision      of future     labs




         He posted    the         results    of an       exam from last week and explained the rationale and grading                          policies This

         was very difficult          because the class average                  was low He overviewed          how     the students      should      have

         approached     the         exam      In    particular     he how to design software correctness                 of the software          execution


         speed space        it
                                  requires


         He talked about making                   a plan      flowcharts Defined               complexity as the number of steps            He showed        the

         number of steps to find primes as n                       1n2 Algorithm development implementation                            and testing


         Comment       as   you stand and                talk   plan    algorithm implementation              testing   from slides students could

         not take    notes         Repeat students questions                        Excess     word right



         He discussed recursion                   using    Codepad      on the screen and also used the black board This was effective

         evert   when he made programming mistakes He discussed                                      both the natural and      efficient    solutions of

         factorial   and Fibonacci


         He discussed printing decimal numbers he showed                                      many versions   hard coded        iterative    and recursion

         He as very effective           using codepad             to show software             development    He made nice reference            to   earlier


         discussion   of algorithms



         Reviewed     IO synchronization from a previous                             lecture     He had an effective    analogy    with     communicating

         with a hardware             student describing blind                       polling    and interrupts He gave a nice introduction             to


         interrupts     He had a good comparison of timer wait polling and periodic timer interrupts


         The students       were very engaged                    with   lots   of questions




         ion Valvano




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        To Ahmed Tewfik Chairman ECE
        From Yale Patt
        Subject                Peer Evaluation of Andreas Gerstlauers                                                     teaching

        Date March 28 2013


        I    attended            Professor Andreas Gerstlauers                                    class               in    EE 319K on March 26 for the purpose                                                of evaluating                       his


        teaching                as       part        of our Peer           Teaching        Evaluaton                       program                I    met with Andreas                   before          the    class             to       review

        the     process              with        him         I    also    met with       him afterward                           to   provide feedback                     on what        I   observed           and answer                        his


        questions



        The         class       essentially                 had    three        parts to    it    review                   hints       for an          upcoming midterm exam                               insights into                      a    lab


        experiment                   that        the    students           were     doing concurrently                                 and        the    lecture           on   new      material              This could                     have

        resulted in a                    very        dijointed           presentation            but           it    did    not         Professor              Gerstlauer         has a very comfortable                                     class

        room manner that allowed him to move easily from                                                                         topic       to    topic       without          giving        the    feeling         of disjointed

        ness



        The      lecture             material           treated          three    topics         Merge sort Digital to Analog Converters and the notion of Sound
        I    will     comment on each


        Merge sort Professor Gerstlauer used the merge sort to shed insights into recursion and divide and conquer
        algoritluns He used the whiteboard to show an overview of merge sort combined with a laptop computer

        for     generating the                       actual        merge sort         code         I       was            frankly          impressed with                  how     skillfully            he moved from one

        medium                 to the      other           continually           keeping         his eye                  on the       class      so     as to   never          lose    contact          with    them


        Two          things          I   was disappointed                      in this   presentation                       i         he    did not        use      the     opportunity             to   mention              the           poten

        tial    for parallelism                        which        is    inherent        in merge                   sort        and    2         he did        not       actually      run        the    program he typed
        We      discussed                 both        in    my meeting with him afterward                                              In    the      case of parallelism he was                            concerned                       that    if

        he     did        mention               it    he would            be     introducing               too        many concepts                      at    the    same time and                      parallelism                was           not

        central           to the         points        he was            trying to get       across                  in that lecture                    In the case             of running          the    code he typed                           he

        was conscious                      of the amount of class                        tune he had                      available               Both     explanations                are    reasonable



        Digital           Analog            Conversion                   DAC Professor                               Gerstlauer              started           with       the    fundamentals                   in this             case          the


        voltage           divider               He showed how                    to get     a voltage                     between            0 volts          and     a    maximum             voltage          in his case 32

        volts with               the       voltage               divider        Two      things        I       liked        about          this part          of his lecture             1 He            emphasized funda

        mentals            eg Ohms Law and Kiichoffs Cuuent Law 2                                                                                  IIc    started          small       illustrating            the priniple                       and

        then        built       larger structures                        He designed         a    2bit               DAC and then moved                              on to      a 4 bit       DAC          Both techniques                           I


        felt    contributed                 to        the    students           understanding                       the    material               He emphasized important                             points          and repeated

        them              Again I thought                         his    combined          use    of ppt and whiteboard                                        was        excellent           For    example                  on        his       ppt
        slide        he had              bullets       eg           linearity         monotonic                           He went            to    the    white board              to    illustrate         what each                       bullet

        meant              Also he showed                          on     the    white     board               what         it    means           to     be non monotonic                      and nonlinear                            I    think

        this     is
                      very important                        to the        explanation            of a          new          concept            telling         the    student          not    only       what        it       is    but       also

        what it           is   not



        The      last
                              step in his treatment                       of DAC         was      the               use of its         output            Here the            essential         issue      is    the       loading                 due

        to     the    next       stage           which uses               the    FAC output as                        its
                                                                                                                            input            Here        he pointed out why                     the      voltage              divider             did

        not     give          quite the              voltage        he ember computed                                 I    would           have       preferred           him    to    mention            infinite            impedance
        when he first derived the                                 Aoltage        divider    equations                       with       a    comment that                  in reality         the    impedance                 is    not       infi

        nite     as they will                   see    later in the            lecture     when            he discusses                     using        the   output        of the      DAC             However               this criti

        cism         is   a    very minor point                          and    in fact     not        all          teachers           believe the              use of forward                 pointers         is        a   good           idea

        We discussed                     this in our meeting                     after his lecture




        He concluded                      his treatment                  of DAC       with an invitation                              to the      students          to build      a     16 bit       DAC if they wished
        with        a smile              and the        words Be any guest                                 I
                                                                                                                    thought           this   simple statement                    was     indicative             of the comfort

        able     rapport he                had with               the    class




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        Sound The            final     topic      he taught      in lecture      was        the    notion of sound              Professor        Gerstlauer related                 this   well

        to the      btunan       ear       amplitude      pitch and        duration           tempo He               discussed        the    waveforms          produced        by differ

               musical instruments                  and          notion      of a chord                  short he
        ent                                               the                                       In                 built    up music from                the starting      point        of a

        single      sine   wave adding complexity                    as he      felt
                                                                                        necessary



        The only negative                  comment I saw            in the     lecture        was    that   not everyone          was engaged                 Some students               spent

        the    entire lecture          surfing the        web on     their      laptops           We discussed         this in    our meeting               after the   lecture            He is
        bothered          by this      but   does   not   what      to   do about        it    Actually         we    all    suffer    from this problem               to sonic       extent

        that   if   students         are surfing the       web they are not paying attention to what                                  is   going on         in class    and    if   they     are

        not paying          attention               can    not     learn       The excuse           for allowing        students           to have    their laptops                        their
                                             they                                                                                                                         open is
        claim       they   use       the   laptop to take        notes       Since      I   did not      see   anyone        using     the    laptop        to take    notes        one    sug
        gestion      is    he simply insist           that   all   laptops      be turned off             at   the   start    of class        As I said this problem                   is   not


        unique to Professor Gerstlauer



        Bottom        line       I   thought       Professor        Gerstlauer          did    an    excellent        job     in the        lecture     I    observed         He      clearly

        wanted        his students           to   learn      He had        a    comfortable           manner          kept     most of the            students    engaged moved
        effortlessly        between          laptop       ppt and whiteboard                      gave   clear       explanations            and developed            his treatment           in


        straightforward              fashion       starting     with simple            structures        and systematically                building     more and more compli
        cated       ones    It   was       a pleasure     for    me to observe              this class




CONFIDENTIAL                                                                                                                                                                                  UT Austin0026962
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GERSTLAUER                                         ANDREAS                                                                                                                           Engineering                                                                                                                                                           090413
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                                                                                                                                                                  Overall  CourseInstructor  Items

Semester                                          Course                 Course                     Title                                                                         Enrollment                                                   Instructor                   Averages                           CollegeSchool             Averages
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Fall                                                        382V     SYSTEM                                           CHIP DESIGN




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Spring                                                      319K        INTRO                             EMBEDDED                   SYSTEMS
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                                         computation                                               averages        points were assigned     student responses     follows




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Collegeschool                                           averages                                                        average                                      averages                         based                                  courses                 surveyed                          instructors           college                       school




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during                                            academic year                                                                                                    taught




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Prepared                                                     Measurement                                              Evaluation                  Center




                                         by
                                                                                                                                                                                                                                                                                                                                                                 Page
                                                                                                                                                                                                                                                                                                                                                                           Case 1:19-cv-00877-RP Document 69-33 Filed 02/23/22 Page 76 of 167
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Results                                                                                                                               httpsutdirectutexaseductlecisresultsresultsWBXwebsite




                                                                                                              PROVISIONAL       REPORT


                       UNIVERSITY       OF    TEXAS        AT    AUSTIN                                     COURSE INSTRUCTOR         SURVEY                      Spring 2013 DEPARTMENT   COPY
                       Gerstlauer        Andreas           M            E   E3195         16165             INTRO    TO    EMBEDDED   SYSTEMS                     Enrollment v 68

                       9000   Basic                                                                                                                                       Returned  v 15
                                                                                                                                                                  Surveys
                       SURVEYED     WITh           16170        16175       16180


                                                                                                                                                                                      NO   REPLIES

                                                                                                                             NURSER   CHOOSING      EACH    RESPONSE                  THIS     ITEM


                                                                                                       Str    Disag        Disagree       Neutral            Agree        Str Agree
                   1    COuRSE     WELL ORGANIZED                                                              0                2               4                 16          13             35           41
                   2    COMMUNICATED          INFORMATION               EFFECTIVELY                            0                2               5                 15          13             35           41
                   3    SHOWED     INTEREST         IN     STUDENT          PROGRESS                           0                0               4                 18          13             35           43
                   4    ASSIGNMENTS          AND    TESTS        RETURNED           PROMPTLY                   0                0               1                 15          19             35           45
                   5    STUDENT    FREEDOM          OF     EXPRESSION                                          0                0               2                 16          17             35           44
                6       COURSE    OF    VALUE       TO     DATE                                                1                0               3                 13          10             35           43

                                                                                                       Vry    Unsat          Unsat       SatisEaot         very    Good   mmellent
                7       OVERALL     INSTRUCTOR             RATING                                              O                1               7                 15          12             35           41
                8       OVERALL    COURSE          EATING                                                      I                1               7                 19           7             35           39

                                                                                                       Excessive              High                                         InsufFic
                                                                                                                                          Average            Light
                9       STUDENT    RATING          OF    COURSE         NORELOAD                                               22               2                  0           1             94


                                                                                                       Less    200         200249        250299            300349         350400
              10        OVERALL    UT    GRADE          POINT     AVERAGE                                      1                0              12                 10          11             34




              Il        PROBABLE       COURSE       GRADE                                                     13               17               3                  0           0             33


                                        For    the       computation of averages                  values       were       assigned on a 3 point said me that the east   favorable
                                              response      was assigned a value                  of    5    and    the    least favorable response was assigned a value  of               1

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                UNIVERSITY        OF    TEXAS Al        AUSTIN                                 COURSE   INSTRUCTOR     SURVEY                  Fall   2012     DEPARTMENT       COPY
                Gerstlauer         Andreas       M         E   E382V          17070            SYSTEM   ON A CHIP     DESIGN                   Enrollment          41

                8000 Basic                                                                                                                                Returned      31
                                                                                                                                               Surveys


                                                                                                                                                                        N3      REPLIES
                                                                                                             NUMBER   CHOOSING      EACH RESPONSE                           rills    ITEM    AVG

                                                                                           Str Oisag       Disagree       Neutral          Agree         Str Agree
          COURSE
            1    WELL ORGANIZED                                                                 0                2              4              13             11                    30       41
        2 COMMJN1CATED INFORMATION                         EFFECTIVELY                             0            0               2              14             15                    31       44
        3       SHOWED     INTEREST        IN    STUDENT       PROGRESS                            0            0               1              12             18                    31       45
        4       ASSIGNMENTS      AND       TESTS RETURNED          PROMPTLY                        0            0               4              i              15                    30       44
        5 STUDENT            FREEDOm       OF    EXPRESSION                                        0            0               I              14             15                    30       45
        6 COURSE          OF VALUE         TO    DATE                                              0            3               4              18             6                     31       39

                                                                                           Vry Onset        Unsat        Satisfact      Very   Good      Excellent
        7 OVERALL            INSTRUCTOR          RATING                                         0               0               6              14            11                     31       42
        8 OVERALL            COURSE       RATING                                                   0            3               9              13             8                     31       37

                                                                                           Excessive         Nish         Average          Light          InauffIc
        9 STUDENT            RATING       OF    COURSE     mORKLOAD                                4           17             9               0               0                     30


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       10       OVERALL      UT    MADE        POINT    AVERAGE                                    0            0               0              6             03                     21




       11       PROBABLE      COURSE       GRADE                                                  15           14               0              0              0                     29


                                  For    the   computation        of
                                                               averages               values       were assigned   on a    5 point    scale   so that the most favorable

                                        response   was assigned  a value              of   5    and the   least  favorable      response   was assigned  a value of  I

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  Student        comments         if     available




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               UNIVERSITY        OF    TEXAS       AT     AUSTIN                                      COURSE                            SURVEY                   Spring 2012        DEPARTMENT           COPY
                                                                                                                   INSTRUCTOR
               Gerstlauer         Andreas          m             E   E3I9K           16275            INTRO         10   EMEDDED        SYSTEMS                  Enrollment             TO
               8000   Basic                                                                                                                                                   Returned          =   59
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                                                                                                  Str Olsag              Disagree            Neutral          Agree        Str Agree
           1    COURSE    WELL    ORGANIZED                                                                   f                  1                 6            33             18                           59       41
       2        COMMUNICATED           INFORMATION             EFFECTIVELY                                o                      o                 5             33              21                         59       43
       3        SHOWED    INTEREST           IN    STUDENT           PREGRESS                             0                      0                 1             21              37                         59       46
       4        ASSIWIENTS            AND    TESTS RETURNED               PROMPTLY                        0                      0                 3             27              29                         59       44
       5        STUDENT     FREEDOm          OF    EXPRESSION                                             o                      o                 2             19              38                         59       46
       6 COURSE           OF     VALUE       TO    DATE                                                   0                      2                 1             21              34                         58       45

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       7        OVERALL     INSTRUCTOR             RATING                                              0                         0                 7             28              24                         59       43
       8 OVERALL            COURSE   RAT          D6                                                      0                      1                27             18              13                         59       37

                                                                                                  Excessive                 High            Average           Light           Insuffic
       9        STUDENT     RATING          OF    COURSE       oURKLOAD                                  22                  29                    6              I                 I
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                                                                                                  Less    200            200249             250299        300349           350400
                OVERALL     UT    GRADE          POINT    AVERAGE                                                                                 14             22              21                         69


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      11       PROBABLE        COURSE        GRADE                                                       18                  33                    9              1                 0                       59


                                 For    the       computation         of averages            values       were          assigned       on   a 5 point    scale    so   that   the       eclat   favorable
                                       rescccse          was     assigned  a value           of   5    and        the    least       favorable     response    was    assigned a value              of   I

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  Student        comments        if     available




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               UNIVERSITY        Cr    TEXAS Al     AUSTIN                             COURSE INSTRUCTOR             SURVEY                    Fall    2011         DEPARTMENT            COPY

               Serstlauer         Andreas       m         E   E382V       17180        EmeEDOED       SYS   DUN      AND    MODELING           Enrollment               14

                                                                                                                                                                               =
               6000 Basic                                                                                                                      Surveys       Returned               13



                                                                                                                                                                                    NO    REPLIES
                                                                                                        WW6ER        CHOOSIAG      EACH RESPINSE                                     THIS      ITEM       AVG

                                                                                    Str Disag         Disagree             Neutral        Agree          Str    Agree
           I
               COURSE     aELL011GANIZED                                                 0                    0                2             7                      4                         13          42
        2 CCASAJNICATED                INFORMATION        EFFECTIVELY                       0                 0                1               4                    8                         13          45
        3 SHORED          INTEREST        IN    STUDENT       PROGRESS                      0                 0                0               4                    9                         13          47
        4      ASSIGNMENTS            Al TESTS RETURNED            PROMPTLY                 0                 0                0               7                    e                         13          45
       5        SnJOENT    FREEDCm        OF    EXPRESSION                                  0                 0                0               4                    8                         13          47
        6 COURSE          OF VALUE        TO    DATE                                        0                 0                1               6                    e                         13          44

                                                                                    Vry unsat           Unsat          Satisfact        Very   Good      Excellent
        7      OVERALL      106TRuCTOR          RATING                                   0                    0                t               4                    8                                     45
       8       OVERALL      COURSE      RATING                                              0                 I                I               9                    2                                     39

                                                                                    Excessive            High              Average        Light              Insuffic

       9 STUDENT            RAT INS OF         COURSE     sORKLOAD                          0              3                   9                1                   0                         13


                                                                                    Less    200       200249           250299           300349           350400
       10      OVERALL      UT    GRADE    POINT        AVERAGE                             0                 0                0               3                    7                         10




      11       PROBABLE      COURSE       GRADE                                            10                                                  0                    0                         12



                                 For the       computation of averages            values    ere assigned            on a   5 point     scale   so     that    the       most       favorable

                                      response     was assigned a value           of 5 and      the   least       favorable    response    waS      assigned        a    value       of   I


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                UNIVERSITY       OF    TEXAS      AT    AUSTIN                                     COURSE   INSTRUCTOR  SURvEY                   SprIng 2011    DEPARTmENT        COPY

                Oerstlauer        Andreas         M           E    E382V          17075            SYSTEM   ON A  CHIP DESIGN                    Enrollment         10
                                                                                                                                                            Returned     =   10
                BOOD   BaSiO                                                                                                                     Surveys


                                                                                                                                                                             NO   REPLIES
                                                                                                                NUAGER    CHOOSING    EACH   RESPONSE                         THIS    ITEM       AVG

                                                                                               Str Disag      Disagree       Neutral           Agree       Str Agree
            1
                 COURSE    valORGANIZED                                                             0                             O               8             2                    10          42
        2        COMMUNICATED          INFORMATION            EFFECTIVELY                              0                          0               7             3                    10          43
        3        SHOWED    INTEREST         IN    STUDENT         PROGRESS                             0                          O               5             5                    10          45
        4        ASSIGNMENTS          AN    TESTS       RETURNED       PROMPTLY                        0                          O               3             7                    10          47
        5        STUDENT     FREEDON        OF    EXPRESSION                                           0                          0               2             a                    lo          48
        6 cauRsE           OF    VALUE      TO    DATE                                                 0                          0               5             5                    10          45

                                                                                               Vry    Meat      Unsat       Sat latent       Very BondExcellent
        7       OVERALL      INSTRUCTOR           RATIhG                                               0           0              1               8          3                       10          42
        8 OVERALL            COURSE        RATING                                                     0              0            4               8             0                    10          36

                                                                                               Excessive           High      Average           Light        lnsuffic
        9 STUDENT          RATING          OF    COURSE       WORKLOAD                                 1             7            2               0             0                    10



                                                                                               Less    200    200249        250299           300349        850400
       10 OVERALL          UT     GRADE         POINT     AVERAGE                                     0              0            0               t
                                                                                                                                                                9                    10




       II       PROBABLE        COURSE      GRADE                                                     7         T                                               o                    8


                                 For     the     computation          of  averages        values     were aeSIgned on a 5 point Seals so that the most favorable
                                       response         was       assigned  a value       of   5   and the least favorable response was assigns° a value of 1


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            UNIVERSITY        OF    TEXAS     AT     AUSTIN                                   COURSE INSTRUCTOR                 SURVEY                      Spring 2011             DEPARTmENT        COPY
                               Ancreas        M         E   E3I9K           16305             INTRO    TO    EMBEDDED        SYSTEMS                        Enrollment          m       78
            Gerstlauer
            8000 Basic                                                                                                                                      Surveys        Returned              26
            SURVEYED     WITH          16310        16315   16353


                                                                                                                                                                                                 NO REPLIES
                                                                                                               NUMBER        CHOOSING         EACH    RESPONSE                                    THIS     ITEM   AVG

                                                                                         Str    Ding         Disagree                Neutral           Agree              Str   Agree
        1    COURSE     WELL ORGANIZED                                                            t                   1                  3                  18                      5                     28      39
        2    COMMUNICATED           INFORMATION         EFFECTIVELY                              0                    2                   9                 9                       6                     28      37
        3    SHOmED     INTEREST        IN    STUDENT       PROGRESS                             o                    0                   4                 15                      7                     26      41
        4    ASSIGNMENTS        AND     TESTS       RETURNED     PROMPTLY                        o                   o                    0                 18                      a                     26      43
        5    STUDENT     FREEDOm        OF    EXPRESSION                                         o                    2                   2                 14                      a                     26      41
        6 COURSE        OF    VALUE     TO    DATE                                               0                   0                    3                 13                  IC                        26      43

                                                                                         Vry Unsat             Unsat             Satisfact           Very   Good      Excellent
        7    OVERALL     INSTRUCTOR           RATING                                          0                      a                   a                  7                       7                     26      37
        8 OVERALL        COURSE        RATING                                                    2                   3                   10                 8                       3                     26      33

                                                                                         Excessive              High                 Average           Light               Insuffic
        9    STUDENT     RATING        OF    COURSE     wORICLOAD                               12                   10                  3                    1
                                                                                                                                                                                  D                      26


                                                                                         Less    200         200249               250299             300349           350400
       10   OVERALL      UT    GRADE        POINT     AVERAGE                                    0                   2                   4                  5                   15                       26




       11   PROBAEILE        COURSE     GRADE                                                    6                   16                  5                  0                     0                      26


                              FOr     tne 00MputatIon    of averages                values       were       assigned       on    a   5 point     scale      so     tnat     tne         most   favorable

                                    response  was   assigned  a value               of    5    and    the    least        favoraDie      response       was       assigned        a      value   of   I

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                 UNIVERSITY        OF    TEXAS       AT     AUSTIN                         COURSE INSTRUCTOR     SURVEY                 Fall   2010       DEPARTMENT        COPY
                                    Andreas                      E E382V         16985     EmBEDDED   SYS DSON   AND                                  =
                 GerStlauer                          14                                                                 MODELING        Enrollment            15

                 DODO Basic                                                                                                                        Returned        x   14
                                                                                                                                        Surveys


                                                                                                                                                                       NO   REPLIES
                                                                                                       NJUBSIR   CHOOSING      EACH RESPONSE                            THIS  ITEM     AVG

                                                                                         Str Disag    Disagree         Neutral       Agree        Str Agree
             1   COURSE    WELL     ORGANIZED                                                   0          0               0             7                7                  14        45
         2       COMMUNICATED            INFORMATION             EFFECTIVELY                    0          0               0             7             7                     14        45
         3       SHOWED     iNTEREST           IN    STUDENT       PROGRESS                     0          0               0            10             4                     14        43
         4       ASSIGNMENTS            AND    TESTS        RETURNED    PROmPTLy                0          0               0             8             6                     14        44
         5       STUDENT      FREEDCAA         OF EXPRESSION                                    0          0               0             4            10                     14        47
         6       COURSE    OF      VALUE       TO    DATE                                       0          0               5            5              4                     14        3   9



                                                                                         Vry Unsat     Unsat       Sat isfact      Very Good      Excellent
         7       OVERALL      INSTRUCTOR    RATING
         8       OVERALL      COURSE   RATING                                                   0          0               5            6              3                     14        39

                                                                                         Excessive      High           Average       Light         Insufflc
         9       STUDENT      RATING          OF    COURSE       WORKLOAD                     0           8                6            0              0                     14



                                                                                         Lees   200   200249       250299          300349         350400
        10       OVERALL      UT    GRADE          POINT     AVERAGE                            0          0               0            2              8                     10




        11       PROBABLE       COuRSE         GRADE                                            a          4               0            0              0                     IS



                                   For    the       computation        of    averages  values ware assigned on a 5 point scale so that the most favorable
                                         response          was    assigned     a value of 5 and the east favorable response was assigned a value Of 1


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                                                                                                   PROVISIONAL     REPORT


               UNIVERSITY       OF    TEXAS       AT     AUSTIN                                 COURSE     INSTRUCTOR    SURVEY                   Spring        2010 DEPARTMENT              COPY
               GerStlauer        Andreae          M         E   E382V          18835            SYSTEMCNACHIP           DESIGN                    Enrollment           =
                                                                                                                                                                               18
               8000   Basic                                                                                                                      Surveys        Returned            m   15



                                                                                                                                                                                        C REPLIES
                                                                                                               NUMBER   CHOOSING      EACH    RESPONSE                                   THIS         ITEM       AVG




                                                                                                                                  04
                                                                                            Str Disag        Disagree       Neutral            Agree            Str Agree
           1
               COURSE    WELL   ORGANIZED                                                        0                 0            0                 8                        7                     15              45
       2       COMmuNicATED           rNFoRmATION           EFFECTIVELY                             0              0                                                   fl                        15              47
       3       SHOWED    INTEREST           IN    STUDENT       PROGRESS                            0              0              0                3                12                           15              48
       4       ASSIGNMENTS           AND    TESTS        RETURNED   PROMPTLY                        0              0              0                4                tl                           15              47
       5       STUDENT      FREEDCM         OF    EXPRESSION                                        0              0              0                3                12                           15              48
       6 COURSE          OF    VALUE        TO    DATE                                              0              0              0                7                    6                        15              45

                                                                                            vry    unsat       Unsat        SatISfaCt        Very Good      Excellent
       7       OVERALL      INSTRUCTOR            RATING                                            O              0              0               6                    6                         15              48
       8 OVERALL            COURSE         RATING                                                   O              0              2                7                   6                         18              48

                                                                                            Excessive            High       Average            Light            Insuffic
       9       STUDENT      RATING         OF    COURSE     MCRKLOAD                                O              9            5                  1                   0                         15



                                                                                            Less    200      200249         250299           300349         350400
      10       OVERALL UT       CRAOE           POINT     AVERAGE                                   O              0              0               2                 12                           14




      11       PRCOAGLE       COARSE       GRADE                                                   10              4              0               0                    0                         14



                               For the computation of averages                         values       were assigned on a 5po1nt            scale    so     that    the
                                                                                                                                                              most                  favorable

                                  response was assigned a value                        of   5     and the least favorable response              was assigned a value                    Of   I

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                                                                                                 PROVISIONAL         REPORT


              UNIVERSITY        OF    TEXAS       AT AUSTIN                                 COURSE INSTRUCTOR             SURVEY                     Fall    2009    DEPARTMENT      COPY
              Ge7stlauer         Andreas          M     E E382V                 17220       EMBEDDED     SYS DSGN         AND    MODELING            Enrollment          28
              8000 Basic                                                                                                                                        Returned      24
                                                                                                                                                     Surveys


                                                                                                                                                                              NO     REPLIES
                                                                                                           NUMBER         CHOOSING        EACH    RESPONSE                        THIS        ITEM   AVG

                                                                                          Str Disag     Disagree                Neutral            Agree       Str Agree
          1
              COURSE    WELLOROANI2E0                                                          0                     2              2                14             8                    24          40
          2 COMMUNICATED              INFCRMATICN             EFFECTI VELY                       0                   1              2                13              8                   24          42
          3 SNOWED       INTEREST           IN STUDENT          PROGRESS                         0                   1
                                                                                                                                    2                13              8                   24          42
          4   ASSIGWENTS             AND    TESTS RETURNED           PROMPTLY                    0                   1
                                                                                                                                    2                13              8                   24          42
      5       STUDENT      FREEDOM          OF    EXPRESSICN                                     0                   1
                                                                                                                                    0                13             10                   24          43
      13      COURSE    OF      VALUE       TO DATE                                              0               2                  4                14              4                   24          38

                                                                                          Vry Unsat       Uffsat              Satisfact          very Good     Excellent
          7   OVERALL      INSTRUCTCR    RATING                                                  0               0                  9                11              4                               38
      8       OVERALL      COURSE   RATING                                                       0               2                 11                 8              3                               35

                                                                                          Excessive            Nigh             Average            it           insuffic
      9       STUDENT      RATING          OF    COURSE       WORKLOAD                           1              II                 10                   I
                                                                                                                                                                     0


                                                                                          LeSs   200    200249                250299             300349        350400
     10       OVERALL      UT    GRADE          POINT    AVERAGE                                 0               0                  0                 2             13




     li       PROBABLE       COURSE         ORADE                                                               14                  0                               0                    22


                                For    the      computation        of                   values were assigned   on a 5 point scale so that the most favorable
                                                                       averages
                                      response          was    assigned  a value        of 5 and the  least  favorable response was assigned a value of  I

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                                                                                           2
                                                                                               PROVISIONAL        REPORT


              UNIVERSITY      OF    TEXAS    AT   AUSTIN                                   COURSE       INSTRUCTOR      SURVEY                     Spring 2009     DEPARTMENT      COPY
              Geratlauer        Andreas      M         E   E319X          15965            INTRO        TO   MICROCONTROLLERS                      Enrollment          16
              B000   Basic                                                                                                                         Surveys    Returned      21



                                                                                                                                                                            NO     REPLIES
                                                                                                               NUMBER   CHOOSING     EACH    RESPONSE                           THIS        ITEM       AVG

                                                                                       Str Disag             Disagree       Neutral           Agree          Str Agree
          1
               CouRSE NELLORGANIZED                                                                0               0             I                 10            10                    21              44
      2        COMMUNICATED INFORMATION                EFFECTIVELY                                 0              0              3                 10             8                    21              42
      3        SHOED     INTEREST       IN   STUDENT       FROXIESS                                0              0              3                  9             9                    21              43
      4        ABMAIDTS         AND     TESTS     RETURNED     PROMPTLY                            0              0              0                 II             10                   21              45
      5        STLOEN1     FREEDOM      OF   EXPRESSION                                            0              0              2                  9            10                    21              44
      5 COURSE           OF VALUE       TO   DATE                                                  0              0              0                  7            14                    21              47

                                                                                       Vry Unsat               Unsat       Setisfact        Very    Good     Expellent
      7       OVERALL      INSTRUCTOR        RATING                                         0                     0              4                 11             o                    21              41
      8       OVERALL      COURSE     RATING                                                       0              0              3                 11             7                    21              42

                                                                                       ExcesSive                High        Average           Light           insufflo
      9 STUDENT          RATING       OF COURSE        WORKLOAD                                    2             12             7                0                0                    21



                                                                                       Less        2010      200249        250299           300249           350400
     10       OVERALL    UT    GRADE      POINT    AVERAGL                                         0                             5                                o


                                                                                                              O C P
                                                                                                                  4                                 a                                  21




     11       PROBABLE      COURSE     GRADE
                                                                                               A

                                                                                               13                 5              a                 o
                                                                                                                                                              F   o                    21



                              For   the   computation of averages                 values           were    assigned on a 5 point scale so that  the most favorable

                                    response  was assigled a value                of   5   and         the  least favorable response was assigned  a value of  1

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                                                                                             PROVISIONAL     REPORT


            UNIVERSITY      OF    TEXAS       AT AUSTIN                                 COURSEINSTRuCTOR            SURVEY                 Fall    2006        DEPARTMENT    COPY
            Gerstlauer       Andreas M                    E   E382V         17295       EMBEDDED      SYS   DSCIN   AND    mODEL1NG        Enrollment      =       19

            B000   Basic                                                                                                                   Surveys    Returned          16



                                                                                                                                                                        NO   REPLIES
                                                                                                        NUMBER      CHOOSING       EACH RESPONSE                         THIS    ITEM       AVG

                                                                                      Str    Disag    Disagree            Neutral        Agree       STr   Agree
       1
            COURSE    WELL ORGANIZED                                                          0              0                2             8                  8                16          43
       2    COMMUNICATED          INFORmATION             EFFECTIVELY                         0              0                1             5              10                   16          46
       3 SNOWED        INTEREST         IN    STUDENT         PROGRESS                        0              0                0             3              13                   16          48
       A    ASS1GNmENTS          AND    TESTS RETURNED            PROmPTLy                    0              0                 1
                                                                                                                                            7                  a                16          44
       5    STUDENT    FREEDOM          OF EXPRESSION                                         0              0                0             4              12                   18          48
       8 COURSE       OF VALUE          TO DATE                                               0              0                2             6                  8                16          44

                                                                                      Vry    Unsat      Unsat         Satisfact        Very Good     Excellent
       7    CNERALL      INSTRUCTOR           RATING                                          O              0                 i            7                  8                16          44
       8    OVERALL      COURSE        RATING                                                 O              0                5             9                  2                18          38

                                                                                      Excessive            Nigh           Average       Light         Insuffic
       0    STUDENT    RATING          OF    COURSE            KLOAD                          1              8                7             0              0                    18



                                                                                      Less    200     200249          250299           300349        350400
      IC OVERALL       UT    GRADE          POINT    AVERAGE                                 O               0                0             2              11                   13




      11    PROBABLE     COURSE        GRADE                                                 11                               0             0
                                                                                                                                                      F    0                    15



                            For    the      computation          of    averages     values mere      assigned on a 5 point scale so that  the most favorable

                                 response           was   assigned       a value    0 5 and the       least favorable  neSoonse was assigned a value of  1

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                         GSPBFRP3                                             OFFICE     GRADUATE




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     PROGRAM                                                                                        STUDIES




                                                                                                                                          AND
                                                                         COMMITTEE REPORT     MASTERS       DOCTORAL




                                                             FOR
                                                                                                       M
                                                                   GERSTLAUER   ANDREAS




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                                                       EID
                                                                    LAST                 COMM     MAST




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                                                                    SEM
                                                                                                                                                                     YYS
                           NAME                                                        POSITION    DOCT                          DEGREE             FIELD                        DEGREE   FIELD




                                                                                                                                                             AN




                                                                                                                     PHD




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                                                                                                  D
     ABDEL        HADI       AHMED        MOHAMED   ama2875                            COCHAIR                                                  ELECTRICAL          20119




                                                                     132
                                                                                                  D
     ANGEPAT              HARI    DAAS              hda73                              MEMBER




                                                                                                                                                             AN




                                                                                                                           MSE




                                                                     109
                                                                                                  M
     ARNDT          KARL     ROBERT                 kra469                             MEMBER                                                   ELECTRICAL          20109




                                                                                                                                                             AN




                                                                                                                      PHD




                                                                          102
     BANERJEE              SHAYAK                   sb4399                             MEMBER                                                   ELECTRICAL          20102




                                                                                                  0




                                                                     139
                                                                                                  0
     BHARGAVA              VIDUR                    vb723                              MEMBER


                                                    asc835




                                                                          139
                                                                                                  D
     CHAUDHARI              AMEYA     SUHAS                                            MEMBER




                                                                                                                                                             AN




                                                                                                                      PHD




                                                                          119
                                                                                                  D
     DATTA          RUDRAJIT                        rd8658                             MEMBER                                                   ELECTRICAL          20119




                                                                                                                                                             AN




                                                                                                                           MSE




                                                                          116
                                                                                                  M
     GOSWAMI              ARINDAM                   ag36423                            CHAIR                                                    ELECTRICAL          20116




             KU
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                                                                          122
                                                                                                  0
                                                    kh22582                            COCHAIR                                                  ELECTRICAL          20122




     HE
                                                                                                                                                             AN




                                                                                                                      PHD




                                                                          136
                                                                                                  0
     IOBAL          MUHAMMAD         FAISAL         m1622                              MEMBER                                                   ELECTRICAL          20136




                                                                                                                                                             AN




                                                                                                                      PHD




                                                                                                  0




                  WOO
                                                                          112
     JANG                  YOUNG                    wyj59                              MEMBER                                                   ELECTRICAL          20112




                                                                                                                                                             AN




                                                                                                                            MSE




                                                                          122
                                                                                                  M
     KATHURIA              MANAN                    mk22928                            CHAIR                                                    ELECTRICAL          20122




                                                                                                                           PHD
                                                                                                                                                             AN




                                                                          122
                                                                                                  0
     KRIMER              EVGENI                     ek4559                             MEMBER                                                   ELECTRICAL   AN
                                                                                                                                                                    20122




                                                                                                                            MSE




                                                                     099
                                                                                                  M
     MADAELIL              THOMAS                   madaelil                           MEMBER                                                   ELECTRICAL          20099




                                      G
                                                                          139
                                                                                                  D
     MCDERMOTT              MARK     WILLIAM        mcdermot                           MEMBER




                  JIN
                                                                                                  0




                                                                          139
     MIAO                                           3m58482                            COCHAIR
                                                                                                                                                              AN




                                                                                                                            MSE




                                                                          139
                                                                                                  M
                                                                                       COCHAIR                                                  ELECTRICAL          20129




                   JIN
     MIAO                                           jm584$2
                                                                                                                                                              AN




                                                                                                                            MSE




                                                                                                  M
                                                                                                                                                ELECTRICAL          20132




                                                                          139
     MUTHYALA                                       sm45346                            MEMBER




                                           S
                          SUDHAKAR
                                                                                                                                                              AN




                                                                                                                            MSE




                                                                          092
                                                                                                  M
     NOLKHA              GAURAV                     gn2456                             MEMBER                                                   ELECTRICAL          20092
                                                                                                                                                              AN




                                                                                                                            MSE




                                                                          096
                                                                                                  M
     OVERHOLT              PETER     JAMES          p30269                             CHAIR                                                    ELECTRICAL          20096
                                                                                                                                                              AN




                                                                                                                            MSE




                                             JR
                                                                          132
                                                                                                  M
     OWEN         DONALD          EDWARD            deo248                             MEMBER                                                   ELECTRICAL          20132
                                                                                                                                                                                                        Case 1:19-cv-00877-RP Document 69-33 Filed 02/23/22 Page 88 of 167




                                                                          136
                                                                                                  D

     PAINE              NICHOLAS     ARDEN          nap244                             MEMBER




                                                                           139
                                                                                                  0




     PATIL              NIKHIL     AJAY             nap343                             MEMBER
                                                                                                                                                              AN




                                                                                                                           PHD




                         ARDAVAN


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                                                                                                  0




     PEDRAM                                         ap7437                             CHAIR                                                    ELECTRICAL          20136




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                                                                                              OF
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PROGRAM       GSPBFRP3                                            OFFICE     GRADUATE   STUDIES




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                                                                                                                             AND
                                                              COMMITTEE REPORT    MASTERS       DOCTORAL




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                                                                                          M
                                                       GERSTLAUER   ANDREAS




                                                                                                   OR




                                           EID
                                                                                                                                                                   2ND
                                                        LAST                COMM     MAST




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                                                        SEM
                                                                                                                                                                                 YYS
                NAME                                                      POSITION    DOCT                          DEGREE             FIELD                   DEGREE    FIELD




                                                         136
                                                                                     D
PFEIFER        DYLAN       CONRAD       bcp73                             COCHAIR




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                                                                                     D
PRABHU        MAHESH                    mp24482                           MEMBER




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YEAGER        HANS                      h1y88                             MEMBER                                                   ELECTRICAL         20119
                                                                                                                                                                                       Case 1:19-cv-00877-RP Document 69-33 Filed 02/23/22 Page 89 of 167
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       Postdoctoral   fellows superdsed   None




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                      Budget       Council         Assessment                on Research                Publications             and Other Evidence                           of

                                                  ScholarshipCreativity for Andreas Gerstlauer


         Introduction


         This    statement        on Research           Publications             and Other Evidence               of ScholarshipCreativity                      was prepared by

         Budget       Council      Members Jacob Abraham Brian L Evans and Yale                                              N Patt        It   is    based    on a thorough
         evaluation      of Dr Gerstlauers research publications                                   grants       and international reputation as well as our

         own knowledge             of his activities and research                      area


         Research       Area and Cout rib utio us

         Dr Gerstlauer conducts                 research        in   design       methods and tools              for    improving       computing systems that are
         embedded        in a     variety of products                from consumer              electronics       to civilian                           and military systems
                                                                                                                                     spacecraft
         His methods         and tools provide            assistance             for   teams of designers                                                       and automating
                                                                                                                       in   making key decisions
         the design      of the      entire     computing        system based on                 the   design     decisions          which       is   known      as Electronic

         System Level Design                Automation               methods and tools designers can explore many alternate
                                                                     Using       his

         choices      at different        stages in the design process and quantify the impact of the decision on the entire

         computing       system This is in contrast                    to    many previous              research       efforts that     have optimized a subsystem

         only    to   find out     later that     the   overall       performance              of the   full    system has degraded



         Dr Gerstlauers research in embedded systems and electronic                                              system level design                   automation        can be

         divided      into   the following         categories           host compiled              modeling and simulation                       system compilation                 and

         synthesis      co design          of domain specific                cores      and approximate computing                      His work has been published

         in    the top venues        in   the   field    and has captured                the    attention      of researchers         in    academia and           in    industry
         The software         that    he and have written has been used by other research groups around
                                                 his students                                                                                                                  the

         world and has stimulated much research  Each category is evaluated in more detail below


         Contriburion           1      Host Compiled Modeling                            and Simulation            key       papers IC381             and     PO
         Dr Geistlaueus simulation work                         addresses          the    two    critical      measures       that   are always          at   odds computing

         performance         and     energy      consumption            It    used       to be that reducing            energy       consumption              did not    matter       it



         was all about maximizing computing                           performance That                  is   no longer the case Energy constraints                             in

         modern and          future    systems      make energy              a   firstclass citizen That does not                     mean performance                   is   no

         longer an issue           Everyone        wants    higher performance                     but only within the allowed
                                                                                                                                                      energy    budget


         Dr Gerstlauer proposed models                      for      the increasingly complex computing                              systems Each processing                       chip
         contains      multiple processing              engines       cores            and each core competes                 for on chip             resources    eg
         bandwidth       and energy             And processors               are realizing increasingly complicated                             applications



         His simulation        work balances very nicely the two major competitive forces to modeling simulation time
         and accuracy         The heart of the problem is the granularity of the modeling There are many examples in

         the    literature   of    fine   grain modeling where                    accurate       modeling is demonstrated but the execution                                   time    for

         that   simulation        makes the modeling impractical                           Conversely there are many examples                                 of large   grain

         modeling where the simulation is fast but the accuracy is not good enough to be meaningful Dr
         Gerstlauer has been able to achieve near realtime simulation speeds with greater than    accuracy                                                  95

         In    his work a key                            is a   back annotation                technique        that    annotates source              code intended           for
                                      component
         execution      in a target       system        with timing and                power metrics           As simulation proceeds                    annotations          provide

         measures of system execution                    to the simulation kernel                      which     dynamically adjusts                  modeling granularity
         One gets accuracy when needed and simulation speed when accuracy can safely not be compromised




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         Contribution         2       System Compilation and Synthesis key papers                                                    15 and Yi
         Before automatically generating                        the appropriate                   structures      on the integrated               circuit current           electronic

         design     automation       tools require the design                            to    be specified      in   lowlevel         detail      using       a   hardware       description

         language      Advances          in   integrated            circuit         technology          now     enable      entire     Systems           on Chips SoCs and
         existing electronic         design         automation                tools      are    unable    to    deal with       the    problem


         Dr Gustlatter has been a pioneer                           in    developing              highlevel       languages           for    SoCs in developing                   highlevel

         models to describe heterogeneous                            systems and in formulating synthesis algorithms for mapping                                                     high
         level   designs    to   integrated         circuits             In    particular         he has developed              the    algorithms for exploring the design

                    and partitioning          the                   and                                                                                   units in the SoC He also
         space                                          design                 mapping           application       steps to computation

         developed      techniques           for   generating              the      software          necessary    for     operation         of the       SoC the embedded
         operating     system the device drivers                              inter processor            communication and application                             code


         Dr Gerstlauer         formulated           a system level                   synthesis         methodology and a taxonomy for classification of

         system level synthesis               approaches                 His October             2009 paper           15 laid the groundwork for further research
         in this    area and has had more than 60 citations He developed                                                 the    System on Chip Environment                           SCE
         for   the design    of SoCs This approach                             is
                                                                                    being       used    by companies including                     NEC and Toshiba and a
         derivative     of the tool is being sold and                           supported             by a commercial entity


         He    developed     a   complete           solution to the                 problem of synthesizing application models                                     to   hardware     and

         software     for   generic      multiprocessor SOC architectures This involves                                               exploration of the design                   space    and

         decision     making      for    both computation                      and       communication             He has demonstrated                       viability     of his system

         on industry examples                and    published             the       results      in   several   key conferences                  and    in   a recent     archival       paper

         17 Dr Gerstlauers contributions                                 to this      important but            difficult    problem have given him international

         recognition        and he      is   well       on his way             to   becoming           one of the world leaders in system level synthesis


         Contribution        3 Co            Design of Domain Specific Cores key papers                                                19 and 1050
         As mentioned         above          reducing          energy          consumption              has replaced        maximizing computing                          peiformance       as


         the   major problem to be addressed                             in   designing          computing systems today                         A very powerful approach to
         reducing     energy required              for    computations                   replaces       generalpurpose processors                         with specialpurpose              and

         custom processors            Dr Gerstlauer has made                                  significant     contributions           in this direction




         He developed        simple customizations                            for   matrix multiplication                algorithms that are at the core of many

         scientific    and other highperformance computing                                            applications       He designed              a dedicated           Linear Algebra

         Processor      that     could       be used       to   achieve             high energy           efficiency       in   highperformance                    and    embedded

         computing He showed that this processor could also be applied to other computations including matrix
         factorization and fast Fourier transforms His techniques along with fine tuning of memory resulted in

         orders of magnitude             improvement in energy efficiency compared                                             with computation                 on      leading    multicore

         CPUs His results were presented in leading conferences                                                 in his   area and           in   an archival         version      19 The
         significance       of this work           is   highlighted by the                     fact    that   in less than       9    months           after   publication         the

         archival     paper has already been                    cited         13    times His work in this area should lead to improved algorithms

         and architectures        that       significantly           reduce the energy requirements for a                                   variety      of applications



         Dr Gerstlauer         has recently             applied          his ideas to            the field of computational                  biology specifically                 the

         problem of      stochastic          simulation of biochemical reactions                                  His specialpurpose processor                            exploits fine

         and coarse grain parallelism and                           is   able       to   support       networks       of more than a million species                         and reactions

         C50 Broadening               his research             to    deal with            difficult      computational           problems in other disciplines

         demonstrates        his creativity              and    this will           further       enhance       his reputation          and       international           recognition




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         Contribution          4        Approximate Computing                          key    papers            J11 and C44

         Reducing         power     consumption             is critical       for battery powered                    products    eg smart phones largescale
         systems      eg       server       farms and points between                       Power      is       the square of voltage             divided by resistance

         Reducing         voltage      levels   reduces
                                                                 power       consumption          but also generates                  more errors in results With

         faculty colleague             Dr Orshansky Dr Gerstlauer                          took   a different           approach            In some applications            answers

         degrade      gradually as          errors increase             hence    one can tradeoff accuracy                           for            By accepting           a
                                                                                                                                           power                               very
         small amount          of error J11 Dr Gerstlauer                        reduced       power consumption                      for video compression               by    70
         This research integrates               circuit level           and algorithm level                approaches           to   enable approximate computing



         Using a more systematic                 approach              Dr Gerstlauer         redesigned               circuits to     produce      approximate           output       at

         reduced      complexity            and hence           energy Adders and multipliers have stages of circuits implementing
         digital     logic   operations         of   NAND          and NOR        With Dr Orshansky Dr Gerstlauer has redesigned                                            adders

         and multipliers          to   provide optimal quality energy                       tradeoffs           C44 At each point                  in   the tradeoff curve               no
         other solution has higher quality                       for   the   same energy or lower energy                        for the       same quality Such a curve                       is


         known       as Pareto      optimal This approach                     could    be integrated             into electronic            design automation            tools



         Publications


         Dr Gerstlauer         has a
                                            very strong publication
                                                                    track                   record         As an Assistant                 Professor he        has published             9

         journal                32          reviewed conference                                   and           book In his career he has published                            12
                     papers            peer                                       papers                   1



         journal     papers 54 peer reviewed conference                           papers and 4 books In the research fields of embedded
         systems and         electronic       system level             design    automation both journals and top tier conferences serve as the

         appropriate         terminal peer reviewed                    publication venues           for        major research contributions Publishing                              in

         these top tier       conferences            which        are well attended           by academia and industry                         attracts    a   lot   of visibility
         and is extremely competitive                      Acceptance                         low       with only the highest                  ranked
                                                                               rates   are                                                                papers with          solid


         experimental evidence                being        accepted          Because    the   fields           are   fast   moving         conference      publications             are

         important for rapid dissemination of results For                                  Dr Gerstlauers                   fields the top tier         conferences        that      are


         peer reviewed         and      serve as a final           publication        venue include


                      IEEE Design Automation Conference
                      IEEE Design Automation and Test                            in Europe


                      IEEE International               Conference            on Computer Aided Design

                     IEFF Symposium                  on    Computer Arithmetic

         In   rank Dr Gerstlauer              has published             7 papers      in   top tier     conferences             in    addition to 9 journal            papers


         In his research fields              Dr Gerstlauer             has published          extensively in rank in top tier journals                           IEEE Trans
         on Computer Aided Design of Integrated Circuits and Systems IEEE Trans on Computers and ACM
         Trans on Design Automation of Electronic Systems and top tier conferences IEEE Design Automation

              Test   in   Europe IEEE Integrated                    Circuit     Computer Aided Design IEEE HardwareSoftware                                              Co Design
         and System Synthesis IEEE Symposium on Computer Arithmetic IEEE is the primary international

         technical        organization        for electrical           and   computer       engineers as               ACM is for computer                 scientists




         Dr Gerstlauer has collaborated                         and published with ECE and CS faculty at UT Austin which is higWy

         encouraged          by our     BC As         is   the   norm in his area Dr Gerstlauer works closely with his students and
         much      of his work         is   coauthored with them His PhD student Ardavan                                             Pedram won           the Best Poster

         Award       in   the PhD      Forum at the 2013 International                       Parallel           and    Distributed Processing              Symposium


         Impact

         Dr Gerstlauers work                 has had        a    significant    impact       on his field His papers are very well cited According
         to Google        scholar       he has six papers with over 60                      citations each




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                     645        for book       SpecC Specification                    Language         and Methodology                  2000
                     177       for    conference        paper          RTOS Modeling for System Level Design 2003
                     138       for    book Systent Design                     A Practical Guide With                 SpecC        2001
                     120       for    book Embedded System Design Modeling                                          Synthesis           Verification     2009
                       71      for journal           paper   A SpecCbased framework                            for    heterogeneous            IVC2SoC       design 2008
                       60 for journal paper Electronic                               system level        synthesis          methodologies            2009
         The fourth and sixth publications were published                                        while      in rank     at   UT Austin The second               paper    on the

         modeling         of realtime operating                    systems RTOS received recognition                                in 2008     as   one of the most
         influential      papers         in   the previous             ten years      at    the IEEE     Design Automation                      Test in Europe         Conference


         He coauthored                the     book System Design Modeling                            Synthesis              Verification       2009      which    has    been

         adopted     at       nine
                         major universities in seven different countries The hardcopy version sold 500+ copies
         and chapters from the electronic version have been downloaded    4000+ times He has been invited to

         publish and present                  five   papers       at   the prestigious          IEEEACM Asia and South Pacific Design                              Automation
         Conference            in   2009 2010          x2         2011 and 2012 as well                     as at    two other      international      conferences



         His reference              letters   highlight       his      strong reputation and                significance          of his work        Below arc examples

               I believe             Dr Gerstlauer           is    the key         intellectual      contributor behind the               SpecC modeling language                 and

               methodology                  which      besides the high                   citation   counts     led    to    development        of semantics       for   the


               SystemC              language which             is      now    the default        industry standard specification                     language    for   mixed
               hardwaresoftware                      design implementations               The impact of this work is impressive particularly

               coming           from a researcher who                    is   so early in his career  Prof Nikhil Dutt UC Irvine


               There is a good balance between                                    tools    versus design       papers For me Andreas                   work would        lack

               credibility            without        the design                      The topics        covered        by these papers are of central concern                    in
                                                                        papers
               ESL        I    also    found     the   architecture               modeling paper and the OS paper together offering some creative
               insights         in a difficult         modeling question                      Prof Arvind MIT

               It    is also        remarkable         that   the       initial     success     he    had as a PhD student seemlessly transformed into

               research success                when     starting         to   work        independently         as    an Assistant        Professor     at   UT Austin          Prof

               toerg Henkel                 Karlsruhe Institute of Technology


               I believe             that his    work is of exceptional                     quality    and rigor and the type of work                    that   those of us     who
               have       to    bridge between           academia and commercial practice look                                    for   Dr Gerstlauer         achieves    this


               rigor      and detail without              sacrificing             his quest     for   the fundamentals              of elegance       and    abstraction thus

               allowing             his work     to be simultaneously of academic                             and     practical     importance           Dr H Peter
               Hofstee           IBM Austin Research Laboratory

               I think          that    Andreas        is a rising        star      He has conic         out   of the research group of a prominent thesis

               advisor          and has established                himselfas a strong                technical       leader
                                                                                                                        in the computer   system design

               methodology               field       His research groups software                       is   being used  and is influencing other research I
               enthusiastically endorse his promotion to Associate                                           Professor        with tenure        Prof Don Thomas                CMU
               Andreas              has an     outstanding             research           teaching    and    service     record and        we would be glad to have
               him on our faculty here at UlUC                                I   strongly support           his promotion Since joining                      UT Austin
               Andreas          has established           and high quality research program that is certainly on par with
                                                             a diverse                                                                                                            if

               not   better         than any of his peers Prof Martin Wong University of Illinois   Urbana Champaign


         Research         Funding             Generated

         Dr Gerstlauer              has received        significant            external       research       funding         as   shown   in   the   table   below He has
         been awarded               12 funded        research projects               totaling    $218M with his share being $13M He                               was Principal
         Investigator          PI on both competitive National Science Foundation NSF grants and both competitive




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         Semiconductor               Research Corporation                SRC contracts             He was co PI on a joint        contract      with the Defense

         Advanced         Research Projects             Agency and Army Research Office and sole PI on contracts                                  with National

         Instruments           NI and Samsung                 He has complemented                 this   funding with unrestricted      research       gifts   from
         Intel   NI and Qualcomm as sole PI Another positive aspect is that he has collaborated                                                with several

         faculty members at             UT Austin on generating                      research ideas       and landing funding for them Profs Heath

         ECE John ECE Orshansky ECE Pingali Computer Science and van de Geiju Computer Science



                               NSF PI                                                 Grant                           $ 450K               $    225K


                              NSF PI                                                  Grant                           $ 500K               $    250K


                               SRC PI                                                Contract                         $ 255K               $ 255K



                               SRC PI                                                Contract                         $ 345K               $    173K



                               DARPAArmy Res                                         Contract                         $ 200K               $ 100K
                               Office   co PI

                              National Instruments                                   Contract                         $    60K             $     60K
                               P1

                               Samsung       PD                                      Contract                         $ 150K               $    150K


                              NI Qualcomm Intel PI                              Gift funding                          $ 166K               $    126K



         About    80 of the ECE faculty members who have received tenure and promotion since 1984 have
                          young investigator award from a US federal agency
         received    a                                                                                          such as the National Science Foundation

         CAREER Award                Although Dr Gerstlauer has not yet won a young investigator award he has
         demonstrated           success in landing finding on three competitive proposals from US federal agenciestwo

         foul the National Science Foundation                            as PI and      one from DARPAJARO as coPl                    Most important             Dr
         Gerstlauer       has developed             sustained      funding from a diversity                of funding sources that     is in     excess of     what   is

         needed     to   sustain      a research       group      in his fields        of embedded         systems   and electronic                automation
                                                                                                                                      design


         Peer Comparison

         The following table represents a peer comparison After receiving a PhD degree in 2004 from UC Irvine
         and working an Assistant Researcher at UC Irvine from 2004 to 2008 Dr Gerstlauer joined the faculty at

         LIT Austin       in fall     2008    as    an Assistant         Professor        All of the other        faculty members     listed in    the   table

         below    arc Associate          Professors           The       table   shows the dates of their hiring as faculty members and

         promotion        to   Associate          Professor as well             as   the numbers        of conference     papers top tier conference           papers
         and journal papers published                   at   the time of their promotion                 to   Associate   Professor The top tier

         conferences           as mentioned          earlier in     The Publications section                  serve as terminal peer reviewed          publication

         venues   in     an    way    that   is   equivalent       to        reviewed journal papers An H index attempts to measure
                                                                        peer

         productivity          and   impact       of published          work An H index of 21 means that the author has 21 publications
         with each       paper having             at least   21   citations      and no other publication has more than 21 citations                     The     H
         index values          below    were computed              in   August        2013    for all   publications of each               member
                                                                                                                                 faculty




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                                                                                                1111111111111
         Valeria                Michigan                2003          2009          29              10           10            CAD                 24
         Bertacco




         Luca                   Columbia                2004          2009          26              5            10            Embedded            29
         Carloni




         Andreas                UT                      2008                        32                                         Embedded            21
         Gerstiauer             Austin                                                                                         and     CAD

         Vincent                Georgia                 1998          2004          33              6            8             Embedded            23

         Mooney                 Tech



         milt                   UC                      2005          2011          26              8            4             Embedded            23
         Seshia                 Berkeley



         T Simtmic              UC San                  2005          2010          35              9            8             Embedded            29

         Rosing                 Diego




         In   all   measures given above               Dr Gerstlauer          compares favorably with his peers                His H index of 21        is   quite

         high for someone          being       considered      for   promotion to Associate              Professor as      mentioned explicitly by one
         of the external       letter    writers


                 The impact of his research                 can   also   be   quantified an H Index of 21 which                   is   excellent   given that
                 he is currently        at   a stage   of his career where         is   considered       to be   promoted     the rank   of Associate
                 Professor     with     Tenure           Prof Joerg Henkel Karlsruhe Institute of Technology



         Summary

         In   summary     the    ECE Budget            Council believes          that   Dr Gerstlauers research track record is outstanding
         His letters of reference             similarly articulate        the   view     that his   research     is   of the highest quality and his
                          is                       to the
         productivity          comparable                   top researchers        at   the   same point in their careers


         Prepared      by Electrical and Computer Engineering Budget                            Council     Members




                2CLc                                                                                EltrCVLD
         Jacob      Abraham                                                     Brian    L Evans                                            Yale   N Pan




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       FIVE SIGNIFICANT              WORKS
       All   references     to   publications   are   indexed   on the   resume where Jxx is used to             indicate journal         articles

       Cxx conference             papers Pxx book       chapters    and   Bxx books
       List of five     most significant        publications    while     in   rank

         J5         A Gerstlauer C Haubelt A D Pimentel T P Stefanov D D Gajski J Teich Electronic                                        System
                    Level   Synthesis       Methodologies       IEEE     Transactions     on   Computer Aided       Design       of     Integrated

                    Circuits     and Systems    TCAD vol 28 no 10 pp 15171530 October 2009
             J6     G Schirner A Gerstlauer R D6mer Fast and Accurate Processor Models                                  for   Efficient    MPSoC
                    Design ACM Transactions on Design Automation                       of Electronic   Systems    TODAES vol 15 no
                    2 article no 10 pp 126 February 2010
             J8     P Razaghi A Gerstlauer Predictive              OS Modeling for Host Compiled Simulation of Periodic Real
                    Time Task      Sets IEEE Embedded           System Letters vol  4 no 1 pp 58 March 2012
             J9     A Pedram R A van de Geijn A Gerstlauer Codesign Tradeoffs                              for   High   Performance           Low
                    Power      Linear   Algebra Architectures       IEEE       Transactions    on   Computers     TC          special     issue   on

                    Energy      Efficient   Computing vol 61 no 12 pp 17241736 December 2012
             J11    K He A Gerstlauer M Orshansky                 Circuit Level       Timing Error Acceptance  for Design of Energy

                    Efficient     DCTIDCTbased       Systems IEEE Transactions on                  Circuits and Systems    for Video

                    Technology       TCSVT      vol 23 no 6 pp 961974 June 2013




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                                                                                         ANDREAS GERSTLAUER
                                                                                              Statement on Research



       My research              is       broadly           concerned               with        system level                 design              of    embedded             computer            systems               where a

       specific       focus          has        been        on      system level                     design           automation                     methodologies                technologies                     and     tools

       During        my       time        as a       PhD          student               and        research           faculty              I    did    fundamental standard setting                                  work        on

       system level             modeling                   design         languages                  and        design            methodologies                         As a professor                   I    now        lead     a
       research          group             in    the        realization                 of     automated                   design              flows         for    synthesis            of    highlevel                 system
       specifications            into       multi processor                   and            multi core          system on chip                        MPCSoC architectures                              that consist of

       heterogeneous                     hardware and software components
              A special          emphasis                  has been              on      emerging               design           challenges                  at the       boundaries           of    embedded                   and

       generalpurpose                      computing                Embedded                       systems            have             traditionally               been     the         domain       of       application

       specific      design However                         with    rising          chip           design costs and power thermal and                                            reliability      concerns driving

       competing              needs            for    flexibility        and            specialization                 I
                                                                                                                            see           traditionally     separate areas merging Future
       systems           in    both        domains               are      expected                  to    integrate             tens            to    hundreds of diverse cores on a chip

       Associated              complexity                  and      heterogeneity                        concerns               make             traditional            design          approaches                 infeasible

       Consequently                  my research                 interests              have        been        focused on novel                        concepts and techniques                              for modeling

       design and                implementation                     of        such            systems            This           is      aimed           at     reducing          design cycles  exposing
       fundamental             design            tradeoffs             performing                   novel       optimizations                        and      thus enabling         whole new classes of

       highperformance                      yet      tightly      constrained                      desktop        server                mobile and                  deeply       embedded systems                          to    be

       developed              System level                 design automation                             approaches                  can        thereby provide solutions                       that         can     aid    both

       in    automated           exploration               of the design space as well as in automatic compilation of highlevel                                                                                          parallel

       application            programming                  models onto heterogeneous system platforms of the future

            My work has impacted system level design practice and research in both academia and industry                                                                                                                               I




       am coauthor of 3 books and have published over 60 papers a majority of which have been presented in
       top ranked journals IEEEACM Transactions and high quality international IEEEACM conferences
       serving as terminal                       publication              points for the                  best        work           in    the       field    and having           acceptance                 rates        in   the

       1734 range One                                       papers was awarded as one of the best papers in the last 10 years at the
                                                      of these

       Design Automation                         and Test in Europe        conference          DATE
                                                                                       which is one of the top two conferences in
       the field         In   addition           to receiving               more than 2100                       total          citations            with      an       hindex     of 21       based on Google
       Scholar        data           I    have       presented              my work                 in   various           conference                  and      industry         tutorials        as well as more
       than       40 keynotes and                     invited       talks         in     industry         and         academia                   Furthermore tools developed                            in my group

       are    in    active      use for research                       and         teaching              at several              universities                 worldwide           My work            has also found

       adoption          in   industry           Tools have                 been         evaluated              and        licensed              by several partners such                         as Xilinx or Intel
       and        commercial              derivatives             are       in     use at the Japanese                                 Aerospace                Exploration             Agency               NEC Toshiba
       Space Systems and others
              I
                  have    a well funded and well balanced                                            research              program My funding                            totals    more than $2M with my
       share exceeding                     $13M My research                               has       been        supported                      by competitive             fundamental               research             grants

       from        the    US             National          Science               Foundation                 NSF                 competitive                   applied          research           grants           from         the

       Semiconductor                     Research           Corporation                  SRC              and         direct funding                   from         AMD Intel National Instruments
       Qualcomm and Samsung Since coming                                                       to    UT Austin              I   have            been         specifically        interested          in initiating              new
       interdisciplinary                 research           thrusts This                 has led          to     several successful                           NSF and SRC                 proposals            on        which     I




       am the        PI together                with       a team of collaborators                               in    Electrical                and       Computer            Engineering            and          Computer
       Science           My research                  program            is      also different                 from many of                         my peers in that               I    strive     to       maintain           and
       establish         tight   collaborations                    with       industry               These relationships                             have       led      to contract          and     gift     funding           as
       well       as technology transfer                        in the      form of opportunities                           for      my students or licensing of research                                      results

              Specific         projects              and    contributions                     of    my research                  lie      in    the     areas of           1 heterogeneous MPCSoC
       modeling               2 system                  compilation                 and            synthesis               and         3 design                    of    novel    energy efficient system
       components              and architectures                       In     the following                 I   describe               my contributions                   in   these areas in more detail
       All   citations        refer to the publication                           list    in    my CV

       SYSTEM MODELING

       At     the     core       of            any      automated                  design                process  are  welldefined models that                                                    provide            abstract

       representations                    of    a     design         at       various               stages      Models allow designers or tools                                                 to       reason            about

       optimization            alternatives                 to evaluate                  candidate              designs              before           they      are built        and      to   gradually             refine       a
       chosen         design             down         to    a    final      implementation                        During               my PhD                  and       post doctoral            time         I

                                                                                                                                                                                                                    originally




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       developed                    and         defined                 a comprehensive                        set    of    system                models        for    automatic             stepwise                      exploration

       validation                  and synthesis Results have                                       been       published          in       several             C2 C12 J1 J2 and three books
                                                                                                                                                          papers
       B1 B3 B7 which have been translated                                                                into   other       languages                  B2 B4 B5 and have received more than
       850 citations combined                                           I
                                                                            am first        author        on     B3 with more than 130 citations Back                                              then the focus                            in


       academia                    was         also          on     developing                  standardized               system level                  design       languages             SLDLs                  for capturing

       such          models Driving language development from methodology                                                                                and modeling              requirements                        I   continue to

       be part of the project defining the SpecC language                                                                    C7 D1 and D2 SpecC has been                                                    cited           as a major
       reference                   for the         development                       of   SystemC and these languages                                         are industry          standards                for modeling                    of

       embedded systems and systems on chip                                                            SoCs today
       Simulation                    Backplanes                             Languages              alone only              provide            a    basic       infrastructure           on       top        of     which              actual

       modeling                   and automation                            concepts need                 to   be developed                       For systems with complex dynamic                                           behavior
       simulations                   remain one of the primary mechanisms                                                    for early validation                      and virtual prototyping                               With ever

       increasing                   complexities there                              is    an    urgent         need        for fast        yet         accurate       simulators Faster simulation                                         can

       principally                 be achieved                     in       two ways            a    accelerating                the simulation          on the underlying host machine or                                                  b
       finding               better abstractions                            to     reduce simulation                 overhead               In     my research have been interested in both
                                                                                                                                                                             I




       In      collaborations                      with the                  original       SpecC          inventors             at    UC          Irvine     and      colleagues            at    UT             Austin          I    have

       investigated                     fundamental                         approaches              for    parallelization                 of      SLDL         simulation          kernels        C29 and                            cyber
       physical                   co simulation                   backplanes                   C36 C47 J12 This has resulted                                           in    general        simulator                      frameworks
       that     can achieve significant speedups on parallel and distributed hosts
                The main research focus in my group at present is on novel modeling abstractions                                                                                                   Traditional                    system
       simulators                   are        either         inaccurate                  or    slow      On     the       communication                      side      transaction level                    models               TLMs
       have          become a popular                               vehicle for abstract                       modeling           of       component             interactions           I
                                                                                                                                                                                             originally                    defined         and

       analyzed                   one         of    the        first         applications            of    TLMs            for    system               modeling         at       various     levels               of       abstraction

       C12 J2                      However                    back            then        similar     approaches for fast yet accurate simulation                                                            of        computation
       executing          on processors were lacking                                                Research in my group is aimed at filling this gap                                                   I
                                                                                                                                                                                                             was among the
       first        to identify and propose a holistic                                              approach           for fast            and         accurate        simulation           of    complete                   SoCs for
       which             I   introduced the                    term host compiled modeling                                   in   the invited                papers     C26 C27 C38
       Host Compiled Modeling                                                 In    traditional        discrete            simulators                  the granularity            and   detail          of the               simulated

       model determines                                 a fundamental                      tradeoff        between accuracy                            and    speed To overcome                         this        tradeoff               the

       idea         is       to statically              abstract              as much implementation            as possible while only simulating the dynamic
                                                                                                                                 detail


       aspects of a system that can                                                not be accurately estimated otherwise The difficulty lies in finding the right

       abstractions                      In        host compiled                        models speed                  is   achieved                by    directly       and       natively        executing                   dynamic
       application                  functionality                  on the host For accuracy                                the    code            then       needs to be further back annotated                                            with

       appropriately                     estimated                  metrics such                    as execution                 delays            Finally       code        has to be simulated                             on       top of

       very         fast          and         lightweight                  accurate simulation models of operating systems
                                                                            yet                                                       and processors                                    OSs
       which             in   turn integrate                   into    standard backplanes for co simulation of complete multiprocessor systems
                I    have           contributed                   in all of these aspects   My research in this area dates back to original papers on
       source level                     profiling             C10 C11 and                          abstract      OS modeling                       C8 The             latter      has received more than 170

       citations                  and    it    has been                     reprinted          as a significant contribution                            to the    field      in   P2 and           in       2008 as one of
       the      most              influential                papers           in    10 years         at    DATE            P3         In   continued            collaboration           with       former colleagues
       and          co advised                     students                  at    UC      Irvine      now           faculty          at    Northeastern                University               we extended                          these

       approaches                       to create                 one of the               first    highlevel              models             of       complete        processors            C17 J6                         Within         this


       context                I   and         my    students                 at     UT Austin          were also the                  first       to    introduce       the idea of host compiled                                     cache

       modeling                   C24 C48 which has just recently begun                                                     to    spawn similar research by others
                At           UT Austin              I       have    worked with                    my students on expanding                               the   scope         accuracy and speed of host
       compiled                   models With my                              MSPhD                  students          Suhas Chakravarty                         and         Zhuoran Zhao   have built an     I




       infrastructure                    for optimized                        estimation            and back annotation                           of timing      and energy             metrics              such that close
       to      source level                    simulation                    speeds of 1500MIPS at more than                                            99 accuracy can be achieved C52                                                      In


       projects               funded            by          SRC and                in    collaboration           with partners                    at    Freescale         and      Texas         Instruments we are
       currently               extending models towards capturing a full range of performance      energy reliability power and
       thermal                metrics as well as techniques for automatic calibration against existing lowlevel descriptions
                With              recent        trends             towards               increasing            use of multicore                        and    multi processor               platforms                      even       in   the

       embedded                     space               I    have           worked with             my PhD                 student          Parisa           Razaghi on            extending                existing           OS and
       processor                   models to capture realtime effects on such                                                     platforms              C31 With a lack of analytical models                                                in

       this     domain there                            is   a need               for fast      and accurate               simulators                  Moreover         we have been                able to                  show that
       even          in           slow        finegrained                        simulations              errors      can        potentially              become unbounded                         This             is       a serious




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       concern             in    realtime              system                evaluation                   The         corresponding                        analysis              was        published                  in       J8 which             was
       among the top 5 downloaded IEEE Embedded System Letters papers in April August and November
       2012 We subsequently proposed a solution in which the OS model dynamically and adaptively controls
       the granularity                   of the simulation                       to       completely                 avoid       such           errors          037 With                   this          full
                                                                                                                                                                                                                 system           simulations           at

       the    speed             of a       coarse grain model but with finegrain accuracy                                                                           are       possible We are currently                                  extending

       this   approach                 to    incorporate                   interactions                   with        other          components                     and shared caches                                equally        managed by
       the    OS model Parisa                           is   expected                     to   defend her dissertation on                                      this    work in            Fall        2013


       SYSTEM SYNTHESIS AND COMPILATION

       Welldefined                   models are the                          basis             for    subsequent                     automation                 of the          design               process               This includes              fast

       and    accurate                 models           for       feedback                     and       evaluation              as       well        as       formal           models               for    specification               of desired

       behavior                 In     collaborations                        with              research              groups               at        the        Universities                 of        Amsterdam                    and       Leiden
       Netherlands                   and the University                          of       Erlangen Nuremberg                                    Germany                   I    identified             necessary ingredients                           and
       models          for           system            design                A    resulting                    novel        taxonomy                  for           classification                   of     system level                 synthesis

       approaches                    was      published                 in
                                                                                 J5 which                       has       already              received              more            than       50         citations             since      2010        In


       general             synthesis               and        exploration                       are       iterative             processes                  of       making             design              decisions               generating            a

       refined         model that                  reflects            those              decisions                  and        evaluating                this       model           to    determine                   design          quality        and

       subsequently                    refine          decisions                 under               a    set        of    optimization                    criteria            and        constraints                      Building         on       host

       compiled models for evaluation                                                 I    have           been        researching                    solutions                 for   automating                      the        decision     making
       and model refinement processes                                                          This       is    aimed           at       establishing                 a        complete               system               compiler         that      can

       automatically                  and optimally                    map parallel                      application                 models onto heterogeneous                                            MPCSoC platforms
       Model       Generation                      Traditionally system                                  models are manually written which                                                     is    a    tedious error prone and
       timeconsuming process To supersede the                                                                        need        for      dealing              with           coding       details               I
                                                                                                                                                                                                                     originally         developed

       concepts and tools for automatic generation                                                                   of    models given a set of design decisions in my PhD and

       postdoc           C13 C15 J2 Such tools have
                           work                                                                                           been integrated under a common graphical user interface
       in   the   System On Chip Design Environment SCE J4                                                                                      I
                                                                                                                                                     was one                  of the      major contributors                           and       project

       lead    for     implementation                        of the          SCE tool set and                             its   commercial                     derivative              C21 SCE                        is   aimed       at   realizing

       a    user driven                  interactive               and        automated                        system compiler                        In       ongoing collaborations                                  with       UC    Irvine        and
       Northeastern                   University              many of my research                                     results            continue              to   flow        into    the      development                      of   SCE
              A specific               emphasis                   in
                                                                       my        research                 has        been        on support                    for    backend               synthesis                  of actual            hardware
       and        software                  implementations                                A         key            concern              is     the        translation                    of         highlevel                   inter processor


       communication                        into       optimized                 hardwaresoftware                                    implementations                           that       realize               necessary              interactions

       across          a        complex            MPCSoC                    platform                    On         the     software                 side           automatically                     generated                   target specific

       application               code         and        device               drivers                are        integrated                into       an        off the shelf                or           custom generated                        OS     to


       synthesize                final      binary           executables                       for       each
                                                                                                         processor                             019 020 025                                On         the        hardware           side      custom

       C18 J3               or       off   the shelf synthesis                                 tools are combined                              with       automatic                  generation                  of    area and latency
       optimized                bus        interfaces              042 Combined                                     this    establishes                    a    complete               flow           for       compilation             of generic

       parallel        programming                     models down                             to    heterogeneous                       hardwaresoftware                              platforms

       Mapping              and Scheduling To realize a complete synthesis                                                                            solution a                 system compiler can                               be integrated
       with    algorithms                   for    automated                  decision                   making            and design                     space        exploration                    DSE                  In   case of system

       synthesis                this       includes decisions                             about optimized                        partitioning               and scheduling                            of        parallel         applications          on

       heterogeneous                        MPCSoC                     architectures                           In    J5          I       and         my        collaborators            surveyed  the system level
       synthesis                landscape               using              the        taxonomy                      we     derived                  Based            on        insights from this study we    have

       developed                 some             of   the         first      complete                    synthesis                  solutions             by        coupling              existing           DSE tools from my
       collaborators                 with     the       model generation                                 and        implementation                    synthesis                 backend               in    SCE C28 J7
              Leveraging                    fast       and        accurate                 hostcompiled                         simulation                models within generic                                      optimization            engines

       such       as        genetic           algorithms enables                                      rapid          exploration                     By contrast in restricted application domains
       such       as       image            video        or signal                processing                         simulations                    can be completely replaced by static analysis

       However                  inherently              intractable                   complexity                     of    corresponding                        optimization                    problems                    limits      achievable

       results         In       collaborations                with           National                Instruments                 NI and students of my colleague                                                      Brian       Evans          I   have

       developed                 novel            heuristics               that           combine                   genetic              optimizers                 with        integer               linear          programming                    ILP
       formulations                   to     jointly          optimize                     throughput                     and        latency              while               considering                   both      computation  and
       communication                        C32 J10                     By       applying                  a        two stage                 approach                we         are      able             to    achieve  near optimal
       results       in     low        runtime               In    continued                    collaboration                   with          NI     and        my students                      I    am         currently          investigating

       further     improved heuristics                                 for   heterogeneous                            mapping                  partitioning                   and scheduling




                                                                                                                                     3




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       ENERGY EFFICIENT SYSTEMS

       Energy         efficiency                  is    arguably              one    primary concerns
                                                                                          of   the      in both  embedded and general purpose
       computing             Beyond power aware                            modeling and  synthesis   have  since coming to UT Austin established
                                                                                                                                   I




       new     research            initiatives                   and collaborations to investigate hardwaresoftware  foundations for the design of

       highly    energy efficient computer                                         systems Fundamentally                           energy efficiency can                    be achieved                 in       two ways

       a     reducing             the        amount of overhead                               per   computation              or   b         reducing       the    amount          of         computation              itself       I




       am PI on NSF funded collaborative                                                 projects that           have contributed                  in   both    aspects

       AlgorithmArchitecture                                      CoDesign                    of Domain Specific                        Processors With                  semiconductor                         technology
       scaling reaching                      physical             limits       it   is
                                                                                          predicted that           power and cooling concerns                             will         limit    the active            area of
       a chip     to only           around                  1050              at    any given            time    dark        silicon          At the       same time              it     is    well accepted                 that

       reducing overhead through                                        specialization              can        achieve order of magnitude gains                              in    both         performance                  and

       power consumption                                As such future                     chips      can       and    must have              specialized             cores that are turned on                               only

       when needed                  However                      full   custom design                     is   also   becoming               prohibitively        expensive                   The key questions
       are therefore               what            is   the       right       mix of cores and what are the tradeoffs between                                             specialization                       achievable

       efficiency     and enough flexibility to implement a broad class of operations

              In collaboration with domain experts in the Computer Science Department                                                                                     at     UT Austin                 I
                                                                                                                                                                                                                am aiming
       to   answer these questions                                      for   the    domain              of    dense    linear          algebra         applications           which are an                       important

       class     of     kernels              both           in    highperformance and                            embedded               computing    By co designing algorithms and
       architectures              for a dedicated                         Linear          Algebra Processor                   LAP            we have shown that   should be possible    it




       to    achieve          orders               of        magnitude                   better      efficiencies            compared               to    current       architectures                  C33 J9 A
       prototypical           LAP            in   45nm            is
                                                                        expected              to maintain         600 GFLOPS                  in   less than          25W      with          enough            flexibility     to

       support the full       range                     of basic linear algebra subroutines                                       BLAS C40 C41 We have also demonstrated
       that with        minimal modifications                                  of the architecture                    the    LAP can             support        many      other              operations such                  as
       matrix factorizations                           C46 or Fast Fourier Transforms FFTs with similar efficiencies C49
             For      his     work    on developing the LAP the co advised student on the project Ardavan                                                                                              Pedram has
       received         the       IEEE Computer Society Technical Committee on Parallel Processing                                                                                       TCPP Best Poster
       Award       at       the    PhD forum of the 2013 IEEE International                                                            Parallel           Distributed          Processing                  Symposium
       IPDPS                He     is       graduating                  in    Summer 2013 and                         will    continue             on    the     project       as        a postdoc                   We      are

       currently        investigating                       collaborations                with      companies            such          as AMD and               IBM and          other universities                      such

       as Stanford University                               and the University of Wisconsin Madison on integrating the LAP into other systems

       as well as LAP implementation and prototyping   Furthermore                                 in newly established  projects with another

       student    have  started
                        I       to apply such  algorithmarchitecture                                                                             co design            concepts                 to    applications              in


       computational                        biology              where              we        are    designing           lowcost                 yet     highperformance                            processors               and

       associated            compilers for accelerated                                    stochastic            simulation         of biochemical                reaction        networks             C50
       Approximate                  Computing                           Maintaining             the      notion       that    a computer                 always       produces                 a perfect             result    is

       often     unnecessarily                         expensive               Towards              the goal       of   energy savings through reduced ie approximated
       computations                     I

                                             am together with                             my colleague                Michael Orshansky investigating techniques for the

       design      of       hardware                   in    application             domains such                 as    digital         signal      processing            where               inherent           notions of

       signal    quality           allow               for    small           reductions            in    output      quality          to   be     traded       off   for significant                 energy gains
       There have             been            a range of approaches to exploit this inherent error tolerance    Recognizing that at the
       circuit     level          traditional        worst case operation     is suboptimal from an energy point of view      we have
       developed             novel           strategies for controlled acceptance   of timing errors under aggressively reduced supply

       voltages             Naïve           voltage           overscaling                in    unmodified         circuits        leads to immediate                   and large errors By instead

       exploiting algorithm hardware                                          and input characteristics                       to       minimize error probability and magnitude and

       by applying               novel            low energy                  post processing                   techniques              we have           been        able to          show         that        up to     50
       energy savings                       are possible                 while           maintaining            a good output quality                      in   typical     image video                         and audio

       processing            kernels such                        as IDCTs                 C30 J11 and digital filters C45
          Voltage overscaling can have issues with circuit stability and verification An alternative is to directly
       modify the Boolean logic of a circuit in order to produce an approximated output at reduced complexity
       and hence energy In                                   C44
                                     we have systematically investigated quality energy optimal structures for
       basic arithmetic                     building             blocks        such           as adders and multipliers                       In   contrast to existing                      ad hoc designs                   we
       have      shown            the        existence                  of    a whole           family of         Paretooptimal designs                          across        the            energy           and    quality

       space       We            are         currently              generalizing                this          approach       to        develop          algorithms          for         synthesis               of   general

       approximate                circuits             under arbitrary error magnitude and frequency                                                    constraints       C54 The longterm goal
       is   to integrate quality energy optimizations                                                into      general       hardware synthesis flows                          algorithms              and tools




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       REFERENCES

       All   references     to publications       are   indexed on        the    resume where Jxx is used to indicate                   journal      articles

       Cxx conference             papers     Pxx book     chapters         and Bxx books

       List of five     most significant          publications       while       in   rank

         J5         A Gerstlauer C Haubelt                A D Pimentel T P Stefanov                         D D Gajski J Teich                Electronic

                    System Level         Synthesis Methodologies   IEEE Transactions on Computer Aided Design                                                of

                    Integrated     Circuits and Systems          TCAD
                                                                vol 28 no 10 pp 15171530 October 2009

             J6     G Schirner A Gerstlauer R D6mer Fast and Accurate Processor Models for                                             Efficient     MPSoC
                    Design ACM           Transactions     on Design Automation                 of Electronic    Systems       TODAES vol 15 no
                    2 article no 10 pp 126 February 2010
             J8     P Razaghi A Gerstlauer Predictive                          OS   Modeling for Host Compiled                Simulation     of      Periodic

                    Real Time Task          Sets IEEE Embedded                  System Letters vol       4
                                                                                                      no 1 pp                 58 March     2012

         J9        A Pedram R A van de Geijn A Gerstlauer Codesign Tradeoffs for High Performance                                                        Low
                    Power    Linear     Algebra    Architectures           IEEE       Transactions     on    Computers        TC       special       issue   on

                    Energy      Efficient   Computing vol 61 no 12 pp 17241736                          December 2012

         J11        K He A Gerstlauer M Orshansky CircuitLevel Timing Error Acceptance                                          for   Design of Energy
                    Efficient    DCTIDCTbased             Systems IEEE                 Transactions     on     Circuits   and Systems            for    Video

                    Technology       TCSVT vol 23 no 6 pp 961974 June 2013

       SUMMARY OF RESEARCH OUTPUT

       Publications         published and accepted

        Publication      Type                                        In    Rank                                                Total


        Journal      Articles                                              9                                                     12

        Conference        Papers                                           32                                                    54

        Corresponding           Author                           4   3 invited                                            9   4 invited
        Technical      Reports                                             7                                                     40

        Book Chapters                                                      2                                                     5

        Books                                                              1                                                     3

        Citations                                                         1085                                                 2108

        hIndex                                                             17                                                    21

             Per Google Scholar     7142013

       Research        Funding Raised

                                                                     In    Rank                                                Career


        Funding Type                                     Total                        My Share                   Total                   My Share
        Contracts      and Grants                       $198M                         $123M                     $337M                     $193M
        Gifts                                           $019M                         $015M                     $019M                     $015M
        Total                                           $217M                         $139M                     $356M                     $208M

       Research        Funding Received

                                                                     In    Rank                                                Career


        Funding Type                                     Total                         As PI                     Total                     As PI

        Contracts      and Grants                          9                             7                         10                         7

        Gifts                                              4                             3                         4                             3


        Total                                             13                             10                        14                        10




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       Grants and Contracts Awarded            while   in    Rank

               Co                                                                  Project   Candidate          Grant
                                          Title                         Agency
        Investigators                                                               Total      Share            Period


                         Core Technology        Development         Samsung       $149020    $149020        612013
                         for   System Simulation including          Korea                                  12312013
                         Network

                         Automated      Design Space                National       $60000     $60000        812012
                         Exploration    and Optimization of         Instruments                             7312013
                         DSP Systems
       Robert Heath      Interference    Alignment in               Army ARO       $99980     $49990        912012
       PI FOE            Distributed    Environments                                                        8312013

       Lizy John         Multi   dimensional Modeling               SRC           $345000    $173000        812012
       Co PI FOE         Design and     Exploration     of                                                  7312015
                         Heterogeneous      Multicore        SoCs

       Robert Heath      Interference    Alignment     in           DARPA          $99344     $49672        912011
       PI FOE            Distributed    Environments                                                        8312012
                         Towards     Enabling     Full Cell         UT Austin      $20000                   712011
                         Biochemical     Network                    SRA                                     8312011
                         Simulations


       Robert van   de   SHF Small                                  NSF           $499919    $249959        612012
       Geijn   Co PI     AlgorithmArchitecture         Co                                                   5312015
       CS                Design of Low Power and High
                         Performance Linear Algebra

                         Compute     Fabrics

       Michael           SHF Small Formal Synthesis of              NSF           $449614    $224807        912010
       Orshansky         Low Energy      Signal    Processing                                               8312013
       Co PI FOE         Systems Relying on Controlled
                         Timing Error Acceptance

                         Automatic     Platform    Model            SRC           $254337    $254337        812010
                         Calibration    and Tuning                                                          7312013

                                                                                  $1977214   $1230785




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          Budget Council Assessment on Academic Advising Counseling
                     and other Student                            Services             for         Dr Andreas Gerstlauer

         This statement on the academic                       advising         counseling              and other      student     services        for Assistant

         Professor          Andreas        Gerstlauer was prepared                     by        Professor David             Z Pan       on behalf of the

          Budget          Council The statement              was prepared following                      a review       of his annual reports and an

          indepth         knowledge            of ECE departmental             activities




         Academic Advising and Counseling


         Dr     Gerstlauer has             actively      mentored        and advised undergraduate                          students    from       freshmen       to

         senior      levels       He teaches           a freshmen level         class       EE319              and encourages           them       to    be part of

         the   broader teaching                and research community from the beginning of their college                                          life     Several

         students          of his EE319           later    became undergraduate                        teaching       assistants      for    EE319 He            has

         represented          the Integrated            Circuits   and Systems              ICS area twice and given talks at the Tech
         Core        Night     which       is    organized       by the    HKN honor society to help sophomorejuniorlevel
         students          pick        their    tech     areas     and    courses                He     also    presented         his       research        to   the


         undergraduate             Research         Seminar series          EE155R                 and joined         the    informal       HKN          fireside

         chats       to    provide       general        student    counseling             He       has    mentored          two      senior       design     teams

         comprised of five                 students       each     EE464             He     has        also    served    as    the    Faculty Advisor             to

         several
                      upper division undergraduate                     students        in    Computer Engineering                    CE      and Embedded

          Systems tracks



         He actively          participates         in   graduate    student          admission            recruitment          and retention             activities

         He     is   active       in    graduate       admissions in        three         academic            areas     Computer Architecture                    and

         Embedded             Processor          CAEP CE                 and    ICS          Altogether           these       areas     attract         about    one

         thousand          applicants          each year Thus the workload for reviewing their files arranging the                                               site


                                                             and so                                    a typical year he
         visits      phoneSkype interviews                               on     is   huge         In
                                                                                                                                   may review             over   150

         students          application          packages      As   the    ICS graduate                 admission coordinator                  I   have      worked
         with    Dr Gerstlauer since he joined UT                           and he          is    always       a very reliable committee                   member
         who I can trust for the timeliness and quality of the tasks assigned to him


         He     is   also     a coorganizer              of the    active       ICS seminar series                     encouraging           and        facilitating

         student          participation         in interactions     with       a steady           stream of visitors which                   helps        to enrich

         graduate          students experiences             at   ICS


         Dr Gerstlauer has a consistent                      record with         all   levels         of undergraduate            and graduate            students

         His     careful       advising          has    resulted    in    high       quality          students        student     leaders         projects       and

         publications




         Individual            Student           Supervision


         Dr     Gerstlauer was the                 PhD     co supervisor             of following             three    students       who     have        obtained

         their   PhD degrees




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                   Ahmed Abdel Hadi co supervised by Prof                             Sriram Vishwanath                   PhD    in    December
                   2011 Currently a postdoc               researcher at          Virginia Tech

                   Ku He co supervised by Prof                     Michael       Orshansky PhD                 in   May 2012         Currently a

                   Digital      Design     Engineer at Cirrus Logic

                   Ardavan           Pedram    co supervised by            Prof     Robert          van   de   Geijn at      UTCS PhD in
                   August 2013 Currently a postdoc                   researcher          at   UT Austin

         In    addition    Dr        Gerstlauer has    supervised      three       MS         theses      and five    MS      reports     He   has

         served     on    the        PhD   dissertation      committees          of      10    students        and    the    PhD       qualifying

         examination committees of 22 students which                        is   quite    above average for his duration at                 UT

         Currently        he    is   supervising     or co supervising            a group           of seven        PhD     students    and two

         MSPhD       students         Three    PhD    students     have    advanced            to   candidacy        and two       of them     are

         expected    to    defend      their   PhD   theses   in    Fall   2013       including           Parisa    Razaghi     to    whom Dr
         Gerstlauer is the sole supervisor



         In    summary in the areas of academic                     advising counseling                   and other student             services

          Dr    Gerstlauers           performance       has   been     excellent              and     he has        consistently        met our

         departments expectations                  for his   rank



          Summary prepared by Budget Council Member Professor                                        David     Z Pan




         David    Z Pan
         Professor

         Department        of Electrical and Computer Engineering




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                                                                                                                ANDREAS GERSTLAUER
                                                                                                     Statement on Academic                                              Advising


       Next        to       classroom                       teaching                  and           individual                supervision                     on        research                 or other           projects                      I

                                                                                                                                                                                                                                                       enjoy           advising
       students              at    both           the        undergraduate                            and           graduate                  level       in       the      broader view of my field                                             In    addition                to        the

       students              in    my own                    research                     group            I    have          advised many graduate students in the context of Research
       Problems courses                                 I
                                                             regularly                    participate               in       undergraduate and graduate advising and recruiting events                                                                                                         I




       serve as faculty mentor for many students in our undergraduate embedded systems track and       generally                                                                                                                                                 I




       aim to provide broad guidance to students     interact with through my regular teaching activities In all               I




       cases            I   strive       to       strike           a   balance                  between moderating an environment                                                                    in    which    students                     can mentor each
       other       and giving out specific advice                                                    that          is   tailored              to   the    individual                   needs and                  style               of each          student


       UNDERGRADUATE                                         ADVISING

       At the       undergraduate                             level              I
                                                                                     have           actively participated                                in    advising students                             both        generally                     within          my area
       as    well           as     in   personal                   interactions                       with          individuals                    or student                 groups Thus far                             I           have        represented                            the

       Integrated                 Circuits              and            Systems                  ICS area                       in    the          Tech        Core Night organized                                  by the                     ECE Departments
       Eta    Kappa                Nu HKN honor                                      society          twice              In    this       event           lower division                         students           get               exposed and oriented
       on the           different                technical                  areas offered as tracks
                                                                                            specialization       undergraduate curriculum This
                                                                                                                                          for                                              in   our

       includes              presentations                     by representatives from each area on course selections and career opportunities
       which        are           followed                  by discussion and detailed question      answer sessions In addition to these more

       organized                  events            I       have            also participated                             in        HKNs            socalled                  fireside                    chats     in   which                  students                can              ask

       questions   and discuss any topic of their choice in a more informal setting Finally  have also presented                                                                                                                      I




       my work   in the undergraduate  Research    Seminar   series EE1 55R   which  the ECE Department  offers to

       upper division students interested in further specialization and eventual graduate careers
              In    general                  I

                                                 encourage                       all      interested                    undergraduate                     students                    to    become an active                                   part of the              broader

       teaching                  and         research                       community                           Several                  of       the     students                     who                took     my             freshmen                  class               have

       subsequently                     served as undergraduate                                                    teaching               assistants                    for      the       same class Furthermore students                                                                 in



       my     classes               have           regularly                    approached                         me to            ask           for   advice              on selection                    of    courses choice                             of        major or

       general               career              goals                 such               as    plans               and            reasons               for       joining             graduate                   school                   I    often        incorporate

       corresponding                     discussions                            into        my undergraduate                                      lectures              Especially                    at    the    Freshmen                       level          I
                                                                                                                                                                                                                                                                      see           it    as

       important                  to    expose                 students                        early           on       to         the     various                 opportunities                          and      options                     available              to       them
       stressing                 the    importance                          of obtaining                       a    graduate                  degree especially                                 in    such        complex                      fields       as        computer
       engineering                     or very              largescale integrated circuits

              Apart              from            my interactions                           with        individual                    students             through                    lower division                 teaching                      activities               I    have
       also    served                   as        the        official                Faculty              Advisor                   for    several             upper division                              undergraduate                              students                 in        the

       computer engineering                                    and embedded systems tracks After choosing                                                                                       their       technical                     core every student                              in


       the    ECE Department                                  is       assigned                 a faculty advisor                             in    his   or her              area As a mentor                                    I       meet with          students                     to

       discuss              aforementioned                             issues selection                                 of courses                  electives                 and technical                      cores                in   alignment with long
       term career goals of joining industry or graduate school                                                                                               In    the          ECE Department                               I       also       served as faculty
       mentor               for    two           senior            design                 teams                with      five        students                 each               Apart           from        interfacing                       with     students                         and
       industrial                sponsors on the technical                                            and management                                    aspects                  I
                                                                                                                                                                                     use these project settings                                        to    be        similarly

       available                 for    students                   and          to        provide               advice              on        a    wider       range of issues that are especially                                                                   critical            for

       seniors              in their         last       year           in       college             before entering                           the       real   world

              My interactions                               with       students                 in    undergraduate                               events            seminars classes or projects regularly lead                                                                           to

       students expressing                                   interest                in    participating                     in     research              While students                              in
                                                                                                                                                                                                           my Freshmen                           classes are                    often

       too early                 in their         careers               to       be able             to        do meaningful work                                   I   strive         to       maintain           contact                     with    such            students

       throughout                  their         time         at       UT            in    order       to          keep            them interested                          in       and        aware of career opportunities                                             in my


       group            or        elsewhere                        Nevertheless                                on       some              occasions                     I     have              had         promising                      Freshmen                     become
       undergraduate  research assistants For example after taking my class in Spring 2012     Kevin Gilbert

       joined my group for the summer of 2012 and he is now secretary for the IEEE Robotics and Automation
       Society at UT as well as a research assistant in another robotics group Both he and Emily Ledbetter
       another               of    the           students                   I    had           in     my class have become active in various IEEE groups and have
       subsequently                     served as undergraduate                                          TAs for the Freshmen class they previously took with me They
       both        enjoyed               their              experiences                         a    lot        and
                                                                                                        motivated to pursue research and
                                                                                                                             are          teaching  careers In

       addition              I    have           had several seniors                                  one of my graduate classes and
                                                                                                       enroll             in           have actively supported                                                       I




       graduate school applications                                                  for those and other students such as members of my senior design teams




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       Statement on Academic Advising                                                                                                                                                                   Revised September                                                  26 2013



       GRADUATE ADVISING

       At the          graduate               level            I
                                                                    participate                  in    all       areas of advising throughout                                              a    students                          time            at         UT            including

       recruitment                       retention                 supervision                        career                placement                   and           general              advancement                                    of             personal                         and

       professional                  skills         beyond just the                             degree               At the transition                      from undergraduate                                           to       graduate school                                     I    am
       an active                member              of the               Graduate Admission                                     Committees                   of both             the       Computer             EngineeringComputer
       Architecture                   and       Embedded                          Processors                         CECAEP                          and     the       Integrated                       Circuits  and Systems ICS

       tracks          In       this       capacity                 I     review more than                                 150           applications             a    year and                     I   interface                      with             prospective                         or

       admitted             students            via       email or                phone               to    help           interview             and       recruit      them               In       addition                      for    the             last         four years

       I    have       served              as the             organizer                of the              site       visit         for     prospective                graduate                     students                      in    the             ICS track                         We
       invite         admitted             students                who          are        already              in    the       US        for    a   twoday            visit          in   which                    we put              together                      a    program
       of talks            poster          sessions                     and      individual  meetings to convince     the most promising candidates                                                                                                                   to    join          UT
       As the          coorganizer                        I
                                                                   am the             main point of contact for visiting  students in the ICS track                                                                                                               I        also           give

       overview             presentations                   arrange meetings with our students and faculty and participate in various group
       and      social           events             to    more closely interact with students Site visits are always very successful and we

       generally            receive             very positive                     feedback                   from visitors who                          leave         with       a strong impression                                              about                UT
           Being part of the admissions process allows me to actively recruit students at an early stage for my
       own group Incoming students and students taking my introductory graduate classes during their first year
       at    UT       are       the       two       main channels through                                            which           I   recruit       new members At UT Austin                                                           I       have                advised or
       co advised                 16 fulltime                      graduate                 students                  so far              For        one     of    these               Ahmed Abdel Hadi                                                  I    became co
       supervisor                after        he         had            already            started               to    work              with        Prof Vishwanath                                All             other          students                       have            been
       recruited            upon           joining            UT          or shortly thereafter                                 Out of these 16 Ahmed and                                                   2        other             co advised students
       have       graduated                 with         a         PhD and                  are       now             in   post doctoral                    or research oriented                                         positions                      in    academia or

       industry             Furthermore 4 students who                                                 graduated with                            MS degrees have joined large companies such as
       Intel    or National                 Instruments                         The         remaining                  9 students                    are    currently             still        here                 at   UT        I    have                 also recruited

       a    new student                    Sabine Francis                             to    join       my group                     in    the     Fall       Sabine decided                             to join                   UT     rather than                         accept
       an    offer         for       a     Deans              Fellowship                    from           Carnegie                      Mellon        University                CMU                    In           addition                 to        these               fulltime

       students             I    have       advised 3 parttime students from our professional masters program to the completion of
       their    MS degrees Furthermore                       in 20092010   hosted a visiting PhD student as part of a collaboration
                                                                                                                                I




       between              the          ECE         Departments                           at      UT           and        at       Monterrey               Tech        in        Mexico                        I
                                                                                                                                                                                                                     subsequently                                 became an
       external co supervisor                                 on her thesis Martha successfully                                                        defended              in       May 2011                           and has by now taken                                              on

       a prestigious                     position as Director                              of a research                     program at another university in Monterrey
          In  my group      follow an advising style
                                                I                                                                          that combines discussions among the group with                                                                                                  personal

       meetings with individual students or smaller groups                                                                                  I   hold       irregular         group meetings usually                                                          in   the context

       of    dry runs                for    student                 conference                     paper presentations                                     These           group               meetings                           are     meant                       to    expose
       students             to       other      work               going         on        in    the        group as well as allowing them                                                     to       update                    others with                          their              own
       progress             in   general             terms Due                        to    the diverse
                                                                            my group also hold weekly meetings             nature of research                         in                                        I




       with each student or with each  group  of students working  on the same  project These meetings allow me

       to discuss research in detail adjusting the general direction  if needed and giving specific advice that is
       tuned          to    the          needs and                      working            style           of    each               student            The    goal         is         to   find             an           approach                       whether                   more
       handson                  or   letting         students                   work            relatively             autonomously                         that recognizes                             that             each           student                       is    different

       and      that        brings            out        the            best     in        each            Crucially                     advising          styles          may have                         to           be       adjusted                    as           students

       mature and grow Typically new incoming students will require closer involvement while  expect students                                                                                                                                 I




       that have passed or that want to pass their candidacy exam to be able to work independently

               Part of the                 process of fostering student                                                growth              is   to     also advise students                                         on soft and communication
       skills         such        as time management                                        and        effective                    writing          speaking           and            presenting                             I
                                                                                                                                                                                                                                  closely                work               with           my
       students             to    continuously                          improve these aspects                                            Especially          in    engineering                          I           also          deem             it    important                        that

       students             understand                        the             connection                   between                   their        work        and          real world                           problems                          and             practices                      I




       therefore            actively                help           them          to    find           internship                    opportunities                  For       example                            with          the        exception                          of    work
       restrictions              on        Iranian            students                 all
                                                                                                my students                         are         on internships                   at    companies                              like      Intel                Broadcom                       or

       National             Instruments                  this            summer                 Internships                  or industry sponsored                                    research                       projects             also often                         lead           to


       job     opportunities                    for       students                    after        their             graduation                   In    general              I
                                                                                                                                                                                  try          to       leverage                       my           contacts                     within

       industry            to    help         place                students                of    mine who                    are          interested           in      such            careers This                                    specifically                         includes

       aligning            such           students                 with         projects              done             in       collaboration                with       companies                                   For           students                   interested                     in

       academic                 careers              I

                                                         try       to         exploit        all
                                                                                                      opportunities                       to     introduce            them            to   other                    leading             researchers                              in        the

       field      I
                      generally             support                     all
                                                                               my students                      in    attending top                    conferences                     which                I       consider              essential                         not only

       from a networking                            perspective                   but also                 to    expose them                      to   the    latest         developments                                  in      the        area




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       Statement on Academic Advising                                                                                                              Revised September               26 2013



               In   addition           to    students          in     my own         group     I
                                                                                                   help      to   advise       other students          by serving    on        their   MS or
       PhD committees by collaborating                                         with students           supervised          by other faculty            and by mentoring incoming

       graduate            students               that   come          to     my    office   but       do   not    have        a   dedicated      supervisor       yet     I    also   aim   to


       generally           contribute             to   a successful            research culture              in   the   department         and    in   my area For example over
       several           semesters            I

                                                   organized            the   seminar series of the                    Integrated      Circuits    and       Systems Group             ICSG
       and     I    continue          to    regularly          invite       speakers     on a range of topics to give seminar talks here at UT Some of
       the         most     exciting               opportunities              for    future  advances    often  lie at the  intersection of traditionally

       disconnected                   areas As with my own                          students       I   therefore        view being exposed              to   a   broad range of ideas
       rather        than    just           ones       own      narrow         research        topic        to    be    instrumental       in    the   personal      and       professional

       growth        of future generations                       of leaders



       SUMMARY OF ACADEMIC                                        ADVISING


       Student Supervision


        Student Type                                                                 In   Rank As Sole Advisor                                     Total     As Sole Advisor
        Student Organizations                            Advised                     2    HKN Tech Area Nights
        Undergraduates                      Supervised                                                  1   1
        Senior           Design Teams Mentored                                                          2   2
        PhD Graduated                                                                                  150                                                       250
        PhD In Candidacy                                                                                21
        PhD In Progress                                                                                 4   4
        MS Graduated                                                                                   757                                                       757
        MS          In
             Progress                                                                                   22
             Counted as      1   if   sole advisor        05     if   co advised




       Completed Graduate                              Students under My Supervision                                   at UT   Austin


       Student                                                        Co Supervisor                         Degree                 Start          Thesis              Placement

       Ardavan Pedram                                    Robert van            de Geijn      CS              PhD               092007            082013               UT Austin

       Ku He                                                   Michael        Orshansky                      PhD               092007            052012              Cirrus       Logic

       Ahmed Abdel Hadi                                        Sriram         Vishwanath                     PhD               092008            102011             Virginia       Tech
       Jin    Miao                                             Michael        Orshansky                          MS            092010            122012               UT        Austint


       Ashmita Sinha                                                                                             MS            092010            082012                        Intel


       Manan             Kathuria                                                                                MS            012009            052012                        Intel


       Arindam Goswami                                                                                           MS            092009            082011            Natl Instruments

       Pablo        S Bomfim                                                                                     MS            092008            052010           Startup Paraguay

            Post doctoral researcher                     PhD    student




       A complete            list      of supervised                  students        students         in   progress and service on                    MS and PhD committees
       is    provided        in the         Teaching Statement




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                 Budget Council Assessment on Service                                 to the University           and    to the

                  Nation State and Community for Promotion Candidate Andreas
                                                                 Gerstlauer



           This statement        on service to the University the Nation State and Community by
           Professor Gerstlauer was prepared                     by Electrical and Computer                 Engineering    Budget
           Council      member Jeffrey Andrews


           Prof Gerstlauer has provided                 a great deal of service and leadership to his research

           community and the University                  of Texas especially            for someone at his        career stage

           I   will   now summarize these contributions and their importance


           Professional Service and Leadership



           Prof Gerstlauer         has served      in   many visible and important research roles in his time
           as an Assistant       Professor at UT Austin                 In   particular     he has held leadership

           positions at three prestigious               conferences          in his field    These include


                  1    Chairing for the past two years the Electronic                       Design Automation 1          EDA1
                       Track subcommittee          at   the top tier         Design Automation             Conference    This is the

                       premier conference          in his   research area and             EDA1 is the core        track on

                       System Level Design               Codesign
                 2     Chairing the Architecture             and Implementation               Area at the 2013 Asilomar

                       Conference on Signals Systems and Computers This is a very high quality

                       workshop     near Monterey           CA with a rich history across many research areas
                 3     Chairing the    HardwareSoftware                      Co Design Track          at   the 2009 and 2010

                       International Conference             on HardwareSoftware Co Design and System

                       Synthesis   CODES+1SSS which                 is   the top conference            in his core   research

                       area


           Prof Gerstlauer has also participated                   in   many other roles at many other
           conferences        both international as well as those hosted by               UT Austin that bring
           distinction     and   visibility   to   what     is   happening       at   our university         These are detailed

           in his Service      Statement and        CV


           Although      conferences      are the main top tier publication                   venue        in Andreass    research

           area of embedded systems and design automation he also has found time to serve

           as an Associate Editor for the ACM Transactions                            on Embedded Computing Systems
           As expected        for an   ACM Transactions            this is     one of the premier journals on
           Embedded Computing He is also one of the select few who is an Associate Editor
           for the Design Automation for Embedded Systems journal




           Combining both his conference                 and journal duties            results   in   an unusually large

           quantity of top tier        service positions          for a      junior faculty member and bodes               well for




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           Andreass future during which we expect                             to see   him assume increasingly         important

           IEEE and             ACM leadership       positions



           Service to the Department                 College and University



           Prof Gerstlauer has also been an excellent citizen in the department contributing

           generously            across   multiple research and academic                 areas         For example he serves on

           the admissions committees of both the Computer                               EngineeringComputer
           Architecture            and Embedded Processors CECAEP track and the Integrated                                Circuits

           and Systems ICS track                  This   is   very timeconsuming and important work that does

           not show up on ones               CV

           He is similarly involved             in   research units including                both   CERC and WNCG        As the
           WNCG Director             from 20082012            I   can particularly speak to his involvement               with

           WNCG      approached him to join as several of our industrial affiliates were
                        I




           interested in the flexible implementation of wireless communication      and

           networking             algorithms    We had him present his work                     to a   few of them and they

           were very impressed Since joining he has become                                   a core    member of the group
           which   is       a   timeconsuming and unselfish commitment to the center                             His

           contributions            have included      visiting       our affiliates    in
                                                                                             person     many times to share his
           research with            them attending       nearly        all   meetings which           are frequent contributing

           to   our internal needs           like    reporting and meeting organization and otherwise

           supporting the affiliates            program           I   know the affiliates       consider him to be a valuable

           addition         to   the group




           To summarize Prof Gerstlauer has easily exceeded the expectations of service                                      for


           promotion             to Associate   Professor         He has undeniable            leadership qualities    and

           potential and            we look forward to him growing into future leadership                        roles



           Summary prepared by Budget                    Council        Member Jeffrey Andrews




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                                                                                                          ANDREAS GERSTLAUER
                                                                                                            Statement on Service



       Teaching              research and service are the three main                                                            pillars       of the   academic              profession                        In   terms of service

       I   have        been    actively       involved at the university                                               community               and national level At UT                           I           have               participated             in

       7 departmental                 committees                       I
                                                                               have                 served the broader professional                               community              by being involved                                         in   the

       organization of 16 conferences  and workshops     by serving on 25 technical program and 2 editorial
       committees and by reviewing papers for more than 20 journals conferences and workshops       Finally                                                                                                                                                   I




       have also served on grant review panels for federal funding agencies In the following will summarize                                                                                                             I




       and highlight            my main service activities A complete                                                            list    of   my service contributions                       is           available                    in   my CV

       SERVICE TO THE UNIVERSITY

       I   have       been     involved           in   the university                                as a member of several important departmental                                                            committees

       Faculty Searches                      In       2010         I           was member                        of the Faculty                    Search    Committee                 for   an               Assistant                  Professor

       position         in    the    broad area of embedded                                                    systems As a member of the committee                                                       I
                                                                                                                                                                                                               helped review and
       select         faculty       applications               I       interviewed                             promising        applicants            over the phone                    and           I        served as the host

       organizing             the    on site visit             and interview of one invited candidate                                                        In       the   end we made an                                            offer to          Nan
       Sun who subsequently                             accepted                           and is now a colleague                             in   my department
       Graduate              Admissions Ever since                                              I

                                                                                                    joined the ECE Department in 2008  have been deeply involved in          I




       the graduate             admissions                   process                        I       am a member of the Graduate Admissions Committee of two tracks
       the   Computer               EngineeringComputer                                                  Architecture          and Embedded                  Processors                 CECAEP track and the
       Integrated             Circuits       and Systems                                   ICS track                 As part            of    these committees                    I

                                                                                                                                                                                      regularly                    review               more than
       150 applications and  help interview promising students over the phone
                                                  I
                                                                                 Furthermore since Spring 2010
       Ihave served as the coordinator of the prospective graduate student site visit for the ICS track Within this

       role       I
                       give    overview               presentations                                  I
                                                                                                          arrange         meetings             between       students                 and faculty                            I
                                                                                                                                                                                                                                  participate             in


       group and social events                           and               I   serve as the main contact point and host for visiting students

       Curriculum               and         Degree           Committees As                                       part of         the         ECE faculty          I       am member                           of    the           departments
       Graduate              Studies         Committee                         GSC which determines                                            curriculum         and degree                 requirements                                   for     ECE
       graduate          students             In      addition                     I
                                                                                           am member                   of the           Curriculum          Committees                 of the                 CECAEP and ICS
       tracks at the            undergraduate                      and graduate                                levels Within             these committees we determine                                                  and propose the

       curriculum              and          degree            requirements                                     within      each              respective       specialization                          My                    participation                 in


       undergraduate                 curriculum              development                                  in   the   CE track is further detailed                          inmy Teaching Statement
       Centers and Research                              Units                 I       am an              active       member            of    two research               centers at UT Austin namely the

       Wireless          Networking                   and Communications                                          Group          WNCG and the Computer                                       Engineering                                 Research
       Center          CERC            In    this      capacity                        I
                                                                                            am engaged                    in   weekly          center    meetings and all                    aspects of running the
       organized               research                units                   ORUs                        including            recruiting            industrial            affiliates            maintaining                                    affiliate


       relationships participating                            in           and organizing                            yearly board meetings and open houses student recruiting

       space allocations                    web page updates and general                                                       publicity



       SERVICE TO THE PROFESSIONAL                                                                       COMMUNITY

       I   have        been very active throughout the years in serving my broader academic community which includes

       organizing         conferences    serving on conference and journal committees as well as reviewing papers

       Conference               Organization                       I           have                 served        in      various            leadership       roles         for        the   organization                                   of     major
       international            conferences                  as well as smaller focused                             my area For the past two years
                                                                                                                                         workshops           in                                                                                                   I




       have           been Chair of the EDA1                                   subcommittee at the Design Automation Conference              which is the                                                     DAC
       premier conference                     in      my field                 and regularly draws more than 1500 attendees for its technical sessions                                                                                                            I




       similarly served               as Area Chair for the 2013 Asilomar Conference                                                                         on           Signals       Systems                             and Computers

       ACSSC where                      I    handled the paper selection among 60 submissions In 2009 and 2010   also served                                                                                                      I




       as Track          Chair for the          International Conference on HardwareSoftware Co Design and System Synthesis
       CODES+ISSS                      which            is   the top                       conference                in   my area              In   addition          I   have        been Track Co Chair Local

       Arrangements                 Chair and Registration Chair for several other conferences                                                                                   Furthermore                        I       have organized

       or co organized                special           sessions on new                                     research directions                     at major      conferences such as DAC




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       Statement on Academic Advising                                                                                                                    Revised July 14 2013




                  Apart    from participation                in   the    organization          of    larger     conferences         I    have        also       served     as overall

       Program Chair Co Chair or Organizer for several smaller more specialized                                                          conferences               and workshops
       This       included         the   Workshop            on CompilerAssisted                     System     On Chip Assembly CASA                                 which entirely
       consists       of   invited        presentations            by leading experts                in    the field   Furthermore              I
                                                                                                                                                    was         Tutorial  Chair and

       Technical          Program         Committee               Chair for the 2009 and 2010 Austin                        Conference               on    Integrated           Systems
                  ACISC respectively ACISC was an annual event organized by the Integrated Circuits and
       and Circuits
       Systems Group ICSG at UT to promote the university in the local and states semiconductor community
       The 2010 conference                  included          keynotes          invited talks        and panels with more than 60 attendees

       Conference             and Journal                  Committees My area                   is    a conference driven               field       and     I    have      served     for

       several       years         on    Technical          Program            Committees           of    many major       international             conferences                including

       DAC CODES+ISSS                            the       International         Conferenceon Computer  Design ICCD and the Design
       Automation          and Test         in       Europe Conference              DATE the European counterpart to and a similarly premier
       event as       DAC
              I    also   serve on        Editorial         Boards of journals             I
                                                                                                am an        Associate     Editor       for   the        ACM Transactions             on
       Embedded            Computing TECS which    one of the top journals
                                                     Systems                 my field and the Design
                                                                                           is                                            in


       Automation for Embedded Systems DAES journal by Springer another specialized journal  my area                                                                       in

       that       has many other leading experts                         in   the embedded           systems domain on its editorial board

       Conference           and Journal Reviews                          Outside of direct involvement                 with     conference           or journal          committees
       I

           frequently      accept        invitations         to serve         as an external reviewer for top conferences                            and journals including
       all   the    major ACM and IEEE journals                           in   my field

       OTHER SERVICE

       Within my department    have for two semesters helped to organize the Integrated Circuits and Systems
                                                 I




       seminar series which is a regular series of invited talks by leading experts in the broader semiconductor

       area attended               both    by students             at    UT as     well   as engineers            and scientists from                    local     industry       At the
       national       level    I   have    served as reviewer of grant proposals on a panel organized                                               by the National Science
       Foundation           NSF             Finally          internationally         I    have           been    invited    to    serve             as    an      external        expert

       revieweropponent  on                          two   PhD          dissertations      at        the    University     of    Tiibingen           and        the     University     of

       Paderborn in Germany                      in   2012 and 2010 respectively




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        Budget Council Assessment on Honors and Other Evidence                                               of Merit

               or Recognition             for Tenure          and Promotion Candidate Andreas
                                                             Gerstlauer


        This statement on honors and recognition                   for Prof Andreas          Gerstlauer    was

        prepared by Electrical            and Computer Engineering             Budget Council         member Lizy K
        John This statement was prepared based on the candidates                              CV his own statement
        of honors and my personal knowledge of his achievements                              I   have been on the    Ph
        D committee of one of his students who received a Best Poster award at an IEEE
        conference        I   have also written several joint proposals with                 him Relying on my

        personal knowledge           and his      CV    I   make the following observations


        Dr Gerstlauers research              is   well recognized by his peer community His papers

        have been cited more than 2000 times according                         to Google      Scholar    He has
        written 3      books     of which one was a top 10 technical              book in Japan when          it   came
        out        Another book     is   in the top   25 of      the   most downloaded eBooks in its

        category from Springer in 2012



        He gave a keynote          speech at the 2011 Brazilian Symposium on Computing System

        Engineering an honor rarely found on an Assistant Professors                               CV He has also
        given various talks nationally and internationally 29 talks                         worldwide


        Dr Gerstlauers Ph D student                   Ardavan Pedram won              the   award for the best poster
        at   the   IEEE   International      Parallel       and Distributed Processing Symposium              IPDPS
        in 2013 Another                           achievement was the selection of one of his
                                  significant                                                 papers by
        the Design Automation and Test in Europe conference as one of the most
        influential papers in 10 years While this paper was written before he came to UT

        the   selection happened          after he came here       and it brings honor and recognition              to

        the university




        Dr Gerstlauer received several competitive                     grant   awards also illustrating that his
        work is well regarded by his peers nationally and internationally He has                             several

        competitive       grants two from National Science Foundation                       a    third one tentatively

        funded two from the Semiconductor Research Consortium                                 SRC one from
        Samsung Korea and one from the Army Research                            Office In addition another NSF

        grant is tentatively       approved        and a grant from Intel        is   also tentatively    approved       I
        am a co PI on both of these Dr Gerstlauer has a clearly demonstrated track




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        record of success     in   funding his research        initiatives    through both industrial an

        governmental    means


        Dr Gerstlauer is an associate            editor for   ACM Transactions on Embedded
        Computing Systems          FECS
                                  He has been on the editorial board for Design
        Automation for Embedded Systems since 2012 These represent significant

        achievements     because usually such editorial committee contributions                     do not

        appear on Assistant Professors             CV He has also served as reviewer for the
        National    Science   Foundation         In our field   being invited       to serve   on a conference
                                                 or review                 an honor because the committee
                    program committee
        technical                                             panel   is


        chairs are recognizing       the   stature   of the invitee        While   in rank he served       as Chair

        or cochair    of 5 technical program committees and was a member of several

        including   the prestigious        DAC conference        All of these      indicate that he   is   regarded

        as a prominent international         contributor      to the field of embedded systems




        Prof Gerstlauers research           is   well recognized      nationally and internationally          and he

        has received an extraordinary            number of honors and meritorious recognitions as
        evidenced    above



        Summary      prepared by Budget Council              member Lizy K John




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                                                                                                   ANDREAS GERSTLAUER
                                                                                  Statement on Honors                                     and Recognition



       My work             at    UT            Austin        has        been            recognized                  by the              community                 in    a    variety      of       ways               I    have           received

       competitive              funding              my           research               has       been            selected              and         awarded            for       being       among              the        best           within       a

       venue         or the       field          and     I    have           been         invited             to   speak           at     conferences                   other         universities               and        in       industry           In

       the     following              I   will    summarize                       my funding honors awards and other recognitions of merit     received                                                                              I




       Further           details          are     available                  in
                                                                                  my resume All citations refer to publications listed there where Jxx
       indicates journal                       articles       Cxx conference                                 papers           Pxx book                    chapters           and       Bxx books

       FUNDING

       My     research            at       UT has been                       supported                  by a mix of funds from different sources with                                                             about              65 of my
       share of funding                        coming from competitive                                                       more than                   half of that or              about        35        total          in       the       form     of


                                                                                                                                                                                                                                                     8
                                                                                                             grants
       National           Science               Foundation                   awards about                          20 through other industry or government contracts
       total       from the           Department                   of        Defense                and the                  remaining               10 as industry gifts                          I   am         PI        on four highly

       competitive               grants           from        federal              agencies                  and        industry                  consortia         two       each       from the                 National                 Science
       Foundation               NSF and the Semiconductor                                                    Research                  Corporation                SRC             I   am sole PI on the SRC grant
       Automatic                Platform             Model          Calibration                    and        Tuning which                           is   grounded            in      my core          research                     on     system
       level       modeling Building on                             this          work     I       have        recently            been            awarded a subsequent                            SRC grant titled                             Multi

       dimensional               Modeling                Design and                      Exploration                    of    Heterogeneous                        Multicore            SoCs           in   which               I    collaborate

       with        my colleague                  Lizy    John           to        expand the scope                            combine efforts and create                                  a    holistic           system modeling
       framework                Finally since                     coming            to    UT        Austin          I    have           taken         the    lead       on seeking collaborations                                         to    initiate

       new         research           thrusts           This        has            led    to       two        collaborative                       NSF     awards            Formal Synthesis                               of       Low Energy
       SignalProcessing  Systems Relying   on Controlled  Timing Error Acceptance with CoPI                                                                                                                                                    Michael

       Orshansky and AlgorithmArchitecture Co Design of Low Power and High Performance Linear                                                                                                                                              Algebra

       Compute Fabrics with CoPI Robert van de Geijn in Computer Science
               I    have       also       been         Co PI on                   smaller          grants          from branches of the                                 Department             of      Defense                      DoD such
       as    the         Army Research                       Office           ARO                  in   which            I    collaborated                   with       my    colleague                Robert Heath                            to    help

       prototype               novel            wireless            communication                             protocols                  in
                                                                                                                                                   tightly        constrained             embedded                          environments

       Furthermore                I

                                          generally           aim to maintain a balance                                       inmy funding sources between fundamental longterm
       research            supported                 by       the        government                           more           applied research supported  by the DoD   or national

       consortia           tasked               with    creating                  breakthroughs                          that          will       invent      the       industries            of   tomorrow and                                     direct

       collaborations                 with       companies                    to    help       transfer             technology                     and thus impact                     immediate             industrial                   practice

       For         the    latter           I    continue                to        actively          seek           and            cultivate               personal            connections                   with            partners                  and
       researchers               in       industry            As a            result           a    significant                   portion           of    my work            is       funded       through                 corresponding

       industry          contracts              or   gifts         In    many cases                          competition                 for       external funding                   within       companies                        can        be very

       selective           For        example Samsung                                   RD         in        Korea through which                              I
                                                                                                                                                                  recently            received         funding              to       investigate

       core         technologies                  for        network                and        system                   co simulation                      only         awards           contracts                to        a        handful            of

       researchers               worldwide every year


       RESEARCH RECOGNITION

       My      research               has       been         internationally                       recognized                     in    various           forms         throughout             the          years               While           at    UT
       Austin my                original          2003            paper on               RTOS Modeling                                 for    System Level                  Design which                     I    wrote              in    my final
       year as           PhD student                    at    UC Irvine                 C8 was selected and reprinted                                              in   a    2008       book       that collected                         the       most
       influential         contributions                     in    the       previous              10 years                  at    the        Design          Automation                and        Test          in
                                                                                                                                                                                                                          Europe               DATE
       conference               P3 DATE                       is    one    the two  premier conferences in my field and arguably
                                                                                   of                                                                                                                                               the        premier
       conference               most closely related                       my research area That same paper had previously been
                                                                                   to                                                                                                                                               reprinted          as

       a significant             contribution                 in the field when    was originally published
                                                                                                        it                                                          P2
               More        recently              the     PhD work of my student Ardavan                                                             Pedram was recognized                              with               the       Best Poster
       Award handed out by the IEEE Computer Society Technical                                                                                        Committee on Parallel Processing                                                   TCPP           at

       the     PhD forum of the 2013                                         IEEE International                              Parallel                Distributed             Processing                Symposium                          IPDPS
       Ardavan            is    co advised               on my NSF grant with Robert van de Geijn in Computer Science        but since

       Ardavan worked with                             me as an ECE student before Robert joined the project and with most of this work
       residing          in the       electrical             and computer                      engineering                    area            I   am inherently Ardavans                           main           PhD advisor




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       Statement on Honors and Recognition                                                                                                                                              Revised July                           22 2013



              Next           to           honors         and            awards my                research          products              have            also        generally           received                quite    widespread
       visibility           and recognition                             Overall           my publications                  have      been           cited          more than            2000 times with                       an h index
       of   21         based                   on
                                          Google Scholar   Our recent paper on Predictive OS Modeling for Host Compiled
       Simulation                 of Periodic Real Time Task Sets J8 was among the top five accessed articles of the IEEE
       Embedded System                                  Letters           in   April       August and November 2012 Moreover                                                           the     three        books        B1 B3 B7
       that       I   coauthored                       have         been        widely          cited   and        are          wellknown                 in       the    field    I    am      first       author       on the         book

       System Design A Practical Guide with SpecC    which was cited as a positive example in a panel on           B3
       Embedded Systems Education How to Teach the Required Skills at the 2004 International Conference
       on HardwareSoftware                                     Codesign and            System Synthesis CODES+ISSS     Our first two books have been
       translated             into              several        other           languages     B4    B2and the Japanese      B5
                                                                                                                      edition of SpecC   Specification

       Language               and               Methodology                     ranked among the top                             10 bestselling                     technical          books           in   Japan when             it    first


       came out                   Most recently                          the        book          Embedded                 System Design                           Modeling             Synthesis                and     Verification

       published                  after          I
                                                       joined           UT Austin            is   in    use       as       a textbook               for    graduate               classes             at    several       universities

       worldwide                  and            its    electronic             version          was one           of the          top    25 most downloaded eBooks                                                  in   the    relevant

       Springer eBook                            collection             in    2012


       INVITED               PAPERS AND TALKS

       Due        to    the       interest          my research has generated    have been regularly invited to give keynotes to submit
                                                                                                                       I




       and        present                     papers at conferences and to give talks or present in tutorials at conferences  workshops
       universities                           and industry groups throughout the world In rank at UT Austin           have published and                                                          I




       presented                  8           invited    papers                at    major international                        conferences                C43 C39 C38 C29 C27 C26 C25
       C22 including three papers at the Asia and South Pacific Design Automation                                                                                                              Conference                 ASPDAC
       C26 C25 C22 which      the premier conference in Asia for my field
                                                                   is


              I       also        was            invited           to        give     a    keynote           at    the           2011      Brazilian                 Symposium                  on Computing   System
       Engineering                            SBESC The                        other       two     keynote             talks       at   that         event           were         given        by Scott Brandt a Full
       Professor              at              UC Santa Cruz and                           Gernot Heiser                a Chaired Full Professor                                   at   the     University            of   New     South
       Wales            in    Australia Throughout                                        my career           I    have           presented                my work                in    8      conference                and    industry

       tutorials             While              in   rank      I    was        invited      as a speaker                   in    one    full       day tutorial             at    DATE 2009 In addition to this
       tutorial         I    have               also participated                    in    two workshops                    I
                                                                                                                                 was    invited           to       give    a   talk     on      my teaching experience
       in   relation          to              Developing                 a     Class on           Embedded                 Systems                  at    the        Young         Faculty             Workshop               co located
       with       the       2012 Design Automation                                        Conference              DAC and                      I   was         a    presenter           and panelist                in    a   workshop
       on Data Parallelism                               for       Multi       Core Chips and                 GPU organized by the IEEE Central Texas Section
              Finally                 I       have     been         invited          to   present       at    many              universities             and        industrial          research             labs Since joining
       UT         Austin                  I    have      given            a     total      of     29    such           invited          talks        worldwide                   A      full    list        of    talks       workshop
       presentations                           tutorials      and            keynotes can be found                         in     my CV




CONFIDENTIAL                                                                                                                                                                                                             UT Austin0027003
                                                                                                                                                                                                                 of
                                                                                                                                                                                     Chart                               External Reviewers

                                                                                                                                                                                                    Andreas Gerstlauer

                                                                                                                                    Electrical




                                                                                                                                                                                 and
                                                                                                                                                                                                Computer                                 Engineering                                     Department




                                                                                                                                                                                                                                                                                        Chosen                                                      Date




                                                                                                                                                                                                                                                                                                                       By
Name                 Title                                                                                       Institution                                                                                                                                                                                                                  Received                             Reason                                              Declination




                                                                                                                                                                                                                                                                                                                                                                                                                           for
                                                                                                                                                                                                                                                                            CandidateBC


RECEIVED
                                    Professor




                                                                     of
                     Johnson                                                    Computer
Arvind
                     Science                                                                                                                                  Institute




                                    and
                                                                                                                                                                                              of
                                                 Engineering                                                   Massachusetts                                                                          Technology                                                                         Candidate                                            8102013
                                          research                                                            verification                                                                                                                                       research                                                                                              declarative




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                     Conducts                                                                                                                                                                                                     Conducted




                                                                     in
                                                                                                                                                                                                                                                                                                     in
                                                                               synthesis                                                                     large         digital                  systems                                                                                                     parallel                computing                                                                programming




                                                                                                 of
                                                                                                                                                                                              ACM
                     languages                   National                      Academy                       Engineering                          IEEE        Fellow                                             Fellow              IEEE Charles                                 Babbage Outstanding                                               Scientist         Award                       IEEE               Computer Society

                     Harry Goode Memorial                                         Award
                     Chancellor            Professor                                                                                                                                          Irvine




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Nikil   Dutt                                                                                                  jUnversity                                    California                                                                                                                   Candidate                                            7272013




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                                          research                                                                                                                                                                              with                                  focus                                                                           evaluation




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                     Conducts                                                  embedded




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                                                                                                                                                                                                                                         ACM




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                                                                                                              software                                                                                                                                                                                                                          Conference
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                     embedded                systems spanning                              both                                                             hardware                          IEEE               Fellow                              Distinguished                                   Scientist                          Best                               Paper Awards                                                CHDL 1989
                                                                                                                                                                                                                                                                                                                                                                                                   the


                                                                                                                                                                                                                                                                                                                                                                      chair




                                                                                                                                                                                                                                                                                         and
                                                                                                                                                                                                                                                                                                     DATE 2012                            Past general
                                                                                                                                                                                                                                                                                                                                                                                       for
                     CHDL 1991 VLSI Design 2003 CODES+ISSS                                                                     2003 CNCC 2006 ASPDAC                                                                      2006 IJCNN                         2009                                                                                                                                                    IEEEACM                   Design

Milos                                                 Professor




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                                                                                                                                                                                                                                                                                                     BC
         Ercegovac   Distinguished                                                                             University                                   California                                          Angeles                                                                                                                       7112013




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                                                                                                                                                                                                                                                                                                                                                                                                                                                              at




                                                                     in
                     Conducts             research                             digital   arithmetic digital design                                                                     computer                           architecture                           IEEE                   Fellow                  Okawa Foundation                              Award              2006                    Best                    Paper Award
                     ICASSAP        2004


                     Professor




                                           and
                                                                                                                                                  of
                                                                                                                                                                                                                                                                                         Candidate




                                                                                                                                                                                              San
                                                      Qualcomm                                                 University                                   California                                          Diego                                                                                                                          872013
Rajesh    Gupta
                     Endowed              Chair



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                                          research




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                                                                                                                                                                                                                                                                                    IEEE                                                                                                                                         lecturer
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                                                                                                                      and
                     Conducts                                                                                                                                                                                    embedded                                                                        Fellow                                  Career Award




                                                                     in
                                                                               energy efficiency                                   mobile computing                                                                                                systems                                                                                                                 Distinguished




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                                                                                                                                                                                                                                                                                                     chief




                                                                                 in
                                                                                                                                                                                                                                                                                               in
                     Special       Interest             Group                         Design                Automation                                      IEEE Circuits                                               Systems                Society            Editor                                                               IEEE   Design                Test               Computers

                     Chair                                                                                                                  Institute




                                                                                                                                                                           of
Joerg    Henkel                           Embedded                                                                                                                                                                                                                                       Candidate




                             for
                                                                               Systems                        Karlsruhe                                                              Technology                                 Germany                                                                                                       7282013




                                                                                                                                                                                                                                                                            low
                                          research                                                           architectures                                                                                                                     focus                                                                                                   Best




                                                                                           and
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                     Conducts                                                                                                                                                                                                                                                                                                                                       Conference                                                                         DATE
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                                                                                                                                                                                                    systems with                                                                         power                                   reliability                                                             Paper Awards




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                                                                                                                                                                                in
                                                                                                                                                                                                                          ACM




                                                                                                                                                                                                                 for
                     2008 ICCAD 2009                                             CODES+ISSS                   2011          Current editor                                             chief                                       Trans                         Embedded                                   Comp Systems                                Also        chosen                         give                           international




                                                                                 of




                                                 on
                     perspective                       impact                         faculty               candidates              work




          Hoe
James                Professor                                                                                                      Mellon
                                                                                                                                                                                                                                                                                                     BC




                                                                                                               Carnegie                                             University                                                                                                                                                                 812013
                                          research                                                                                                                                                                                       simulation                                                                                                                                                                         tools
                                                                                                                                                                                                                                                                                  and
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                     Conducts                                                                                                                                                                                                                                                                  FPGA emulation




                                                                     in
                                                                                                  architecture
                                                                                                                                                                                                                                                                                                                                                                                                                                         for




                                                                               computer                                             processor                              microarchitecture                                                                                                                                                        computer systems                                                                           highlevel




                                                              and
                                                                                                                                                NSF
                     hardware             design                                synthesis                   IEEE     Fellow                                  Career Award

         Hofstee     Research             Staff       Member
                                                                                                                                                                                                                                                                                                     BC




Peter                                                                                                         IIBM                                                                                                                                                                                                                            7202013




                                                                                                                                                Was
                                                                                                                                                                                                                                                                                                                                                                                                               the




                                          research                                                architecture                                               chief         scientist                                                                                                    cell



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                                                                                                                                                                                                                                                            of
                                                                                                                                                                                                                                                                                                                                                                                                                                                       3




                     Conducts                                                                                                                                                                                              co    inventor                                                            broadband                                                               used
                                                                                                                                                                                                                                                                      IBM




                                                                     in
                                                                                                                                                                                                                                                                                                                                                                                                   in




                                                                               computer                                                                                                                                                                                                                                                  engine        processor                                                            Play Station

                                                                                                                                                                                                                                                                                  evaluate                      industrial
                                                                                                                                                                                                                                                                                                                                                         of




                                                                                                                                                                                                                                               Chosen
                                                                                                                                                                                                                                                                 to




                     Currently researching                                                                                                                                                                                                                                                                                                                                             candidates work




                                                                                                                                                              for
                                                                                                                                                                                       data algorithms                                                                                                                                        impact            faculty




                                                                                                                                                                      big
                                                                                computer system workloads




 Don
        Thomas       Professor                                                                                                      Mellon
                                                                                                                                                                                                                                                                                                     BC




                                                                                                              Icarnegie                                             University                                                                                                                                                                7262013
                                          research
                                                                                                                                                                                                                                   and
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                     Conducts




                                                                                                                             co




                                                                     in
                                                                                hardwaresoftware                                   design modeling                                                    synthesis                                    computer aided                                     design                            single chip           heterogeneous                                      multiprocessing
                                                                                                                                                                                                          the




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                                                                                                               ACM
                                          Fellow                                      Fellow                                                                        chair
                                                                                                                                                                                        for




                     systems                                              IEEE                                              Past general                                                                                IEEEACM                    Design Automation Conference
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Case 1:19-cv-00877-RP Document 69-33 Filed 02/23/22 Page 117 of 167
                                                                                                                               of
                                                                                                                    Chart           External Reviewers

                                                                                                                            Andreas Gerstlauer

                                                                                            Electrical




                                                                                                                   and
                                                                                                                           Computer                Engineering         Department




                                                                                                             of
                Rhesa                                                                       Institute                                                                  Candidate                    7262013




                                  S
                                         Farmer                              Georgia                               Technology




                         Ray
                                                         Jr
                                   Chair                Embedded




                                                  in
Marilyn Wolf    Distinguished

                Computing Systems




                                                                                                                                                       co
                               research




                                                                                                                                                                                          and
                Conducts                                                                                                                                                                                                                                     code




                                                                                                                                                                                                                                                        to
                                                       embedded




                                             in
                                                                           computing        ranging        from hardwaresoftware                            design     algorithms                 realtime scheduling                  algorithms




                                   and
                                                                                                             of
                                                                                                                                       of
                                                                                                                                             ACM
                                           distributed              smart cameras             Fellow               IEEE    Fellow                      IEEE                                     Golden   Core Award                  ASEE   Frederick            Terman




                                                                                                                                                                                                                                                             E
                compression                                                                                                                                   Computer Society
                                           IEEE Circuits




                                                                     and
                Teaching       Award                                        Systems     Society           Education        Award

                Professor




                                                                                                   of
                                                                                                                                      Urbana




                                                                                                                                                                           BC
Martin Wong                                                                  University                 Illinois   Champaign                                                                        8192013
                                                                                                                                                               field




                                                                                                                     and
                                                                                                                                        of
                                                                                                                                                                                                                                                                 CAD




                                             in
                               research                combinatorial




                                                                                                                                                                                                                               for
                                                                                                                                                                                                                                                                             for




                Conducts                                                     optimization                design            analysis          algorithms                programmable                systems   design                    manufacturing




                                                                                                             of
                                                                                                                                                                                                                at
                                                                                                                                                                                                                       DAC
                                                                                                                                                                                                                                                                       CAD




                VLSI electronic                                                                                    VLSI circuits        IEEE                  Best




                                                              and
                                                                                                                                                                                                                                            and
                                         packaging                  computer aided             design                                              Fellow              Conference         Paper Awards                               1986         ICCD 1995




                                                                                              20
                Transactions      Best                                          Best                                                                                    Lecturer                IEEE Circuits




                                                                                       of
                                                                                                                                                                                                                 and
                                                                       2000                             Years ICCAD                   2002          Distinguished




                                                                                                                                                                                    for
                                            Paper Award                                                                     Paper                                                                                            Systems        Society

Decline         none




No
     response   none
                                                                                                                                                                                                                                                                                   Case 1:19-cv-00877-RP Document 69-33 Filed 02/23/22 Page 118 of 167
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                                           COCICRELL SCHOOL OF ENGINEERING


                                           THE UNIVERSITY OF TEXAS AT AUSTIN


                                           Department of Ekarical and Computer Engineering                                         Engineering Science               Building

                                           1    University StritiOt           C0803         AliStill    Texas   787120240                312 4716179                    Fax 5124713652




                                                                                                                                                                       June      19 2013




         Dear Dr Wong


                     The Department                     of Electrical         and    Computer Engineering                    is
                                                                                                                                  considering          Dr Andreas               Gerstlauer      for


         tenure    and advancement                      in   rank       to    the position of Associate                  Professor             at    The     University          of Texas        at

         Austin      The two main                   criteria       for       promotion        are      demonstrated           scholarship            and excellent              teaching     We
         would      particularly                appreciate         your       candid        assessment          of    his     scholarly             contributions               Although        we
         recognize       it    is
                                           you have firsthand knowledge of his teaching any information you do have
                                    unlikely        that

         with     this   respect  to this would  also  be welcome    A copy of the candidates curriculum vitae is
         enclosed         To provide context I should note that The University of Texas at Austin normally considers a

         faculty    member             for       promotion          to   Associate           Professor        upon      completion              of    five      years      in    probationary

         status    Professor           Gerstlauer            has accumulated                five    years of     service          in   probationary          status        so   this   review    is



         taking    place      at    the normal time for tenure evaluation



                     Your assessment of Professor Gerstlauer would be most helpful                                                       if    you could address the following
         questions



                                       Do you know                 Professor Gerstlauer                 and if so      for    how long and under what
                                       circumstances


                                       How would you assess the contributions                                   to   your discipline made by Professor
                                       Gerstlauers publications                         Which publications               would you judge                   to   be   the   most

                                       significant and why


                                       How would you assess Professor Gerstlauers development                                                    as a scholarresearcher

                                       compared with others in his cohort                              at   research intensive                universities


                                       What        is
                                                        your perspective             on Professor Gerstlauers promise                               for further       growth       and

                                       significant           contributions           to his field




         The following              link    provides         you access         to   Professor         Gerstlauers           CV recent publications                     and research and

         teaching    statements                to assist     you in this task


         To access       the    site   please use            the   following login and                 password


         Website         httpsfuzeleceutexasedueceappspromotion
         Login cand0406
         Password uWEDem

         Please    let   us    know        if   you prefer         to   receive      this   material via email or regular                      mail


         We would be grateful                    for any      additional        comments you might have




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                       Under       the   laws of    the        State     of   Texas Professor             Gerstlauer          has    the    right    to    request     to     see   any
         materials         in his personnel      file    including your letter                Although Professor Gerstlauer                       has     waived       that   right   it



         is   not   clear    whether     he can    reinstate          that right   at   some future         time         It   is   also    the   case     that the     members of
         our    internal      review     committees            will    see your    letter     as   part   of    the   promotion process                    They      will    hold    the

         comments           you make       in   confidence             Please   know     that      we will make every                attempt        to    hold   the   contents of

         your letter        confidential    within       all    limits   of the    law


                       We would          appreciate      receiving        your letter       no later than         July        20 2013        Please enclose a copy of a

         short      version    of your curriculum              vitae    or résumé preferably               no longer than one page or the                         URL         for   your
         Website       where we may obtain                 this       information        While      electronic        letters       or    PDF     are     fme our guidelines
         require      that   you   either   sign your letter             or include      an   electronic        signature           If   you have any questions about
         this please do not          hesitate to        contact       me at your convenience               at   5124716971


                       I   want to personally           thank       you for your time and assistance with this important                                  matter       I    recognize

         that   the   amount of time required                  to   do a thoughtful review is considerable



         Sincerely




         Dr Ahmed Tewfik
         Cockrell Family Regents Chair in Engineering

         Chairman Department of Electrical                            and Computer Engineering
         The University of Texas at Austin

         Austin Texas 787120240




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       FIVE SIGNIFICANT              WORKS
       All   references     to   publications   are   indexed   on the   resume where Jxx is used to             indicate journal         articles

       Cxx conference             papers Pxx book       chapters    and   Bxx books
       List of five     most significant        publications    while     in   rank

         J5         A Gerstlauer C Haubelt A D Pimentel T P Stefanov D D Gajski J Teich Electronic                                        System
                    Level   Synthesis       Methodologies       IEEE     Transactions     on   Computer Aided       Design       of     Integrated

                    Circuits     and Systems    TCAD vol 28 no 10 pp 15171530 October 2009
             J6     G Schirner A Gerstlauer R D6mer Fast and Accurate Processor Models                                  for   Efficient    MPSoC
                    Design ACM Transactions on Design Automation                       of Electronic   Systems    TODAES vol 15 no
                    2 article no 10 pp 126 February 2010
             J8     P Razaghi A Gerstlauer Predictive              OS Modeling for Host Compiled Simulation of Periodic Real
                    Time Task      Sets IEEE Embedded           System Letters vol  4 no 1 pp 58 March 2012
             J9     A Pedram R A van de Geijn A Gerstlauer Codesign Tradeoffs                              for   High   Performance           Low
                    Power      Linear   Algebra Architectures       IEEE       Transactions    on   Computers     TC          special     issue   on

                    Energy      Efficient   Computing vol 61 no 12 pp 17241736 December 2012
             J11    K He A Gerstlauer M Orshansky                 Circuit Level       Timing Error Acceptance  for Design of Energy

                    Efficient     DCTIDCTbased       Systems IEEE Transactions on                  Circuits and Systems    for Video

                    Technology       TCSVT      vol 23 no 6 pp 961974 June 2013




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    MIT       COMPUTER SCIENCE AND ARTIFICIAL              INTELLIGENCE    LABORATORY




                                                                                                                                                    CSAI
    August 10 2013


    Dr Ahmed                 Tewfik
    Cockrell             Family Regents           Chair in Engineering

    Chairman Department of Electrical and Computer Engineering
    The University                 of Texas      at Austin

    Austin Texas 787120240


    Reference               Promotion of Dr Andreas Gerstlauer


    Dear        Ahmed

    I   recommend                 that   Dr Andreas Gerstlauer be promoted to the rank of Associate                                Professor with

    tenure           I   met Andreas when             he was a graduate               student     working      under Professor      Dan Gajski whom
    I   have known                for a   very very long time At some stage though                             I   do not know exactly       when         1



    became aware                  that    Andreas was an important member of the SpecC project which was Gajskis

    flagship             project     I   have seen Andreas periodically at various meetings and                              at   UT Austin because of
    our       common          interest in       Electronic        System Level design of embedded                      computer systems         ESL                1



    regard ESL as an extremely                        important         area of research          because the fruits of Morse law are not

    realizable             without commensurate progress in our ability                             to   design systems whose            complexity

    increases             every year



    Though Andreas has worked on several aspects of the ESL problem                                                    his primary focus      has been on

    tools for            modeling systemson a chip eg smart phones tablets                                             The complexity of such

    chips       is       mind boggling           they not only contain small multicore                         processors    but also have 80 to 100

    specialized hardware blocks to reduce                               power consumption and provide desirable performance
    Sometimes the complexity of these specialized blocks matches the complexity of multicore

    processors              on the same chip           A persistent concern               in the       design of such complex        systems is if            it



    would work when fabricated                             Will   it   be able   to   support important            use scenarios     Will busses get

    clogged              or OS scheduling           fail    to   respond in time for a proper user experience                      The primary

    technique              to ascertain       the answers         to   such questions        is   to   simulate the system with software

    naming on an accurate                       model of the hardware


    This       is    easier said than           done Over the last decade models of many components of such systems
    have become available                       in SystemC         or its precursor        SpecC         Nevertheless the speed of accurate

    simulations              is   so slow that one never gets to execute                     the scenarios          of interest on the simulation
    models Consequently                         researchers       have devised techniques                 to   make   simulations run extremely fast

    at the       expense of modeling accuracy Within the field there is endless debate about the accuracy                                                              of
    simulations                   Can we trust the results                 Has one taken           all   the important      factors into    account            Of
    course the debate goes on because no one knows the right answer until the chip                                                  is   actually    built

    and tested




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    +16172536652




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    Andreas primary research contributions                               are in the area of very fast modeling                      where the        OS effects
    eg scheduling interrupts and the processors microarchitectural                                                features          are taken into

    account      Since   I   was not familiar with the                     details       of Andreas        work        took this opportunity               to   read

    the five papers       he had selected                  to   represent his most important               contributions Here are my brief

    comments on these papers


    1 Electronic System Level Synthesis Methodologies 2009 This paper is an indepth
                 of ESL design tools and points out that a complete ESL design flow requires both
    classification

    RTL synthesis and           HWSW codesign C based solutions SystemC SpecC have a lot of appeal
    because systems people already                          know        C one can express timeindependent behavior                             in    C C based
    simulation environments                 are simpler and cheaper and implementations                                  and models of many

    components and algorithms                     are      often available          in   C However timeindependence                       is   also an

    albatross     and has made good hardware synthesis from C based                                         solutions     elusive This paper does

    not contain     new      results    but offers an important                     taxonomy of tools it           is   likely to      be cited widely


    2 Fast and Accurate Processor Models for Effcient MPSoC Design 2010                                                        I    approached           this


    paper with great anticipation                     because the topic             is
                                                                                         very close to my own research                  have             been

    advocating      and building fast cycle accurate                            models of processors to run on FPGAs                           It    turned out

    that this    paper offers a completely     different approach  which made me think of the limitations of

    my own approach            for   Systemson a chip  simulations Just to avoid confusion it is important to

    state that    Andreas and my notion of accurate                                models are very different              I   have been extremely
                of published simulation results in the architecture conferences

                                                                                                                                      5
    critical                                                                                                           on the ground that modeling
    errors are    so large that claims like solution x is better than solution y by say                                                    are bogus

    Andreas on the other hand                    is   starting        at the    other extreme of untimed                models and showing how

    time or modeling           realism can be introduced layer by layer to dramatically                                        increase        the usefulness

    of SystemC models There                      is   a fairly        creative    factoring of problems           in    simulation of time in

    Andreas approach             a detailed description of which                              is   beyond the scope of this           letter    I   would

    recommend        this    paper to       my students               and others who are interested               in    simulation and modeling



    3 Predictive OS Modeling                     for   Host Compiled Simulation                        of Periodic Real Time Task Sets 2011

    In   some sense this paper is related to the paper on Processor modeling He                                               is    proposing        Host
    Compiled simulations which                        to   me    is   the same thing           as direct   execution models and which                     are used

    extensively     in the architecture                community                Host Compiled simulations may not be a novel idea
    but how Andreas used               it   to   model OSArchiterctureapplication                            interaction       is   certainly       creative      He
    showed      how the application code can be back                               annotated         for interrupts     and systems calls and how

    during     execution      an accurate             timing model can be injected at these points to make the whole

    simulation much more realistic                          I   think this idea         is   likely to   be copied by many simulators


    4 Circuit Level Timing Error Acceptance for Design of Energy Efficient DCTIDCTBased
    Systems 2013 Circuits consume less power if operated at a lower voltage but also generate more
    errors The      central    idea in this paper                  is   that   for some applications           answers        degrade     gradually         as we

    accept more and more errors and therefore we can trade accuracy                                            for less       power      Video

    processing seems like an ideal application                                 to try   out this idea       who   cares about          a few errors in a

    video      frame     This paper reports on a well executed                                study of an important           component             in   video

    processing and shows             that the          power consumption                     can be reduced    by as     much as        70 by accepting
    a very small amount of error                      A new idea in the paper was to do some post processing corrections




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    to   reduce       the amount of errors This                   is   an important enough application              that people      are likely to

    read and cite this paper



    5 Codesign Tradeoffs for High Performance Low Power Linear Algebra Architectures 2012
    This paper is a study of how                       much Linear Algebra processing can benefit from specialpurpose
    hardware
                      support The short answer is a lot provided one focusses on minimizing data movement
    in the    memory hierarchy The study is well executed                                     and has involved     some design effort The
    results     were consistent with my expectations


    I   found   all    five
                              papers to be well written and full                         of proper references     to related      work     There         is   a

    good balance            between       tools    versus       design papers For me Andreas work would lack                              credibility

    without      the design papers              The topics covered                     by these papers are of central concern             in   ESL       I    also

    found the         architecture        modeling paper and the OS paper together offering some                                  creative insights               in

    a difficult       modeling question                 I   rarely participate            in the
                                                                                                   program committees       PCs of ESLCAD
    conferences            and therefore          it   is   difficult    for    me gauge what the broader community                   thinks of

    Andreas work However                       based on his long                list    of publications   and his regular participation              in the

    PCs of important              CAD conferences                 he must have             a solid reputation    in the   field   He also seems to
    be successful           in raising research              funds



    Based on all           this   information I am happy to recommend that Andreas be granted                                     tenure and

    promoted          to   the rank of Associate Professor




    Sincerely




    Arvind

    Johnson          Professor of Computer                  Science      and Engineering



    Biography              Arvind    is   the Johnson            Professor             of Computer     Science    and Engineering              at   MIT Arvinds
    group       in   collaboration        with Motorola                 built    the    Monsoon      dataflow    machines and       its   associated              software

    in the    late     eighties In        2000 Arvind               started       Sandburst which         was sold to Broadcom                 in   2006          In   2003
    Arvind cofounded                Bluespec           Inc     an   EDA company to produce                 a set of tools for highlevel                  synthesis       In

    2001 Dr           R S Nikhil and Arvind published the book Implicit                                     parallel      programming in             pH Arvinds
    current research              focus   is   on enabling rapid development of embedded                               systems      Arvind          is   a Fellow of

    IEEE and ACM and a member of the National Academy of Engineering and the American Academy of
    Arts and Sciences




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 Aida Gayle


 From                                      Arvind   <arvindcsailmitedu>

 Sent                                      Monday        August 12 2013       217 AM
 To                                        Bearden Carole A

 Cc                                        Tewfik   Ahmed H Jilda Bolton jildagaylegmailcom Sally 0 Lee
 Subject                                   Re   Letter of reference for Dr        Andreas Gerstlauer

 Attachments                                130710AndreasGerstlauerpdf




 Hi Carole


 The    letter   for Andreas    is   attached   Please    let    Sally know if you also need a hard copy



 Thanks

 Arvind




 On Wed Jun 192013              at   1216 PM Bearden              Carole    A <ciiplimiiititesqii>     wrote



  Dr Arvind




  Thank you for your support of Dr Andreas Gerstlauer promotion and agreeing                           to   write a recommendation

  letter    Attached    is   a formal request     for the       letter   with a website logon and password to access his information

  as well as his     CV



  Best regards




  Carole Bearden



  Executive       Assistant



  The University of Texas at Austin


  Electrical     and Computer         Engineering



  ENS Room 236
  2501 Speedway         C0803



  Austin Texas 787120240                USA




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    UNIVERSITY                                 OF CALIFORNIA

    EMERY         RAVI§     IRVINE     LE3§4kEif14§     klfFEB       liFOR§IBE          BIE88            f                                               14ARliAM




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     Department           of Computer       Science                                                                         +19498247219           Tel       Fax
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                                                                                                                            Email duttAuciedu

       July 27 2013



       Dr Ahmed Tewfik
       Cockrell            Family Regents               Chair in Engineering

       Chairman Department of Electrical and Computer Engineering
       The University of Texas                         at Austin

       Austin Texas 787120240
       Email tewfikaustinutexasedu




       Dear Professor Tewfik


       RE Letter of evaluation                           for tenure promotion                       of   Dr Andreas Gerstlauer to Associate
       Professor



       Im delighted                  to    write a letter of evaluation                    for      the       appointment          of Dr      Andreas Gerstlauer               to

       Associate Professor                      At the very outset               let   me state my strong support for the tenure promotion                                     of

       Dr Gerstlauer                   Per your request               my letter will address the specific questions asked

       a      How long Ive known Dr Gerstlauer

       I    have known               Dr Gerstlauer                 since    he entered          the      PhD program             in
                                                                                                                                      computer science              at   UCI   in

        1997        I actually            spotted      his    application        when       I   served         on the graduate            admission committee               and

       championed                his      Note however that he did not affiliate with my research
                                          case for admission

       group he joined Dan Gajskis group and I did not serve on his dissertation thesis committee nor


       did    I    have any research publications                           with   him He did however take                            a couple of graduate               courses

       with        me where               he performed very                 well and            I   have       subsequently            followed some of his work

       through             his   dissertation            post doctoral             and      tenure track               phases      of   his    career        I   have      been

        impressed by                 the     consistent            intellectual        quality        of his      work       his      taste   in   selecting        important

       problems and                   his    ability     to    create       research       artifacts          that   have       lasting   impact         I   address       these

        items in the rest of my letter




                   Contributions               to the field and quality of publications



       Dr          Gerstlauers              research          is     in    embedded             systems           with      a    focus        on   early      system level

       specification                 and the          tools   and         methodologies             to       convert    these      highlevel        specifications          into


       working               hardwaresoftware                      implementations                  while        satisfying           stringent     multi dimensional




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                                                                                                                                Email duttAuciedu

       constraints           eg performance                         power energy reliability etc While many embedded                                                   systems

       are    application               or domain specific               we are increasingly seeing the use of embedded                                                 system

       design methodologies                         being deployed               in    the main stream high                     performance         computing arena as
       the    powerenergyreliability                          and other careabouts                     begin           to   converge      across    these    design flows

       This    requires           new abstractions                  models optimizations                        and compilation            flows for the        reliable     and
       efficient       deployment of such low power embedded                                           and highperformance                   systems


       Towards          this      end Dr            Gerstlauer            has already            made an               impressively       strong     impact     through       the

       development and                   distribution             of models and tools for early System Level                                  Design        SLD and           for

       the    exploration           and mapping of these models onto heterogeneous                                                  multiprocessor          platforms         To
       wit     I   believe         Dr         Gerstlauer            is    the    key     intellectual             contributor        behind     the       SpecC      modeling
        language        and        methodology                    which         besides       the      high        citation       counts     led     to    development        of

       semantics for the                 SystemC language                        which        is   now         the      default   industry     standard       specification

        language        for       mixed hardwaresoftware                               design      implementations                   The     impact        of this     work    is



        impressive particularly coming from a researcher                                              who         is   so early in his career             After joining      UT
       Austin         Dr      Gerstlauer             has     continued           to     build on           this    momentum by              creating       abstractions       for

       RTOS        modeling             for heterogeneous                       multi core         platforms                hardware dependent             software     design

       methodologies                    and     transaction level                 modeling             for        efficient       exploration        of    communication

       architectures               His recent             work on speeding                 up system level simulation and embedded                                    software

       modeling         already          show early signs of impact both in the research arena                                               as well as for industrial

       practitioners




       The     overall        quality         of Dr         Gerstlauers research                      is   extremely           strong as evidenced             by the high

       quality        venues        where           his    work      has appeared                  His archival               journal    articles    appear     in    the   most

       prestigious           ACM and IEEE journals including ACM Transactions                 of                                          on Design Automation
       Electronic          SystemsACM TODAES IEEE Transactions on Computers IEEE Transactions on
       Computer Aided Design of                               Circuits          and Systems IEEE                        TCAD         IEEE     Transactions            on VLSI

        Systems IEEE                TVLSI and IEEE Embedded Systems Letters to name a few There are no better
       journals for          publication             in   these research areas



       Moreover              it   is     important            to     note        that    in     the        embedded            systems      arena         premier     refereed

       conferences            are the preferred                    outlet   for    research         publications               Dr Gerstlauers publications                  have

       appeared         in   highly selective                peer reviewed conferences                            that typically         have acceptance        rates of 12

        30 with each paper being reviewed by anywhere between 36 reviewers                                                                          Publication        in   such

        premier conferences                     and workshops                     is    often      considered               to be on par with         the    best     archival

       journals and                is   one of the primary means of research                                            dissemination          Towards         this   end Dr
       Gerstlauer          has a very strong record of publication                                     in      premier conferences            and workshops             indeed

       his
              papers         have        appeared            in     the     leading       peer reviewed                     conference     venues         including         DAC




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    UNIVERSITY                               OF CALIFORNIA

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       DATE CODES+ISSS                              ICCAD ASPDAC and ASAP to name a few Again there are no better
       premier conferences                   for    publication           in his        area of research



        As I mentioned              earlier         Dr Gerstlauers research                            is   in the      general       area of embedded             systems       this

        is   an exciting          and vibrant area of research                          with the potential                    for    both short term industrial               impact

       which           he has already demonstrated through                                   his       SpecC and              SER projects as well as longterm
       societal         impact          through       the       development               of technologies                     that    will    aid   humanity        in   terms       of

        integrating        embedded             computing              into    our daily social fabric of our lives                             The challenges           resulting

       from the design of embedded                              computing systems differ quite                                radically from traditional             computing

       systems           in that        one not only has                to    deal      with problems                   of performance              power and energy                but

       also requires explicit representation and interaction                                                with the physical environment                       in which       these

       embedded             systems           are     deployed                    The     resulting              problems            often     require      balancing         multi
       dimensional              constraints          that       often    interact         with each                  other    in    complex      and non intuitive ways
       The      resulting          problems          are extremely                 challenging                  and require          intellectual     depth     together        with

       strong engineering                  design           Thus there is no question                            that       Dr Gerstlauer is tackling               problems on
       the     cutting      edge of research                     and providing              solutions                to substantive           questions     that    advance         the

       state    of the art in embedded                        systems


               Development               as a scholarresearcher                          and peer group comparison


       Dr Gertslauers choice                        in     pursuing           challenging          and important                    problems and a successful                   track

       record          of creating           tools         and    methodologies                   that          not    only        have      impact   in    research          but    in

       commercial            deployment              all    show a level of capability                           and maturity that places him at the                      level      of

       a scholar         who       is   well beyond tenure                        Indeed      I   would              place    ahead of recently tenured Associate
       Professors such as Azadeh Davoodi                                     at   Wisconsin                 Deming Chen at Illinois                   and Roman Lysecky

       at    University of Arizona                       and place him the cohort of emerging                                        star Associate        Professors such as

       David Atienza               at   EPFL and Vijay Raghunathan                                at    Purdue


       d       Future growth and potential


       Professionally               Dr Gerstlauer                 is   already          operating               at    the    level    of an     Associate       Professor           he

       served      as Topic or Track                  Chair for          DAC and CODES+ISSS                                   and has co organized or Co Chaired

       events      such as VLSISoC and                           Embedded               MultiProcessor                  Software          Synthesis Workshop             at   DAC
       And       of course              he serves           on     or has           served        on        the       Technical         Program       Committees           of key

        international             conferences            in     embedded           systems and                  EDA eg DATE DAC ICCAD CASES
       CODES+ISSS and RTAS                                  I   expect       that    he    will    continue to be asked to serve on other Technical

       Program           Committees and also                           will       be asked         to       lead       major events            in   the    future        Thus       Dr
       Gerstlauer          is     performing valuable professional                                service to the profession                         In terms of research               I




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    UNIVERSITY                                OF CALIFORNIA

    EMERY     RAVI§     IRVINE     LE3§ftkEiRls§     kIRFEB     liFOR§IBE       BIE88        F                                                         §AiffA HIi




    Nikil   D Dutt                                                                                              3086 Donald Bren Hall
     Chancellors Professor                                                                                      Irvine   CA 926973435        USA
     Department       of Computer       Science                                                                 +19498247219         Tel     Fax
                                                                                                                +19498244056        Alt Fax

                                                                                                                httpwwwicsuciedukdutt
                                                                                                                Email duttAuciedu

        believe that          Dr Gerstlauers recent                  forays into hardware software                    codesign    for   highperformance
        linear    algebra computations                     and mixed simulation frameworks                        for CyberPhysical              Systems all

       point      to    his      growing           momentum          for    selecting   important          intellectual        challenges    and creating

        innovative        solutions           with the potential            for high research           as well as practical        impact       Theres no
       doubt      in    my mind that Dr Gerstlauers profile is already                                     at   the    level    of a successful        tenured

       researcher         in the       embedded                                              with his record Dr Gerstlauer would have no
                                                         systems arena Indeed

       problem gaining tenure in my school and within the University of California system


        Summary

       I    believe    Dr Gerstlauer is on the trajectory                       towards an exciting             and productive          intellectual     career

        in   academia            and      I   believe         he   will     continue    to       push    into   new      research       frontiers      using        a

       combination             of modeling            analytical          and algorithmic techniques              to aid future         embedded        system

       designers          Im delighted                to      give   my     enthusiastic          and    unqualified           support     for   the    tenure

        promotion          of    Dr Andreas Gerstlauer to Associate Professor

       Please do not hesitate                  to   contact     me if you have further             questions



        Sincerely




       Nikil Dutt

       Chancellors Professor

       Department of Computer Science primary

       Department of EECS
       Department of Cognitive                      Sciences




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 Jilda     Gay

 From                                   nikilduttgmailcom    on    behalf of   Nikil   Dutt   <dutticsuciedu>
 Sent                                   Saturday July 27 2013 213       AM
 To                                     Bearden Carole   A Tewfik Ahmed H         JiIda   Bolton Oildagaylegmailcom

 Subject                                Re Letter of reference   for   Dr Andreas Gerstlauer
 Attachment=                            andreasgerstlauertenurepdf




 Dear Prof Tewfik



 Please find attached        a letter of reference for the tenure promotion of Dr Andreas Gertlauer


 All the best



 Nik Dutt


 On Wed Jun 192013             at   934 AM Bearden     Carole    A <cupmailutexasedu>                wrote



  Dr Dutt




  Thank you for your support of Dr Andreas Gerstlauer promotion and agreeing to write a recommendation
  letter    Attached   is   a formal request for the letter with a website logon and password                to   access his information

  as well as his    CV



  Best regards




  Carole Bearden



  Executive      Assistant



  The University of Texas at Austin


  Electrical and     Computer Pngineer


  ENS Room 236
  2501 Speedway         C0803



  Austin Texas 787120240              USA




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   UNIVERSITY OF CALIFORNIA IRVINE

   BERKELEY     DAVIS    IRVINE     LOS   ANGELES     MERCED          RIVERSIDE         SAN DIEGO     SAN FRANCISCO   11711111tairA1911    SANTA   BARBARA      SANTA   CRUZ




      Nikil   D Dutt                                                                                                   3086 Donald Bren Hall

     Chancellors Professor                                                                                             Irvine   CA 926973435         USA
     Center   for    Embedded Computer           Systems                                                              +19498247219         Tel      Fax
                                                                                                                      +19498244056         Alt Fax

                                                                                                                       httpwwwicsticiedudutt
                                                                                                                      Email duttanciedu



                Short Biography of Nikil Dutt


                Nikil     D Dutt          is   a Chancellors             Professor at the              University      of California         Irvine with

                academic          appointments         in       the     CS EECS and                   Cognitive       Sciences     departments            He
                received     a    BEHons in Mechanical Engineering from the Birla Institute of Technology
                and Science Pilani India                   in    1980 an           MS         in   Computer Science          from the Pennsylvania

                State   University in           1983 and a PhD                    in   Computer Science from the University of Illinois
                at   Urbana Champaign in 1989 He is affiliated                                     with the following        Centers at UCI          Center

                for Embedded Computer                   Systems            CECS               California Institute        for Telecommunications

                and Information Technology                       Calit2 and                  the Center for Pervasive Communications                      and

                Computing          CPCC

                Professor         Dutts         research         interests             are    in    embedded       systems         electronic        design

                automation           computer           architecture                    optimizing         compilers         system         specification

                techniques         distributed
                                                     systems and brain inspired computing He is a coauthor of seven
                books     and over 300 journal and refereed conference                                    articles     His   research     has also been

                recognized         by Best Paper            Awards           at    the       following    conferences        CHDL 89 CHDL 91
                VLSI Design 2003CODES+ISSS 2003 CNCC 2006 ASPDAC 2006 IJC1VN 2009 and
               DATE 2012 and Best Paper Award Nominations at WASP 2004 DAC 2005 VLSI
               Design 2006 and CODES+ISSS 2011  He has also received a number of departmental
                and campus awards for excellence                          in teaching at            UC Irvine

                Professor Dutt            served as Editor inChief of                         ACM Transactions on Design Automation                            of

                Electronic Systems TODAES between 20032008    and currently serves as Associate

                Editor     ACM Transactions on Embedded Computer Systems TECS and of IEEE
                           of

                Transactions on VLSI Systems TVLSI     He was an ACM SIGDA Distinguished
                Lecturer     during            20012002          and an IEEE                  Computer     Society       Distinguished        Visitor for

                20032005             He        has   served      on the           steering          organizing     and    program         committees           of

                     premier CAD
                several                   System      and       Embedded
                                                             workshops including                     conferences       and

                ASPDAC DAC DATE ICCAD CODES+ISSS CASES ISLPED and LCTES He      a                                                                         is


                Fellow of the IEEE an ACM Distinguished                                       Scientist   and an lFIP Golden Core awardee




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    UNIVERSITY OF CALIFORNIA LOS ANGELES                                                                                                                         UCLA


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                                                                                                                         DEPARTMENT      OF COMPUTER SCIENCE
                                                                                                                                           4731H BOELTER HALL
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                                                                                                                                    LOS ANGELES CA 900951596

                                                                                                                                               PHONE 310 8255414
                                                                                                                                                 FAX 310 8252273
                                                                                                                                             EMAIL m iloscsuc Ia edu
    July    112013


    Dr Ahmed Tewfik
    Chairman Department of Electrical                               and Computer Engineering

    The University of Texas                       at   Austin

    Austin Texas 787120240


    Dear Professor Tewfi


    This       is   my letter of recommendation                      for Prof Andreas Gerstlauer for his promotion                      to   Associate

    Professor with tenure                    I   have known about his research                 in system level      design and application specific
    architectures            for   several        years      We met only recently             at the   22d IEEE Conference on Application

    Specific Systems                Architectures              and Processors         in   Santa   Monica California September 1114 2011 and
    at   the    IEEE Symposium on Computer Arithmetic                                      Austin Texas April 2013 Most recently                     I   invited    Prof

    Gerstlauer to give a seminar on his research                               in Computer         Science     Department     at   UCLA These
    interactions         have given              me an opportunity          to    observe    his   technical   work     discuss    research     ideas listen to

    his presentations              and follow               his professional      activities    He is excellent in all       these categories             I   have a

    strong appreciation                of his technical             contributions      he selects      to   work on good problems his ideas have

    originality and he carries out his work from a formal level through                                         implementation          details      His research

    is   of a definite        practical           importance         His skills     dedication and energy are also strong He                    is   a very

    engaging speaker                   I    believe that he must be an excellent teacher and mentor He                             is   also a good

    communicator               easy to get along with and highly personable



    Prof Gerstlauers research has contributed                                to   several    areas in computer architecture and design

    automation           He is currently               focusing        on an important and timely area automating exploration                             and

    synthesis of highlevel                       specifications        on modern multiprocessor              architectures       He is working on problems
    arising         in integrating          generalpurpose             and embedded          systems both at the software and hardware levels
    This architectural              heterogeneity seems to be essential in addressing rising costs of design                                    power
    reduction          and    reliability          He and his students have made notable contributions                           in solving


    programmability problems in reconfigurable                                   computing         He has also made excellent contributions                     in the


    design of energy efficient systems by reducing the overheads                                        in computations          His approach            exploits   the

    use of domain specialization                            and heterogeneity        A good example of such a work in his research group                               is


    an algorithmhardware co design of a linear algebra processor                                            published   in the   IEEE     Transactions on

    Computers 2012 which achieves                                  several orders of magnitude better efficiency                 than current architectures

    The    results                IEEE Transactions on Computers Special Issue on Energy Efficient
                        were published                 in   the

    Computing This work has also attracted attention from IBM and AMID as well as Stanford and
    University of Wisconsin resulting                              in research      collaboration      Approximate arithmetic            is   a rising approach

    in   reducing energy consumption                              Prof Gerstlauer showed            with his coworkers in a recent             ICCAD paper
    2012 how to model and synthesize energy optimal adders                                             with good performance            He and his




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    collaborators       have recently proposed a novel               strategy to     exploit timing error acceptance             TERRA         in


    image and video processing systems to significantly increase energy efficiency published                                       in the   IEEE
    Transactions on Circuits and Systems for Video Technology                                2013 These works are typical            of his

    research       there   is   a clear original idea a good technical depth                  and strong experimental            results    Prof

    Gerstlauer and his collaborators              made notable contributions               in identifying   key principles        of electronic

    system design          covering     both    hardware and software aspects This important paper was published                              in the

    IEEE    Transactions on Computer Aided Design of Integrated Circuits and Systems                                      2009 and had an
    influence on        subsequent       research     in this   area



    Prof Gerstlauer has a very strong publication                      record in key journals and conferences                  His work     has been

    published in IEEE andACM publications such as the IEEE Transactions on Computers IEEE
    Transactions on VLSI IEEE Transactions on CAD and ACM Transactions on Design Automation                                                        of

    Electronic     Systems He and            his collaborators       have also extensively published                in leading   reviewed
    conferences      such as the        ICCAD IEEE Symposium on Arithmetic DATE and IEEE ASAP Their 2003
    paper on     RTOS modeling            for   system level design           has been included    in The    Most      Influential   Papers        of 10

    Year od    DATE         All of these venues are highly competitive                    and frequent presence of Prof Gerstlauers in

    these publications          attests to   the quality of his research His record in obtaining                     funding               adequate
                                                                                                                                appears
    to             his research
         support                       group


    Prof Gerstlauers vision of research plans is well articulated and I agree with his characterization of

    outstanding problems related to managing design                         complexity       dealing with progress in energy efficient

    systems technology             and design automation             at the   high level     All of these problems provide           challenging

    opportunities       for cutting     edge    research Based         on     his past   accomplishments        I   believe that Prof Gerstlauer

    will   continue being successful             in achieving       these goals



    Prof Gerstlauers participation               at   various international         and domestic conferences            has been strong and

    recognized       He has participated          in a large     number of technical program committees that attests                      to his    wide

    recognition     by peers           domestic as well as international             He has also given      keynote presentations at
    international       conferences       clearly     indicating    that   he is well recognized       in the   world research       community
    He has very strong professional               involvement        in a large     number of technical program committees                    in

    awards committees             and as reviewer        for    the National     Science Foundation         DOE       and several leading IEEE
    and    ACM journals and transactions                 From his selfserving letter I also see that he has a strong record in
    teaching   and advising PhD and               MS students Judging by very nicely delivered conference                          presentations I

    heard he must be a very good instructor His service to the university                              seems strong


    In summary based on his excellent scholarly                        achievements        professional   recognition strong student

    mentoring and strong professional                  activities    and University service        I   strongly recommend promoting

    Prof Gerstlauer to Associate Professor with tenure His overall record would qualify him for such a

    promotion      at   UCLA       I   would    certainly   be happy to have such a productive and capable                       colleague in my

    department


                                                                     Sincerely



                                                                                         7
                                                                                                          Q
                                                                     Milos     D Ercegovac
                                                                     Distinguished        Professor of Computer          Science




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 Jilda Gayle



 From                                         Tewfik Ahmed          H <tewfikaustinutexasedu>

 Sent                                         Friday July 19 2013 518        PM
 To                                           Milos    Ercegovac     Bearden Carole A

 Cc                                           Jilda   Bolton   jildagaylegmailcom
 Subject                                       RE Letter of reference     for Dr   Andreas Gerstlauer




 Many thanks Milos


 We greatly appreciate              your support



 Regards

 Ahmed


 From Milos Ercegovac                mailtomiloscsuclaedu
 Sent Friday July 19 2013 504 PM
 To Bearden Carole A
 Cc Tewfik Ahmed              I   I Jilda Bolton jildagaylegmailcom
 Subject         Re Letter of reference     for Dr Andreas      Gerstlauer

 Importance            High



 Dear Dr Tewfik


 Attached         is   my recommendation           letter for the   promotion of Prof Andreas Gerstlauer
 I
     hope   it   helps


 Sincerely



 Milos Ercegovac




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                                                                      Short Biography



                                                                  Prof Milo§         D Ercegovac
                                                            Computer            Science     Department
                                                     University         of California         at Los Angeles

                                                                 Email          milosacsuclaedu

                                                           httpwwwcsuclaedur milos




       Dr Milo§ D              Ercegovac      is   a Distinguished Professor                and a former Chair in the Computer Science

       Department of the Henry Samueli School of Engineering and Applied Science                                                  University       of   Califor

       nia at Los Angeles where he has been on the faculty since 1975                                           He earned      his      MS     72 and PhD
       75     in    computer        science        from the University            of Illinois        Urbana Champaign and BS                     in electrical


       engineering           65     from the University               of Belgrade          Serbia      Dr Ercegovac          has specialized            for   over

       40 years         in   research    and teaching            in   digital    arithmetic       digital       and computer system design and

       parallel    architectures          extensively           published in the leading journals and conferences                              His dedication

       to   teaching         and research has also              resulted in several         coauthored           books      two    in    the area of digital

       design      Digital       Systems      and HardwareFirmware Algorithms Wiley                                       Sons      1985 and Introduc
       tion   to   Digital      Design Wiley                    Sons 1999         and two       in    digital    arithmetic       Division        and Square
       Root       Digit Recurrence          Algorithms            and Implementations                 Kluwer Academic             Publishers          1994 and

       Digital     Arithmetic           Morgan Kaufmann Publishers                         a Division       of Elsevier       2004           He received the
       Lockheed Martin              Excellence        in    Teaching       award     in    2009       He   is   also   recipient     of the     2013     Distin

       guished      Alumni Educator Award from the Department of Computer Science                                                   at   the    University      of

       Illinois    at    Urbana Champaign                  Dr Ercegovac           has been involved             in   organizing the        IEEE Symposia
       on Computer             Arithmetic          since    1978       He served      as   an   associate        editor   of the        IEEE Transactions
       on Computers 1988 1992 and                          as   a subject       area editor     for   the Journal         of Parallel and Distributed

       Computing             1986   1993    Dr Ercegovacs                 work    has been      recognized           by his election      in   2003     to   IEEE
       Fellow      to Foreign Member of the Serbian
                   and                              Academy of Sciences and                                                 Arts    in   Belgrade        Serbia

       He is also a member of the ACM and of the IEEE Computer Society




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   Rajesh   K Gupta                                                                                                                     Dept of CSE       0404    MC
   Professor   and QUALCOMM                  Endowed Chair                                                                              9500 Gilman Drive

   Dept of Computer       Science       and Engineering                                                                                   La Jolla CA             920930404
   Jacobs   School of Engineering                                                                                                         +18588224391               Tel
                                                                                                                                          +18585345948               Fax

                                                                                                                                          Email guptacsucsdedu



                                                                                                                                    August            7 2013
               Ahmed Tewfik
               Cockrell        Family Regents              Chair in Engineering

               Chairman Department of Electrical and Computer Engineering
               The University of Texas at Austin

               Austin Texas 787120240



                Subject        Andreas Gerstlauer



                I   am writing this letter in response to your request of June 28 2013                                                       regarding            evaluation        of Pro

               fessor     Andreas            Gerstlauer        for       promotion and                  tenure     to    Associate          Professor         I    have    known Dr
               Gerstlauer         since                        as a student in                                              and
                                             1998      first
                                                                                            my class at Irvine                     later        as a graduate student in the

               department          I   have     not collaborated                  or   coauthored              on any projects paper or proposal with                                 him
                For the sake of concision                  first     I   will    make general remarks about the nature of Professor Gerstlau
               ers research followed by answers to specific questions in your letter


               Professor        Andreas         Gerstlauers research                       is    in the       sub area of system level                      design in      Embedded

                Systems Research                in this area             borrows from the intellectual                     tradition in electronic                   design automa
               tion    or VLSICAD with publishing                                    fonuns that consist of an eclectic mixture of traditional CAD

               fonnns as well as a number of new                                and unproven forums in Embedded Systems                                              There     is    gener
               ally no        singular       driving     problem                at   least in the sense              of engineering design and optimization

               that a typical          researcher seeks                  to address         in    all    of hisher work             Instead            there are      guiding goals
               that serve        as    an organizing            umbrella for individual researchers                                   These           may    include       improving
               level    abstraction           in design        synthesis or verification                           or reducing                         or energy
                                                                                                                                          power                            Progress      is


               made through             contributions              in specific             models and              methods     that         sometimes             show up       as    tools

               andor languages for the practitioner While most efforts result in a publication or two in various
               fonuns that are somewhat rank ordered a few projects that make it to the practitioners as tools are

               considered         the     most impactful                   Sometimes tools                    or   other    artifacts           are    produced        by a broader

               community or a different unrelated group                                     thus obscuring                research          credit      especially         for a junior

               researcher


               When      it    comes to forums and metrics                             the publication              culture   in this           domain       is   truly   at   the   inter

               section        of entirely conference centric computer                                   science      research and primarilyconference                            centric

               computer         engineering            part of electrical                  engineering research                    In       other      words conferences                are

               primary means for disseminating                             results the                                                      fonuns tend to be 614 pages
                                                                                                 paper lengths in Tier                  1



               another         interpolation           of two cultures that are selected                                 through      highly competitive                  review       pro
               cesses     that    admit no second              chances            or revisions               While      VLSICAD publications                        have more jour

               nal     fonuns embedded systems                            is    somewhere               in   between for        its       balance       with conferences               and

               journals        Further embedded systems fonuns like the area are                                                  still     a    work in progress               some of
               the     prominent        work        shows up in forums that reflect                                the   intellectual           training     and background              of

               the     researchers           that   would      be VLSICAD                       for     Andreas Other researchers in embedded systems




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                     well publish          similar work                     in terms of topic                    in computer                                                                       or
         may                                                                                                                             architecture            signal          processing

         realtime            systems conferences                            Thus     the    choice of the                 host forum should be                              treated       without

         prejudice           since    it   reflects              primarily a          community                  affinity         more than true rank                       ordering          of the

         quality of contribution                            It       also   means     that        typical embedded systems                                researchers             tend to        flip

         around forums among these domains which                                                  ultimately reflects                    evolving         nature          and collaboration

         of their research but                   it    also hurts their citation                    counts by changing the peer communities                                              and thus

         visibility         of their work               Citation            counts and hindices are useful measures here only to the extent

         you use them to compare researchers in embedded systems area

         For someone with Professor Gerstlauers intellectual                                                      persuasion               the   prominent                host forums are
         DAC          DATE ICCAD                       and           ASPDAC They are                         listed      in       no    particular        order especially                    for the

         system design EDA researchers who tend to be somewhat less prominent part of these forums
         Among these DATE is perhaps most progressive of the system design research followed by
         ASPDAC ICCAD most definitely does a token `metoo job in system level design while pre
         senting a strong research                          results in more               mainstream               EDA topics related to physical logical                                       level

         design and verification                    Among journals embedded systems research shows up in IEEE Transac
         tions       on     CADCAS               IEEE Transactions on VLSI ACM TODAES IEEE Transactions on Com

         puters        and   ACM TECS Paucity of decent                                           forums led the community to                               start          IEEE Embedded

          Systems Letters As founding                                   EIC of IEEE               ESL        I   know         a   bit    more about it               than       others the        ac
         ceptance           rate has varied                 from       14      in   the   first    year to about                  low 20s now Thus the primary places

         where we expect to see research results by Professor Gersdauer would                                                                         be one of the ES Week                       fo
         rums such as CODES+ISSS                                      or EMSoft or           CASES DATE DAC and ASPDAC For the topical
         area that          Prof Gersdauer works on these                                  are     roughly in the class                        Given his background                       Profes

         sor Gerstlauers work                         also           shows up often                in    an IFIP forum on Embedded                                       Systems         IESS       I



         dont know much about the                                    quality of this fonun                   I   have not attended                   it   but    I
                                                                                                                                                                         suspect    it   is   some
         where between Tier                  1        and Tier 2


          I   will    note    that there was a period                         of about 34 years between his graduation                                               from Irvine to join

         ing UT when he worked                              as a postdoc to               Daniel Gajski on a Japanese                            project             Given the nature of

         the    contract        and work                I
                                                             suspect          the   emphasis was                   strongly on implementation                               that    must have

         come at the cost of his publication                                   record        However               I   do know            it   was   a period             of his intellectual

         growth        and perhaps the work                            that   he would            be known best for around that time SpecC                                               since    he

         produced            that   artifact          that       I   talked    about earlier Along with Reiner Doemer he had made SpecC

         happen though I suspect                            that       Andreas probably                 has claim to a large share of the credit


          Let me now address                 the questions posed                          in your letter


                How         would you          assess                the contributions             to your             discipline          made by Professor Gerstlauers

                publications Which publications would you judge to be the most significant and why

         This question understates the mechanisms                                            by which              an academic makes an impact                                    by implying

         publications           to be the             sole expression                Professor           Gerstlauers publication                           record          is   strong    both in

         the     aggregate           as    measured                   by     the    numbers             in       quality          as    measured          by     best           paper nomina
         tionsawards and in impact as measured by transition                                                       to practice             Among          the    papers that stand                out

         are    OS Modeling                paper that appeared                       in    DATE 2003                   and more recently                   his       IEEE ESL paper                in

         2012         The notion           of host compiled models                           is    certainly            interesting            and came          at      the right       time just

         when         the    community was looking                             into building             and using transactional                          models for system level

         design        These        have already made into the practice and as standards in things like SystemC


         While        Andreas has a number of contributions                                        in system level                     modeling and simulation area                               not

         surprising           given his background                           and training                I   am most intrigued                       and heartened                by his work
         with Michael               Orshanslcy              on approximate                 computing               their paper in IEEE                      TCSVT 2012 He has
         pursued both circuit level and numericalsignal processing strategies to enable                                                                                  approximate           com
         puting He has pursued                          this         line with the goal to reduce                        power consumption                           I   find    this    work   no




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         table for        two reasons                     one it demonstrates                      Professor         Gerstlauers willingness and                        ability             to pur

         sue topics           far outside his training                          and comfort zone                   as a system level             CAD researcher two he
         has chosen            a set          of problems             in   an area of tremendous current importance                                        that   is   showing up in a
         wide range of strategies from devices                                            and circuits         where                goes by variability aware                      design
                                                                                                                              it




         programming languages principled approximation to data bases such as BlinlcDB

                How          would you                   assess     Professor Gerstlauers                          development           as a scholarresearcher                               com
               pared with others in his cohort at                                     research intensive universities


         Professor            Gerstlauers has made notable attempts                                           at   expanding his research portfolio from purely

         system level EDA problems This is both practical and strategic For one there is limited funding
         support for EDA and even much less for system level modeling and EDA Strategically            is                                                                                      it



         important for Professor Gerstlauer to build a research portfolio                                                            that will    move the needle in sys
         tem level design practice                             through innovations                      that involve          technologists           beyond           EDA algorithms
         and tools There                      is   evidence         that Professor Gerstlauer                        has built a research portfolio that goes from

         signal      processing                    numerical          methods to circuits                    giving     him opportunities              to    approach         a diversity

         of funding            sources             in support         of his research


         Peer       comparisons                    are   hard and sometimes in appropriate                                  because      there        is    really     no    singular              co
         hort Even             among researchers within his                                     academic       age      there is diversity of experience                           time tak

         en to do something else et cetra                                  For instance                 a   gap of nearly four years in Professor Gerstlauers
         academic             CV may show up as                             fewer          publications            than his post PhD                  cohort       will      indicate              but

         makes him a                     stronger researcher                    for the         artifact      that   he produced          during           this   period       I    am sure
         others      have               similar characteristics                   making           peer comparison                  especially        difficult         While           I
                                                                                                                                                                                             try    to

         avoid putting                   down any names to compare some kind of rank                                                  ordering        of researchers in his age

         group       I   will           say this         with an h index of 21 and a citation count of over 2000 Professor Gerstlau

         er    is   among               top    half       a   dozen        researchers             in       system level           CAD area           In     terms of publication

         counts          he    is        likely     to    be overshadowed                       by researchers           in    physical    or logical             design       CAD area
         simply because                    of the publishing                    culture          There        is   nearly      an inverse relationship                  of publication

         counts and the level of abstraction                                     in       the electronic           design          automation     area On the other hand
         there      is   a    limited              number of researchers in system level                                    CAD area           and among these                     Professor

         Gerstlauer            is       likely      among         the top three                 These       include     researchers       such        as    Hiren Patel            at       Water
         loo    somewhat junior                               Steve    Edwards             at    Columbia          h index 25 citation count 4k Latter                                         is    a

         good point of comparison                               since      he    is   a   bit    senior      and thus points to a likely path researcher in this

         category         takes            Patrick            Schaumont          is       in a similar        and       senior category               That will         define              a close

         peer set for Professor Gerstlauer                                 along with Deming Chen at UIUC and Farinaz Koushanfar

                What          is    your perspective                  on Professor Gerstlauers promise for firther                                            growth         and            signifi

                cant contributions                        to the field


         In    view      of demonstrated                        efforts     by Professor Gerstlauer                         to reach      outside           of his background                       to

         form new partnerships                                the   prognosis              is   good for continued                   success     in    attracting           students           and

         raising necessary                     sponsored research support

         I
              summary               I    fmd Dr Gerstlauers research                               record
                                                                                                                   strong
                                                                                                                              and worthy         of promotion                to associate

         professor with tenure


         If   you have             any questions                please      feel free to contact                   me


          Sincerely



                         4
                              efiA
         Rajesh Gupta Professor and Ch




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         BIOGRAPHICAL SKETCH


         Rajesh      K Gupta        is   a professor        and chair of Computer Science and Engineering at UC San Diego

         and holds the          QUALCOMM                  endowed chair His research interests are in energy efficient systems
         that     have    taken    turn    towards        largescale   energy use    in recent    years His recent contributions          in
         clude     SystemC modeling                 and    SPARK    parallelizing   highlevel     synthesis     both of which      are   pub
          licly   available       and have been           incorporated   into   industrial practice       Earlier   Gupta lead or co lead
          DARPA sponsored                 efforts    under the Data Intensive Systems         DIS and Power Aware Computing
         and Communications                 PACC programs that demonstrated architectural adaptation and compiler
         optimizations in building                                        and energy efficient system architectures               His
                                                    high performance                                                                ongo
         ing      efforts   include        energy efficient        data centers     and   large   scale    computing      using   memory
         coherent algorithmic accelerators                    and nonvolatile     storage   systems       In recent   years Gupta and his
         students        have   received       a best      paper award   at   IEEEACM DCOSS08                 and a best demonstration

         award  at IEEEACM IPSNSPOTS05      Gupta received a BTech in EE from IIT Kanpur MS in
         EECS from UC Berkeley and a PhD in Electrical Engineering from Stanford University Gupta is
         a Fellow of the IEEE




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 Jilda Gayle



 From                                         Tewfik Ahmed          H <tewfikaustinutexasedu>

 Sent                                         Friday July 19 2013 518        PM
 To                                           Milos    Ercegovac     Bearden Carole A

 Cc                                           Jilda   Bolton   jildagaylegmailcom
 Subject                                       RE Letter of reference     for Dr   Andreas Gerstlauer




 Many thanks Milos


 We greatly appreciate              your support



 Regards

 Ahmed


 From Milos Ercegovac                mailtomiloscsuclaedu
 Sent Friday July 19 2013 504 PM
 To Bearden Carole A
 Cc Tewfik Ahmed              I   I Jilda Bolton jildagaylegmailcom
 Subject         Re Letter of reference     for Dr Andreas      Gerstlauer

 Importance            High



 Dear Dr Tewfik


 Attached         is   my recommendation           letter for the   promotion of Prof Andreas Gerstlauer
 I
     hope   it   helps


 Sincerely



 Milos Ercegovac




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                                                                      Short Biography



                                                                  Prof Milo§         D Ercegovac
                                                            Computer            Science     Department
                                                     University         of California         at Los Angeles

                                                                 Email          milosacsuclaedu

                                                           httpwwwcsuclaedur milos




       Dr Milo§ D              Ercegovac      is   a Distinguished Professor                and a former Chair in the Computer Science

       Department of the Henry Samueli School of Engineering and Applied Science                                                  University       of   Califor

       nia at Los Angeles where he has been on the faculty since 1975                                           He earned      his      MS     72 and PhD
       75     in    computer        science        from the University            of Illinois        Urbana Champaign and BS                     in electrical


       engineering           65     from the University               of Belgrade          Serbia      Dr Ercegovac          has specialized            for   over

       40 years         in   research    and teaching            in   digital    arithmetic       digital       and computer system design and

       parallel    architectures          extensively           published in the leading journals and conferences                              His dedication

       to   teaching         and research has also              resulted in several         coauthored           books      two    in    the area of digital

       design      Digital       Systems      and HardwareFirmware Algorithms Wiley                                       Sons      1985 and Introduc
       tion   to   Digital      Design Wiley                    Sons 1999         and two       in    digital    arithmetic       Division        and Square
       Root       Digit Recurrence          Algorithms            and Implementations                 Kluwer Academic             Publishers          1994 and

       Digital     Arithmetic           Morgan Kaufmann Publishers                         a Division       of Elsevier       2004           He received the
       Lockheed Martin              Excellence        in    Teaching       award     in    2009       He   is   also   recipient     of the     2013     Distin

       guished      Alumni Educator Award from the Department of Computer Science                                                   at   the    University      of

       Illinois    at    Urbana Champaign                  Dr Ercegovac           has been involved             in   organizing the        IEEE Symposia
       on Computer             Arithmetic          since    1978       He served      as   an   associate        editor   of the        IEEE Transactions
       on Computers 1988 1992 and                          as   a subject       area editor     for   the Journal         of Parallel and Distributed

       Computing             1986   1993    Dr Ercegovacs                 work    has been      recognized           by his election      in   2003     to   IEEE
       Fellow      to Foreign Member of the Serbian
                   and                              Academy of Sciences and                                                 Arts    in   Belgrade        Serbia

       He is also a member of the ACM and of the IEEE Computer Society




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                                                                                                                                                               fOr Technische                         Informatik                  ITEC
           ACIT
                                                                                                                                           Institut


                                                                                                                                           Chair for                 Embedded Systems

           Karlsruhe         Institute     of Technology




           KIT         Karlsruhe          Institute      of Technology                  76128          Karlsruhe
                                                                                                                                                                                                     Director
           Institut     fUr    Technische              Informatik          ITEC
                                                                                                                                                                                                     Prof       Or Jarg Henkel




                                                                                                                                                                                                     HaidundNeuStr                   7 Gab 0721
                                                                                                                                                                                                     76131       Karlsruhe


                                                                                                                                                                                                     Germany
                                                                                                                                                                                                     Tel        +49 721     6086050

                                                                                                                                                                                                     Fax        +49 721     6083962


                                                                                                                                                                                                                                   scsi



                                                                                                                                                                                                     nuoiceseiserat




                                                                                                                                                                                                     JuL       28th   2013



           Reference                 letter            for    Dr Andreas Gerstlauer                                  for       promotion to the rank                             of    Associate                Professor             with tenure



           I    feel    confident            to        write        this       reference           letter     for    Dr Andreas             Gerstlauer               from        University          of Texas           Austin            since           have

           followed            the    steps           of his career             from the time when                    was a PhD student at Irvine until now
                                                                                                                      he                                    also know his research well                I




           since        I   am       the     Editor inChief                      of the           ACM        Transactions  on Embedded    Computing Systems ACM TECS where Dr
           Gerstlauer is an                 Associate               Editor         Finally             some of my research                is   also       concerned             about system level design

           In    summary              I    feel well           qualified           to write            this reference           letter    and    I       do not have            a conflict         of interest         since       there       are   no no

           joint       collaborations                  nor joint          publications             etc


           Dr Gerstlauers                      research              is
                                                                           remarkably                  broad       He has         tackled       many           highly          relevant        research          topics       in     the       embedded

           systems           field    like     system level design                        methodologies compilers                              OS and even some architectural                                   work

           One of Gerstlauers                               core      expertise          is       on     system level             design       methodologies                         Since    systems           become           more and               more

           complex             raising the              abstraction              level       is    key      in order to         efficiently          design         on chip systems                  with       billions     of transistors                Dr
           Gerstlauer was                   one of the               very       first   to recognize                this trend      and     he       has made             substantial          contributions            to    the     field       Ile     was

           and     is       one of the                few     promoters worldwide                             to    make        designers        aware           of    the      complexity            problem           and he            is   providing

           solutions           in    form of design                  tools       and methodologies to cope                          with the             problem

           In    the        following             I    am      elaborating              on        some       selected          representative             work        without          covering        all      contributions              within          this

           review

           One prominent work that has been led by Dr Gerstlauer is entitled Electronic System Level Synthesis Methodologies in
           IEEE Tr on CAD in 2009 Dr Gerstlauer and his coauthors make a case for the need for ESL tools Electronic      System
           Level        Design and claim                           that    many approaches                    in ESL       only cover           partial aspects                  This is because system                      level       design      needs

           a    broad       expertise          and a broad                     coverage           of methodologies                 Facing        this problem                  Dr Gerstlaucr and his coauthors present                                       a

           novel        classification                 for     ESL         synthesis          tools          They     identify       current         weaknesses                 of tool       flows        and       present       a classification

           framework                 for    evaluation               of        different          ESL        synthesis          approaches               This work              sheds        light    into       a    prominent            problem          in


           system level design                         and will           help    to develop              tools better          suited    to   todays need of billion transistor chips
           Another prominent                           publication              or Dr        Gerstlauer is            on Predictive                  OS Modeling                 for host compiled                    simulation           of periodic

           realtime task sets                          in    IEEE         Embedded                Systems          Newsletter            This work             tackles         the    problem of host compiled                            apprroaches

           that    have been proven                           to    very       fast     but       at   the    loss   or accuracy               Dr Gerstlauer and his group present                                      a    new methodology
           based on an OS model that                                  predicts          the       preemption points by monitoring                              the     system          state       One of the key new ideas                          is   that

           they    automatically                      adjusts       the granularity                of back annotated delays That                               enables          the approach           to supersede               the then current

           state   ofthe art Dr Gerstlauer and his team report 99 of accuracy                                                                            but   at    a speedup          of more than 200                    in
                                                                                                                                                                                                                                 average          This       is


           an    excellent           demonstration of the capabilities of system level design                                                            tools      and   it    shows        the   leadership          Dr        Gerstlaucr          has    in

           the     field       Though                 there    are        far    more contributions                       Dr    Gerstlauer has                 made            but    for    brevity       I    choose       the     two above              as

           representative                 for his work

           The     impact            of his           research        can       also    be        quantified         by    some numbers Google                            Scholar           shows     200+            references           to his       work

           and an           H Index of 21 which                           is   excellent          given      that    he   is   currently       at    a    stage      of his      career       where        is   considered          to    be




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           promoted                   the       rank             of Associate                    Professor           with       Tenure               Though          it    is        natural       that     publications               of older date dominate                          the

           score             list    of references                       it   is      clearly visible                that    his research                he conducted                       at    UT Austin is clearly picking                               up and           very   well

           received

           Another evidence                                 of excellence                    is    some rewards he received For instance a Best Poster Award has been achieved by                                                                                                      his

           student              Ardavan                  Pedram               at      the    International                 Parallel               Distributed                  Processing              Symposium IPDPS                              PhD forum that                     is   a

                          symposium
           very prestigious

           Dr Gerstlauers work on OS modeling has been                                                                               selected           as    one of the most                         influential      contributions                    in    10    Years         at   the

           DATE conference
           It    is       also       remarkable                       that    the       initial        success         he       had        as    a   PhD          student            seamlessly             transformed into                      research         success           when
           starting to                    work       independently                          as an      Assistant           Professor              at   UT     Austin


           Dr Gertslauer has managed to publish major conferences    like ICCAD   IEEEACM Intl Conf on CAD Codes+ISSS
                                                                                                            at


           ESWeek DATE etc just to name a few He has also published          major journals like IEEE Tr on CAD IEEE Tr on                                                in



           Computers ETC IEEE Tr on VLSI Systems etc      are excellent  journals   the field                                     all                                                        is




           Dr         Crerstlauer                   is       also       very           active       in    services              to    the        community                 as         he     is   a   TPC        member and                  organizer              of numerous

           conferences                        in    the          Field        like          DAC        Codes+ISSS CASES                                      ASPDAC                         and    many        more   is remarkable
                                                                                                                                                                                                                            Ii      that he is an
           Associate                      Editor         of the major journal                             in     embedded                  system         design               namely             ACM         Tr on Embedded Computing Systems
           this           is    not           yet    in      his       resume               as    he    became             an        Associate           Editor           in         mid      2013          In   summary                he        did    excellent             research

           community                       service




           His        list     of accepted                       proposals              for raising research                      funds          looks        very good                given          the   very     low     acceptance                 ratios      In    several       of
           the    projects                    he is a Pl               lie has          a good         mix      olNSF SRC and direct industry funds

           As for his teaching                                   capabilities                I   can    hardly         judge            However               I   can      indirectly              judge since         I    had        the       opportunity             to    listen to

           some of his talks he gave at conferences    can state that he is a very good speaker and that he has the capability to explain
                                                                                                                 I




           difficult matters in an easy to understand way When     talking to him    became clear that he is a passionate researcher and                                        it




           that       he       has        a                                            of his research                 field         In    addition           he          a very                                       to talk              to
                                              deep knowledge                                                                                                        is                      pleasant        person


           As         a    summary                     it        is
                                                                       my conviction                     that        Dr      Gerstlauer                 is    a    top         young             researcher          He      has        shown           excellent              research


           capabilities                    in   the         past       and        I   believe       that        he    has a      great          academic            research                career      in front      of him            1   believe          that   any        EE CS
           ECE department                                with          world           rank       would          be    delighted                to     hire   him          I
                                                                                                                                                                                    therefore         fully      support         his        promotion          to    the        rank    of

           Associate                  Professor                  with        Tenure

           If   there          are        any       further details                     that      need     clarification                  please contact                  me via email or phone
           Best           regards




           Prof              ISrg Henkel                         Karlsruhe Institute of Technology



           About             Prof JOrg Henkel
           He    Is   currently with                Karlsruhe           Institute at         Technology          KIT Germany                    where he Is airecana                  the          Embedded Systems CES Before he was with NEC
                                                                                                                                                                                             Chair for

           Laboratories              in    Princeton             NJ His wirent research                    is   focused      an      design      and    architectures                for embedded systems with focus an law power and reliability Prof
           Henkel         has       organized            various        embedded systems and tow power ACMIEEE conferences                                                            symposia as General Chair and Program Chair and was a Guest
           Editor         on   these          topics        In   various   Journals like the IEEE Computer Magazine He weals                                                          Program Chair at CODES01      RSP02 ISLPED00 SIPSOB and
           CASES09                  Estirnediall                 MLSI                            ICCAD12         and Paurroa13 and                     served        Is   serving           as General       Chair   for   ICCAD13                Estimecila    2012 CODES02
           ISLPED              2009        He terms               been        a    steering       committee          member          of
                                                                                                                                           major       conferences             in    the    embedded         systems       riald   like      at    ICCAC       ESWeek ISLPFD
           CodesfISSS                     CASES and               Isktes      been      an editorial board member                     of   various Journals           like the         IEEE       TVLSI     IEEE TCACI JOLPE etc                     He has given             fullhailday

           tutorials at leading                 conferences              like      DAC ICCAD DATE                    etc   and has delivered several keynotes                               at top international     research          events
           Prof       Henkel         received          the       2008 DATE             Best Paper Aviwd               the 2009        IEEEACM            William      J Mc           Calla     ICCAD Best Paper Award the Codes+ISSS 2091 Rest Paper

                                   Technologies AHS 2011 Best Paper Award He Is the Chairman of the
           Award and                the    MaXentric                                                                                                                                          IEEE Computer Society Germany Section and the Editor in

           Chief of the                 on Embedded Computing Systems ACM TECS He is an initiator and the coordinator of the German Research
                                     ACM Transactions                                                                                             Foundations

           DEG   program on Dependable Embedded Systems SPP 1500 and the site coordinator of the Karlsruhe sne of the Three University Collaborative Research
           Center on Invasive Computing He a also an elected board member of the German Research foundation     on  Tectvvcat Computer  Science   He holds ten                                              DFG
           US    patents




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 Aida Gayle


 From                                           joerg henkel      <henkeliraukade>
 Sent                                               Sunday   July 28   2013 900   AM
 To                                                 Bearden Carole A

 Cc                                                 Tewfik Ahmed    H Aida Bolton jildagaylegmailcom
 Subject                                            Re   FW Letter of reference for Dr Andreas Gerstlauer



 Hello

 here    is
              my ref letter for Andreas Gerstlauer
 httpswwwdropboxcomsm6gmvtfbc84v51qAndreasGerstlauerrefletter                                     Jul2013pdf
 Best regards

 Joerg Henkel



 CES     Chair for Embedded              Systems

 Department of Computer Science
 KIT    Karlsruhe          Institute   of Technology

 Building      0721

 HaidundNeuStr 7
 D76131            Karlsruhe


 Germany
 httpcesiteckitedui
 Phone +49 72160846050
 Fax +49 72160843962




 On 72413 1057 PM Bearden Carole A wrote
 > Monday           will   be fine



 > Many thanks



 > Carole

 >

 >Original Message
 > From joerg henkel mailtohenkeliraukadej

 > Sent Wednesday               July   24 2013 351 PM
 > To Bearden Carole A

 > Cc Tewfik           Ahmed     H Aida Bolton jildagaylegmailcom
 > Subject          Re FW Letter of reference            for Dr Andreas   Gerstlauer



 > Dear Prof Bearden

 > when       is   the hard deadline Can        I   work on this over the weekend so you have    it   Monday morning
 > Best

 >J Henkel




 > On 72413                829 PM Bearden Carole A wrote
       Dr Henkel




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                                                                                                                                                  Carnegie Mellon



          Electrical           Computer
          ENGINEERING
         Pittsburgh
                      PA    152133890

         tel   4122684259     fax 4122681397                                                                                                                  James C Hoe
                                                                                                                                            and               Department Head
                                                                                                                              Professor           Associate
         Jhoeececmuedu          wwwececmuedufJhoe



         August        1 2013

          Subject           In support of Prof Andreas Gerstlauers Promotion to Associate                                                                     Professor



         Dear Prof Tewfik


          It   is
                    my pleasure to offer this letter in support of Prof Andreas Gerstlauers promotion                                                                        to

         the rank of Associate Professor with tenure at the Department of Electrical                                                                  and Computer

         Engineering               at    The       University          of Texas            at    Austin         1    am       Professor              and       Associate

          Department               Head        of        Electrical       and        Computer            Engineering                   at     Carnegie             Mellon

          University            My main research                     areas are computer architecture                              and highlevel                 hardware

         design             and          synthesis               More            information              about               me            is        available              at


          httpwvvw ece cm u edutj hoe


         1     know        Prof Gerstlauer                 mainly through              his      work     in    Electronic              System Level                   ESL
         design automation                  and through              the conferences              we    attend          The ESL design automation

         area grew from several sub branches                                of electronics design automations                                     EDA          that    bring

         highleveloften                    formalabstractions and methodologies                                         to    address             system and chip

         design        tasks       including              modeling        simulation              synthesis          verification                 evaluation           etc
         This        area of research             has steadily         gained prominence                  over the            last decade              in     response       to

         the        growing        scale    and prevalence                of SoC chip designs                       Today ESL                 technologies have

         gained         most         significant           traction        in    supporting             early        modeling               and       simulation             of
         embedded             SoC        designs           especially           in   supporting          full fidelity             complex              software             co
         development               in    advance          of hardware            availability            The        scale     and cost              of chip designs

         today        are at a point              that    leads      me to believe              the    highlevel             ESL    approaches                 are at the

         verge        of reaching           its    full    broader impact               As a general comment                            at this        juncture         it    is


          important           that      research          in   this   space          pay       close    attention            to   the       coming            needs      and

         challenges           facing       industry practices



          While        there       are     definite        similarities         in    our      research       interests           in    ESL and                highlevel

         design I would characterize our approaches                                        as    similarly          aimed but with Prof Gerstlauer

         being more formal and higher level in abstraction                                              Prof Gerstlauer has long been                                 active

          in   ESL research              starting as a PhD                student       working         and publishing                 on many problems                      in

         the area           Prof Gerstlauer had made several notable contributions                                                 as a graduate               student       in


         system level modeling                      and simulation related to the SpecC work                                           He has continued                  this

          line      of research since joining                    UT as well as expanding into several areas outside of ESL
          in   collaboration             with others             I   would say         to      date ESL         is   still    not a very               large     research

         community              especially           in    the       US     Nevertheless               Prof Gerstlauer has been                               active     and
         visible       in    the    ESL community                    and the broader              EDA community                     through            his     work      and




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         publications industry               and university            visits         and organization               and technical programming

         of professional meetings

         I   feel   Prof Gerstlauers accomplishments                             in       the last five years have                met the expectation
         of tenure through a demonstrated trajectory of productivity                                                I should explain that I have
         opinion      that        five    years    is   a   very      short       time          for judging         tenure     against            an absolute
         benchmark              In computer        systems work there                      is   barely enough            time for a      PhD           student    to

         finish     and    for        a sufficiently bold        effort to            come       to   fruition and that            is   if    nothing          went
                                                             shorter
         wrong        Therefore             for    these                    tenuring            periods        I   weigh     in
                                                                                                                                  my evaluation                  the

         amount of activities              and the      first   and second                derivatives     of trajectory            The advice              I   offer

         often to newly tenured colleagues                           like   Prof Gerstlauer               is   to   take    advantage             of their new
         found      station       to strategically          develop and               drive      a more strongly             themed many student
          flagship    effort            Prof Gerstlauer          is    working             in    an area that        I    view as promising                    Prof
         Gerstlauer         has been         successful         in    raising research                                     PI from                      different
                                                                                                      funding        as   many
         sources     including           from competitive             NSF programs                     He also has a good number of PhD
         students     in        the    pipeline    ready to drive               the       next    stage   of       his    academic      career             I   look

         forward      to   the full      realizations       of his accomplishments over the coming years

         In closing         I   am happy to offer my support for Prof Gerstlauers promotion                                                       to   Associate

         Professor         with tenure        in
                                                   your department                    I    sincerely      hope you would                give           your most
         serious considerations               to his        case       If   I   can be of any further assistance                             in   this    matter

         please do not hesitate              to   contact       me


          Sincerely




         James      C Hoe




                                                                            Page 2 of 2




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 Aida Gayle


 From                                    Tewfik   Ahmed H <tewfikaustinutexasedu>
 Sent                                    Friday   August   2 2013 937 AM
 To                                      jildagaylegmailcom

 Subject                                 Fwd Letter of reference for Dr Andreas Gerstlauer
 Attachments                             Gerstlauer   promotionpdf   Untitled   attachment   00062htm




 regards
 Ahmed




 Ahmed Tewfik
 Cockrell Family Regents        Chair in Engineering

 Chairman Department of Electrical           and Computer Engineering

 The University of Texas at Austin

 ENS Room 236
 2501 Speedway        C0803

 Austin Texas 787120240            USA


 Direct

 tewfikaaustinutexasedu



 Begin forwarded message


           Resent From <
           From James C Hoe                        >
           Date August 2 201343519 PM GMT+0200
           To Bearden Carole       < A
           Cc Tewfik Ahmed         < H
           Subject RE  Letter of reference for Dr Andreas Gerstlauer



           Dear Prof Tewfik


           Please find attached    my letter of support
           for   Prof Gerslauers   promotion        Please

           let   me know if    can be of any further assistance



           Thanks


            ames




                              Original Message
                              From Bearden        Carole   A
                              Sent Wednesday        June 19 2013     1246 PM




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       James      C Hoe
       Professor     ECE       CS Associate Department Head                       ECE   r
                                                                                            Co Director     CALCM         ITRI   Lab©CMU

        Department                                Electrical    and Computer Engineering




        Office                                    1113   Hamerschlag       Hall




        Telephone                                 4122684259



        Email                                     jhoeececmuedu



        Website                                   httpwwwececmuedujhoe




       Research Interests
       Professor   Hoe   is   interested     in   many aspects      of computer     architecture   and    digital   design His current
       research    areas include



           Digital   Signal    Processing Hardware

           FPGA Prototyping and              Emulation      of Computer     Systems

           Pipeline Synthesis from Transaction based Specifications

           FPGA Architecture          for   Computing




       In the        News
         Marculescu      Hoe Named IEEE Fellows
         ECE Celebrates         Partnership       With   Portuguese Business School

         SAFARICALCM            Paper       Published    in   IEEE Micros Top       Picks

         TRUSS Paper Published               in   Special     Issue of   IEEE   Micro

         Carnegie Mellon Research Team Releases Computer Architecture                              Simulation       Infrastructure

         CSSI Participates       in   DAC Hosts Alumni               Friends    Reception

         Hoe Wins NSF CAREER Award




       Carnegie Mellon        2000




       Research Area




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Computer Systems




Keywords
Computer architecture         highlevel   hardware description and synthesis




Education
PhD 2000
Electrical   Engineering   and Computer Science

Massachusetts     Institute   of   Technology


SM 1994
Electrical   Engineering   and Computer Science

Massachusetts     Institute   of Technology



BS 1992
Electrical   Engineering   and Computer Science

University of California Berkeley




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                                                                                                                                                 Austin July 20 2013




    Letter    of recommendation                           for the    promotion           of Dr Andreas Gerstlatier                       to the     rank of Associate
   Professor




   I   ear ntembers of the evaluation committee




                  I    am delighted            to        have the opportunity                   to recommend            Dr Gerstlatter for tenure                       at    UT Austin
   While      I       had heard of Dr Gerstlatters                         work lx11re and seen some of his earlier talks                                           I   have interacted

   with     Dr Gerstlauer much more frequently                                         in about        the    last   three    years as some of his more recent                                    work

                                                                                                                  my more recent mission at IBM
   has overlapped                                   with my personal                  interests and                                                                               have also
                  strongly                                                                                                                                                   I




   recommended                    his   work     for       funding on a couple                    oloccasions           during       this    period



                  I    believe that the foundation                        for our      shared interest               lies   in the    fact that     Dr Gerstlauer                    and      I       both

   believe that              we    need to be             willing       to optimize             across historical            boundaries to maintain                     growth          in


   performance and                      efficiency         of our processing systems in the                            fitee   of a maturing semiconductor

   technology                In   Dr Gerstlauers                 ease this means stepping beyond                               the traditional        boundary of electronic
   design automation                     and taking an              interest      in   architectural              and lower level software considerations                                         I




   have     followed              a similar path with                   my earlier work at IBM being more lbcused on circuits and
   leveraging technology  and then working on processor architecture                                   whereas now   try to stretch                       I                                  all       the


   way  to systems and middleware  optimization



                  In       general       I   would argue            that   what most impresses me about Dr Gerstlatters                                             work           is   on    the

   one hand a rigorous drive                             for the abstraction             and elegance               one expects        of academic              research             with

   lasting    value and                 at the   same time a high degree of completeness and realism that allows his research
   to    he readily applicable                      II    is   unusual     to    see this span of interest and capability                           within a single

   researcher



                  I    have interacted              with       Dr ierstlatier           primarily in the context                     oldie work ofArdavan                            ledram
   the    graduate           student         Dr Gerstlauer co advises                           with     Dm   van de Geijn That said                  I   have reviewed                      all       live


   papers     submitted as particularly relevant                                  and       I    believe      1   am qualified        to comment              on them


              The 2009 paper by Gcrstlatter ea on Electronic System Level                                                              Synthesis Methodologies                               lays the

   foundation               This paper proposes a classification                                  that   emphasizes hardwaresofiware                               co design            for

   embedded                systems with the double roof model and discusses                                                 a number of design tools                     in       detail      While

   this paper              was originally aimed at embedded                              system design                 we see this same model emerging now                                             in


   more generalpurpose                        systems the very recent addition of hardware implemented tasks                                                                 in theOpenCL
   programming language                          standard          can he seen as                 matching the approach                  proposed         in this
                                                                                                                                                                             paper  know I




   that   Dr lerstlatter                 already has an interest in the                          OpenCI framework and                        I   believe      it    will          provide a

   context            in   which    his      work can extend               its   reach beyond                 embedded         systems While              OpenCL though
   generalpurpose                  and standards based                     is still     a       language          of somewhat         limited penetration                     I    foresee that

   in the    not too distant future                        many of its concepts                   will    find     common        use in standards              such as              OpenMP
   with OpenMP tasks presenting                                   the   equivalent of OpenCL kernels and                               fit   well with the              KPN
   abstraction              the paper favors                   thus allowing           11r an      even       broader relevance              of Dr Gerstlauers                      work




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                      My own work at IBM is focused                                         on increasing the performance of commercial                                           systems by
   adding reconfigurable                         ie reprogrammable                                   logic       elements to standard                        commercial servers allowing
   the practice of hardware software co
                                        design                                                      in   a perapplication commercial                                setting While         I   have been
   able to create a number of compelling                                           use cases that will                       likely justify the addition                    of such       logic      to     a
   broad set of server systems significant                                          advances                   in design          methodology are required to leverage such
   hardware and increase                         the efficiency                   and performance of a broader set of applications This wil require
   new design tools and                         methodologies and thus                               I    am excited              about        Dr Gerstlauers work


                      The second              paper    included for consideration                                    introduces a comprehensive simulation framework
   While          I   cannot pretend to be an expert                                    I   have depended                   on similar tools in the past and been close to
   IBM efforts to develop them Thus                                      I    claim to               know enough                      about     the   area to recognize that this                 is    high
   quality work                    In   particular the approach                             does not abstract away                            from system aspects that are Alen

   ignored             because           they arc not easy to incorporate                                      but critical            to    performance            such as operating           system
   and synchronization                         overheads           The work                   is    applied          to sufficiently             large      examples and the results both
   in   terms of simulation performance and accuracy                                                           are   compelling



                      The     third
                                         paper included            for consideration                           improves on the standard                            methodology       for      predicting

   performance                    in   a preemptive           realtime setting by removing thc need to select                                                       a time step granularity a

  priori          The        paper explains that errors in the traditional                                             methodology can be significant                             and     larger       than

  one might expect The paper convincingly                                                         shows         that   with           its    adaptive      approach        timing accuracy              vs
  simulation performance                          is   significantly enhanced                                   while removing the need to pick a timing granule

  relieves            the designer from making a difficult                                          choice           Ilad    I    been on the program committee                           for a

  conference                 where a paper             like this was               submitted I would have recommended                                                it   strongly   for a best


  paper award This year                           I   have reviewed about                                15 conference                     papers and none were as compelling


                  The fourth paper included                         for consideration                            explores allowing                    some degree of processing error
  in    exchange              for       lower processing energy This                                 is       a solid contribution and the paper makes
                                                                                                                         new
  advances                  in particular on           how to relate error propagation into statistical timing assertions At the
  same time of the papers                         this   is   the one that due to the combination                                               of algorithm specific techniques

  required             to   arrive at the final result seems more difficult                                                 to    generalize           Perhaps       future      work can       further

  build on the notion of a the combination                                              of a computation                         that       allows for the possibility of error

  followed by a filter                        Of course my review is showing a generalpurpose                                                              bias    here      there   is   nothing

  intrinsically               wrong        with research           such as this that makes a more specific contribution



                  The        filth      and   final
                                                       paper submitted                        for consideration                       is    authored       by Ardavan        Pedram who                is       co
  advised by                 Dr Gerstlauer and Dr van de Geijn                                            I   am a member ofArdavan                               Pedrams        PhD committee
  and    I   have met many times with both Ardavan as well as with Dr Gerstlauer and                                                                                       Dr van de Geijn As
  evidenced by Ardavans                           work Dr Gerstlauer has instilled                                           in his          students      the    same philosophy             that     is



  applied             in    his earlier       work namely that a rigorous approach                                                    will    lead to      new insights and contributions
  even       in       areas that have already received                              a        fair    amount of attention                        as    is   the case with leveraging               array

  processors to speed                         up linear algebra computation                                     In the       case           ofArdavan        Pedram         the work makes a

  micro architectural contribution                                 but       it    is       the    rigorous practice                       of a true hardware software co design

  exploration where equal                         attention         is   being paid                      to the details               and attributes of the implementation                           of an

  array processing element and the hardware software interactions required to leverage                                                                                           this array


  processor in an application                          via a library that                            lifts      this   work well above the typical contribution                                   in the

  area in a typical                     contribution          an   interesting micro architecture                                           may be proposed               but the analysis           is


  usually more superficial                        and narrow                 in
                                                                                   scope Discovering                             the true       benefits          of what   is   proposed once
  realized            in a    system context             is   too often             left       as an exercise                    to   the reader As an industrial researcher                                I




  am grateful                to   see work where results are presented                                          that    I    can truly believe and readily apply




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              While   I   cannot          comment            directly    on Dr Cierstlituees peribrmanee                    in   the classroom        1   have

    witnessed multiple of his presentations in a number of settings                                        I   have    lend Dr Cierstlauer to be an
   effective    and engaging presenter and thus would                                  find   it   hard to believe if his effectiveness as a teacher

    was anything      less         than outstanding




              In   summary           I
                                         strongly           recommend          extending           tenure and the associate professor rank to

    Dr Gerstlauer              I   believe that his work                is   olexceptional         quality and    rigor and the type of work                    that

   those of us who have to bridge between                               academia       and commercial           practice         look    tbr Dr ierstlauer

   achieves     this rigor          and   detail       without    sacrificing         his   quest    Icy the   fundamentals of elegance               and
   abstraction      thus allowing                his   work     to be simultaneous                  of academic       and   practical      importance           I   also

   believe that hardware software co design will                                    be a held of further growing                 importance        as in the future

   we will     have to practice                this   approach        even     in
                                                                                    computer systems we consider generalpurpose Because
    I   work on general purpose server systems that include 1cconfigurable                                            logic      Dr Gerstlauers work                is


   directly    relevant to          me As evidenced               by the quality            °rale work of his graduate                  students   and    the

   elrectiveness of his presentations                         Dr Cierstlauer is also an outstanding educator and mentor


              Please do not hesitate                   to   contact     me if there are any further questions




   Sincerely




                      U Peter              I   lokacc       PhD
                      IBM Austin Research                        Laborator

                          11501          Burnett       Rd
                      Austin TX 78703
                           1       512 284 3193




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 JiIda          Gayle


 From                                                      Peter     Hofstee <hofsteeusibmcom>

 Sent                                                      Tuesday July 23 2013          901   PM
 To                                                        Bearden Carole A

 Cc                                                        Jilda   Bolton   jildagaylegmailcom Tewfik Ahmed H
 Subject                                                   Re Letter of reference        for Dr   Andreas Gerstlauer

 Attachments                                               Gerstlauer Letter        Hofstee Signedpdf CV2010NonConfidentialBpdf




 Hello     Carole



 Here      is   the signed   copy of the letter sent earlier no other changes
                                                            I                 and also a copy of my resume
 The latter       is   about 3 years old but uptodate as to my current job Do let me know     that is an issue             if




 See attached file                 Gerstlauer Letter               Hqfitee    SignedpdfiSee attachedfile                 CV 2010NonConfidential Bpdp

 Best regards Peter



 H Peter Hofstee
 IBM    Austin         Research      Laboratory

 11500 Burnet Rd

 Austin         TX 78758
 Cell   512 284 3193



      Bearden           Carole     A 07032013                   102837      AM Dr Hofstee           Thank you   for   your support of Dr Andreas     Gerstlauer

 promotion         and agreeing           to   write   a


 From Bearden           Carole   A <cjjpmailutexasedu>
 To Peter HofsteeAustinlBM©IBMUS
 Cc Tewfik Ahmed H <towlikaustinutexasedu>                         Jilda Bolton   jildagaylegmailcom   <jildagaylegmailcom>
 Date 07032013   1028 AM
 Subject    Letter of reference    for   Dr Andreas     Gerstiauer




 Dr Hofstee


 Thank you         for    your support of Dr Andreas Gerstlauer                       promotion   and agreeing to write a recommendation          letter   Attached
 is   a formal request for the letter with a website logon and password                                to access   his   information   as well as his CV


 Best regards




 Carole         Bearden

 Executive        Assistant

 The    University        of Texas        at   Austin

 Electrical       and Computer            Engineering
 ENS Room 236
 2501      Speedway          C0803
 Austin Texas 787120240                        USA



 attachment GerstlauerHofsteepdr                                deleted     by Peter HofsteeAustinIBM           attachment Andreas Gerstlauer
 Resume pd              deleted     by Peter       HofsteeAustin1BM




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       CURRICULUM           VITAE


       Name       address



                 Harm     Peter Hofstee

                 704 Pressler        St Austin TX 78703 USA

       Present Position


                 Senior Technical             Staff      Member
                 Workload Optimized and Hybrid Systems
                 IBM Austin Research Laboratory

                 July   2010


       Previous   Positions




                 Distinguished Engineer CellBE Chief Scientist
                 IBM Systems and Technology Group

                 2006     July     2010



                 Senior Technical             Staff    Member     full      time Cell SPE Chief Architect
                 IBM Microelectronics                 Division    IBM Systems and Technology Group

                 May 2001           2006


                 Research         Staff   Member         full   time
                 IBM Austin Research Laboratory

                 Aug 1996          April   2001



                 Lecturer    Member of the Faculty                   full    time
                 California       Institute    of   Technology           Computer Science               Department
                 Oct    1994 June 1996


                 Teaching Assistant                 Research Assistant            20hrswk
                 California       Institute    of   Technology         Computer          Science        Department
                 Oct    1989 Sep 1994

                 Teaching Assistant                 Research Assistant            full   time

                 Groningen         University         Netherlands           Computer          Science    Department
                 Oct 1988          Aug 1989

                 Army Officer Draft              final    rank 2nd     Ltn full     time

                 Netherlands Army

                 Mar 1987           July   1988


                 Student Assistant            8 hrswk
                 Groningen         University         Netherlands           Computer Science             Department
                 Sep    1984 Aug          1985



       Degrees


                 PhD Computer Science California                             Institute    of   Technology     1995    completed   Sept 1994
                 Thesis   title    Synchronizing            Processes



                 MS Computer Science                      California        Institute    of   Technology     1991




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                        Thesis      title        Constructing                  Some Distributed                         Programs


                        Drs Theoretical                      Physics               Rijks    Universiteit                Groningen The                         Netherlands                1988

                        Thesis      title       Superspace                 Perturbation                         Theory




       A SUMMARY STATEMENT OF MY RESEARCH CAREER
        Please do note                    that   for      the       last   10 years                I       have worked                in   processor development                          not    research



       Major Research Accomplishments                                              and Current Work


            I   made significant                contributions              to       the    architecture                 and definition                   of   the   Cell project                a collaboration

       between Sony Toshiba and IBM                                            I
                                                                                   was chief                    architect       of    the        Synergistic        Processor Element that provides

       the bulk         of   the computational                      power and the foundation for security in the Cell processor The Cell
       Broadband Engine and                            its     derivatives  including the PowerXCell processor are used in a wide variety                                                                                of


       systems including the Sony Playstation3 the IBM 0S2012122 servers and the Roadrunner petaflop
       supercomputer at Los Alamos National Laboratory    have published widely on this work and given                  I




       numerous presentations                             at      major international conferences


            I   have participated                in   multiple pre product                                 processor design programs with IBM server group Except                                                             for


       some        patents         this    work remains confidential                                        and unpublished


        I       have    given      multiple           conference                   presentations                   and written multiple papers on power effciency metrics

       and computer architecture                               to   improve for power efficiency                                           Power dissipation                 is   the     major     limiter       of


       microprocessor                    performance                in    the foreseeable                         future



        At       IBM Austin          I
                                         was responsible                       for      chip   logic              design coordination                          and testing         for    the    worlds first           1GHz
       CMOS microprocessor                             containing                  about       1           million   transistors



        I
                played a leading role in a followon                                        more complete                         version           of   the    1GHz microprocessor                        containing           19
       million         transistors This               processor was built                                  in   relatively          old    technology            but    on a technology invariant basis

       cycle time measured                        in      inverter         delays           this            processor            is    the fastest             processor that has ever been                            built

       This       processor design proves                               that       in the      future additional                          frequency growth                  in   products can             be obtained

       by       a combination             of     high     frequency                  dynamic circuits                           an extremely disciplined                         logic    design and careful
       floorplanning               To get an equivalent improvement from semiconductor                                                                         technology           alone        would require                at


       least      two       CMOS generations                            each        costing                about     a billion         dollars          to    develop        I

                                                                                                                                                                                  presented the results                  at    the

       2000 International Solid State                                   Circuits           Conference                  the          premier forum in the world                           for this   kind     of    work


        While          at    Gaited         I

                                                designed several asynchronous quasi delay insensitive circuits                                                                             Five     of    my designs
       caches               memories and register files were fabricated                                                         and        all   were found          to     be    fully   functional        To my
       knowledge              these        asynchronous                    memories were the                                first     of their          kind


                of my PhD research at Caltech
        As a part                                  constructed a theory for the refinement of concurrent
                                                                                                       I




                Whereas               the verification of these programs requires one to consider a number of
       programs         traditionally

       cases that            is
                                  proportional               to   all
                                                                         possible interleavings                             of      the     processes this number                         of   cases soon
       becomes              intractable           I   showed              that       under certain conditions only a single interleaving                                                        consistent         with the

       original        more sequential program needs to be considered                                                                      For     most concurrent programs                              specifically         for


       those that describe                      microprocessors                         the conditions                  can usually be easily shown to hold


        To test the theories                     of    my PhD research                             in       practice        I   had a class              of    about 30 students each                      refine       an

       interpreter           for   a meaningful subset                             of   Java               byte codes           into       a program describing an innovative                                superscalar

       out of order           processor               a   process that typically requires several engineers                                                            to   spend several years




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         While   at   the University        of Groningen       in   the   Netherlands   in   198889 and     later at   the California   Institute     of


                           Caltech         studied the      construction     and correctness of concurrent programs                 solved a long
        Technology                                                                                                              I
                                       I




        standing      problem   to   formally construct         a distributed sorting program using message passing                     and   later


        extended the algorithm             to   an algorithm    for   sorting   and a similar one   for   load   balancing   on arbitrary

        networks      of   computers       These    later   algorithms      are   amongst the most complex concurrent algorithms

        proven   to   be correct




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                                                                                                                                                                        Caltier1M1111



    4Kit8cialliECE1iipiltE

         Pittsburgh
                       PA    152133890

         ph 4122683545            fax 4122681374                                                                                                                              Don Thomas
         thomasPececmuedu               wwwececmuedu                                                                                                                                       Professor




         July      26 2013


         Dr Ahmed Tewfik
         Cockrell          Family Regents Chair in Engineering

         Chairman Department of Electrical and Computer Engineering
         The University                of Texas      at   Austin




         Dear Dr Tewfik



                   am writing                                                                                                                   of Dr Andreas Gerstlauer to
               I                        to   express       my enthusiastic support for the promotion
         Associate           Professor         with Tenure          in
                                                                          your department                       I       have known              Andreas for about                   78 years
         mainly through                 seeing his presentations                       at    conferences                 and through joint                  service          on conference

         program committees

               Andreas            is     well        known         for     his         research            work           in        system           level        design          automation

         methodologies                  He    is   successfully          following on from his thesis and postdoc research                                                          in   the    area

         of simulation synthesis and compilation                                       of designs from system level models                                              I   was     pleased       to

         see       that his       paper       RTOS         Modeling           for      System Level                     Design published                     in    2003        was       recently

         listed       in    the    most       influential         papers      in       ten     years       of the             Design       Automation                  and     Test       Europe

         DATE conference DATE                               is    widely respected                    and deeply technical                       conference             in    our field The

         paper proposed a model                           of realtime operating                       systems based                  on    features currently                   available         in


         system level design languages                            At the time several research                                 groups were searching for a means to

         bring the          hardware           and software          models of these                       systems together                     This work               did just         that   and

         enabled           higher level        modeling           of these systems that                     in      turn can make designers more efficient

               I   have recently              read   some of his later papers                         or   heard some of his presentations on his                                          host
         compiled modeling                         of embedded             systems              This       is       a    back       annotation          technique              that       enables

                       code                                                in
         source                   intended         for     execution               a    target        system to be annotated                           with timing                  and power

         metrics As simulation proceeds                             the annotations                   provide            measures of the system execution                                   to the

         simulation            kernel         This        approach        has       been         able       to          attain      high        speeds        and           great    accuracy
         important           issues      in   the simulation community for these                                        large      systems           This    is   important              work     for

         the       embedded system design methodology                                       community and                      I    see   its   success           as    a direct         result   of

         his       leadership           Although          his    PhD       advisor             Professor                Dan        Gajski       is   well     known            in   this       field

         Andreas has clearly taken                        steps    beyond his               initial    work with him

               I    havent followed him closely                          in    some of his                 other          research         areas       so Ill          rely    on    others to

         comment on those

               Andreas            research         presentations           are      very        well       done           They are              engaging and                 Ive     seen       him

         answer questions with great clarity and providing                                                 deeper insight                  I    assume        that his presentation

         capability          carries      over into his classroom as it appears                                 that      he gets good ratings for his teaching


               I    observe        that       he   has     published        9 journal                 papers            and    35     refereed         conference              proceedings

         papers        since      his    work      with his advisor Some of the conferences                                               he publishes                 at   have     very high
         standards             From           my     knowledge             these            include             ICCAD                DATE              DAC ASPDAC                               and




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         CODES+ISSS                These conferences           are known          for their blind reviews       of complete manuscripts             and

         their      low acceptance       ratios      In   a   fast    moving       technical    field   these    are considered      nearly    at   the

         level      of a journal


               In   summary I        think    that   Andreas         is   a   rising star   He has come out of the research              group of a
         prominent       thesis advisor        and has established himself as a strong technical                      leader   in    the   computer

         system design methodology                   field     His research groups software                is   being used and      is   influencing

         other      research   I   enthusiastically       endorse his promotion                to   Associate Professor   with tenure




          Sincerely




         Donald       E Thomas
         Professor      of Electrical        and Computer Engineering

         Carnegie Mellon University




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 Jilda Gayle



 From                                          Tewfik     Ahmed H <tewfikaustinutexasedu>

 Sent                                              Friday July 26   2013   255 PM

 To                                            jildagaylegmailcom

 Subject                                           FW recommendation          letter   for Andreas Gerstlauer

 Attachments                                   AndreasGerstlauerpdf            ATT00001htm

 Signed     By                                 tewfikaustinutexasedu




 Regards

 Ahmed


 From Don Thomas imailtothomasececmuedul
 Sent Friday July 26 2013 157 PM
 To Tewfik Ahmed H
 Cc Bearden Carole A
 Subject        Re recommendation letter for Andreas Gerstlauer

 Professor       Tewfik
 attached       please    find my promotion    letter     regarding    Andreas
 Sincerely
 Don    Thomas


 Donald     E    Thomas    received    the   PhD    degree   in 1977   from   the   Carnegie   Mellon   University   where   he   is   currently   Professor
 of   Electrical     and       Engineering working in the areas of single chip heterogeneous multiprocessor
                            Computer                                                                               systems FPGA
 acceleration  of computational   tasks and chip architecture   design for yield improvement   and lifetime reliability     Be is
 coauthor of the book The Verilog Hardware      Description  Language which through five editions has also been translated
 into Japanese  and Mandarin Chinese From 1985 to 1986 he was a Visiting      Scientist at IBM                         TJ
                                                                                                      Watson Research Center
 Yorktown Heights    NY He was chair of the 1989 Design Automation Conference      He has been on the editorial board of IEEE
 Design and Test Magazine     an Associate Editor for the IEEE Transactions on VLSI Systems and ACMs       Transactions  on
 Embedded Systems    and on the IEEE Computer Society Board of Governors      He has been chair of the CODESCASHE96

 Workshop  on HardwareSoftware    Codesign and is now Steering Committee Chair for Embedded Systems Week        ESWeek He was
 elected Fellow  of the IEEE For contributions    to automatic  design of integrated  circuits and systems and to education
 in computer engineering     He was elected Fellow of the ACM In recognition     of outstanding technical    and professional
 achievements  in the field of information  technology




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       Donald    E     Thomas


       Donald    E     Thomas       received      the    PhD         degree   in   1977   from   the    Carnegie     Mellon         University    where   he   is

       currently       Professor of            Electrical       and    Computer     Engineering         working     in   the    areas    of   single chip
       heterogeneous                systems FPGA acceleration of computational
                              multiprocessor                                     tasks and chip architecture
       design    for    yield       and lifetime reliability
                                    improvement               He is coauthor   of the book  The Verilog
       Hardware Description Language which through five editions   has also been translated into Japanese and
       Mandarin Chinese From 1985 to 1986 he was a Visiting  Scientist  at IBM      Watson Research Center               TJ
       Yorktown Heights   NY He was chair of the 1989 Design Automation Conference   He has been on the
       editorial       board       of    IEEE Design      and    TestMagazine an Associate   Editor for the IEEE Transactions on VLSI
       Systems    and    ACMs           Transactions      on    EmbeddedSystems and on the IEEE Computer Society Board of
       Governors         He     has     been    chair    of    the CODESCASHE96 Workshop   on HardwareSoftware  Co design and is now
       Steering      Committee          Chair    for    Embedded       Systems     Week   ESWeek         He   was   elected         Fellow of    the   IEEE    For
       contributions          to    automatic      design       of    integrated     circuits     and    systems and           to    education    in   computer
       engineering




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      Jilda Gayle



      From                                                    Bearden Carole A <cjjpmailutexasedu>
      Sent                                                    Monday August 19 2013 317 PM
  To                                                          Jilda     Bolton        jildagaylegmailcom
  Subject                                                     FW       letter   for    Andreas Gerstlauer




  Original Message
  From WolfMarilyn                     Claire   mailtomarilynwotfecegatechedu
  Sent Friday July 26 2013                      742 AM
  To Bearden                  Carole A

  Cc    Marilyn          Wolf

  Subject          letter for Andreas Gerstlauer




  I
      am writing to give my highest recommendation                                         to    Dr Andreas    Gerstlauer   for promotion to Associate             Professor      I    have

  known Andreas since he was                       a   graduate          student thanks to our mutual interest in embedded                           computing


  Dr Gerstlauer                is   internationally    recognized for                 his   work    in   system level modeling       and synthesis A key to system level

  synthesis         is
                         modeling of performance                       and energy               Dr Gerstlauer has developed important new methods                       for   modeling

  processors             and operating          systems that combine simulation and prediction                              He has also worked            for   many years in system
  synthesis starting with                  his work      in   SpecC He has also applied these techniques                            to   important domains including
  multimedia and numerical                       methods           I
                                                                       am revising my book High Performance Embedded Computing                                    and have cited

  several of        Dr Gerstlauers papers on these                          topics          in   my revision


  Dr Gerstlauer has an outstanding                            record of publication                  He    has published    in   very prestigious    journals including         IEEE

  Transactions            on Computers            IEEE   Transactions                 on VLSI      Systems     and IEEE Transactions        on CAD He has published

  extensively            in   the major conferences                in   embedded computing                    He has an outstanding         record   of funding        from multiple

  sources          including         government        and industry                   He    has a strong record of producing             PhD   students         He has a very strong

  record      of service to the            research      community                I   have worked with him on conferences



  Overall      I   think that          Dr Gerstlauer          is   an extremely strong candidate                  for promotion          based on   his   widely recognized
  stature     in    embedded computing                    I
                                                              give      him my highest recommendation                       Please feel free to contact           me   if
                                                                                                                                                                            you have any

  questions




  Marilyn Wolf

  marilynwolfecegatechedu
  School      of    ECE Georgia           Institute    of Technology

  777 Atlantic            Drive      NW Atlanta GA 30332
  voice      404 894 5933              fax 404 3485           1746

  httpwwwecegatecheduresearchlabseslwolfhtml
  Book       Web     site       httpwwwmarilynwolfus                            Read       my food blog httpfoodwolfblogblogspotcom                             My photos
  httpwwwmarilynwolfusPhotography




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       Faculty Profile                 Marilyn        C Wolf



                                         Professor Rhesa        Ray S Farmer Jr Distinguished Chair in Embedded Computing
                                                              Systems Georgia Research Alliance Eminent Scholar
                                                                      VLSI Systems and Digital Design



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                                                                                   Office Klaus   2352A
                                       Email   <a href=httpwwwgatechedudirectoriesphpentry=wwolf6>GTnbspDirectory
                                                                                Entry<a>
                                                              httpwwweceaatecheduresearchlabses1wolfhtml



       Biography



       Marilyn   Wolf received her bachelors masters and doctoral degrees in electrical engineering from Stanford
       University  in 1980   1981 and 1984 respectively She was with ATT Bell Laboratories in Murray Hill NJ from 1984
       to   1989 and was with Princeton        University   from 1989   until   2007   In   July 2007   Dr Wolf joined Georgia Tech    as the
       Rhesa     Ray S Farmer Jr Distinguished              Chair in Embedded       Computing Systems and Georgia Research            Alliance

       Eminent Scholar        She has developed      a number    of   techniques    for embedded computing ranging from
       hardwaresoftware        co design algorithms     and realtime scheduling algorithms
                                                                                    to code compression and distributed
       smart cameras     She is a cofounder of Verificon Corporation which designs smart camera systems She helped to

                                            including CODES and MPSoC She has written four textbooks
       start several technical conferences




       Selected     Publications    Patents




                        Research     interests                                                      Distinctions




                  Embedded computing          architectures                IEEE Circuits and Systems Society Education Award 2006

                   Software   for embedded      computing                              ASEE Frederick      E Terman Award 2003
                 Methodologies     and tools for embedded                           IEEE Computer Society Golden Core Award
                        computing    system design                       Fellow    IEEE and ACM Association for Computing         Machinery
               Smart   cameras and smart microphones

                               VLSI systems

                                   Biochips




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                                                                                UNIVERSITY                                                  OF ILLINOIS
                                                                                       AT            URBANACHAMPAIGN

       College of Engineering


       Office of the Dean

       306 Engineering Hall                  MC 266
           1308 West       Green       Street


       Urbana            IL 61801




       August             19 2013


       Dear Professor Tewfik



       I
            am writing               this    letter      in
                                                                  support           of Prof       Andreas                Gerstlauers promotion                              to        Associate               Professor with                     tenure          Andreas

       has     an         outstanding              research              teaching           and       service             record         and          we would              be            glad    to     have        him         on       our     faculty         here       at


       UIUC          I
                         strongly support                    his promotion




       Andreas                 has     made        significant                contributions                    to    the     broader              field       and     to             his     specific              area      of       system level                    design

       automation                    With         embedded               systems            and       systems on chip SoCs                                  driving             innovations                   in    many areas such                          as       mobile

       computing                 transportation                    or    health        care           complexities                of corresponding                         devices                continue           to     grow           exponentially                   and

       there         is    a    continued              need        for    new electronic                       design automation                        methods                 to    enable            us    to    develop               the     systems             of    the

       future             One way            to    manage               complexities             is   to       raise       the    level          of   abstraction                in
                                                                                                                                                                                           design but               this     requires             new concepts
       methods                 and    tools       to    be    developed               from the ground                       up Andreas work                         has          helped            lay       the foundations                     for    establishing

       such      new design automation solutions                                          at     higher         levels      of    abstraction                 namely the system level At the same time he has

       recently                branched           out        to    bring        his    system level                      expertise           into       addressing                    some          of the           fundamental                      technological

       challenges               that we are facing                       in   the design             of    future          computer               systems with energy                              efficiency              being          one      of   the primary

       concerns there




       Dating             back        to    results          coming            out     of      his    PhD             and        post doctoral                 work              Andreas                is    a     core         member               of    the        group

       developing                    the     SpecC           system level                 design               language           SLDL                and     design                 methodology                      where                he     was           originally

       instrumental                   in   shaping language                    definitions             and more importantly                                 development                      of a rigorous                  design          methodology                    and

       system             modeling           solutions             on top           of basic      language                 concepts               Before this the                         field    of    system level                 design            was       really in

       its    infancy                As     such        results          of    this       work         have          achieved               farreaching               recognition                       in        both      academia                  and       industry

       Specifically                  research           on         language            and       modeling                  concepts              that       Andreas                  was          deeply           involved               with        have           heavily

       influenced               development                   of   the        SystemC language and socalled transaction level modeling                                                                              TLM approaches around it
       both      of       which           have    been standardized                         by   IEEE          and       are widely              used    in   industry today                           Andreas           also led               the   development
       of     the        SpecCbased                System           on Chip SCE framework and                                           tool          set     which             was one             of       the    first        complete               system level

       design automation                          solutions              and    which          he helped                 bring    into       a    commercial                and            industrial setting                    in   a    collaboration                   with

       the Japanese Aerospace                                 Exploration              Agency JAXA that was established                                             under                  his    lead Since              joining           UT        Austin he             has

       continued                to    make        significant             contributions                   in   the area of system                           modeling                 and     system level                   design and                  he      is    widely

       recognized                as    one of the experts                      in    the    field         as    evidenced               by       several      widely             cited           books and               positionsurvey                      papers          he

       has published                   over the years



       Since         joining          UT     Austin           Andreas           has       established                a    diverse           and       high quality                   research            program             that          is    certainly            on    par

       with     if       not better than                 any       of    his peers             When compared                          within the              field    Andreas has high funding                                            level      from        a    range

       of     diverse           sources           This       includes          fundamental                     and       competitive              long      medium term grants                                      and     contracts                 from relevant

       federal            agencies and                 industry consortia                    such         as    the Semiconductor                           Research             Corporation                      SRC        Having received                         several


       SRC grants over the years myself                                         I
                                                                                    can     attest        to    their      competitiveness                      which                is    certainly          equal         to   that of NSF                proposals

       In     our         area SRC               grants           are     highly       desired                 because           they        demonstrate                        industry            relevance               and           provide           a     path       to


       impacting                industrial         practice              With        federal      budgets                continuing              to    decline        it        is    particularly noteworthy that                                      Andreas             has

       established                   strong       industry contacts                       that       have           also    allowed              him     to    secure                funding            from         individual                 industry sources

       directly                Furthermore               Andreas              has over and                over demonstrated                           the     desire            to        not stop           at    producing              only        papers but             to

       also     release              working           prototypes              that       bring        technology                to     a    point where                   it    can         be transferred                      into       practice            and        thus

                                have                                     real world                                                                     commendable
       eventually                           an    impact           on                          problems which                      is
                                                                                                                                        highly




                                                                                                  telephone          2173332150                  fax 2172447705




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       For these          reasons              Andreas            is   highly        visible         well        known and           respected        in   the      broader              design automation                            community
       This   is   evidenced               by       several       prestigious             service           appointments             he currently holds                  or   has held Andreas                          has      been        part          of


       the Technical                Program            Committee of all the major conferences                                         in   the    field     and     especially                 the ones              most relevant               to       his


       specific         area such              as   CODES+ISSSS                In    addition             he has       in
                                                                                                                            many cases served as Track                        Chair he serves                         as Associate               Editor


       for the      main journal                 in   his area          ACM Transactions                         on   Embedded         Computer Systems                            IEEE        does not have                a    journal             in   his


       specific         area         and       he     is   currently Chair                of    the System Level                Design        Track        of    the Design               Automation Conference                                  DAC
       which       is    the premier conference                           bringing             together the design automation                              community This is                          a       significant         honor          and        a


       high profile position



       Andreas           also       has    a   strong teaching                 record           I   have     personally         observed          him      give    talks      in       special            sessions          at   conferences

       and    as        such         I    have        seen       his    ability       to       succinctly             and    concisely        present           concepts               first     hand At               UT       Austin           I    was

       particularly             impressed                  by    the    graduate               class        on    System on Chip              Design            that     he    has             developed              there           It    uniquely

       combines           theoretical                 aspects          about         electronic             system level         synthesis          with        practical          labs         and       a    project          that        immerse
       students          in   an         industrial strength               design flow using industry standard                                      tools         This    provides               an       excellent         foundation                    for


       training         future generation                        of    engineers           I
                                                                                               am also aware                 that     he    has    regularly offered                     this    same           class       not       only       in       the

       regular          graduate           program               but    also    in    a   professional                masters program               that provides                  continuing                 education           for       students

       with fulltime jobs                      in   industry           Furthermore                   at     the introductory               undergraduate               level       I    have         seen that he                is    involved            in



       an    effort      at     UT       Austin        to       develop    a     Massively                Open Online Course                  MOOC on embedded                                   system              design           All   of   these

       demonstrate                  Andreas passion                    as an    educator               to    impart         knowledge        in   crucial       technological                  areas to          a    broad       audience



       In   summary             I
                                    highly          recommend             Andreas              for the       promotion          to    tenured       Associate            Professor              at    ECE of UT Austin




       Sincerely



                                                 4
       Martin       D F Wong
       Edward           C Jordan Professor of Electrical and Computer Engineering
       Acting Associate                   Dean        for       Academic        Affairs




                                                                                          telephone          2173336057               fax 2172447705




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 JiIda Gayle



 From                                         Wong        Martin   D   F   <mdfwongillinoisedu>
 Sent                                          Monday         August 19 2013       535 PM
 To                                           Tewfik      Ahmed H
 Cc                                           Jilda   Bolton jildagayleOgmailcom Bearden Carole A

 Subject                                       RE URGENT           Letter of reference for    Dr Andreas   Gerstlauer

 Attachments                                  gerstlauer13pdf



 Importance                                    High




 Dear Prof Tewfik



 Please      see attached      reference   letter for   Prof Gerstlauers promotion case Sorry for sending the letter late



 Thanks


 Martin




 From Bearden             Carole A   maittocjjpmaiLutexasedui
 Sent Tuesday            August   13 2013 1146 AM
 To Wong Martin D F
 Cc Tewfik Ahmed H Jilda Bolton jildagaylegmailcom
 Subject        URGENT         Letter of reference      for   Dr Andreas Gerstlauer
 Importance             High



 Dr Wong


 Per our phone conversation            the new deadline         for your       recommendation letter for Dr Gerstlauer will be August 1613



 Thank       you so   much


 Best    regards



 Carole




 From Bearden             Carole A

 Sent Monday             August   05 2013 431 PM
 To
 Cc Tewfik        Ahmed H                                              lilda   Bolton

 Subject        URGENT         Letter of reference      for   Dr Andreas       Gerstlauer

 Importance             High



 Dr Wong


 This   is   a gentle   reminder that your recommendation letter for Dr Gerstlauer                  was due July 20th   Please   let   me know   if




 you need further information



 Many thanks




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       MARTIN D F WONG




       Martin     D F Wong
       Professor

       409 Coordinated          Science     Lab MC 228
       1308W       Main St
       Urbana      Illinois    61801
       2172441729
       mdfwongillinoisedu
       Primary Research Area
          Circuits        Computer aided design            of   integrated        circuits



       Profile Sections

          Overview

           Research

           Honors

       Education

       PhD       in Computer      Science University of           Illinois   at    Urbana Champaign January 1987


       Research               Interests

           Combinatorial optimization

           Design     and analysis of algorithms

           Field programmable             systems
                      for
           Design             Manufacturing

           CAD for VLSI          Electronic    Packaging

           Computer aided design of VLSI

       Research               Areas

          Algorithms          and computational        complexity

           Circuits


          Circuits


           Computer aided          design     of   integrated    circuits


           Logic design         and VLSI

       Honors Recognition and Outstanding                                                     Achievements                   for   Research

           Canadian         National   Descartes       Mathematics          Competition        1st   Place   Toronto and 4th Place National
           1975
           Hans Heillbronn         Prize in    Pure Mathematics              University      of Toronto      1978

           Undergraduate          Scholarships        i William     Hossack          Memorial Scholarship           ii   Samuel Beatty   Scholarship   and

           iii
                 Burton     Scholarship       University   of   Toronto 19771979




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         University    Fellowship        University           of Illinois    at   Urbana Champaign 19791980 and 19811982

         Best    Paper Award       23rd    ACMIEEE                Design      Automation           Conference            DAC 1986
         Best    Paper Award       Nomination              ACMIEEE            Design        Automation Conference            DAC 1990
         IBM Faculty       Development         Award            19891991
         National     Science     Foundation            Research        Initiation       Award 19891992
         ACMIEEE        Design     Automation Fellowship                      1991       and 1994

         Best    Paper Award       IEEE       International          Conference            on Computer Design                  ICCD 1995
         Best Paper Award          Nomination                 IEEE Transactions             on Computer Aided                  Design   TCAD             1998

         Endowed       Faculty    Fellow      in       Computer Sciences                 University        of   Texas    at   Austin    19901999
         Best    Paper Award       Nomination                 IEEE Asia and South               Pacific         Design   Automation      Conference              ASPDAC
         1999

         ACM     Recognition      of   Service          Award 1999
         Best    Paper Award       Nomination                 IEEE Transactions             on Computer Aided                  Design   TCAD             1999

         IBM Faculty       Partnership Award 2000

         2000    CAD Transactions          Best          Paper Award              Given to the best paper chosen from all papers published in
         IEEE Transactions         on Computer Aided                    Design       in 1998 and 1999This has been renamed as the Donald
         0 Peterson        Best   Paper    Award 2000
         Best    Paper Award       Nomination                 IEEE Asia and South               Pacific         Design   Automation      Conference              ASPDAC
         2001
         David    Bruton    Centennial        Professorship             in
                                                                             Computer Sciences                    University    of   Texas   at Austin           20012002
         Best of   20 Years ICCAD Paper Our ICCAD94 paper on circuit partitioning was among one of the 42
         papers out of all ICCAD papers in 19832002 chosen to be included in the book The Best of ICCAD    20
         Years of Excellence in Computer Aided Design published by ICCAD in its 20th anniversary in 2002 2002

         Best    Paper Award       Nomination             IEEEACM             International           Conference         on Computer Aided               Design    ICCAD
         2004
         IBM Faculty Award             2004
         Best    Paper Award       Nomination             IEEEACM             International           Conference         on Computer Aided Design                  ICCAD
         2005
         Best    Paper Award       Nomination             IEEE Asia and South                   Pacific         Design   Automation      Conference          ASPDAC
         2005
         IEEE Distinguished            Lecturer         Circuits     and Systems Society                    20052006
         Best    Paper Award       Nomination             IEEE      International          Symposium on Quality Electronic                     Design       ISQED 2008
         Fellow     IEEE
                            ECE ILLINOIS           I
                                                       1406   W Green St           I
                                                                                       Urbana    IL
                                                                                                      I
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